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                                                                    SMILEY WANG-EKVALL, LLP
                                                                  1 Robert S. Marticello, State Bar No. 244256
                                                                    rmarticello@swelawfirm.com
                                                                  2 Michael L. Simon, State Bar No. 300822
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                                                                  3 3200 Park Center Drive, Suite 250
                                                                    Costa Mesa, California 92626
                                                                  4 Telephone:     714 445-1000
                                                                    Facsimile:     714 445-1002
                                                                  5
                                                                    Attorneys for Jadelle Jewelry and Diamonds,
                                                                  6 LLC

                                                                  7

                                                                  8                                UNITED STATES BANKRUPTCY COURT
                                                                  9                                 CENTRAL DISTRICT OF CALIFORNIA
                                                                 10                                         LOS ANGELES DIVISION
                                                                 11 In re                                                   Case No. 2:20-bk-13530-BR
SMILEY WANG-EKVALL, LLP

                          Tel 714 445-1000 • Fax 714 445-1002
                             3200 Park Center Drive, Suite 250




                                                                 12 JADELLE JEWELRY AND DIAMONDS,
                               Costa Mesa, California 92626




                                                                                                                            Chapter 7
                                                                    LLC,
                                                                 13                                                         INDEX OF EXHIBITS IN SUPPORT OF
                                                                                          Debtor.                           DEBTOR'S EMERGENCY MOTION
                                                                 14                                                         PURSUANT TO FEDERAL RULE OF
                                                                                                                            BANKRUPTCY PROCEDURE 8007 FOR
                                                                 15                                                         STAY PENDING APPEAL
                                                                 16                                                         DATE:       To Be Determined
                                                                                                                            TIME:       To Be Determined
                                                                 17                                                         CTRM:       1668
                                                                                                                                        255 E. Temple Street
                                                                 18                                                                     Los Angeles, CA 90012
                                                                 19

                                                                 20 TO THE HONORABLE BARRY RUSSELL, UNITED STATES BANKRUPTCY JUDGE:

                                                                 21               Jadelle Jewelry and Diamonds, LLC, the putative debtor ("Jadelle"), hereby submits the

                                                                 22 following index of exhibits in support of the concurrently filed Debtor's Emergency Motion

                                                                 23 Pursuant to Federal Rule of Bankruptcy Procedure 8007 For Stay Pending Appeal.

                                                                 24

                                                                 25

                                                                 26

                                                                 27

                                                                 28

                                                                      2829044.1                                                                         INDEX OF EXHIBITS
                                                                 Case 2:20-bk-13530-BR          Doc 65 Filed 06/19/20 Entered 06/19/20 17:25:01               Desc
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                                                                  1               Exhibit No.                        Title or Description of Document
                                                                  2                   1           Order: (1) Directing Rachel Rechnitz and Jona Rechnitz to File Joint
                                                                                                  Declaration Under Penalty of Perjury; (2) Setting Date by Which
                                                                  3                               Petitioning Creditors May Contact Creditors Identified In Joint
                                                                                                  Declaration and Conduct Certain Discovery; (3) Setting Date for Hearing
                                                                  4                               on Status Conference; and (4) Setting Date for Filing of Joint Status
                                                                                                  Report Prior to Status Conference [Docket No. 39]
                                                                  5

                                                                  6                   2           Order Denying "Putative Debtor's Emergency Motion for (1)
                                                                                                  Reconsideration of the Court's Order, or (2) Alternatively, a Stay of the
                                                                  7                               Bankruptcy Case [Docket No. 53]
                                                                  8
                                                                                      3           Order Directing Clerk of Court to Immediately Enter an Order for Relief
                                                                  9                               Under Chapter 7, and Requiring the Debtor to File All Schedules and
                                                                                                  Related Documentation for a Chapter 7 Case Within Fourteen Days of
                                                                 10                               the Entry of This Order [Docket No. 54]
                                                                 11
SMILEY WANG-EKVALL, LLP

                          Tel 714 445-1000 • Fax 714 445-1002




                                                                                      4           Order for Relief and Order to File Schedules, Statements and List(s)
                             3200 Park Center Drive, Suite 250




                                                                 12
                               Costa Mesa, California 92626




                                                                                                  [Docket No. 55]
                                                                 13
                                                                                      5           Involuntary Petition [Docket No. 1]
                                                                 14

                                                                 15                   6           Putative Debtor's Motion to Dismiss Involuntary Petition and Request
                                                                                                  for Attorney's Fees, Costs, and Damages [Docket No. 8]
                                                                 16

                                                                 17                   7           Transcript of June 9, 2020: Status Conference re Involuntary Petition;
                                                                 18                               Hearing Re: Motion of Putative Debtor's Motion to Dismiss Involuntary
                                                                                                  Petition and Request for Attorney's Fees, Costs, and Damages; and
                                                                 19                               Hearing Re: Creditors' Motion for Appointment of Interim Chapter 7
                                                                                                  Trustee
                                                                 20
                                                                                      8           Supplemental Declaration of Baruch C. Cohen Regarding Third Party
                                                                 21
                                                                                                  Defendants' Motion for Stay of Proceedings, USDC Case No. 2:20-cv-
                                                                 22                               02580-ODW-AS, Docket No. 61;

                                                                 23                   9           June 11, 2020 Email from Ronald Richards to Robert Marticello with
                                                                 24                               attached discovery;

                                                                 25                   10          Verified Complaint filed by Victor Franco Noval in Noval v. Rechnitz, et
                                                                 26                               al.;

                                                                 27

                                                                 28

                                                                      2829044.1                                          2                              INDEX OF EXHIBITS
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                                                                  1               Exhibit No.                         Title or Description of Document
                                                                  2                   11          Putative Debtor's Emergency Motion for (1) Reconsideration of the
                                                                                                  Court's Order, or (2) Alternatively, a Stay of the Bankruptcy Case
                                                                  3                               [Docket No. 44]
                                                                  4

                                                                  5                   12          June 18, 2020 Letter from Sam S. Leslie
                                                                  6
                                                                                      13          Docket in 2:20-bk-13530-BR as of June 19, 2020
                                                                  7

                                                                  8
                                                                                      14          Putative Debtor's Reply to Petitioning Creditors' Opposition to Putative
                                                                  9                               Debtors' Motion to Dismiss Involuntary Petition and Request for
                                                                                                  Attorney's Fees, Costs, and Damages [Docket No. 36]
                                                                 10

                                                                 11                   15          Excerpt from Petitioning Creditor's Opposition to Motion to Dismiss
SMILEY WANG-EKVALL, LLP

                          Tel 714 445-1000 • Fax 714 445-1002




                                                                                                  [Docket No. 15]
                             3200 Park Center Drive, Suite 250




                                                                 12
                               Costa Mesa, California 92626




                                                                 13

                                                                 14

                                                                 15                                             Respectfully submitted,

                                                                 16 DATED: June 19, 2020                        SMILEY WANG-EKVALL, LLP

                                                                 17
                                                                                                                By:           /s/ Robert S. Marticello
                                                                 18
                                                                                                                       ROBERT S. MARTICELLO
                                                                 19                                                    MICHAEL L. SIMON
                                                                                                                       Attorneys for Jadelle Jewelry and Diamonds,
                                                                 20                                                    LLC.

                                                                 21

                                                                 22

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                                                                      2829044.1                                          3                             INDEX OF EXHIBITS
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     Case 2:20-bk-13530-BR    Doc 39 Filed 06/10/20 Entered 06/10/20 13:01:33              Desc
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5
                                                                  CLERK U.S. BANKRUPTCY COURT
                                                                  Central District of California
6                                                                 BY fortier    DEPUTY CLERK


7
                         UNITED STATES BANKRUPTCY COURT
8
                          CENTRAL DISTRICT OF CALIFORNIA
9
                                 LOS ANGELES DIVISION
10
11
12   In re:                                     Case No.: 2:20-bk-13530-BR

13   Jadelle Jewelry and Diamonds LLC,          Chapter 7
14                                              ORDER:
15                                              (1) DIRECTING RACHEL RECHNITZ AND
16                                              JONA RECHNITZ TO FILE JOINT
                                  Debtor(s).    DECLARATION UNDER PENALTY OF
17                                              PERJURY;
18
                                                (2) SETTING DATE BY WHICH
19                                              PETITIONING CREDITORS MAY CONTACT
                                                CREDITORS IDENTIFIED IN JOINT
20                                              DECLARATION AND CONDUCT CERTAIN
21                                              DISCOVERY;

22                                              (3) SETTING DATE FOR HEARING ON
                                                STATUS CONFERENCE; AND
23
24                                              (4) SETTING DATE FOR FILING OF JOINT
                                                STATUS REPORT PRIOR TO STATUS
25                                              CONFERENCE
26                                              Date:      June 9, 2020
27                                              Time:      10:00 a.m.
                                                Courtroom: 1668
28




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1          The Court held a hearing on June 9, 2020 on the following two motions: the
2    “Putative Debtor’s Motion to Dismiss Involuntary Petition and Request for Attorney’s
3
     Fees, Costs and Damages” (“Motion to Dismiss”), filed by the debtor on May 1, 2020,
4
     and the “Petitioning Creditors’ Notice of Motion and Motion for Appointment of Interim
5
     Chapter 7 Trustee” (“Trustee Appointment Motion”) filed on May 19, 2020 by petitioning
6
7    creditors Victor Franco Noval, Peter Marco, LLC and First International Diamond, Inc.

8          Robert S. Marticello, Esq. of Smiley, Wang-Ekvall, LLP appeared on behalf of the
9    debtor. Ronald Richards of the Law Firm of Ronald L. Richards & Associates, APC,
10
     Baruch C. Cohen, APLC and Daniel A. Lev, Esq. of SulmeyerKupetz, A Professional
11
     Corporation, appeared on behalf of the petitioning creditors.
12
13         With respect to the debtor’s Motion to Dismiss, the Court considered the Motion,

14   the petitioning creditors’ Opposition to the Motion, the debtor’s Reply to the petitioning
15   creditors’ Opposition, and all pleadings related to the Motion, Opposition and Reply.
16
           With respect to the petitioning creditors’ Trustee Appointment Motion, the Court
17
     considered the Motion and all related pleadings including the separately filed
18
     declarations of Ronald Richards, Oved Anter, Victor Franco Noval, and Peter Marco,
19
20   the debtor’s Opposition to the Motion, the petitioning creditors’ Reply to the debtor’s

21   Opposition, and all other pleadings related to the Motion, Opposition and Reply.
22         The Court also considered the debtor’s separately filed declarations of Levin
23
     Prado and Marc Williams in Opposition to the Trustee Appointment Motion, the debtor’s
24
     evidentiary objections to the declarations of Oved Anter, Victor Franco Noval, Peter
25
26   Marco and Ronald Richards, the petitioning creditors’ evidentiary objections to the

27   debtor’s Request for Judicial Notice, and all other pleadings related to the Motion,

28   Opposition and Reply.




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1          At the June 9 hearing, the Court ruled on the record on all of the evidentiary
2    objections and heard argument and representations of counsel. After consideration of
3
     all of the above, the Court HEREBY ORDERS AS FOLLOWS:
4
           1. Rachel Rechnitz and Jona Rechnitz (collectively, the “Rechnitz’s”) must file a
5
              joint declaration, sworn under penalty of perjury, which identifies each and
6
7             every one of the debtor’s creditors as of the date of the filing of the involuntary

8             petition on April 6, 2020. The joint declaration shall include, without limitation,
9             the following information with respect to each creditor identified therein:
10
                  a. the name of the creditor;
11
                  b. the nature of the debt owed to the creditor (e.g., consigned jewelry,
12
13                    rent due and owing, etc.);

14                c. the amount of the creditor’s claim;
15                d. whether the creditor’s claim is disputed and, if so, the nature of the
16
                      dispute; and
17
                  e. complete contact information for each creditor including, but not limited
18
                      to, the creditor’s address, telephone number, cell phone number (if
19
20                    known), fax number (if applicable), and email address (if known);

21         2. The Rechnitz’s shall have seven (7) days from the date of this hearing (i.e.,
22            no later than 3:00 p.m. on Tuesday, June 16, 2020) to file their joint
23
              declaration with the Court and serve the declaration on counsel for the
24
              petitioning creditors;
25
26         3. If the Rechnitz’s fail to file the joint declaration by that date and time, the

27            Court will deny the debtor’s Motion to Dismiss and immediately enter an order

28




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1             for relief in this case. The entry of such an order for relief will render both the
2             pending Motion to Dismiss and Trustee Appointment Motion moot;
3
          4. If the Rechnitz’s file the joint declaration by the required date and time, then:
4
                  a. The petitioning creditors shall have sixty (60) days from the date of
5
                      this hearing (i.e., no later than 3:00 p.m. on August 14, 2020) to
6
7                     contact the creditors listed in the joint declaration to determine if any of

8                     them are willing to join in the involuntary petition;
9                 b. The petitioning creditors shall have the same sixty (60) day period
10
                      within which to conduct discovery of the creditors listed in the joint
11
                      declaration, which discovery shall be limited solely to questions
12
13                    regarding the nature and amount of the creditor’s claim and, if the

14                    creditor’s claim is listed in the joint declaration as disputed, the nature
15                    of such dispute;
16
                  c. The Court shall hold a status conference on this involuntary case on
17
                      August 25, 2020 at 10:00 a.m., and
18
                  d. The parties shall file a joint status report seven (7) days prior to the
19
20                    status conference (i.e., no later than 3:00 p.m. on August 18, 2020).

21        IT IS SO ORDERED.
22                                               ###
23
24
25       Date: June 10, 2020

26
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                                                                       CLERK U.S. BANKRUPTCY COURT
                                                                       Central District of California
6                                                                      BY fortier    DEPUTY CLERK


7
8                            UNITED STATES BANKRUPTCY COURT

9                             CENTRAL DISTRICT OF CALIFORNIA

10                                   LOS ANGELES DIVISION

11
12
     In re:                                        Case No.: 2:20-bk-13530-BR
13
     JADELLE JEWELRY AND DIAMONDS                  Chapter 7
14
     LLC,
                                                   ORDER DENYING “PUTATIVE DEBTOR’S
15                                                 EMERGENCY MOTION FOR (1)
16                                   Debtor(s).    RECONSIDERATION OF THE COURT’S
                                                   ORDER, OR (2) ALTERNATIVELY, A STAY
17                                                 OF THE BANKRUPTCY CASE”
18                                                 [No Hearing Date Required]
19
20
              This matter is before the Court on the “Putative Debtor’s Emergency Motion For
21
     (1) Reconsideration Of The Court’s Order, Or (2) Alternatively, A Stay Of The
22
     Bankruptcy Case” (“Emergency Motion”), filed by the debtor on June 15, 2020.
23
              The Court has considered the Emergency Motion and all related pleadings filed
24
     in support thereof, consisting of the supporting declarations of Robert S. Marticello and
25
     Michael V. Schafler (including an Errata thereto), an Index of Exhibits and a Request
26
     For Judicial Notice as well as the petitioning creditors’ Preliminary Opposition thereto.
27
28




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                                                                                  EXHIBIT "2", PAGE 8
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1           The Emergency Motion seeks reconsideration of the Court’s order entered on
2    June 10, 2020 (“June 10, 2020 Order”) entitled “Order: (1) Directing Rachel Rechnitz
3    And Jona Rechnitz To File Joint Declaration Under Penalty Of Perjury; (2) Setting Date
4    By Which Petitioning Creditors May Contact Creditors Identified In Joint Declaration And
5    Conduct Certain Discovery; (3) Setting Date For Hearing On Status Conference; And
6    (4) Setting Date For Filing Of Joint Status Report Prior To Status Conference.”
7           The June 10 Order specifically ordered, inter alia that:
8                  1. Rachel Rechnitz and Jona Rechnitz (collectively, the
                   ‘Rechnitz’s’) must file a joint declaration, sworn under
9                  penalty of perjury, which identifies each and every one of the
10                 debtor’s creditors as of the date of the filing of the
                   involuntary petition on April 6, 2020. The joint declaration
11                 shall include, without limitation, the following information with
                   respect to each creditor identified therein: . . .
12
13   June 10, 2020 Order (docket no. 39), page 3.
14          The Court issued its June 10, 2020 Order following a telephonic hearing on June
15   9, 2020 on two motions: the “Putative Debtor’s Motion to Dismiss Involuntary Petition
16   and Request for Attorney’s Fees, Costs and Damages” (“Motion to Dismiss”), filed by
17   the debtor on May 1, 2020, and the “Petitioning Creditors’ Notice of Motion and Motion
18   for Appointment of Interim Chapter 7 Trustee,” filed by the petitioning creditors on May
19   19, 2020. At that hearing, the Court heard argument and representations of counsel
20   regarding both motions, made evidentiary rulings on the record, and made its oral ruling
21   as reflected in its June 10, 2020 Order.
22          A major focus of the Emergency Motion is the debtor’s argument that the June
23   10, 2020 Order deprives the debtor’s principals, Rachel and Jona Rechnitz, of their Fifth
24   Amendment privilege against self-incrimination by its requirement that the Rechnitz’s file
25   a joint declaration under penalty of perjury regarding the identity of the debtor’s creditors
26   and by allowing the petitioning creditors to conduct certain limited discovery with respect
27   to the creditors identified by them.
28




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1          The Court, however, specifically addressed the Fifth Amendment privilege issue
2    with the debtor’s counsel, Robert S. Marticello, at the June 9, 2020 hearing on the
3    debtor’s Motion to Dismiss:
4                 THE COURT: I know that there are criminal -- there are
                  other charges and so there’s a lot of stuff going on. I have no
5                 opinion. I know what happened in the state court, but I have
6                 no opinion as to the ultimate outcome. But I tell you this, if
                  either -- or they both must comply and I make it quite clear. If
7                 they don’t comply with the request, whether it’s Fifth
                  Amendment or whatever, then I will enter the order for relief.
8                 Is it the debt -- from the debtor’s standpoint, do you
                  understand that? Mr. Marticello, do you understand that?
9
10                MR. MARTICELLO: Your Honor, this is Robert Marticello for
                  the debtor. I understand the Court’s – what the Court just
11                said and I will comply with the Court’s order. My concern is,
                  Your Honor, like you said there are other things going on
12                and –
13
                  THE COURT: No, I understand that. But, no, I’m telling you –
14
                  MR. MARTICELLO: -- if there is a -- if there’s a –
15
16                THE COURT: -- this is really simple and I can’t -- I’m not -- I -
                  - people have a right to the -- you know, to take the Fifth and
17                I -- again, whether they do or not I have no idea. But I’m
                  telling you right now the creditors have a right to this
18                information. If they refuse, either of them, I want both of
                  them to sign it because it’s not clear to me exactly who’s
19
                  really running the business. My guess is that maybe the
20                husband is but I don’t know that, just from the various
                  pleadings. I don’t really know. So there -- therefore, I am
21                requiring both to sign under penalty of perjury. And if nei --
                  and if they don’t both sign it under penalty of perjury, then I
22
                  will enter an order for relief. I just want you -- you -- I want
23                you in particular and your clients, the debtor, the principals,
                  to understand that. You do -- you understand what I’ve said.
24                I want them to understand it. That would be the price for not
                  complying with my order. You –
25
26                MR. MARTICELLO: I understand, Your Honor.

27                THE COURT: Mr. Marticello, you understand what I’ve said
                  obviously. I’m not being facetious. You understand. And so
28                any –




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1                  MR. MARTICELLO: Correct, Your Honor.
2    Transcript of Telephonic Proceedings Before The Honorable Barry Russell, United
3    States Bankruptcy Judge, Docket No. 42 at p. 85, lines 21-25 through p. 87, lines 1-14.
4           The Court notes that despite debtor’s counsel’s statements in the above
5    proceedings that he understood what the Court had said and would comply with the
6    Court’s June 10, 2020 Order, the debtor instead filed the Emergency Motion less than
7    twenty-four (24) hours before the deadline imposed by the June 10, 2020 for the filing of
8    the Rechnitz’s joint declaration.
9           The Court further notes that the despite the Emergency Motion’s arguments
10   regarding the Rechnitz’s Fifth Amendment privilege, the debtor in this case is an LLC,
11   that the Fifth Amendment privilege only applies to individuals, and that the debtor’s
12   principals (the Rechnitz’s) are not entitled to assert a Fifth Amendment privilege on the
13   debtor’s behalf.
14          The Emergency Motion also argues that the Court may dismiss this case without
15   the requirement of a creditor list, and that the Court is not required to provide creditors
16   (other than the petitioning creditors) an opportunity to join in the involuntary petition. The
17   Court finds this argument unpersuasive in this case.
18          It may very well be that there are additional creditors who may have substantial,
19   undisputed claims against the debtor. The debtor’s failure to timely file the list of
20   creditors, as required by the Court’s June 10, 2020 Order, will prevent the petitioning
21   creditors from being able to identify any such additional potential creditors and will also
22   prevent the petitioning creditors, and any other additional creditors, from attempting to
23   prove that the debtor is not paying its debts as they become due.
24   ///
25   ///
26   ///
27   ///
28   ///




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1          Finally, the Court finds all other arguments in the Emergency Motion equally ill-
2    founded and unpersuasive. Accordingly, no good cause having been shown to grant the
3    Emergency Motion, the Emergency Motion is DENIED.
4          IT IS SO ORDERED.
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24
25       Date: June 16, 2020

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                                                                          CLERK U.S. BANKRUPTCY COURT
                                                                          Central District of California
6                                                                         BY fortier    DEPUTY CLERK


7
8
                             UNITED STATES BANKRUPTCY COURT
9
                              CENTRAL DISTRICT OF CALIFORNIA
10
                                     LOS ANGELES DIVISION
11
12
13   In re:                                         Case No.: 2:20-bk-13530-BR
14   JADELLE JEWELRY AND DIAMONDS                   Chapter 7
15   LLC,
                                                    ORDER DIRECTING CLERK OF COURT TO
                                                    IMMEDIATELY ENTER AN ORDER FOR
16
                                                    RELIEF UNDER CHAPTER 7, AND
17                                    Debtor(s).    REQUIRING THE DEBTOR TO FILE ALL
                                                    SCHEDULES AND RELATED
18                                                  DOCUMENTATION FOR A CHAPTER 7
19                                                  CASE WITHIN FOURTEEN DAYS OF THE
                                                    ENTRY OF THIS ORDER
20
                                                    [No Hearing Required]
21
22
23            On June 10, 2020, the Court entered its “Order: (1) Directing Rachel Rechnitz

24   And Jona Rechnitz To File Joint Declaration Under Penalty Of Perjury; (2) Setting Date

25   By Which Petitioning Creditors May Contact Creditors Identified In Joint Declaration And

26   Conduct Certain Discovery; (3) Setting Date For Hearing On Status Conference; And

27   (4) Setting Date For Filing Of Joint Status Report Prior To Status Conference” (“June 10

28   Order”), wherein the Court specifically ordered, inter alia, that:




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1                  1. Rachel Rechnitz and Jona Rechnitz (collectively, the
                   ‘Rechnitz’s’) must file a joint declaration, sworn under
2                  penalty of perjury, which identifies each and every one of the
3                  debtor’s creditors as of the date of the filing of the
                   involuntary petition on April 6, 2020. The joint declaration
4                  shall include, without limitation, the following information with
                   respect to each creditor identified therein:
5
                       a. the name of the creditor;
6
7                      b. the nature of the debt owed to the creditor (e.g.,
                       consigned jewelry, rent due and owing, etc.);
8
                       c. the amount of the creditor’s claim;
9
10                     d. whether the creditor’s claim is disputed and, if so,
                       the nature of the dispute; and
11
                       e. complete contact information for each creditor
12                     including, but not limited to, the creditor’s address,
13                     telephone number, cell phone number (if known), fax
                       number (if applicable), and email address (if known);
14
                   2. The Rechnitz’s shall have seven (7) days from the date of
15                 this hearing (i.e., no later than 3:00 p.m. on Tuesday, June
                   16, 2020) to file their joint declaration with the Court and
16                 serve the declaration on counsel for the petitioning creditors;
17
                   3. If the Rechnitz’s fail to file the joint declaration by that
18                 date and time, the Court will deny the debtor’s Motion to
                   Dismiss and immediately enter an order for relief in this
19                 case. [. . .]
20
     June 10, 2020 Order, docket no. 39, pages 3 and 4.
21
            The debtor filed an “Emergency Motion For (1) Reconsideration Of The Court’s
22
     Order, Or (2) Alternatively, A Stay Of The Bankruptcy Case” (“Emergency Motion”) on
23
     June 15, 2020. The Court denied the Emergency Motion by a separate order entered on
24
     June 16, 2020.
25
            As of 3:00 p.m. on June 16, 2020, the Rechnitz’s failed to file the joint declaration
26
     under penalty of perjury, the required list of creditors, or otherwise comply with the June
27
     10, 2020 Order in any respect. Accordingly, IT IS HEREBY ORDERED that:
28




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1         1. The Clerk of Court shall enter an order for relief under chapter 7 of the
2             Bankruptcy Code immediately upon entry of this Order; and
3         2. The debtor is required to file all schedules and related documentation for a
4             chapter 7 case, in accordance with the Local Bankruptcy Rules, within
5             fourteen (14) days from the date of entry of this Order.
6         IT IS SO ORDERED.
7                                              ###
8
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24
25       Date: June 16, 2020

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Rev. 12/2015

                                                United States Bankruptcy Court
                                                  Central District of California
                                               255 East Temple Street, Los Angeles, CA 90012

           ORDER FOR RELIEF AND ORDER TO FILE SCHEDULES, STATEMENTS AND LIST(S)


    DEBTOR(S) INFORMATION:                                                  BANKRUPTCY NO. 2:20−bk−13530−BR
     Jadelle Jewelry And Diamonds LLC a Delaware                            CHAPTER 7
    limited liability company
    dba Jadelle Inc
    SSN: N/A
    EIN: 00−0000000
    9454 Wilshire Blvd
    Penthouse 01
    Beverly Hills, CA 90212


Order/Notice to the parties in interest:

An involuntary Chapter 7 petition having been filed against the above−named debtor on April 6, 2020

       Debtor consented to the entry of an order of relief.

       No pleading or other defense to the petition having been filed within 21 days after service of the summons (or within
       any longer period of time precribed by the Court), an Order for Relief is hereby issued against the debtor.



Debtor is ordered to file within seven days after entry of this order for relief, a list containing the name and address of each
entity included on Schedule D, E/F, G, and H as prescribed by the Official Forms (Federal Rule of Bankruptcy Procedure 1007
(a)(2)).
Debtor is also ordered to file schedules, statement and Statement About Your Social Security Numbers (Official Form B121)
referred to in Federal Rule of Bankruptcy Procedure 1007(a),(c) and (f) within 14 days after entry of this Order For Relief.



                                                                              For The Court,
Dated: June 16, 2020                                                          Kathleen J. Campbell
                                                                              Clerk of Court




(Form ofri−orlf7,orlf11,iors) VAN−93 Rev. 12/2015                                                                         55 / SF




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                                                                    LLC
                                                                  7

                                                                  8
                                                                                             UNITED STATES BANKRUPTCY COURT
                                                                  9
                                                                                              CENTRAL DISTRICT OF CALIFORNIA
                                                                 10
                                                                                                     LOS ANGELES DIVISION
                                                                 11
                                                                      In re                                       Case No. 2:20-bk-13530-BR
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                                                                 12
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                                                                    JADELLE JEWELRY AND DIAMONDS,                 Chapter 7
                                                                 13 LLC,
                                                                                                                  PUTATIVE DEBTOR'S MOTION TO
                                                                 14                        Putative Debtor.       DISMISS INVOLUNTARY PETITION
                                                                                                                  AND REQUEST FOR ATTORNEY'S
                                                                 15                                               FEES, COSTS, AND DAMAGES; AND
                                                                                                                  MEMORANDUM OF POINTS AND
                                                                 16                                               AUTHORITIES IN SUPPORT
                                                                 17                                               [Request for Judicial Notice Filed
                                                                                                                  Concurrently Herewith]
                                                                 18
                                                                                                                  DATE:       June 9, 2020
                                                                 19                                               TIME:       10:00 a.m.
                                                                                                                  CTRM:       1668
                                                                 20                                                           255 E. Temple Street
                                                                                                                              Los Angeles, CA 90012
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                                                                      2822821.1                                                             MOTION TO DISMISS
                                                                                                                                        INVOLUNTARY PETITION

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                                                                  1 TO THE HONORABLE BARRY RUSSELL, UNITED STATES BANKRUPTCY JUDGE:

                                                                  2               Jadelle Jewelry and Diamonds, LLC, the putative debtor ("Jadelle"), hereby submits this

                                                                  3 Motion to Dismiss Involuntary Petition and Request for Attorney's Fees, Costs and Damages (the

                                                                  4 "Motion") in response to the involuntary petition filed by First International Diamond, Inc., Peter

                                                                  5 Marco, LLC, and Victor Franco Noval (collectively, the "Petitioning Creditors"). In support of the

                                                                  6 Motion, Jadelle submits the following memorandum of points and authorities and the concurrently
                                                                  7 filed Request for Judicial Notice ("RJN").

                                                                  8

                                                                  9                            MEMORANDUM OF POINTS AND AUTHORITIES
                                                                 10 I.            INTRODUCTION
                                                                 11               This case should be dismissed because, under binding Ninth Circuit law, the Petitioning
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                                                                 12 Creditors are not eligible to commence it.
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                                                                 13
                                                                                         A creditor whose claim is the subject of a bona fide dispute as to
                                                                 14                      amount lacks standing to serve as a petitioning creditor under §
                                                                                         303(b)(1) even if a portion of the claim amount is undisputed.
                                                                 15
                                                                 16 Dep't of Revenue v. Blixseth, 942 F.3d 1179, 1186 (9th Cir. 2019). A petitioning creditor is

                                                                 17 ineligible if any portion of its claim is subject to a bona fide dispute, even if some amount of the

                                                                 18 claim is undisputed. As detailed herein, each Petitioning Creditor's claim is subject to multiple
                                                                 19 disputes, any single one of which disqualifies the Petitioning Creditor.
                                                                 20               The Petitioning Creditors' claims are the subject of pending litigation in other forums.

                                                                 21 Courts hold that the existence of pending, contested litigation is, on its own, evidence that bona

                                                                 22 fide disputes exist. Two of the Petitioning Creditors recently commenced suits against Jadelle and
                                                                 23 it is clear on the face of their complaints that the alleged claims of all three Petitioning Creditors

                                                                 24 are subject to bona fide disputes as to both amount and liability. Among other disputes, the

                                                                 25 Petitioning Creditors take inconsistent positions regarding the amounts of their alleged claims, fail
                                                                 26 to account for payments received, seek amounts that Jadelle simply does not owe as a matter of

                                                                 27 law, and allege unspecified damages "to be proven at trial" that have yet to be quantified or

                                                                 28 adjudicated. Moreover, two Petitioning Creditors are seeking to collect, in part, the very same

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                                                                  1 claim. In short, numerous disputes exist and no amount of mud that the Petitioning Creditors will

                                                                  2 inevitably sling at Jadelle will change this fact.
                                                                  3               The Petitioning Creditors carry the heavy burden of demonstrating the absence of a bona

                                                                  4 fide dispute. This Court's role is not to resolve the underlying disputes between the parties or to

                                                                  5 determine the amounts of the alleged claims. Rather, the Court is to confirm only that "legitimate

                                                                  6 disputes" exist. The Petitioning Creditors simply cannot satisfy their high burden of
                                                                  7 demonstrating that their claims are not subject to any bona fide disputes of law or fact and as to

                                                                  8 either liability or amount.

                                                                  9               The involuntary petition should also be dismissed because it was filed in bad faith and for

                                                                 10 an improper purpose. Involuntary cases are to be measures "of last resort" and pursued after

                                                                 11 parties exhaust their state law remedies. The parties are involved in complex, multi-party
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                                                                 12 litigation currently pending in different forums that is in its earliest stages. The parties' disputes
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                               Costa Mesa, California 92626




                                                                 13 must first be adjudicated elsewhere, not here. The Petitioning Creditors, apparently unhappy with

                                                                 14 the progress in their chosen forums, seek to avoid an adjudication on the merits and leverage the

                                                                 15 payment of their disputed claims. This is bad faith.
                                                                 16               Bad faith warranting dismissal exists for multiple reasons. The Petitioning Creditors

                                                                 17 commenced this case with claims that are clearly in dispute, which renders them ineligible. The

                                                                 18 Petitioning Creditors are using the bankruptcy process as a litigation and collection tactic to
                                                                 19 leverage the payment of amounts that Jadelle does not owe. The pending lawsuits demonstrate
                                                                 20 that state law remedies exist and have not been exhausted. The Petitioning Creditors are forum

                                                                 21 shopping; filing this case shortly after one lawsuit was temporarily stayed pending a hearing on

                                                                 22 the defendants' motion for a stay on 5th Amendment grounds. The Petitioning Creditors are
                                                                 23 attempting to circumvent pending court proceedings and Jadelle's constitutional rights. This

                                                                 24 involuntary case is the exact type of filing that the safeguards in the Bankruptcy Code are designed

                                                                 25 to prevent—creditors with disputed claims are not eligible for the extraordinary relief of pushing a
                                                                 26 business into bankruptcy against its will. Bankruptcy courts routinely dismiss involuntary cases

                                                                 27 under these types of circumstances, and this Court should do so here.

                                                                 28

                                                                      2822821.1                                             2                            MOTION TO DISMISS
                                                                                                                                                     INVOLUNTARY PETITION

                                                                                                                                                      EXHIBIT "6", PAGE 34
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                                                                  1               For these reasons and as further detailed below, Jadelle respectfully requests that the Court

                                                                  2 immediately dismiss the involuntary petition and award Jadelle attorney's fees, costs and
                                                                  3 compensatory and punitive damages.

                                                                  4

                                                                  5 II.           BACKGROUND
                                                                  6               A.     General Background
                                                                  7               Jadelle is a Delaware limited liability company. Rachel Rechnitz is Jadelle's managing

                                                                  8 member. Jona Rechnitz is Rachel's husband.

                                                                  9               On April 6, 2020, the Petitioning Creditors filed an involuntary chapter 7 petition against

                                                                 10 Jadelle [Docket No. 1] (the "Involuntary Petition"). Through the Involuntary Petition, the

                                                                 11 Petitioning Creditors alleged claims against Jadelle under penalty of perjury in the following
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                                                                 12 amounts:
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                                                                 13                      Name of Petitioner                      Claim Amount
                                                                 14                      Victor Franco Noval                     $5,800,000
                                                                 15                      Peter Marco, LLC                        $7,676,744
                                                                 16                      First International Diamond, Inc.       $1,976,225
                                                                 17

                                                                 18 (See RJN, Ex. 1 at Bates Stamp 7.)
                                                                 19               A response to the Involuntary Petition is due within 21 days of service, plus three
                                                                 20 additional days if service was by mail. See Fed. R. Bankr. P. 1011 & 9006(f). Here, the

                                                                 21 Petitioning Creditors served the Involuntary Petition via mail, and, as a result, Jadelle's response is

                                                                 22 due on May 1, 2020.
                                                                 23               B.     Victor Franco Noval
                                                                 24                      1.      The Noval Action
                                                                 25               On February 10, 2020, Victor Franco Noval ("Noval") filed a complaint in the Superior
                                                                 26 Court of the State of California against Jadelle and five other defendants (the "Noval Action"). A

                                                                 27 true and correct copy of the complaint filed in the Noval Action is attached to the RJN as Exhibit

                                                                 28 "2" (the "Noval Complaint"). Noval asserts the following causes of action against the defendants:

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                                                                  1 (1) fraud; (2) civil theft; (3) breach of contract; and (4) conspiracy to commit theft, fraud, and

                                                                  2 fraud by concealment. (See RJN, Ex. 2 at Bates Stamps 29-32.) Despite listing his claim in the
                                                                  3 amount of $5.8 million in the Involuntary Petition, in the Noval Complaint, Noval requests

                                                                  4 damages "in an amount to be proven at trial, but at least $7,000,000," including compensatory

                                                                  5 damages, treble damages, attorneys' fees, costs of suit, and punitive damages. (See id. at Bates

                                                                  6 Stamp 30, ¶ 69, and Bates Stamp 33.) Noval also seeks a constructive trust concerning certain
                                                                  7 property and the appointment of a receiver. (See id.)

                                                                  8               In the Noval Complaint, Noval alleges that Jadelle owes him a debt pursuant to a Debt

                                                                  9 Acknowledgment, Promissory Note and Security Agreement, which is attached to the Noval
                                                                 10 Complaint as Exhibit "A" (the "Noval Agreement"). (See RJN, Ex. 2 at Bates Stamp 32, ¶ 76.)

                                                                 11 According to the Noval Agreement, Noval loaned Jadelle $2.85 million at 9% interest per annum.
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                                                                 12 (See id. at Bates Stamp 37.) The Noval Agreement provides that the monthly interest-only
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                               Costa Mesa, California 92626




                                                                 13 payments were to begin on April 1, 2019 and the maturity date for each installment was six

                                                                 14 months after such installment was advanced. (See id.) The Noval Agreement states that the $2.85

                                                                 15 million loan is secured by unspecified jewelry and a pledge of a 2012 Bugatti vehicle valued at
                                                                 16 $400,000. (See id. at Bates Stamps 37-38.) According to the Noval Complaint, the $7,000,000 in

                                                                 17 purported damages constitutes the value of collateral given to Noval for the loans in the Noval

                                                                 18 Agreement. (See id. at Bates Stamp 24, ¶ 29.)
                                                                 19               Noval alleges that "[t]he original principal amount in the Debt Agreement is $2,850,000 at

                                                                 20 9% interest per month, however, the total debt owed by Defendants later increased to $5,800,000."

                                                                 21 (See RJN, Ex. 2 at Bates Stamp 22, ¶ 15.) However, nowhere in the Noval Complaint does Noval

                                                                 22 specify how he calculated the alleged debt of $5.8 million. (See generally, id. at Bates Stamps 18-
                                                                 23 33.) Noval does not explain the nature or terms of the amounts in excess of the loans set forth in

                                                                 24 the Noval Agreement other than to say that the debt grew after a series of further advance

                                                                 25 transactions. (See id. at Bates Stamps 22, ¶ 15 & 23, ¶ 17.) In the Noval Complaint, Noval
                                                                 26 concedes that the Bugatti vehicle was liquidated and alleges that the proceeds were credited

                                                                 27 against the principal debt in the amount of $400,000. (See id. at ¶ 18.)

                                                                 28

                                                                      2822821.1                                            4                            MOTION TO DISMISS
                                                                                                                                                    INVOLUNTARY PETITION

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                                                                  1               Noval asserts that he filed the Noval Complaint not because he expects to recover

                                                                  2 anything, but because he wants to encourage criminal proceedings against the defendants. (See,
                                                                  3 e.g., RJN, Ex. 2 at Bates Stamp 27, ¶ 49, "At this point, Plaintiff has no realistic belief that

                                                                  4 Rechnitz will ever pay him back . . . ."; see also id. at Bates Stamp 29, ¶ 53, "Plaintiff is hopeful

                                                                  5 that the publication of this action will cause more victims . . . to report these matters to proper

                                                                  6 authorities.")
                                                                  7                      2.     The Temporary Stay of the Noval Action
                                                                  8               On March 10, 2020, the court in the Noval Action entered an order temporarily staying the

                                                                  9 case pending the hearing on the defendants' motion for a stay of proceedings. (See RJN Ex. 4,
                                                                 10 Minute Order, at Bates Stamp 56.) The Defendants sought a stay to protect their constitutional

                                                                 11 rights because, as set forth in the Noval Complaint, Noval seeks to encourage criminal
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                                                                 12 proceedings and there is now an ongoing criminal investigation. The hearing on the motion for
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                                                                 13 stay of proceedings is currently set for November 3, 2020. (See RJN Ex. 3, Noval Action Docket,

                                                                 14 at Bates Stamp 53.) The time to respond to the Noval Complaint has not yet passed as of the date

                                                                 15 of this filing.
                                                                 16                      3.     The Al-Sabah Action Against Noval
                                                                 17               On November 25, 2019, Khaled J. Al-Sabah and Jarrah Khaled Al-Sabah (the "Al-

                                                                 18 Sabahs") commenced an action in the Superior Court of the State of California against Noval and
                                                                 19 other defendants (the "Al-Sabah Action"). On April 6, 2020, the Al-Sabah Plaintiffs filed a
                                                                 20 motion for leave to file a first amended complaint (the "Proposed Al-Sabah First Amended

                                                                 21 Complaint"). A true and correct copy of relevant excerpts of the Proposed Al-Sabah First

                                                                 22 Amended Complaint is attached to the RJN as Exhibit "5."
                                                                 23               Through the Proposed Al-Sabah First Amended Complaint, the Al-Sabahs seek leave to

                                                                 24 add Jadelle and others as defendants to the Al-Sabah Action. (See RJN, Ex. 5 at Bates Stamp 66.)

                                                                 25 The primary thrust of the Al-Sabah Action is that Noval's father, Victorino Noval ("Victorino"),
                                                                 26 and Noval defrauded the Al-Sabahs out of $163 million. (See id. at Bates Stamp 69, ¶ 346.) In

                                                                 27 the proposed twenty-eighth cause of action, the Al-Sabahs allege that the monies loaned by Noval

                                                                 28 to Jadelle and referenced in the Noval Agreement were the monies wrongfully obtained by

                                                                      2822821.1                                            5                            MOTION TO DISMISS
                                                                                                                                                    INVOLUNTARY PETITION

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                                                                  1 Victorino and Noval from the Al-Sabahs. (See id. at Bates Stamp 68, ¶ 339.) Moreover, the Al-

                                                                  2 Sabahs argue that monies loaned by Noval to Jadelle are property of the Al-Sabahs, and not
                                                                  3 Noval. (See id. at Bates Stamps 69-70, ¶ 347.) A few of the relevant allegations are as follows:

                                                                  4               •     "Khaled . . . alleges, that each and every dollar that the Jadelle Entities borrowed
                                                                  5                     from Victorino and Franco pursuant to the written agreement was funded by the

                                                                  6                     above referenced monies belonging to Khaled which have been wrongly and

                                                                  7                     illegally obtained by Victorino, Franco and the other conspiring Defendants. . . ."

                                                                  8                     (Id. at Bates Stamp 68, ¶ 339.)

                                                                  9               •     "Khaled is further informed and believes that the original principal amount
                                                                 10                     borrowed by the Jadelle Entities was $2,850,000, that the loan was secured by

                                                                 11                     $7,000,000 worth of diamonds delivered to Franco and Victorino, as well as a 2012
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                                                                 12                     Bugatti, and that after a series of transactions, the debt on the loan grew to
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                                                                 13                     $5,800,000." (Id. at Bates Stamp 68, ¶ 340.)

                                                                 14               •     "Khaled disputes Franco's and Victorino's claim for damages in the Rechnitz
                                                                 15                     Lawsuit, while any damages Franco and Victorino attempt to recover from the

                                                                 16                     Rechnitz Defendants in the Rechnitz Lawsuit . . . are the legal possession of

                                                                 17                     Khaled." (Id. at Bates Stamp 69-70, ¶ 347.)

                                                                 18                     4.      The Disputes Regarding Noval's Claim
                                                                 19               As further detailed and analyzed below, the disputes concerning Noval's claim include the
                                                                 20 following:

                                                                 21               1.    Noval seeks damages that are disputed and have yet to be quantified or proven (e.g.

                                                                 22                     according to Noval, at least $7 million to be proven at trial plus additional

                                                                 23                     amounts);

                                                                 24               2.    Jadelle made re-payments to Noval that are not reflected in his claim;

                                                                 25               3.    Noval's claim has not been reduced by the $400,000 he received on account of the

                                                                 26                     Bugatti;

                                                                 27               4.    Noval has not explained how he calculated the alleged amount of $5,800,000;

                                                                 28

                                                                      2822821.1                                             6                             MOTION TO DISMISS
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                                                                  1               5.     Noval has not demonstrated the terms of amounts in excess of the Noval

                                                                  2                      Agreement and that such amounts are now due;

                                                                  3               6.     Noval is charging usurious interest; and

                                                                  4               7.     The Al-Sabahs assert that any amounts allegedly owed by Jadelle to Noval is their

                                                                  5                      property.

                                                                  6               C.     Peter Marco, LLC
                                                                  7                      1.      The Marco Action
                                                                  8               On March 18, 2020, David Rovinsky Inc. ("Rovinsky") filed a complaint against Peter

                                                                  9 Marco LLC ("Marco") and Peter Voutsas in the United States District Court for the Central
                                                                 10 District of California asserting the following causes of action: (1) negligence; (2) conversion; (3)

                                                                 11 fraud; (4) negligent misrepresentation; (5) civil theft; and (6) aiding and abetting conversion and
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                                                                 12 civil theft (the "Marco Action"). Rovinsky seeks damages of $1.13 million. (See RJN, Ex. 7 at
                             3200 Park Center Drive, Suite 250
                               Costa Mesa, California 92626




                                                                 13 Bates Stamp 93, ¶ 21.)

                                                                 14               On April 24, 2020, seven days after the Involuntary Petition was filed, Marco filed an

                                                                 15 amended third party complaint (the "Marco Complaint") against Jona Rechnitz, Rachel Rechnitz,
                                                                 16 and Levin Prado (collectively, the "Marco Complaint Defendants"). A true copy of the Marco

                                                                 17 Complaint is attached to the RJN as Exhibit "7." Marco asserts the following causes of action: (1)

                                                                 18 fraud; (2) civil theft; (3) embezzlement; (4) civil conspiracy to commit theft, fraud, and fraud by
                                                                 19 concealment; (5) conversion; (6) breach of contract; (7) breach of the implied covenant of good
                                                                 20 faith and fair dealing; (8) account stated; and (9) unethical business practices in violation of

                                                                 21 California Business & Professions Code § 17200. (See RJN, Ex. 7 at Bates Stamps 117-128.)

                                                                 22 Despite listing his claim in the amount of $7,676,744 in the Involuntary Petition, in the Marco
                                                                 23 Complaint, Marco requests damages of $6,950,444.40 but subject to proof at trial, including

                                                                 24 compensatory damages, treble damages, attorneys' fees, costs of suit, and punitive damages. (See

                                                                 25 id. at Bates Stamp 117, ¶ 90.)
                                                                 26               Marco did not name Jadelle as a defendant in the Marco Complaint. (See id. at Bates

                                                                 27 Stamp 89.) Marco alleges that he excluded Jadelle due to the automatic stay and that he intends to

                                                                 28

                                                                      2822821.1                                             7                            MOTION TO DISMISS
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                                                                  1 pursue his disputed litigation claims against Jadelle before this Court (See id. at Bates Stamp 91, ¶

                                                                  2 10.)
                                                                  3               Marco alleges that he consigned jewelry to Jona Rechnitz and that Mr. Rechnitz absconded

                                                                  4 with the consigned jewelry. (See generally, id. at Bates Stamps 119-120, ¶ 103, alleging that

                                                                  5 "Jona swindled Marco . . . by absconding with Marco's Consigned Jewelry. . . .") Specifically,

                                                                  6 Marco alleges that he consigned sixteen pieces of jewelry to Mr. Rechnitz, not Jadelle, and he
                                                                  7 includes a table listing the stated values in the total amount of $6,950,444.40. (See id. at Bates

                                                                  8 Stamp 99, ¶ 33, "Accordingly, Marco LLC consigned the following pieces of Consigned Jewelry

                                                                  9 to Rechnitz." (emphasis added); see also id. at Bates Stamp 100, ¶ 35, "Marco LLC consigned
                                                                 10 Rovinsky's Ring & Necklace to Rechnitz." (emphasis added); id. at Bates Stamp 118, ¶ 95, "Jona

                                                                 11 and Third-Party Defendants have obtained and received property from Marco, the $6,950,444.40
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                                                                 12 of Consigned Jewelry. . . ." (emphasis added).) Marco also admits that Marco asserted the wrong
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                                                                 13 claim amount in the Involuntary Petition: "The petitioning creditors are . . . Peter Marco, LLC,

                                                                 14 with Trade Debt/Damages of $7,676,744.00 (The correct amount is $6,950,444.40)." (See id. at

                                                                 15 Bates Stamp 91, ¶ 9.)
                                                                 16               The time to respond to the Marco Complaint has not yet passed as of the date of this filing.

                                                                 17 A true copy of the docket in the Marco Action is attached to the RJN as Exhibit "8."

                                                                 18                      2.      The Disputes Regarding Marco's Claim
                                                                 19               As further detailed and analyzed below, the disputes concerning Marco's claim include the
                                                                 20 following:

                                                                 21               1.     According to Marco, Marco consigned jewelry to Mr. Rechnitz, as opposed to

                                                                 22                      Jadelle;

                                                                 23               2.     Marco seeks damages that that are disputed and have yet to be quantified or proven

                                                                 24                      (e.g. according to Marco, an amount to be proven at trial, but at least

                                                                 25                      $6,950,444.40, plus additional amounts, such as punitive damages, interest and

                                                                 26                      attorney's fees);

                                                                 27               3.     Marco and the third petitioning creditor, First International Diamond, Inc. ("First

                                                                 28                      International") are pursuing Jadelle, in part, for the same exact claim;

                                                                      2822821.1                                             8                             MOTION TO DISMISS
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                                                                  1               4.     Marco's list of items allegedly consigned are subject to multiple disputes, including,

                                                                  2                      without limitation, on the basis that certain items were never consigned or received

                                                                  3                      and memos to the contrary appear to have been fabricated, certain items were

                                                                  4                      provided to customers with Marco's knowledge and permission and are still with

                                                                  5                      those customers, and the stated values asserted by Marco for certain consigned

                                                                  6                      items are incorrect;

                                                                  7               5.     Marco was previously paid by Jadelle for one particular item; and

                                                                  8               6.     For the items owned by Rovinsky, Marco seeks to collect amounts in excess of the

                                                                  9                      damages sought by Rovinsky.

                                                                 10                      3.      First International Diamond, Inc.
                                                                 11               First International alleged a claim for $1,976,225. First International has not commenced
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                                                                 12 any litigation against Jadelle for this claim and it is not entirely clear how First International
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                                                                 13 calculated its claim. However, Jadelle disputes that First International is owed the amount in the

                                                                 14 Involuntary Petition. It is Jadelle's understanding that First International's claim arises from three

                                                                 15 different consigned sets of jewelry:
                                                                 16               First, Marco's alleged claim includes a stone owned by First International at the stated

                                                                 17 value of $1,333,695.00. (See RJN, Ex. 7 at Bates Stamp 100, lines 9-10.) However, Jadelle

                                                                 18 understands that First International's claim is primarily based on the consignment of this same
                                                                 19 stone with a stated value of $1,200,000. Marco and First International are attempting to collect, in
                                                                 20 part, on the same claim and this claim is already the subject of the pending Marco Action. This is

                                                                 21 a fact that both Petitioning Creditors must recognize.

                                                                 22               Second, First International consigned three rings and a bracelet with a stated collective

                                                                 23 value of approximately $1,000,000. Jadelle understands that First International later reacquired

                                                                 24 the items from a third party for $300,000.

                                                                 25               Third, First International consigned a stone with a stated value of $950,000. Jadelle

                                                                 26 understands that First International later paid $440,000 to reacquire the stone, plus purchase other

                                                                 27 jewelry, which was owned by another party and not First International.

                                                                 28

                                                                      2822821.1                                              9                            MOTION TO DISMISS
                                                                                                                                                      INVOLUNTARY PETITION

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                                                                  1                      4.      The Disputes Regarding First International's Claim
                                                                  2               As further detailed and analyzed below, the disputes concerning First International's claim
                                                                  3 include the following:

                                                                  4               1.     It is not entirely clear how First International calculated its claim based on the

                                                                  5                      items discussed above;

                                                                  6               2.     First International and Marco are pursuing Jadelle, in part, for the same exact claim

                                                                  7                      and any alleged damage arising from that claim is subject to proof and in dispute;

                                                                  8               3.     First International seems to assert a claim based on the stated value for certain

                                                                  9                      items, as opposed to the actual cost that First International paid to reacquire those

                                                                 10                      items; and

                                                                 11               4.     First International's claim should not include amounts that it paid to acquire jewelry
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                                                                 12                      that did not belong to it, and Jadelle should be credited for the value of those items.
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                                                                 13

                                                                 14 III.          A PUTATIVE DEBTOR MAY CONTEST AN INVOLUNTARY PETITION WITH
                                                                 15               A RULE 12 MOTION TO DISMISS
                                                                 16               Pursuant to the Federal Rules of Bankruptcy Procedure, an alleged debtor may answer and

                                                                 17 contest an involuntary petition in the manner prescribed by Federal Rule of Civil Procedure

                                                                 18 ("Rule") 12. See Fed. R. Bank. P. 1011(b). Rule 12 provides for the service of an answer or the
                                                                 19 filing of several dispositive motions, including motions to dismiss pursuant to Rule 12(b).
                                                                 20               Rule 12(b)(6) tests the legal sufficiency of the averments in the complaint—here, the

                                                                 21 involuntary petition. A complaint shall be dismissed when it fails to state a claim upon which

                                                                 22 relief can be granted. Fed. R. Civ. P. 12(b)(6). This occurs when a plaintiff's complaint fails to
                                                                 23 provide grounds for his or her entitlement to relief. See Fed. R. Civ. P. 8; See also Bell Atlantic

                                                                 24 Corp. v. Twombly, 550 U.S. 544, 554-557 (2007). A plaintiff must allege sufficient facts to

                                                                 25 support a cognizable legal theory. See Navarro v. Block, 250 F.3d 729, 732 (9th Cir. 2001).
                                                                 26               In evaluating the sufficiency of a complaint, the United States Supreme Court employs a

                                                                 27 two-pronged approach. See Ashcroft v. Iqbal, 556 U.S. 662, 679 (2009). First, the Supreme Court

                                                                 28 identifies and then disregards any legal conclusions as they are not entitled to an assumption of

                                                                      2822821.1                                             10                             MOTION TO DISMISS
                                                                                                                                                       INVOLUNTARY PETITION

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                                                                  1 truth. See id. at 678 & 680-81. Mere "labels and conclusions" and/or "formulaic recitation[s] of

                                                                  2 the elements of a cause of action" will not suffice to overcome a motion to dismiss. See Twombly,
                                                                  3 550 U.S. at 555; see also Iqbal, 556 U.S. at 678 ("Threadbare recitals of the elements of a cause of

                                                                  4 action, supported by mere conclusory statements, do not suffice."). Second, the Supreme Court

                                                                  5 evaluates whether the non-conclusory factual allegations support a plausible entitlement to relief.

                                                                  6 See Iqbal at 681. "A claim has facial plausibility when the plaintiff pleads factual content that
                                                                  7 allows the court to draw the reasonable inference that the defendant is liable for the misconduct

                                                                  8 alleged." Id. at 678 (internal citations omitted). "Factual allegations must be enough to raise a

                                                                  9 right to relief above the speculative level. . . ." Twombly, 550 U.S. at 555.
                                                                 10               In deciding a motion to dismiss, a court may consider certain documents as part of the

                                                                 11 complaint. A court may consider "documents attached to the complaint, documents incorporated
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                                                                 12 by reference in the complaint, or matters of judicial notice. . . ." See United States v. Ritchie, 342
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                               Costa Mesa, California 92626




                                                                 13 F.3d 903, 908 (9th Cir. 2003). "Even if a document is not attached to a complaint, it may be

                                                                 14 incorporated by reference into a complaint if the plaintiff refers extensively to the document or the

                                                                 15 document forms the basis of the plaintiff's claim." Id.
                                                                 16               Factual assertions in pleadings are "judicial admissions binding on the party who made

                                                                 17 them." See Am. Title Ins. Co. v. Lacelaw Corp., 861 F.2d 224, 226 (9th Cir. 1988). Judicial

                                                                 18 admissions "have the effect of withdrawing a fact from issue and dispensing wholly with the need
                                                                 19 for proof of the fact." Id. Also, unlike ordinary evidentiary admissions, judicial admissions
                                                                 20 cannot be refuted with evidence or otherwise. In sum, a judicial admission is conclusive, binding,

                                                                 21 and may not be controverted or explained by the party who made it. See Lacelaw Corp., 861 F.2d

                                                                 22 at 226; see also Martinez v. Bally's Louisiana, Inc., 244 F.3d 474, 476-77 (5th Cir. 2001); Hon.
                                                                 23 Barry Russell, Bankruptcy Evidence Manual § 801.22 (2009-2010 ed., vol. 2).

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                                                                      2822821.1                                            11                           MOTION TO DISMISS
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                                                                  1 IV.           THE INVOLUNTARY PETITION MUST BE DISMISSED BECAUSE THE
                                                                  2               PETITIONING CREDITORS' ALLEGED CLAIMS ARE SUBJECT TO BONA
                                                                  3               FIDE DISPUTES
                                                                  4               Here, the case must be dismissed for multiples reasons, including, but not limited to, the

                                                                  5 fact that the Petitioning Creditors are not eligible to commence this case as required by 11 U.S.C.

                                                                  6 § 303(b). 1
                                                                  7               Section 303(b) of the Bankruptcy Code provides that:

                                                                  8                      An involuntary case against a person is commenced by the filing with
                                                                                         the bankruptcy court of a petition under chapter 7 or 11 of this title—
                                                                  9
                                                                                         (1) by three or more entities, each of which is either a holder of a claim
                                                                 10                      against such person that is not contingent as to liability or the subject
                                                                                         of a bona fide dispute as to liability or amount, or an indenture trustee
                                                                 11                      representing such a holder, if such noncontingent, undisputed claims
                                                                                         aggregate at least $16,750 more than the value of any lien on property
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                                                                 12                      of the debtor securing such claims held by the holders of such claims;
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                                                                 13                      (2) if there are fewer than 12 such holders, excluding any employee or
                                                                                         insider of such person and any transferee of a transfer that is voidable
                                                                 14                      under section 544, 545, 547, 548, 549, or 724(a) of this title, by one or
                                                                                         more of such holders that hold in the aggregate at least $16,750 of such
                                                                 15                      claims.

                                                                 16 11 U.S.C. § 303(b) (emphasis added).

                                                                 17               A.     Whether a Bona Fide Dispute Exists is Determined by an Objective Standard
                                                                 18               A claim is subject to a bona fide dispute if "there is an objective basis for either a factual or
                                                                 19 legal dispute as to the validity of the debt." See In re Vortex Fishing Systems, Inc., 277 F.3d 1057,
                                                                 20 1064 (9th Cir. 2001). Importantly, in the Ninth Circuit, "[a] bankruptcy court is not asked to

                                                                 21 evaluate the potential outcome of a dispute, but merely to determine whether there are facts that

                                                                 22 give rise to a legitimate disagreement over whether money is owed, or, in certain cases, how
                                                                 23 much." See id. (emphasis added); see also In re BDC, 56 LLC 330 F.3d 111, 117-18 (2d Cir.

                                                                 24 2003) ("The legislative history makes it clear that Congress intended to disqualify a creditor

                                                                 25 whenever there is any legitimate basis for the debtor not paying the debt, whether that basis is
                                                                 26
                                                                          1
                                                                 27            For purposes of this Motion, Jadelle has focused on certain disputes concerning the claims of the Petitioning
                                                                      Creditors. However, Jadelle also disputes other elements the Petitioning Creditors must prove for the entry of an
                                                                 28   order for relief.


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                                                                  1 factual or legal. Congress plainly did not intend to require a debtor to pay a legitimately disputed

                                                                  2 debt simply to avoid the stigma of bankruptcy.") "[T]he burden is on the petitioning creditors to
                                                                  3 show that no bona fide dispute exists." See In re Vortex Fishing Systems, Inc., 277 F.3d at 1064;

                                                                  4 In re Bimini Island Air, Inc., 370 B.R. 408, 413 (Bankr. S.D. Fla. 2007).

                                                                  5               "Bankruptcy courts routinely consider the existence and character of pending but
                                                                  6 unresolved litigation as evidence of a bona fide dispute." In re Green Hills Dev. Co., L.L.C.,
                                                                  7 741 F.3d 651, 659 (5th Cir. 2014); see also In re TPG Troy, LLC, 492 B.R. 150, 159-60 (Bankr.

                                                                  8 S.D.N.Y. 2013), subsequently aff'd, 793 F.3d 228 (2d Cir. 2015) (stating that courts have held that

                                                                  9 the existence of pending litigation strongly suggests the existence of a bona fide dispute).
                                                                 10               B.     Ninth Circuit Law—A Dispute as to Any Portion of a Claim Disqualifies the
                                                                 11                      Petitioning Creditor
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                                                                 12               The Ninth Circuit made clear that a dispute as to any portion of a claim disqualifies the
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                                                                 13 petitioning creditor. In Blixseth, the Ninth Circuit held unequivocally as follows:

                                                                 14                      A creditor whose claim is the subject of a bona fide dispute as to
                                                                                         amount lacks standing to serve as a petitioning creditor under
                                                                 15                      § 303(b)(1) even if a portion of the claim amount is undisputed."

                                                                 16 Dep't of Revenue v. Blixseth, 942 F.3d 1179, 1186 (9th Cir. 2019) (emphasis added); see also

                                                                 17 Fustolo v. 50 Thomas Patton Drive, LLC, 816 F.3d 1, 10 (1st Cir. 2016); In re Green Hills Dev.

                                                                 18 Co., 741 F.3d 651, 660 (5th Cir. 2014).
                                                                 19               The Ninth Circuit specifically rejected the argument that a creditor with a partially

                                                                 20 undisputed claim should not be disqualified as a petitioning creditor. See Blixseth, 942 F.3d at

                                                                 21 1186-87. The Ninth Circuit emphasized that creditors should not be permitted to use any

                                                                 22 concession or undisputed portion to leverage the collection of the disputed amount. See id. at
                                                                 23 1186-87; see also In re Seko Inv., Inc., 156 F.3d 1005, 1007-08 (9th Cir. 1998) (Section 303(b)(1)

                                                                 24 "aim[s] to prevent creditors from using the threat of an involuntary petition to bully an alleged

                                                                 25 debtor into settling a speculative or validly disputed debt.").
                                                                 26

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                                                                      2822821.1                                             13                            MOTION TO DISMISS
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                                                                  1 V.            THE PETITIONING CREDITORS' CLAIMS ARE SUBJECT TO MULTIPLE
                                                                  2               DISPUTES
                                                                  3               The Petitioning Creditors have not and cannot satisfy their high burden of demonstrating

                                                                  4 that their claims are not subject to bona fide disputes as to fact or law and as to either liability or

                                                                  5 amount. While many disputes exist, the disputes demonstrated by pleadings subject to judicial

                                                                  6 notice are sufficient to disqualify each of the Petitioning Creditors. Moreover, as discussed above,
                                                                  7 the existence of pending litigation, in and of itself, is evidence of bona fide disputes.

                                                                  8               A.     Noval's Alleged Claim is Subject to Bona Fide Disputes
                                                                  9               Noval's alleged $5.8 million claim is subject to several bona fide disputes. Each dispute on
                                                                 10 its own disqualifies Noval as a petitioning creditor.

                                                                 11               First, Noval has not yet quantified or proven his alleged damages. The Noval Complaint is
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                                                                 12 a judicial admission that the amount of Noval's alleged claim is subject to a bona fide dispute.
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                                                                 13 According to Noval, his claim is uncertain and has yet to be stated, liquidated and quantified.

                                                                 14 Noval seeks damages to "be proven at trial. . . ." (See, e.g., RJN, Ex. 2 at Bates Stamp 30, ¶ 60.)

                                                                 15 In addition, Noval seeks other types of unquantified damages, such as treble damages, attorney's
                                                                 16 fees, costs of suit, and punitive damages. (See id. at Bates Stamp 33.) By Noval's own admission,

                                                                 17 Noval's entitlement to damages and the amounts he ultimately seeks have yet to be proven (and

                                                                 18 over Jadelle's defense).
                                                                 19               Second, as a matter of law, Noval is not entitled to $7 million. Under no circumstances

                                                                 20 would Noval be paid this sum. As set forth in the Noval Complaint, the unspecified jewelry was

                                                                 21 collateral. (See id. at Bates Stamp 24, ¶ 60.) Like any other lender, at most, Noval is owed the

                                                                 22 amounts loaned, plus the agreed to interest (subject to the other disputes herein). A lender is not
                                                                 23 entitled to the surplus from any collateral in excess of the amounts needed to pay the loan. Rather,

                                                                 24 any surplus is returned to the borrower. Thus, for this reason, Noval's asserted claim of $7 million

                                                                 25 is subject to bona fide dispute.
                                                                 26               Third, Noval has filed conflicting statements under penalty of perjury regarding the

                                                                 27 amount of his claim. According to the (verified) Noval Complaint, Noval asserts that his claim is

                                                                 28 at least $7 million. (See, e.g., RJN, Ex. 2 at Bates Stamp 30, ¶ 60; see also id. at Bates Stamp 35.)

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                                                                  1 However, the Involuntary Petition, which is signed under penalty of perjury, states he is owed

                                                                  2 only $5.8 million. These conflicting admissions prove that that amount of Noval's claim is in bona
                                                                  3 fide dispute.

                                                                  4               Noval's apparent attempt to sidestep disputes concerning his claim by listing a different,

                                                                  5 lower amount in the Involuntary Petition does not render him eligible. Noval is taking

                                                                  6 inconsistent positions in two different forums. Noval's complaint proves that, on the one hand, he
                                                                  7 is trying to recover at least $7 million, plus more in the Noval Action, while, on the other hand, he

                                                                  8 attempts to force Jadelle into bankruptcy by representing he has a much lower claim. However,

                                                                  9 Noval cannot avoid Ninth Circuit precedent. The Ninth Circuit's decision in Blixseth prevents this
                                                                 10 type of maneuver. The fact remains that Noval's claim is in bona fide dispute. Contrary to the

                                                                 11 Involuntary Petition, Noval is not asserting a claim of only $5.8 million, but of millions more.
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                                                                 12 Besides, as explained herein, Jadelle disputes that Noval is owed even $5.8 million.
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                                                                 13               Fourth, Noval's claim is disputed because it does not account for payments made by

                                                                 14 Jadelle. In the Noval Complaint, Noval claims that he liquidated the Bugatti vehicle, received

                                                                 15 proceeds of $400,000, and applied the proceeds against the debt allegedly owed. (See RJN, Ex. 2
                                                                 16 at Bates Stamp 23, ¶ 18.) Yet, it appears that neither the Involuntary Petition nor the Noval

                                                                 17 Complaint actually reflect a $400,000 reduction to Noval's claim. This is in addition to payments

                                                                 18 made by Jadelle. Thus, from the Noval Complaint alone, there are legitimate, bona fide disputes
                                                                 19 over the amount of Noval's claim against Jadelle.
                                                                 20               Fifth, Noval has not substantiated the amount and terms of his claim. To the extent Noval

                                                                 21 asserts that he is owed $5.8 million, he has not explained how he calculated that sum. The Noval

                                                                 22 Agreement reflects loans totaling only $2.85 million and the terms of repayment for those loans.
                                                                 23 (See RJN, Ex. 2 at Bates Stamp 37.) Noval's assertion that the maturity dates for advances in

                                                                 24 excess of the amounts set forth in the Noval Agreement are reflected in the Noval Agreement is

                                                                 25 directly contradicted by the terms of that agreement. (Compare id. at Bates Stamp 22, ¶ 15 & 23,
                                                                 26 ¶ 17; with id. at Bates Stamp 37, § 3, stating the maturity date is based on the date of each advance

                                                                 27 set forth in § 1.) Noval has not demonstrated the terms of amounts in excess of the Noval

                                                                 28 Agreement or demonstrated that such amounts are currently due. In addition to disputes

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                                                                  1 concerning the amounts subject to the Noval Agreement, Jadelle disputes that any amounts in

                                                                  2 excess of the Noval Agreement are due.
                                                                  3               Sixth, Noval is charging usurious interest. Noval claims to be charging "9% interest per

                                                                  4 month[.]" (See RJN, Ex. 2 at Bates Stamp 22, ¶ 15 (emphasis added).) However, the Noval

                                                                  5 Agreement specifies that the interest on the loans reflected in the agreement are to accrue interest

                                                                  6 at 9% per annum (paid monthly). (See id. at Bates Stamp 37, § 2.) Noval's usurious interest
                                                                  7 creates a host of remedies and disputes. A borrower charged usurious rates can bring an action for

                                                                  8 money paid, can recover penalty damages, can cancel future interest, and can have payments

                                                                  9 applied to principal. See, e.g., Miller and Star, Cal. Real Estate § 37.42 (4th ed.) (detailing various
                                                                 10 remedies).

                                                                 11               Seventh, the Al-Sabah Action complicates matters further and casts Noval's claim into
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                                                                 12 further dispute. As demonstrated by their complaint, the Al-Sabahs allege that amounts loaned to
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                                                                 13 Jadelle by Noval belong to them. (See RJN, Ex. 5 at Bates Stamp 69-70, ¶ 347.) Thus, according

                                                                 14 to the Al-Sabahs, they should be paid and not Noval, and Noval has no claim against Jadelle at all.

                                                                 15 (See id. at Bates Stamp 69-70 ¶ 347, "Khaled disputes Franco's and Victorino's claim for damages
                                                                 16 in the Rechnitz Lawsuit. . . .")

                                                                 17               For all of these reasons, Noval's claim is subject to multiple bona fide disputes. The

                                                                 18 majority of these disputes are demonstrated by Noval's own words in his complaint, which is
                                                                 19 subject to judicial notice and is appropriate to consider on a Rule 12 motion to dismiss.
                                                                 20 Accordingly, Noval is not eligible to commence the petition.

                                                                 21               B.     Marco's Alleged Claim is Subject to Bona Fide Disputes
                                                                 22               Marco's alleged claim for $7,676,744 against Jadelle is subject to bona fide disputes as to
                                                                 23 both liability and amount. Each dispute on its own disqualifies Marco as a petitioning creditor.

                                                                 24               First, the Marco Complaint is a judicial admission that the amount of Marco's claim in the

                                                                 25 Involuntary Petition is incorrect and, as such, is subject to a bona fide dispute. Marco admits that
                                                                 26 the amount of the $7,676,744 claim that Marco alleges in the Involuntary Petition is incorrect.

                                                                 27 (See RJN, Ex. 7 at Bates Stamp 91, ¶ 9, "The petitioning creditors are . . . Peter Marco, LLC, with

                                                                 28

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                                                                  1 Trade Debt/Damages of $7,676,744.00 (The correct amount is $6,950,444.40).)" Despite

                                                                  2 knowledge of this material error, Marco has not attempted to correct it.
                                                                  3               Second, Marco is taking inconsistent positions across different forums with respect to who

                                                                  4 he consigned jewelry to. Marco cannot have it both ways. Marco cannot allege that he consigned

                                                                  5 items to Mr. Rechnitz to bolster his action against Mr. Rechnitz in district court, then

                                                                  6 simultaneously assert the same claim against Jadelle to pursue the Involuntary Petition. In the
                                                                  7 Marco Action, Marco is separately trying to collect the same debt from Mr. Rechnitz (not Jadelle)

                                                                  8 based on goods that Marco alleges were consigned to Mr. Rechnitz (not Jadelle). In the Marco

                                                                  9 Complaint, Marco repeatedly states that he consigned jewelry to Mr. Rechnitz:
                                                                 10               •      "Accordingly, Marco LLC consigned the following pieces of Consigned Jewelry to
                                                                 11                      Rechnitz." (RJN, Ex. 7 at Bates Stamp 99, ¶ 33, (emphasis added).)
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                                                                 12               •      "Marco LLC consigned Rovinsky's Ring & Necklace to Rechnitz." (Id. at Bates
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                                                                 13                      Stamp 100, ¶ 35 (emphasis added).)

                                                                 14               •      "Jona and Third-Party Defendants have obtained and received property from
                                                                 15                      Marco, the $6,950,444.40 of Consigned Jewelry . . . ." (Id. at Bates Stamp 118, ¶ 95

                                                                 16                      (emphasis added).)

                                                                 17               Third, Marco is taking inconsistent positions with respect to the amount of his claim. Like

                                                                 18 Noval, it appears that Marco is attempting to understate the amount he is seeking to recover. In
                                                                 19 the Marco Action, Marco is seeking damages to be proven at trial, but at least $6,950,444.40.
                                                                 20 (See id. at Bates Stamp 117, ¶ 90.) Marco also seeks treble damages, punitive damages, interest,

                                                                 21 and attorney's fees. (See id. at Bates Stamps 119-120, ¶¶ 98, 104, and 105.) Therefore, by

                                                                 22 Marco's own admission, his total claim has yet to be liquidated and quantified, and is subject to
                                                                 23 proof. Moreover, to the extent that Marco seeks to recover damages based on the alleged value of

                                                                 24 consigned items, the amount of damages must be proven at trial. Like Noval, the nature of

                                                                 25 Marco's allegations alone also create a number of factual disputes and legal issues to be
                                                                 26 adjudicated.

                                                                 27               Fourth, and incredibly, Marco and First International are double-counting the same claim.

                                                                 28 As reflected in the Marco Complaint, one item was owned by First International and the stated

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                                                                  1 value, according to Marco, is $1,333,695.00. (See id. at Bates Stamp 100, lines 9-10.) However,

                                                                  2 Jadelle understands that First International is pursuing that same claim (albeit in the amount of
                                                                  3 $1,200,000). Marco and First International cannot dispute that they both are attempting to

                                                                  4 recover, in part, the same claim, and Jadelle cannot be obligated to pay both. This fact alone puts

                                                                  5 the claims of both Marco and First International into bona fide dispute.

                                                                  6               Fifth, numerous disputes exist with respect to the items allegedly consigned by Marco.

                                                                  7 Disputes exist as to the terms of consigned items and whether any amount is due on certain items.

                                                                  8 Disputes exist as to whether particular items included in Marco's claim were consigned and

                                                                  9 whether memos were fabricated. Disputes exist as to the stated value of items that were
                                                                 10 consigned, whether Marco is entitled to be paid the stated value (or some lesser amount), and

                                                                 11 whether Marco was previously paid on account of other items. For example, with respect to the
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                                                                 12 items owned by Rovinsky, Marco seeks to recover damages from Jadelle in excess of the amounts
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                                                                 13 asserted by Rovinsky. (Compare RJN, Ex. 7 at Bates 93, ¶ 21; with id. at Bates Stamp 99, lines

                                                                 14 12-13 and 16.) While a determination regarding the existence of certain of these disputes may not

                                                                 15 be appropriate in connection with the Motion, Jadelle wants the Court to be aware of the full scope
                                                                 16 of the disputes with Marco's claim.

                                                                 17               For all of these reasons, Marco's claim is subject to multiple bona fide dispute. The

                                                                 18 majority of these disputes are demonstrated by Marco's own words in his complaint, which is
                                                                 19 subject to judicial notice and is appropriate to consider on a Rule 12 motion to dismiss.
                                                                 20 Accordingly, Marco is not eligible to commence the petition.

                                                                 21               C.     First International's Alleged Claim is Subject to a Bona Fide Dispute
                                                                 22               Jadelle disputes that First International is owed $1,976,225. It appears that the majority of
                                                                 23 First International's claim is premised on the same item included in Marco's claim. (See RJN, Ex.

                                                                 24 7 at Bates Stamp 100, lines 9-10.) The fact that two Petitioning Creditors (Marco and First

                                                                 25 International) are knowingly overstating their claims by seeking to collect the same sum, standing
                                                                 26 alone, creates a bona fide dispute. Moreover, to the extent that First International is seeking to

                                                                 27 recover the alleged stated value of consigned items and amounts it paid to purchase jewelry

                                                                 28 belonging to third parties, First International's claim is subject to bona fide disputes. First

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                                                                  1 International's claim should not include amounts that it paid to acquire jewelry that did not belong

                                                                  2 to it and Jadelle should be credited for the value of those items. Accordingly, First International's
                                                                  3 claim is subject to bona fide disputes and First International is not eligible to commence the

                                                                  4 petition.

                                                                  5               First International (as well as the other Petitioning Creditors) bear the burden of

                                                                  6 demonstrating that their claims are not the subject of bona fide disputes. First International has yet
                                                                  7 to even itemize its claim and it is not entirely clear how First International calculated its claim.

                                                                  8 Under the Supreme Court decisions in Twombly and Iqbal, the Petitioning Creditors cannot rely on

                                                                  9 conclusory statements regarding the amount of their respective claims or that their claims are not
                                                                 10 subject to bona fide disputes to overcome the Motion.

                                                                 11               In sum, each Petitioning Creditor's claim is subject to multiple bona fide disputes.
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                                                                 12 Moreover, the disqualification of any one of the Petitioning Creditors requires dismissal of the
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                                                                 13 Involuntary Petition. Because the Petitioning Creditors are pursuing the Involuntary Petition on

                                                                 14 the theory that Jadelle had at least twelve creditors as of the petition date, pursuant to § 303(b)(1),

                                                                 15 the Involuntary Petition requires three eligible petitioning creditors. See 11 U.S.C. § 303(b)(1).
                                                                 16 Accordingly, each of the foregoing disputes requires the case to be dismissed.

                                                                 17

                                                                 18 VI.           THE INVOLUNTARY PETITION MUST BE DISMISSED BECAUSE THE
                                                                 19               PETITIONING CREDITORS FILED THE PETITION IN BAD FAITH
                                                                 20               Bankruptcy courts uniformly recognize the authority to dismiss an involuntary case

                                                                 21 commenced in bad faith. The fact that an involuntary petition can be dismissed is implicit in

                                                                 22 § 303(i)(2), which authorizes damages against any petitioner that commences a case in bad faith.
                                                                 23 The bankruptcy courts also have the inherent authority embodied in § 105 to dismiss bad-faith

                                                                 24 filings. See In re WLB-RSK Venture, 296 B.R. 509, 513 (Bankr. C.D. Cal. 2003) ("Since

                                                                 25 § 303(i)(2) seems to imply that an involuntary petition can be dismissed for bad faith, and
                                                                 26 numerous cases support the proposition that bankruptcy petitions of any kind should not be

                                                                 27 employed for improper purposes, § 105(a) would seem to authorize the court to dismiss an

                                                                 28 involuntary based on a finding of bad faith.").

                                                                      2822821.1                                              19                            MOTION TO DISMISS
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                                                                  1               In the Ninth Circuit, the existence of bad faith is a question of fact measured by an

                                                                  2 objective test. See In re Wavelength, Inc., 61 B.R. 614, 620 (B.A.P. 9th Cir. 1986). That is, if a
                                                                  3 reasonable person would believe that the subject conduct constitutes bad faith, then a finding of

                                                                  4 bad faith is appropriate. See id.; see also In re Mi La Sul, 380 B.R. 546, 557 (Bankr. C.D. Cal.

                                                                  5 2007).

                                                                  6               Bad faith typically exists where, as here, the petitioners file the involuntary petition for an

                                                                  7 improper purpose. Courts have found that an involuntary petition was filed in bad faith when the

                                                                  8 petitioning creditor actually knows that it's claim is subject to a bona fide dispute as to liability or

                                                                  9 amount. See In re John Richards Homes Bldg. Co., 439 F.3d 248 (6th Cir. 2006) (holding that a
                                                                 10 petition was filed in bad faith given the overwhelming evidence of a bona fide dispute); see also In

                                                                 11 re Mountain Diaries, Inc., 372 B.R. 623 (Bankr. S.D.N.Y. 2007) (finding that it was untenable
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                                                                 12 that a single petitioning creditor could have filed its claim in good faith when a substantial portion
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                                                                 13 of its claim was subject to legitimate dispute); Higgins v. Vortex Fishing Systems, Inc., 379 F.3d

                                                                 14 701, 707 (9th Cir. 2004) ("Filing an involuntary petition should be a measure of last resort because

                                                                 15 even if the petition is filed in good-faith, it can chill the alleged debtor's credit and sources of
                                                                 16 supply, and scare away his customers."); In re Reid, 773 F.2d 945, 946 (7th Cir. 1985) ("[T]he

                                                                 17 filing of an involuntary petition is an extreme remedy with serious consequences to the alleged

                                                                 18 debtor, such as loss of credit standing, inability to transfer assets and carry on business affairs, and
                                                                 19 public embarrassment.").
                                                                 20               Similarly, courts have found bad faith where the petitioners used the involuntary process as

                                                                 21 a customary collection action prior to exhausting available state law remedies. See In re Smith,

                                                                 22 243 B.R. 169, 197-98 (Bankr. N.D. Ga. 1999) (dismissing a case commenced by the petitioner
                                                                 23 after an unfavorable ruling in state court and without exhausting state law remedies). Bankruptcy

                                                                 24 courts also routinely dismiss involuntary cases commenced as a litigation tactic to gain an

                                                                 25 advantage in ongoing litigation or to control the forum of the dispute. See, e.g., In re WLB-RSK
                                                                 26 Venture, 296 B.R. 509, 514 (Bankr. C.D. Cal. 2003) (dismissing an involuntary petition filed "as

                                                                 27 part of a forum shopping litigation tactic. . . ."); In re Spade, 269 B.R. 225, 229 (D. Colo. 2001)

                                                                 28 (dismissing an involuntary petition filed as "a self-serving litigation tactic to control the forum and

                                                                      2822821.1                                              20                             MOTION TO DISMISS
                                                                                                                                                        INVOLUNTARY PETITION

                                                                                                                                                         EXHIBIT "6", PAGE 52
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                                                                  1 enlist a trustee to conduct and pay for discovery into the Debtor's affairs."). According to the

                                                                  2 Ninth Circuit, an involuntary case "should be a measure of last resort. . . ." See Higgins, 379 F.3d
                                                                  3 at 707.

                                                                  4               The Petitioning Creditors commenced this case in bad faith as follows:

                                                                  5               The Petitioning Creditors commenced this case despite the fact that their claims are subject

                                                                  6 to multiple bona fide disputes. The disputes are self-evident from the Petitioning Creditors' own
                                                                  7 pleadings, conflicting statements, and the positions they have chosen to take. The fact that

                                                                  8 litigation is pending is evidence of bona fide disputes. Moreover, the Petitioning Creditors seek

                                                                  9 amounts that, by their own admissions, have yet to be quantified, proven at trial, and adjudicated.
                                                                 10 The Petitioning Creditors knew or reasonably should have known they were not eligible to

                                                                 11 commence this case under binding Ninth Circuit law.
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                                                                 12               The Petitioning Creditors are not using the bankruptcy process as a measure of last resort.
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                                                                 13 The Petitioning Creditors have clearly not exhausted available state law remedies. Rather, as the

                                                                 14 pending lawsuits unequivocally demonstrate, state law remedies exist and have just begun.

                                                                 15 Moreover, the Petitioning Creditors who have commenced suits are seeking remedies at odds with
                                                                 16 bankruptcy, such as constructive trusts on certain property and proceeds for their individual

                                                                 17 benefits. The Petitioning Creditors must first exhaust their non-bankruptcy remedies to liquidate

                                                                 18 their disputed claims.
                                                                 19               As evidenced by the timing of the filing, the Petitioning Creditors are forum shopping.
                                                                 20 Two of the Petitioning Creditors initially chose to pursue their respective claims in other, non-

                                                                 21 bankruptcy forums. The Involuntary Petition was filed less than one month after the court in the

                                                                 22 Noval Action, where Noval is seeking the appointment of a receiver over Jadelle, temporarily
                                                                 23 stayed that case. See In the Matter of Smith, 243 B.R. 169, 197-98 (Bankr. N.D. Ga. 1999)

                                                                 24 (dismissing a case commenced by the petitioner after an unfavorable ruling in state court and

                                                                 25 without exhausting state law remedies). Having received an unfavorable decision in his chosen
                                                                 26 forum, Noval has tried to avoid that decision by pursuing his claim in this Court.

                                                                 27                The Petitioning Creditors are seeking to circumvent Jadelle's due process and

                                                                 28 constitutional rights. Jadelle has not even answered the complaints. Moreover, Noval's suit has

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                                                                  1 been temporarily stayed on 5th Amendment grounds. Jadelle expects that the Petitioning Creditors

                                                                  2 may attempt to use the bankruptcy process to seek discovery that would not otherwise be
                                                                  3 permitted pending the stay ordered in the Noval Action. The Petitioning Creditors are using

                                                                  4 bankruptcy as a shortcut to avoid an adjudication on the merits and to leverage the payment of

                                                                  5 their disputed claims.

                                                                  6               The Petitioning Creditors' inconsistent positions are further examples of bad faith. Both
                                                                  7 Noval and Marco have asserted claims in different amounts in their respective suits than listed in

                                                                  8 the Involuntary Petition. Marco and First International are both knowingly seeking to recover, in

                                                                  9 part, on the same claim. Marco has taken inconsistent positions regarding who he consigned
                                                                 10 jewelry to in attempt to collect the same claim from two different people in different forums.

                                                                 11 Moreover, the Petitioning Creditors have taken these inconsistent positions to gain strategic
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                                                                 12 advantages in the various pending suits.
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                                                                 13               In sum, this is not a matter that belongs in bankruptcy court. It is a litigation matter, in its

                                                                 14 early stages and pending in multiple forums amongst many parties (the Petitioning Creditors,

                                                                 15 Jadelle, and others). Moreover, the Petitioning Creditors hold disputed claims and thus, are not
                                                                 16 eligible to commence this case. This complicated web of disputed claims belongs in civil court

                                                                 17 (where they are already pending). Accordingly, the case should be dismissed.

                                                                 18
                                                                 19 VII.          JADELLE IS ENTITLED TO ATTORNEY'S FEES AND COSTS, AND DAMAGES
                                                                 20               Pursuant to § 303(i):

                                                                 21                       (i) If the court dismisses a petition under this section other than on
                                                                                          consent of all petitioners and the debtor, and if the debtor does not
                                                                 22                       waive the right to judgment under this subsection, the court may grant
                                                                                          judgment—
                                                                 23
                                                                                          (1) against the petitioners and in favor of the debtor for—
                                                                 24                       (A) costs; or
                                                                                          (B) a reasonable attorney's fee; or
                                                                 25                       (2) against any petitioners that filed the petition in bad faith, for—
                                                                                          (A) any damages proximately caused by such filing; or
                                                                 26                       (B) punitive damages.

                                                                 27

                                                                 28

                                                                      2822821.1                                               22                             MOTION TO DISMISS
                                                                                                                                                         INVOLUNTARY PETITION

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                                                                  1 11 U.S.C. § 303(i). Bankruptcy courts may award the fees authorized under § 303(i) whether the

                                                                  2 petition is dismissed under § 303 or via § 305(a)(1). See In re Macke Int'l Trade, Inc., 370 B.R.
                                                                  3 236, 248 (B.A.P. 9th Cir. 2012).

                                                                  4               Whether to award fees pursuant to § 303(i)(1) is determined using a totality of the

                                                                  5 circumstances test. See Higgins v. Vortex Fishing Systems, Inc., 379 F.3d 701, 707 (9th Cir.

                                                                  6 2004). However, the Ninth Circuit has made clear that, if an involuntary petition is dismissed, the
                                                                  7 petitioners should routinely expect to pay the putative debtor's attorney's fees and costs. See id.;

                                                                  8 see also In re Macke Int'l Trade, Inc., 370 B.R. at 249 ("[U]nsuccessful involuntary petitioners

                                                                  9 should routinely expect to pay the debtor's legal expenses arising from the involuntary filing.").
                                                                 10 "Thus, when an involuntary petition is dismissed on some ground other than consent of the parties

                                                                 11 and the debtor has not waived the right to recovery, an involuntary debtor's motion for attorney's
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                                                                 12 fees and costs under § 303(i)(1) raises a rebuttable presumption that reasonable fees and costs are
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                                                                 13 authorized." Higgins, 379 F.3d at 707. The presumption is intended to remind petitioners that an

                                                                 14 involuntary case is a "measure of last resort" and to "reinforce the idea that the filing of an

                                                                 15 involuntary petition should not be undertaken lightly, and will serve to discourage inappropriate
                                                                 16 and frivolous filings." See Higgins, 379 F.3d at 707 (internal citations and quotation marks

                                                                 17 omitted).

                                                                 18               Here, Jadelle is entitled to an award of attorney's fees, costs, and damages. Dismissal of

                                                                 19 the case, without more, entitles Jadelle to attorney's fees and costs. No reason exists to exclude
                                                                 20 the Petitioning Creditors from the general rule—they did not use bankruptcy as a last resort and

                                                                 21 should have expected to pay Jadelle's fees. Moreover, for the reasons discussed above, this case

                                                                 22 was commenced in bad faith and for an improper purpose when it was clear that the Petitioning
                                                                 23 Creditors were ineligible to commence the case under binding Ninth Circuit law. This is the type

                                                                 24 of bad faith involuntary filing that § 303(i) was designed to prevent. Accordingly, Jadelle

                                                                 25 respectfully requests that the Court award it attorney's fees, costs, and damages, subject to proof
                                                                 26 upon dismissal of the case.

                                                                 27

                                                                 28

                                                                      2822821.1                                             23                            MOTION TO DISMISS
                                                                                                                                                      INVOLUNTARY PETITION

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                                                                  1 VIII. CONCLUSION

                                                                  2               Based on the foregoing, Jadelle respectfully requests that the Court immediately dismiss
                                                                  3 the involuntary petition, and award Jadelle attorney's fees, costs, and damages, including punitive

                                                                  4 damages, subject to proof.

                                                                  5

                                                                  6                                                Respectfully submitted,

                                                                  7 DATED: May 1, 2020                             SMILEY WANG-EKVALL, LLP
                                                                  8

                                                                  9                                                By:          /s/ Robert S. Marticello
                                                                                                                         ROBERT S. MARTICELLO
                                                                 10                                                      MICHAEL L. SIMON
                                                                                                                         Attorneys for Jadelle Jewelry and Diamonds,
                                                                 11                                                      LLC.
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                                                                 12
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                                                                      2822821.1                                            24                           MOTION TO DISMISS
                                                                                                                                                    INVOLUNTARY PETITION

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                                         PROOF OF SERVICE OF DOCUMENT
I am over the age of 18 and not a party to this bankruptcy case or adversary proceeding. My business address is:
                         3200 Park Center Drive, Suite 250, Costa Mesa, CA 92626


A true and correct copy of the foregoing document entitled (specify): Putative Debtor's Motion to Dismiss Involuntary
Petition and Request for Attorney's Fees, Costs, and Damages; and Memorandum of Points and Authorities in
Support will be served or was served (a) on the judge in chambers in the form and manner required by LBR 5005-2(d);
and (b) in the manner stated below:

1. TO BE SERVED BY THE COURT VIA NOTICE OF ELECTRONIC FILING (NEF): Pursuant to controlling General
Orders and LBR, the foregoing document will be served by the court via NEF and hyperlink to the document. On (date)
05/01/2020, I checked the CM/ECF docket for this bankruptcy case or adversary proceeding and determined that the
following persons are on the Electronic Mail Notice List to receive NEF transmission at the email addresses stated below:

    •   Baruch C Cohen bcc@BaruchCohenEsq.com, paralegal@baruchcohenesq.com
    •   Daniel A Lev dlev@sulmeyerlaw.com, ccaldwell@sulmeyerlaw.com;dlev@ecf.inforuptcy.com
    •   Ronald N Richards ron@ronaldrichards.com, morani@ronaldrichards.com,justin@ronaldrichards.com
    •   Neal Salisian ECF@salisianlee.com
    •   United States Trustee (LA) ustpregion16.la.ecf@usdoj.gov

                                                                                            Service information continued on attached page

2. SERVED BY UNITED STATES MAIL:
On (date) __________, I served the following persons and/or entities at the last known addresses in this bankruptcy case
or adversary proceeding by placing a true and correct copy thereof in a sealed envelope in the United States mail, first
class, postage prepaid, and addressed as follows. Listing the judge here constitutes a declaration that mailing to the judge
will be completed no later than 24 hours after the document is filed.




                                                                                            Service information continued on attached page

3. SERVED BY PERSONAL DELIVERY, OVERNIGHT MAIL, FACSIMILE TRANSMISSION OR EMAIL (state method
for each person or entity served): Pursuant to F.R.Civ.P. 5 and/or controlling LBR, on (date) 05/01/2020, I served the
following persons and/or entities by personal delivery, overnight mail service, or (for those who consented in writing to
such service method), by facsimile transmission and/or email as follows. Listing the judge here constitutes a declaration
that personal delivery on, or overnight mail to, the judge will be completed no later than 24 hours after the document is
filed.
Via First Legal:
Hon. Barry Russell
United States Bankruptcy Court
255 E. Temple Street, Suite 1660 / Courtroom 1668
Los Angeles, CA 90012
                                                                            Service information continued on attached page


I declare under penalty of perjury under the laws of the United States that the foregoing is true and correct.


 05/01/2020                     Lynnette Garrett                                                /s/ Lynnette Garrett
 Date                           Printed Name                                                    Signature

            This form is mandatory. It has been approved for use by the United States Bankruptcy Court for the Central District of California.


June 2012                                                                                           F 9013-3.1.PROOF.SERVICE
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    1                     UNITED STATES BANKRUPTCY COURT
    2            CENTRAL DISTRICT OF CALIFORNIA - LOS ANGELES

    3                                --oOo--
    4   In Re:                        )     Case No. 2:20-bk-13530-BR
                                      )
    5   JADELLE JEWELRY AND DIAMONDS )      Chapter 7
        LLC, a Delaware Limited       )
    6   Liability Company,            )
                                      )
    7   Debtor,                       )     Los Angeles, California
                                      )     June 9, 2020
    8   ------------------------------)     Tuesday, 10:00 A.M.

    9                                       STATUS CONFERENCE RE
                                            INVOLUNTARY PETITION
   10
                                            HEARING RE: MOTION OF
   11                                       PUTATIVE DEBTOR’S MOTION
                                            TO DISMISS INVOLUNTARY
   12                                       PETITION AND REQUEST FOR
                                            ATTORNEY’S FEES, COSTS,
   13                                       AND DAMAGES

   14                                       HEARING RE: CREDITORS’
                                            MOTION FOR APPOINTMENT OF
   15                                       INTERIM CHAPTER 7 TRUSTEE

   16
                       TRANSCRIPT OF TELEPHONIC PROCEEDINGS
   17                   BEFORE THE HONORABLE BARRY RUSSELL
                          UNITED STATES BANKRUPTCY JUDGE
   18

   19   APPEARANCES:
   20   For the Debtor:            ROBERT S. MARTICELLO, ESQ.
                                   Smiley Wang-Ekvall, LLP
   21                              3200 Park Center Drive
                                   Suite #250
   22                              Costa Mesa, California 92626
   23
   24
        Proceedings produced by electronic sound recording;
   25   transcript produced by transcription service.




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    1   For Victor Franco          RONALD N. RICHARDS, ESQ.
        Noval:                     Law Offices of Ronald Richards
    2                              PO Box 11480
                                   Beverly Hills, California 90213
    3
        For First International    DANIEL A. LEV, ESQ.
    4   Diamond:                   333 South Grand Avenue
                                   Suite #3400
    5                              Los Angeles, California     90071
    6   Court Recorder:            Nancy Vandensteen
                                   U.S. Bankruptcy Court
    7                              Central District of California
                                   Edward R. Roybal Federal Building
    8                                and Courthouse
                                   255 East Temple Street, Room #940
    9                              Los Angeles, California 90012
                                   (855) 460-9641
   10
        Court Transcriptionist:    Ruth Ann Hager, C.E.T.**D-641
   11                              Ben Hyatt Certified Deposition
                                     Reporters
   12                              17835 Ventura Boulevard
                                   Suite #310
   13                              Encino, California 91316

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    1          LOS ANGELES, CALIFORNIA, TUESDAY, JUNE 9, 2020
    2                                11:14 A.M.

    3                                 --oOo--
    4               THE CLERK:    #10.00 through #12.00, Jadelle
    5   Jewelry.
    6               THE COURT:    Hold on just a second, as far as
    7   appearances.    Okay.    We have the Jadelle Jewelry matter.
    8   We have a couple people listening, apparently, the New York
    9   Daily News is interesting.        I’m not exactly sure why, but
   10   the public is always welcome.       Not to say anything, but
   11   just listening mode.     These are public hearings.     Had we
   12   not had this virus, we would have -- there would have
   13   been -- somebody would be welcome to be in court, but so
   14   they’re on the line but won’t be saying anything.
   15               Then my list here shows that we have Mr. Lev for
   16   the -- for all three of the creditors.       Is that right,
   17   Mr. Lev?
   18               MR. LEV:    I am here, Your Honor, yes.
   19               THE COURT:    Okay.   And then we have -- well, I’m
   20   not sure.   We have Mr. Cohen on the line.      You didn't file
   21   anything, did you, Mr. Cohen?
   22               MR. COHEN:    Your Honor, Baruch Cohen online.       No,
   23   I did not file anything.
   24               THE COURT:    Okay.   Well, you're welcome to
   25   listen, but even though you may be interested, I’m not




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    1   going to let you say anything.
    2                Then we have -- of course, the other side of this

    3   is Rob -- is the counsel for the -- well, let me see, we
    4   have counsel for the debtor.      We have a number of them.

    5   Robert Marticello -- I can never pronounce your last
    6   name -- I know who you are.

    7                MR. MARTICELLO:   That was per --
    8                THE COURT:   What was your last name again?

    9                MR. MARTICELLO:   That was perfect, Your Honor.

   10   Good morning.    It’s Marticello, Your Honor.

   11                THE COURT:   Okay.   All right, now --
   12                MR. MARTICELLO:   And also --

   13                THE COURT:   -- who --

   14                MR. MARTICELLO:   Michael Simon (indiscernible).
   15                THE COURT:   -- now, you represent the debtor.

   16   You have --

   17                MR. MARTICELLO:   Correct.

   18                THE COURT:   -- then Mr. Richards, you represent

   19   the -- Mr. Noval, but I all -- looking here, I see Mr. Lev.
   20   Who is re -- Mr. Lev, you represent all three of the
   21   creditors?

   22                MR. LEV:   Your Honor, the way -- yeah.     All of us
   23   are on the pleading, Your Honor.      We --
   24                THE COURT:   Well, who’s --

   25                MR. LEV:   -- represent the individ --




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    1                THE COURT:   I’m not going to let all three of you
    2   speak.   One -- who’s going to be --

    3                MR. LEV:   No, no, no, Your Honor.   Yes, Your
    4   Honor, we’ve decided to let Mr. Richards make the argument

    5   on behalf of the petitioning creditors.      To the extent the
    6   Court has questions regarding specific issues on specific

    7   claims, Mr. Cohen represents two of the petitioning
    8   creditors.    Mr. Richards represents one of the petitioning

    9   creditors.    So to the extent you are asking questions

   10   regarding Mr. Cohen’s clients, Mr. Cohen would respond, but

   11   I don’t know if we’re going to get to that type of detail,
   12   so --

   13                THE COURT:   Well, okay.   Well --

   14                MR. LEV:   -- but Mr. Richards will be making the
   15   initial presentation.

   16                THE COURT:   Well, there’s not going to be much of

   17   an initial presentation because I’ve read all the papers.

   18   I --

   19                MR. LEV:   I understand, Your Honor.
   20                THE COURT:   -- really dislike -- I’ve probably
   21   said it a million times -- things on the phone, but we --

   22   that's where we’re at.
   23                But -- so anyway, then we have Mr. Simon, but
   24   also for the debtor, right?

   25                MR. MARTICELLO:   Your Honor, this is Robert




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    1   Marticello.     Michael Simon is from my firm.   He’s just
    2   listening in.

    3             THE COURT:     Oh, okay.
    4             MR. MARTICELLO:     I will be handling the --

    5             THE COURT:     So, okay.    So then -- okay.   So I’m
    6   going to go to some --

    7             MR. RICHARDS:     Your Honor, do you want me to make
    8   my appearance?    Ronald Richards, just for the record.

    9             THE COURT:     Oh, yes, please, please, and whenever

   10   you speak, you’ve got to -- for -- the only way we keep

   11   track -- that is, we, being the court recorder -- is who’s
   12   talking, you've got to -- and if you're physically in

   13   court, we can see you, but whenever you say anything just

   14   give your name.
   15             I’m going to go through a number of these.

   16   There’s not going to be any argument on this, but I’m going

   17   to go through these evidentiary objections.

   18             The first one is the evidentiary objections to

   19   the declaration of Oved Anter.       These are all evidentiary
   20   objections made by the debtor, so I am going to make these
   21   rulings and there’s not going to be any argument on it, so

   22   we’re going to be here forever.      So I’m going to -- I’m
   23   going to make these -- these -- so if you -- everybody have
   24   those in front of them?    This has to do with the

   25   declaration of Oved Anter, okay?      And you all know who --




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    1   that’s the representative -- I can never tell with that --
    2   is that a man?    Is Oved -- I don’t know if it's -- it looks

    3   like an Israeli name, so I don’t know --
    4                MR. COHEN:   Yes, Your Honor.     Baruch Cohen on

    5   CourtCall.    Oved Anter is a man.
    6                THE COURT:   Okay.   I wasn't 100 percent sure, but

    7   I thought that was the case.      And that’s the president --
    8   the owner and president of International Diamond.

    9                MR. COHEN:   Correct.

   10                THE COURT:   So I’m going to -- okay, so I’m going

   11   to go through the -- excuse me just one second.
   12                Let me -- I will sustain, but, by the way, this

   13   is going to be important.       Let me ask the debtor in this

   14   case before I get to these evidentiary -- one of the two of
   15   you.   It is pretty clear from all of the papers that -- is

   16   it Rechnitz?    I’m pronoun -- Jona is the -- and his wife

   17   are the own -- are the control -- owners and controlling of

   18   the debtor, are they not?

   19                MR. RICHARDS:   Hello?   Hello?
   20                THE COURT:   Yes, that's for the debtor.
   21                MR. RICHARDS:   Hello, hello?

   22                THE COURT:   That is the case, is it not?
   23                MR. RICHARDS:   We didn't hear you, Your Honor.
   24   Can you --

   25                THE COURT:   Oh.




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    1             MR. RICHARDS:     -- repeat?    On the line right
    2   now --

    3             THE COURT:     That Jona and his wife are the
    4   principals of the debtor, are they not?      They’re the people

    5   that run the debtor?
    6             MR. RICHARDS:     I’m still not hearing you.

    7             THE COURT:     You can’t hear me now?
    8             UNIDENTIFIED VOICE:       It’s cutting out right at

    9   the most important part, Your Honor.

   10             MR. SIMON:     Your Honor, you are breaking up.

   11             MR. RICHARDS:     This is Ronald Richards.    You cut
   12   out.

   13             THE COURT:     Well, that’s a real problem.    Can you

   14   hear me now?
   15             MR. RICHARDS:     I’m still not hearing the Court.

   16             THE CLERK:     Is the CourtCall operator on the

   17   line?

   18             THE COURT:     Oh, great.

   19             COURTCALL OPERATOR:       Yes, I’m here.
   20             THE COURT:     Well, they apparently can’t hear me.
   21             MR. RICHARDS:     Yeah.   Now I can hear you again,

   22   Your Honor.     Ronald Richards for the creditor.
   23             THE COURT:     Okay, you can?
   24             MR. RICHARDS:     If you could just --

   25             THE COURT:     Okay.   My question is, from the --




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    1   excuse me just one second.       Just to settle something, from
    2   the -- Mister -- let’s see, excuse me.       From the debtor,

    3   Marticello, the two principals are Jona and his wife,
    4   right?

    5               MR. MARTICELLO:     Well, Ms. Ra -- sorry, this is
    6   Robert Marticello, Smiley Wang-Ekvall, for Jadelle.         Rachel

    7   Rechnitz is the managing member of Jadelle.      Mr. Rec --
    8   sorry, Your Honor, can you hear me, because it sounds like

    9   it’s gone dead.

   10               THE COURT:   I can’t hear you.

   11               MR. MARTICELLO:     Yeah, the line keeps -- Your
   12   Honor, the line keeps going in and out, I think for all of

   13   us, so we hear things and then --

   14               THE COURT:   Okay.    Tell me who are the principals
   15   of the debtor?

   16               MR. MARTICELLO:     So Rachel Rechnitz is the

   17   managing member of Jadelle.

   18               THE COURT:   Yes.

   19               MR. MARTICELLO:     Jona Rechnitz is involved in the
   20   operation of the business, but he does not have an official
   21   title with the LLC.

   22               THE COURT:   Well, who are the two principals?
   23               (No audible response.)
   24               There are only two principals, are there not, in

   25   this LLC?




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    1                MR. RICHARDS:   Well, Your Honor, this is Ronald
    2   Richards.    The debtors married -- the two principals are

    3   husband and wife, so Mr. Rechnitz, obviously, has his
    4   community property interest, and we’re under the belief

    5   that he owns the company with his wife and there’s no other
    6   members.

    7                THE COURT:   Okay, because -- anyway, I -- oh,
    8   okay.   Well, I will -- okay, I’m going to go through the

    9   evidentiary objections.      It’s pretty clear to me -- I don’t

   10   know who does what day to day.       And by the way, this is

   11   not -- as far as the hearing.       Is the debtor still
   12   operating?    I’m asking the debtor’s counsel.

   13                MR. RICHARDS:   No.

   14                MR. MARTICELLO:   Your Honor, my understand --
   15   this is Robert Marti --

   16                THE COURT:   Are you talking, because I can’t hear

   17   you if you are.

   18                MR. MARTICELLO:   It went dead, Your -- this is

   19   Robert Marticello for Jadelle.       It’s (indiscernible).
   20                THE COURT:   Okay.    Is the debtor still operating?
   21                MR. MARTICELLO:   Your Honor, my understanding is

   22   that the debtor is paying its debts -- undisputed debts as
   23   they come due on the agreed to terms.
   24                THE COURT:   No, but is the debtor selling

   25   anything?    I guess that's what I meant.     Is the debtor




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    1   operating?
    2                MR. MARTICELLO:   I think there -- my

    3   understanding is that there’s been minimal operations
    4   post-bankruptcy.

    5                MR. RICHARDS:   Your Honor, this is Ronald
    6   Richards.    There’s no debtor at the location.      They moved

    7   out.   That’s -- we had trouble serving them.     That’s why we
    8   had to serve --

    9                THE COURT:   Well, yeah, I’ve never physically --

   10                MR. RICHARDS:   -- (indiscernible) at their house.

   11                THE COURT:   I don’t even recall.   Where is the --
   12   was this a regular storefront?     I know it’s pretty -- when

   13   you're dealing with diamonds at a million -- $1.2 million,

   14   I don’t think I’ve ever seen one, but I guess they exist.
   15                MR. RICHARDS:   Your Honor, they were operating

   16   out of an executive suite at 9454 Wilshire Boulevard, out

   17   of a suite at that location.     There’s a lot of little

   18   businesses in there, and they were -- that's where they

   19   were operating.    They have no operation whatsoever.       No,
   20   they’re not --
   21                THE COURT:   Is that -- let me --

   22                MR. RICHARDS:   -- no one’s --
   23                THE COURT:   -- again, this is just background,
   24   but I want to get -- I want to find out what’s really going

   25   on in this case.    Would that be from the debtor’s




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    1   standpoint?     I think counsel would know.     Are they still
    2   operating out of that location?

    3                MR. MARTICELLO:   My understanding is that they’re
    4   still operating, Your Honor.      I don’t -- it has been

    5   minimal operations, but I don’t know if that's inconsistent
    6   with the operations that occurred prebankruptcy.

    7                THE COURT:   Okay.   In any case, I don’t want to
    8   get any further in it.

    9                MR. RICHARDS:   He’s not answering your question.

   10                THE COURT:   It’s more curiosity --

   11                MR. RICHARDS:   They’re not operating out of
   12   (indiscernible) --

   13                THE COURT:   -- because everybody on the call --

   14                MR. MARTICELLO:   Your Honor --
   15                THE COURT:   -- knows a lot more about this case

   16   than I do.

   17                MR. MARTICELLO:   And I’m sorry, Your Honor, this

   18   is Robert Marticello.     When I’m speaking, it sounds like

   19   the line is going dead, so I don’t know if you're hearing
   20   what I’m saying --
   21                THE COURT:   Well, I did hear --

   22                MR. MARTICELLO:   -- so that's the reason for
   23   my --
   24                THE COURT:   -- I did year you.    Okay, let’s --

   25   this is going to be very unfortunate --




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    1             MR. MARTICELLO:     Okay, understood.
    2             THE COURT:    -- because there’s obviously a lot of

    3   money involved in this case and important to all sides.
    4             I am going to go make these evidentiary rulings.

    5   The -- can everybody hear me?     Of course, if you can’t,
    6   it’s hard for you to say you can’t hear me.

    7             MR. RICHARDS:    Now I can hear you, Your Honor.
    8             THE COURT:    Okay.   At least -- we need at least

    9   two people, one representing the creditors and --

   10             MR. RICHARDS:    Can anybody hear the Court?

   11             THE COURT:    -- and I have no idea whether the --
   12             UNIDENTIFIED VOICE:     I cannot.

   13             UNIDENTIFIED VOICE:     Okay, good.

   14             THE COURT:    Okay.
   15             MR. MARTICELLO:     Yeah, I hear you.   This is

   16   Robert Mart --

   17             MR. RICHARDS:    I’d rather have the Court just

   18   rule, if you guys don’t mind --

   19             THE COURT:    I am going to make the rulings.
   20             MR. RICHARDS:    -- at a later time, and he can
   21   (indiscernible) --

   22             THE COURT:    I want to make sure everybody hears
   23   it.
   24             MR. RICHARDS:    Since we’re --

   25             THE COURT:    This is why I really --




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    1                MR. RICHARDS:   -- having technical problems.
    2                THE COURT:   -- really, intensely dislike hearings

    3   on the phone because of just this, but in any case --
    4                (Indiscernible simultaneous speech)

    5                THE COURT:   -- I’m going to -- so we don’t spend
    6   the entire day on these rulings, I’m going to make my

    7   rulings.
    8                UNIDENTIFIED VOICE:     (Indiscernible) CourtCall?

    9   Yes.

   10                THE COURT:   Now, this is the objections to the

   11   declaration of Oved Anter.        I will sustain the first
   12   objection.

   13                MR. RICHARDS:   Should we recall in?

   14                THE COURT:   I don’t know of any foundation.
   15                MR. MARTICELLO:   No, no, no, you should not do

   16   that.

   17                THE COURT:   What’s that?

   18                MR. MARTICELLO:   The CourtCall operator will

   19   handle it.
   20                THE COURT:   Okay.    I will sustain the objection.
   21   It says that the controlling principal and insider, Jona

   22   Rechnitz --
   23                MR. MARTICELLO:   You’re all on the line.       That’s
   24   the more important thing.      The Judge, they can reconnect.

   25                THE COURT:   Can you hear me, by the way?




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    1             MR. MARTICELLO:     I don’t even know where the
    2   Judge is calling in from.

    3             THE COURT:    Hello, can you hear me?
    4             UNIDENTIFIED VOICE:     Right.

    5             THE COURT:    Apparently not.    Can anybody hear me?
    6             MR. MARTICELLO:     I know the Court does not like

    7   these calls, so I don’t want to make it frustrating.
    8             THE COURT:    I hear counsel talking, but --

    9             MR. MARTICELLO:     (Indiscernible) --

   10             THE COURT:    Is there an operator on?

   11             MR. MARTICELLO:     A new operator won’t even know
   12   what we’re talking about.     Better we just wait.

   13             THE CLERK:    Is the CourtCall operator on?

   14             THE COURT:    Hello?
   15             (No audible response.)

   16             Oh, Jesus.

   17             THE CLERK:    Is the CourtCall operator on?

   18             THE COURT:    Well, we’re going to finish this.

   19   Can you hear -- can anybody hear me?
   20             (No audible response.)
   21             Is the operator on?

   22             (No audible response.)
   23             This is so un -- can anybody hear me?
   24             COURTCALL OPERATOR:     I’m going to try to plug in

   25   my headset and see if I can get a response.      I’ll be right




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    1   back with you all.
    2              THE COURT:   Who is -- who’s talking now?

    3              THE CLERK:   That’s the CourtCall operator.
    4              THE COURT:   Well, can you --

    5              COURTCALL OPERATOR:     Your Honor?
    6              THE COURT:   -- let the parties know that we’re

    7   going to continue this hearing, but they can’t hear me.
    8              COURTCALL OPERATOR:     Can anyone from the Court

    9   hear me?

   10              THE COURT:   I can hear you.    This is the Judge.

   11   What about the other people, can they hear you?
   12              UNIDENTIFIED VOICE:     And it seemed to work fine

   13   for the hour we were waiting.

   14              THE COURT:   What I’m trying to figure out is --
   15              MR. LEV:   It’s just our luck, right?

   16              THE COURT:   -- this is just so unacceptable.

   17              UNIDENTIFIED VOICE:     (Indiscernible) the power

   18   went out at my house for the last hour and a half and I had

   19   to call in on a cell phone and I was so nervous that I’d
   20   have to disclose I’m on a cell phone, and have the Court
   21   get upset, but I was able to --

   22              THE COURT:   No, I --
   23              UNIDENTIFIED VOICE:     -- get through
   24   (indiscernible) --

   25              THE COURT:   Well, I’m not upset about the




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    1   telephone.
    2                UNIDENTIFIED VOICE:    -- the power went out right

    3   before our call, if you can believe it.
    4                THE CLERK:   (Indiscernible)

    5                THE COURT:   Oh, you mean a cell phone?     Oh, no,
    6   I -- if you know me at all, you know I don’t get upset

    7   easily, but if your power went out Murphy’s law apparently
    8   is in action.    That’s why I’m glad I’m in the court because

    9   at home my power went out the other day, but I only do

   10   hearings from here.

   11                Is -- why don’t -- let’s -- I’m going to take a
   12   roll call of the people we -- I have no idea whether the

   13   press is still on, but if they’re on listening mode.          The

   14   operator -- do you know whether or not the -- there was
   15   one --

   16                UNIDENTIFIED VOICE:    Well, you're back.

   17                THE COURT:   -- from the New York -- Steven Brown.

   18   Do you know if Mr. Brown is still on?

   19                MR. MARTICELLO:   Your Honor, we’re all back on.
   20                COURTCALL OPERATOR:    This is (indiscernible) --
   21                THE COURT:   I have no way of knowing if Mr. Brown

   22   is on from the New York Daily News, because he’s not on --
   23   it’s only on listening mode.       Does the operator know
   24   whether or not he’s still on the listening?

   25                COURTCALL OPERATOR:    Yes.   He




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    1   is(indiscernible) --
    2             THE COURT:    Good.   Okay, good --

    3             COURTCALL OPERATOR:     -- (indiscernible).
    4             THE COURT:    -- and I have no way of knowing.

    5   Well, the only -- what’s been the problem?       This is the
    6   second or third time we keep coming in and out.      Do you --

    7   okay, can any --
    8             MR. MARTICELLO:     We can all hear you, Your Honor.

    9             THE COURT:    -- if I hear silence on the other

   10   side, I’ll know you can’t hear me.     Can everybody hear me?

   11             MR. MARTICELLO:     Yes, Your Honor.
   12             MR. RICHARDS:    Yes, we can hear you.

   13             THE COURT:    But if I don’t -- the only reason I

   14   knew you couldn't hear me is I heard other people talking
   15   to each other and not responding to me.      Okay.   Well, we’re

   16   going to try to get through this.     We’ll do it today one

   17   way or another.

   18             First objection --

   19             MR. MARTICELLO:     We can hear you, Your Honor.
   20             THE COURT:    -- no word on the Oved answer.        First
   21   objection is sustained.    The second is sustained.     The

   22   third objection as to paragraph 5 is overruled.      The
   23   next -- the objection number 6, that is sustained, at least
   24   on the best evidence rule -- grounds.

   25             The -- by the way, you have a problem in these --




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    1   on these -- a lot -- most of these objections have to do
    2   with text calls.    Do you understand that?    That’s a

    3   violation of the best evidence rule.     You can take a
    4   picture of it or something, but just saying what’s in

    5   there, that's a clear violation of the best evidence rule,
    6   and that's a lot of this declaration.      If we have any

    7   further hearings on this, you might seriously consider
    8   taking pictures of it or something like that, but just

    9   telling me what’s in the text is a classic violation of the

   10   best evidence rule.     Can everybody hear me?

   11              ATTORNEYS:    Yes.
   12              THE COURT:    Okay, I just want to make sure

   13   that -- okay.    So that’s why I’m sustaining the objections,

   14   so objection number 7 on page 3, that’s sustained.        And
   15   then -- and that's going to be true of a lot of this stuff.

   16   It’s unfortunate, but that's just the way the rules work.

   17              I’m ruling -- I’m moving now to the pages here

   18   and I just sustained all of that.

   19              Okay.    The next objection is on page 15 of the
   20   objections.     That is the declaration -- we do have the
   21   exhibit, so it will be -- it will -- but we do have the

   22   exhibit, but that would be sustained, but we have the
   23   exhibit.
   24              The next one is a little bit trickier.      The next

   25   one on page 15 is in paragraph 9.     I’m going to sustain the




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    1   first part, which is basically argument, ending with
    2   “Jadelle absconded with all of First International’s

    3   consigned jewelry either pawning them off or retaining,”
    4   et cetera, et cetera, ending with -- up to the point where

    5   it says, “Simply stated.”      That first part will be
    6   sustained.    The part, “Simply stated, has not received a

    7   single dollar on the 2.8 million-plus,” that will be
    8   overruled, that second part of the declaration.

    9                The next one is obviously hearsay, that’ll be

   10   sustained, number -- objection number 10.      Objection

   11   number 11 would be sustained.      A lot of these are
   12   conclusions and opinion.

   13                The next one, 12, will be sustained.     Number 13,

   14   the first part of that up to the words, “Importantly, at no
   15   time,” the first part of that will be sustained, but the

   16   second part, “Importantly, at no time,” that will be

   17   overruled.    And then number 14, that objection will be

   18   sustained.

   19                Without going any further, has everybody heard
   20   that?   Am I still online?
   21                UNIDENTIFIED VOICE:   Yes.

   22                UNIDENTIFIED VOICE:   Yes, Your Honor.
   23                THE COURT:   Okay, good, we’ve got --
   24                MR. MARTICELLO:   Yeah, we heard you, Your Honor.

   25                THE COURT:   Okay, wow.   Never thought it would be




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    1   such an accomplishment to get through evidentiary
    2   objections, but we did it.     The first part.

    3                Next one, evidentiary objection, declaration of
    4   Peter Marco.    I’ll go through those.   Let’s see.     The first

    5   objection in paragraph 3, that will be sustained.        That
    6   basically is argument.

    7                The next one, again, dealing with the ownership
    8   and so forth, that’ll be sustained for lack of foundation,

    9   although I have a pretty well -- good idea of who at least

   10   owns the debtor.

   11                The next one, exhibit -- paragraph 5, the -- t
   12   here is an objection and it is to the -- it’s number 5,

   13   it’s sustained.    That is the best evidence rule.

   14                The next one to declaration, paragraph 6, that is
   15   overruled.    And then the paragraph -- also part of

   16   paragraph 6, it says, “In late December, after I learned

   17   that Jona was sentenced for crimes,” that's sustained.

   18   Then the next part, “Jona advised me,” that is overruled.

   19                And then the same on the -- also paragraph 6, the
   20   first part, “This represent -- represented by Jona was
   21   false, was made to me and Jona knew it was false,” that is

   22   sustained, but the rest of it after that, “Jona then
   23   persuaded me,” that will be overruled.      A lot of these are
   24   part of it because these are lengthy objections.

   25                The next one, the first -- the part of this




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    1   says -- will be sustained, the portion that reads, “In
    2   order to foster his image, his honesty, religious, family

    3   oriented, trust me, firstly don’t even introduce my brother
    4   to his own children,” et cetera, et cetera, ending with,

    5   “Everything goes -- is illegal.”       And then starting up, “To
    6   my surprise,” that will be overruled, and then the first

    7   part of that quote part up to the part that I just
    8   sustained will be overruled.        It’s just the stuff in the

    9   middle that I sustained.

   10                The next objection, paragraph 8, that will be

   11   sustained.    Paragraph 9, that will be overruled.
   12   Paragraph 10, that will be sustained.       Number 11, that will

   13   be sustained.    Number 12, that will be sustained.        And

   14   the -- again, these are -- by the way, those do not rela --
   15   I’m sustaining it, but not as far as the Exhibit E in that

   16   particular case, and in the -- one of the previous ones we

   17   do have that Exhibit C in number -- paragraph 10.          Those

   18   will be allowed.    And then we have 12 I just ruled on and

   19   13 is sustained.
   20                Now, again, I’m not going to have any further
   21   argument.    Did everybody hear everything I said?

   22                MR. RICHARDS:   Yes.
   23                MR. MARTICELLO:   Yes, Your Honor.
   24                UNIDENTIFIED VOICE:     Yes, Your Honor.

   25                THE COURT:   Okay.   All right, we made it through




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    1   another one.    Okay.     The declaration of Victor Franco --
    2                UNIDENTIFIED VOICE:    Your Honor, that was Victor

    3   Franco.
    4                THE COURT:    Oh, excuse me.   I’m sorry, that was,

    5   so we -- that was Victor Franco, so we’ve got -- so we’ve
    6   gotten through three of them so far.

    7                Now we’re dealing -- the -- we’ve gotten
    8   through --

    9                MR. COHEN:    You haven’t -- Your Honor, Baruch

   10   Cohen for Marco.    You haven’t addressed Peter Marco’s

   11   declaration yet.
   12                THE COURT:    Excuse me a second.   Okay, hang on a

   13   second.   Sorry about that.     I had it right in front of me

   14   and I -- and then I skipped over it.        Thank you, Mr. Cohen.
   15   Okay, Mister -- objections to Peter Marco.       The first will

   16   be sustained.    The second will be sustained.     That is the

   17   paragraph 4.    The next one, paragraph 6, that will be

   18   overruled.    Then paragraph 7, that’ll be overruled.

   19                The paragraph 8 will be overruled.     And by the
   20   way, whoever made these objections, I guess it’s Marcell --
   21   Mr. Marticello -- misleading is Ravinski’s (phonetic) items

   22   that were in possession of Ravinski, is hardly an
   23   evidentiary objection, just for future reference.        I don’t
   24   know why you put that in there, but that's not an

   25   evidentiary objection.




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    1                Number 9, that’s overruled.     Number 10, that is
    2   sustained.    Number 11, that is sustained.     And number 12,

    3   that’s a best evidence violation, that is sustained.          Next
    4   one is -- let’s see, that's number -- number 13 is

    5   sustained.    That’s a best evidence.     Same with number 14,
    6   sustained, best evidence.      Number 15, best evidence,

    7   sustained.
    8                Number 16, that is overruled.     Number 17, it’s

    9   overruled as to the portion that reads, “Repeated demands

   10   have been made to Jona and Jadelle to return Marco’s

   11   consigned jewelry, including Ravinski’s ring, necklace but
   12   to no avail,” that overruled.        The rest of that objected to

   13   material is sustained.

   14                The next one, 18, is sustained.     That’s a best
   15   evidence violation.       The -- number 19 is sustained.

   16   Number 20 is sustained.      Number 21 is sustained.     Number 22

   17   is sustained.    23 is sustained.     24 is sustained.

   18   Number 25 is overruled.      The -- and we also have this

   19   Exhibit C, in any case.      The -- number 26 is sustained.
   20   Number 27 is sustained.
   21                Again, make sure after -- everybody hear all

   22   those?
   23                MR. RICHARDS:    Yes.
   24                MR. MARTICELLO:    Yes, Your Honor.

   25                THE COURT:    Okay, so that’s -- thank you,




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    1   Mr. Cohen, that's Mr. Marcos.     So now we’re down -- we have
    2   those three.

    3               Now we have the evidentiary objections, request
    4   for judicial notice, which is the next item.      The -- excuse

    5   me.    These -- I will sustain those -- all those judicial
    6   notice requests have to do with things, in my opinion, are

    7   totally irrelevant.    If there were a jury here, I don’t
    8   know, but we don’t have juries in this matter, but it’s

    9   crim -- the criminal background and so forth and

   10   transcripts.    It’s very interesting and I did read it all,

   11   but I can tell you it’s totally irrelevant.      So one of the
   12   things I can do very easily, even though I read it, I can

   13   totally ignore it.    So I am not going to -- I will not take

   14   judicial notice of those proceedings, although interesting,
   15   not relevant to the issues before me today.      So that’s --

   16   excuse me, that is that one.

   17               Then we have the objections -- let’s see, the

   18   final one is the evidentiary objection to the declaration

   19   of Ronald Richards.    Let me find that.    I have that.    And
   20   all of those objections will be sustained.
   21               Anyway, that takes care of, I believe, of all the

   22   various objections, is that correct?     Or I do have --
   23   excuse me just one second.     I -- that’s by -- those
   24   objections -- I do have --

   25               MR. RICHARDS:   We made objections, Your Honor.




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    1   This is Ronald Richards --
    2                THE COURT:   Yeah, right --

    3                MR. RICHARDS:   -- (indiscernible).
    4                THE COURT:   -- that was half of them.    I have the

    5   other half here.      And then the other objections --
    6                Stacy?   You’re quite correct.   I had these, but

    7   where are -- is there a list of the others?
    8                Okay, well, let me just go through them here.

    9   You're right, I have a whole pile of things here.

   10                I have the -- there’s the objections -- well,

   11   I’ll go through them and if I miss any -- I’ve gone
   12   through -- this one is the evidentiary objections to the

   13   declaration of -- oh, here we go.     Thank you.   I knew I had

   14   another list.    That was of Levin Prado, right?      So that --
   15   we start with those.      I have the -- those.   I am going to

   16   go through them.      The -- I’m going -- the first objection

   17   is on page 4, I believe.     That will be sustained.     And then

   18   there’s objection number 3, which is -- that will be

   19   sustained.    Then the next one is number 4, that will be
   20   sustained.    Number 6, that will be overruled.    Number 7
   21   will be overruled.     Number 8 will be overruled.    So that’s

   22   the ones as to, excuse me, Mr. Prado.
   23                Then we have the next one is evidentiary
   24   objections to the declaration of Marc Williams.       Let me

   25   find that, excuse me.     Those -- excuse me just one -- yes,




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    1   those will be sustained, those objections.       They just --
    2   well, no, excuse me just one second.       No, I -- on that one,

    3   I am going to overrule it but I think, to say the least,
    4   they have little if no relevance, but there might be some

    5   relevance buried in there.        But as a practical matter, I’m
    6   going to overrule it, but I really don’t think they have

    7   any real bearing on this case, so I’ll leave it at that.
    8   Sort of a Pyrrhic victory for the objector.

    9                The petitioning -- let’s see, then there’s

   10   petitioning creditors, the reply.       Let’s see, I have -- is

   11   that -- have I missed any, as far as the object -- the
   12   evidentiary objections?

   13                MR. RICHARDS:   No, there was no -- I don’t think

   14   there was any more objections.
   15                THE COURT:   I --

   16                MR. RICHARDS:   There was no --

   17                THE COURT:   Who was talking?

   18                MR. RICHARDS:   Ronald Richards.    I don’t think

   19   there was any other --
   20                THE COURT:   Yeah.
   21                MR. RICHARDS:   I don’t think the reply had --

   22                THE COURT:   Yeah, as I say, this last one, the
   23   objection is overruled but I’d say very slight, if any,
   24   relevance.    So now we’re dealing with the case itself,

   25   right?   We’re done with all that?




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    1              Let me ask the -- as far as the -- well, I’m
    2   going to skip to the -- I’m not going to deal at the moment

    3   with the appointment of a trustee, but we do have the
    4   basic -- excuse me just one second -- the motion to

    5   dismiss.
    6              So who’s going to argue that for the debtor?

    7              MR. MARTICELLO:    That would be me, Your Honor,
    8   Robert Marticello, for Jadelle.

    9              THE COURT:   Okay.   Let me ask a couple things.

   10   It seems -- I can tell you, just so you get a heads-up from

   11   the other side, I think as far as the -- just so you
   12   understand, it’s true you didn't present any testimony,

   13   certainly not by the principals, but I -- but just so the

   14   other side be listening carefully, I think you're right.
   15   I -- when I -- I mean, I am somewhat of an expert on this.

   16   I can take judicial notice, as I have, of all these various

   17   pleadings, and not -- and the rule is again, not

   18   necessarily for the truth of the matter asserted in there,

   19   and that's pretty clear.
   20              However -- the big however is, as you point out,
   21   that when you're dealing with admissions the judicial

   22   notice doesn't get it in, but if in a previous pleading or
   23   a declaration one of the petitioning creditors or all three
   24   of them in this case have said things that are -- that show

   25   that there is a dispute as to either amount or as to just




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    1   liability itself, those are admissible and I assume that
    2   you would agree with that, the counsel who’s arguing this.

    3              MR. MARTICELLO:    Yes, Your Honor.   This is Robert
    4   Marticello.

    5              MR. RICHARDS:   Are you directing this to me, Your
    6   Honor, Ronald Richards, or to the counsel?

    7              THE COURT:   Well, no, Mr. Richards, you're
    8   arguing this, right?

    9              MR. RICHARDS:   No, they’re arg -- I didn't file a

   10   motion to dismiss.    The other side did.    So who did you

   11   want to discuss -- who were you addressing first?
   12              THE COURT:   No, no, no, I’ve got everybody messed

   13   up here.   No, whoev -- the attorneys -- this was filed --

   14   the motion to dismiss -- let me take a look at the papers
   15   here.   It was filed obviously by the debtor.

   16              MR. MARTICELLO:    Your Honor, this is Robert

   17   Marticello --

   18              THE COURT:   So you're --

   19              MR. MARTICELLO:    -- for Jadelle.
   20              THE COURT:   Right, that's who we started off.
   21   You're -- like I said, Mr. Marticello, you're going to be

   22   arguing the motion to dismiss, right?
   23              MR. MARTICELLO:    That’s correct, Your Honor.
   24              THE COURT:   Okay.   Again -- and I’m repeating my

   25   frustration.    Not with you guys at all.    It’s just the idea




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    1   of being on the phone.    If I could see people, it makes
    2   things a lot easier, but that's just where we’re at.        Okay.

    3              Now, the one thing -- let me just sum -- just for
    4   Mr. Marticello, it’s very interesting and would you agree

    5   with this -- it’s a rhetorical question -- that I read, of
    6   course, the reply of the creditors, but they never that I

    7   can see specifically address your specific points.       Would
    8   that be a fair statement?

    9              MR. MARTICELLO:    That’s correct, Your Honor.     The

   10   way I viewed the opposition was they don’t address the

   11   specific disputes that we’ve identified and other evidence
   12   by their own statements, but asked the Court for delay

   13   through a number of procedural mechanisms.

   14              THE COURT:    Okay.   Well, the fact is, I’ve read
   15   the Oved case and all, very interesting.      Involuntary is a

   16   very strange animal.    It doesn't fit exactly, but the rules

   17   are quite clear that you can, under 12(b)(6).      It’s not

   18   exactly a complaint, but, you know, and the -- but you can,

   19   in that case, you can -- and my opinion is pretty firm on
   20   that.   You look at the face of it -- of course, the face of
   21   it is not an awful lot, obviously, on our -- on the

   22   approved form.    Nevertheless, and you -- a court can and
   23   this Court will if things I can take judicial notice of,
   24   namely, the various pleadings and the -- and declarations

   25   and so forth in other courts, that, in my opinion, anyway,




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    1   give you a heads-up, but you made a good point, are
    2   clearly, at least as to liability and/or certainly as to

    3   amount, are inconsistent, which in my view are -- this
    4   is -- these are statements.      It’s not hearsay because these

    5   are statements of a -- admission, actually, by, you know,
    6   statements, you know, under the Federal Rules of Evidence,

    7   a statement by a party opponent, namely, the petitioning
    8   creditors, it’s not even hearsay, it’s a -- if it’s a

    9   statement by a party opponent.

   10              And all these statements that you've presented --

   11   and I’m going to take them one at a time, and that it seems
   12   to me on its face, as an example, the -- you have the one

   13   claim by Mr. Marco and International, it’s clear on their

   14   pleadings that they’re both making a claim on the same
   15   jewelry.   Is that correct, at least part of it?

   16              MR. MARTICELLO:    Yes, Your Honor.   This is Robert

   17   Marticello for Jadelle.

   18              THE COURT:    Yeah.   And as far as -- get my --

   19   excuse me a second.     The -- as far as Mr. Noval, he
   20   basically says that he has the state court action, I
   21   believe -- is it state or district court?      I know it’s

   22   another court, Mr. Noval.     It’s a state court, right?
   23              MR. MARTICELLO:    Right.
   24              MR. RICHARDS:    Mr. Noval is in state -- this is

   25   Ronald Richards.    Mr. Noval is in state court.    Mr. Marco




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    1   is in federal court.
    2              THE COURT:   Right, okay.   Now, as far as

    3   Mr. Noval, he made, did he not -- and, again, this is just
    4   for Mister -- so the debtor’s counsel.

    5              By the way, I know people, when they’re -- when
    6   the pleadings say “putative” or “alleged,” the statute

    7   doesn't say it, so I refer to the debtor as the debtor,
    8   even though I know this is an involuntary, so that -- just

    9   so you understand, that’s -- there’s nothing in the statute

   10   about being an alleged debtor or so forth, but I understand

   11   why debtors do it.
   12              There he’s saying -- he has different amounts.

   13   In the state court he’s asking for 7 million, in the

   14   bankruptcy, 5.8, and he basically says -- and I can
   15   certainly understand how the straightforwardness of that

   16   is, “Well, I only put the amount 5.8 because that's the one

   17   that he can’t really dispute,” Mr. Marticello, that's what

   18   he says, right?

   19              MR. MARTICELLO:    That’s correct, Your Honor.
   20              THE COURT:   Right.   Well, that, on its face, the
   21   Ninth Circuit has ruled that that is an admission, in my

   22   opinion, that he either owed more, and therefore it is in
   23   dispute.   I mean, that was a recent change to -- and I
   24   assume you agree with that statement, Mr. Marticello?

   25              MR. MARTICELLO:    Yes, Your Honor.




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    1             THE COURT:    Right.   Now, as far as Mr. Noval, is
    2   that's basically the two things.     One is he has different

    3   amounts in different lawsuits for the same stuff, but also
    4   he’s admitted that the -- that only the amount that’s --

    5   anything else you want to say about Mr. Noval?
    6             MR. MARTICELLO:     Your Honor, I have other

    7   arguments, but I’m happy to --
    8             THE COURT:    Well, no, I want to say anything --

    9             MR. MARTICELLO:     -- rest if it’s

   10   (indiscernible) --

   11             THE COURT:    -- to add because since it’s your
   12   motion, I’ll let --

   13             MR. MARTICELLO:     Well, I --

   14             THE COURT:    -- you respond.
   15             MR. MARTICELLO:     With respect to Noval, Your

   16   Honor, I would highlight that I agree, Your Honor, the

   17   starting point is that Mr. Noval has admitted that he has

   18   taken inconsistent positions with his claim and stated a

   19   much lower claim in the involuntary petition because he’s
   20   attempting to avoid the dispute that the Ninth Circuit has
   21   said renders him ineligible to commence his case.

   22             I would also say that based on his judicial
   23   admissions, he alleges that he’s a lender and that he
   24   loaned Jadelle 5.8 million dollars, and that the loan is

   25   governed by the terms of the debt -- the agreement that's




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    1   attached to his complaint, but he’s seeking an amount in
    2   excess of what he has allegedly loaned to Jadelle.        He’s

    3   seeking seven million dollars and he says that seven
    4   million dollars is the value of the collateral that secured

    5   his loan.
    6               THE COURT:    Yeah, and I saw that --

    7               MR. MARTICELLO:    And so very simply, he --
    8               THE COURT:    -- and I’m somewhat astonished by

    9   that argument that you can do -- that he has a claim for a

   10   certain amount and if the collateral doesn't cover it or if

   11   it goes over that, then the debtor gets it back, right?
   12               MR. MARTICELLO:    Well, correct, Your Honor, so --

   13   but my point is as a matter of law his claim in bona fide

   14   dispute because he’s seeking amounts that he can never
   15   recover, an amount in excess of what he actually loaned,

   16   less payments received and interest on the loan.

   17               THE COURT:    Yeah, no, it’s --

   18               MR. MARTICELLO:    So I think that clearly puts --

   19               THE COURT:    It seems to me pretty clear, of
   20   course, maybe not so clear from the other side, but it
   21   seemed clear to me.      I mean, I’m the only person on this

   22   call that doesn't -- that is totally neutral.
   23               The next one, Mr. Marco --
   24               MR. RICHARDS:    Your Honor, this is Ronald

   25   Richards.   Can I address that before we go to the next




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    1   piece of --
    2               THE COURT:    No, not at this point.    I’ll hear

    3   from you.   This is not -- that's why I don’t like it on the
    4   phone.   You’ll get to be able to respond, but I just want

    5   to lay out the plaintiff’s side -- that is, the debtor’s
    6   side, rather.

    7               MR. RICHARDS:    Right.
    8               THE COURT:    But you’ll get a chance, obviously.

    9               Mr. Marco, there he says that the 7,676,000,

   10   et cetera, is not correct, but it’s really only 6,950,000.

   11   Is that correct, counsel for the debtor?
   12               MR. MARTICELLO:     That’s correct, Your Honor.

   13               THE COURT:    And he also -- it’s clear from the

   14   various pleadings that they and First International are
   15   both going after the same claim, that is, that

   16   interesting -- I guess I’m living in a different world, but

   17   I guess there are diamonds worth over a million dollars,

   18   but they’re fighting over the same diamond, are they not?

   19               MR. MARTICELLO:     Your Honor --
   20               COURTCALL OPERATOR:     And, Your Honor, this is the
   21   CourtCall operator.      Were they able to hear you again?

   22               THE COURT:    This -- is everybody still on the
   23   line?    Oh-oh.
   24               THE CLERK:    (Indiscernible)

   25               THE COURT:    Mr. Marticello, you're not on the




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    1   line?   Okay, I guess if you don’t hear me, you're not on
    2   the line.

    3               THE CLERK:    CourtCall, can you get them connected
    4   again, please?

    5               THE COURT:    Oh, Jesus.
    6               COURTCALL OPERATOR:    Counsel, I just have to

    7   confirm you all are still connected.
    8               THE COURT:    Mr. Marticello, are you on the line?

    9               UNIDENTIFIED VOICE:    Yes, we are.

   10               COURTCALL OPERATOR:    (Indiscernible) is connected

   11   as well.
   12               THE COURT:    Is everybody -- for the operator, is

   13   everybody -- why don’t you just state your name really fast

   14   if you can hear me.      Why don’t --
   15               MR. RICHARDS:    Ronald Richards.

   16               MR. MARTICELLO:    We’re -- Robert Marticello.

   17   We’re back, Your Honor.

   18               THE COURT:    Okay.

   19               MR. COHEN:    Baruch Cohen.
   20               THE COURT:    Okay, okay.   Now, you heard -- you
   21   heard what my question was that Mr. Marco has admitted that

   22   the claim is wrong in the bankruptcy, the 7.6 million is
   23   not correct.    The right amount is in the -- is 6.9 million,
   24   is that correct, Mr. Marticello?

   25               MR. MARTICELLO:    That’s correct, Your Honor.




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    1                THE COURT:   Right, and also they’re fighting over
    2   the same million-dollar diamond, are they not, that is, the

    3   First International?
    4                MR. MARTICELLO:   That’s correct, Your Honor.

    5                THE COURT:   Well, and so -- okay, that's -- and
    6   let me -- excuse me just one second.      And so anything you

    7   want to add as far as the problem with Mr. Marco’s claim
    8   being not subject to reasonable dispute?

    9                MR. MARTICELLO:   I mean, the other inconsistency

   10   we have with Mr. Marco, Your Honor, is that he’s -- he’s

   11   alleged that he consigned jewelry to Mr. Rechnitz and not
   12   Jadelle specifically, which also creates a factual dispute.

   13   And I think that --

   14                THE COURT:   Well, wasn't it Mister --
   15                MR. MARTICELLO:   -- with respect to all three --

   16                THE COURT:   I’m trying to remember -- excuse me.

   17   Wasn't it Mr. Marco that -- the two suits he has going,

   18   one’s against the principals and one’s against the

   19   bankruptcy, is that correct?
   20                MR. MARTICELLO:   That’s correct, Your Honor.
   21                THE COURT:   And in the one against the

   22   individuals, he had the same complaint, but just changed
   23   the names.
   24                MR. MARTICELLO:   Correct, Your Honor.

   25                THE COURT:   That’s -- and is that in -- and, now,




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    1   is that one in New York or is that here?       I just don’t
    2   remember.

    3               MR. MARTICELLO:   It is a district court here,
    4   Your Honor.     It’s before Judge Rice, I believe.

    5               THE COURT:   That’s here in LA?
    6               MR. MARTICELLO:   That’s correct, Your Honor.

    7               THE COURT:   Okay.   I would say if that's not
    8   inconsistent, it’s hard to imagine anything more.        I can

    9   understand he might think, “Well, they’re really one in the

   10   same,” but if you -- but if there’s obviously a dispute, it

   11   seems to me, if you sue the involuntary -- of course the --
   12   that's what this case is, an involuntary, against the

   13   princ -- the debtor, which is Jadelle Jewelry.       But if you

   14   go and sue the principals and say that the property was
   15   consigned to them, at least as far as I can see, it -- I

   16   can understand why he might take inconsistent positions.

   17   But for our purposes there’s clearly a dispute by his own

   18   mouth.

   19               Would you agree with that, I assume,
   20   Mr. Marticello?
   21               MR. MARTICELLO:   I agree.

   22               THE COURT:   Anything else about Mr. Marco?
   23               MR. MARTICELLO:   No, Your Honor.
   24               THE COURT:   Okay.   And then the final thing about

   25   International, then, in their case it’s basically the




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    1   dispute is because they and Mr. Marco are seeking in
    2   their -- as their claim the same at least -- it may be more

    3   than that, but at least the same diamond worth, you know,
    4   one-point-something million dollars.      Would that be a fair

    5   statement?
    6                MR. MARTICELLO:   That’s a fair statement, Your

    7   Honor.
    8                THE COURT:   Anything else about International, as

    9   far as the objection to their -- them being a petitioning

   10   creditor?

   11                MR. MARTICELLO:   I think the other inconsistency
   12   we have with First International is similar to what we have

   13   with Mr. Noval, in the sense that First International takes

   14   the position in the involuntary petition, under penalty of
   15   perjury, as the amount of his claim, but the declaration he

   16   filed, that his princ -- that the principal filed,

   17   Mr. Anter filed, in connection with the Trustee’s motion,

   18   says that the amount is higher.      And so I think you have

   19   this trend across the creditors where they’ve attempted to
   20   understate their claim in the petition to avoid the dispute
   21   that they know exists.

   22                THE COURT:   Well, which is -- which years ago
   23   that would have been fine.     I would have ruled that way.
   24   We wouldn’t probably be having, well, a lot of this

   25   discussion, except for the statute was changed, dealing




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    1   with the dispute as to the amount, as opposed to just the
    2   claim itself.    Anything you want to add till I hear -- I

    3   assume Mr. Richards will reply?      Anything that you want to
    4   say, Marticello, at this point?      You’ll get to respond to

    5   anything Mr. Richards says.
    6              MR. MARTICELLO:    Just two points, Your Honor.       I

    7   think, number one, I think when the Court talked about how
    8   clear this is, I agree with the Court that it’s clear

    9   because of the Ninth Circuit law that we have in the Blisik

   10   (phonetic) case, which makes clear that a dispute as to any

   11   portion of their claim strips the creditor of standing to
   12   file an involuntary petition.      And the Ninth Circuit case

   13   in Blisik also states why we have that rule in the Code.

   14   It’s because disputed claims are to be resolved elsewhere.
   15   Bankruptcy involuntary petitions is a measure of last

   16   resort.   It’s a disputed litigation claim that really needs

   17   to be resolved in another forum, like --

   18              THE COURT:    Well, let me --

   19              MR. MARTICELLO:    -- where these claims
   20   originated.
   21              THE COURT:    -- stop you.   You can -- I want to

   22   hear, just as far as the other side and then I’ll get back
   23   to you.
   24              Okay, now who --

   25              MR. MARTICELLO:    That’s fine, Your Honor,




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    1   understood.
    2             THE COURT:     Now -- because there were several

    3   people representing the various folks, but let me -- now, I
    4   know, Mr. Richards, you represent at least Mr. Noval, is

    5   that correct?
    6             MR. RICHARDS:     Noval.   That’s correct.

    7             THE COURT:     Now as far as the other two, are you
    8   going to deal with them or we have other counsel, Mr. Lev?

    9   Are you going to deal just with Mr. Noval --

   10             MR. RICHARDS:     No, Your Honor, I’m --

   11             THE COURT:     -- or are you going to deal with all
   12   three?

   13             MR. RICHARDS:     I’m going to deal with Mr. Noval

   14   in the global issue of using the other pleadings and
   15   Mr. Cohen will address the comments the Court just made

   16   about his specific claims, but it may be rendered moot by

   17   some of my general positions.

   18             THE COURT:     Well, I know your position.      I’ve

   19   already -- just so you understand, I’ve made my ruling, and
   20   I don’t think you quite got it.      I can take judicial
   21   notice, and generally speaking, not to the truth of the

   22   matters asserted, but that’s just by judicial notice.          But
   23   if you're dealing -- if you're saying that I can’t -- I
   24   totally disagree, the cases are all over the place,

   25   including my own, that -- so that's my ruling.       That’s




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    1   not -- that was not a suggestion, that I will consider and
    2   have considered, I’m going to consider admissions by the

    3   various people and all the things we’ve been discussing.
    4   So I’d like you to --

    5              MR. RICHARDS:    Yeah, I know --
    6              THE COURT:    -- given that --

    7              MR. RICHARDS:    Your Honor, I’m going to
    8   (indiscernible) your point.

    9              THE COURT:    -- I know you may not agree with

   10   that, but -- well, let me ask you.      You don’t agree with

   11   that proposition?
   12              MR. RICHARDS:    No, you can take judicial notice

   13   of admissions.    I don’t disagree with that, but what I do

   14   disagree with is the fact that in a state court pleading,
   15   the fact that you pled an amount that’s inconsistent in the

   16   petitioning creditor amount does not create a bona fide

   17   dispute.

   18              When you file claims in a bankruptcy court, you

   19   typically file the claim.     You don’t add in attorney’s fees
   20   or costs, where in state court, if there’s a default,
   21   you're required to put the highest number possible so

   22   there’s a due process issue if the person defaults.         The
   23   pleadings rules are totally different, so --
   24              THE COURT:    No, but wait a minute --

   25              MR. RICHARDS:    -- you never --




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    1               THE COURT:   -- you’re forgetting a little thing
    2   about Mr. Noval, who says in his pleading that he only put

    3   the principal amount absolutely not in dispute.       You read
    4   that, did you not?

    5               MR. RICHARDS:   Yeah, but the reason why that was
    6   put before you was because the principal amount is not in

    7   dispute.   The number is not a static number.      Interest is
    8   always accruing --

    9               THE COURT:   No, that --

   10               MR. RICHARDS:   -- there’s always fees accruing.

   11               THE COURT:   No, no, no, that's -- that isn't what
   12   he said.   Do you want me to quote it?     “Only the principal

   13   amount, absolutely no chance of being disputed.”        Principal

   14   amount.    That’s what he’s talking about.     That has no
   15   chance of being disputed.

   16               I hear what you're saying.    He has basically

   17   admitted that this -- in my opinion, you can disagree if

   18   you wish, but it’s clear to me that he is saying he left

   19   off claims, and it’s -- and that's all the testimony we
   20   have.
   21               The problem is -- Mr. Richards, with your side is

   22   you didn't bother in responding to all this.       So the record
   23   I have right before me is that there’s -- that as far as
   24   Mr. Noval, he has not listed the entire claim, period.         He

   25   hasn't explained what you are telling me.       That’s not in




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    1   his -- that’s no evidence before me, so I --
    2              MR. RICHARDS:    I know, but, Your Honor, it’s a

    3   12(b) motion, and you're not -- we didn't want to fall into
    4   the trap of converting it to a Rule 56 motion.

    5              THE COURT:    No, it’s not a --
    6              MR. RICHARDS:    If anything --

    7              THE COURT:    -- this is not a summary judgment.
    8   You don’t get it.     The cases are quite clear that normally

    9   in a 12(b)(6) you take it on its face, subject to things

   10   that I can appropriately take judicial notice.       This is not

   11   a summary judgment motion.     This is a 12(b)(6) motion.      And
   12   the law is quite clear that in that motion, not converting

   13   this to a summary judgment, that the question before me is

   14   whether or not there’s a reasonable dispute.       If he wanted
   15   to respond, that’s the only issue.      So I hear what you're

   16   saying.   This is not a summary judgment.      This is a

   17   12(b)(6) motion, and I can’t consider --

   18              MR. RICHARDS:    I know, but --

   19              THE COURT:    -- the admissions.
   20              MR. RICHARDS:    Right, but when the -- by
   21   responding to the admissions and getting -- and presenting

   22   testimony, we believed that that's -- that converts
   23   mister -- now you're weighing credibility.       We’re simply --
   24   we simply set forth a prima facie claim of the amount that

   25   we’re contending is owed that is not in dispute.        You can’t




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    1   create a dispute by saying, well, in another case, in a
    2   different pleading standard, he’s now requested all of his

    3   expenses and interest, et cetera.      We don’t have to take
    4   that risk when we filed the petition.      We filed the

    5   petition with a clean claim that is the principal amount,
    6   just like even on the claim form for this district --

    7                THE COURT:   Well, what --
    8                MR. RICHARDS:   -- because we tell you to add --

    9                THE COURT:   -- then what -- well, then what --

   10   where -- that statement was made in what pleading?        And I

   11   have it in front of me, just make sure you understand
   12   that -- only the principal.     That was in what -- what

   13   pleading was that made in?

   14                MR. RICHARDS:   In our opposition to the motion to
   15   dismiss.

   16                THE COURT:   No, no, no, for -- in the oppo --

   17   where did he make that statement?

   18                MR. RICHARDS:   About what?

   19                THE COURT:   That he only included --
   20                MR. RICHARDS:   What specifically, Your Honor?
   21                THE COURT:   Let me ask you that.   Mister -- let

   22   me ask the debtor’s counsel.      Where did you make that
   23   statement?
   24                MR. MARTICELLO:   Regarding the calculation of the

   25   claim?




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    1             THE COURT:     Yeah, that he only --
    2             MR. MARTICELLO:     Sorry, this is Robert Marticello

    3   for the debtor.
    4             THE COURT:     Yeah, Mr. Marticello.

    5             MR. MARTICELLO:     It’s in docket number 16.
    6   That’s Mr. Noval’s declaration, page 6 --

    7             THE COURT:     That’s his declaration.
    8             MR. MARTICELLO:     -- line --

    9             THE COURT:     That’s not in the state court

   10   litigation.     That’s his declaration.

   11             MR. MARTICELLO:     Oh, correct, Your Honor.      I’m
   12   sorry, I -- yeah, correct.     In the state court there’s --

   13   are you asking what -- if there was a statement regarding

   14   the principal amount owed?
   15             THE COURT:     Where he made that statement, that he

   16   only included the things that are not in dispute?

   17             MR. MARTICELLO:     The statement -- that statement

   18   is in his declaration filed with the Trustee motion.

   19             THE COURT:     Right, where he said --
   20             MR. RICHARDS:     It’s not in opposition to the --
   21   that’s where -- but that's not relevant to this motion.

   22   We -- the -- we -- in this motion we didn't -- we don’t
   23   need to -- we don’t -- we didn't want to fall into the trap
   24   of getting into --

   25             THE COURT:     No, no, wait, stop.




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    1               MR. RICHARDS:   -- providing witness testimony --
    2               THE COURT:   I’m asking you a very simple

    3   question.   That statement was not in the state court.        That
    4   was in his declaration before this Court, was it not?

    5               MR. RICHARDS:   In opposition to the motion to
    6   dismiss or the Trustee motion?

    7               THE COURT:   Well, it doesn't matter, does it?
    8   It’s a statement that he made.

    9               MR. RICHARDS:   Yes, it does.

   10               THE COURT:   It’s an admission --

   11               MR. RICHARDS:   It actually does.
   12               THE COURT:   -- is it not?     It was a statement in

   13   a declaration.    I have a whole pile of papers before me,

   14   but I know I’ve read it.      I can’t remember which one.
   15   Mr. Marticello, which -- the declaration was in regards to

   16   what pleading?

   17               MR. MARTICELLO:    It is document number 16.     It’s

   18   the trust -- it’s the declaration of Victor Franco

   19   submitted in support of the motion for a trustee.
   20               THE COURT:   Okay.   And --
   21               MR. MARTICELLO:    And it --

   22               THE COURT:   -- I don’t have that -- actually, I
   23   have it in front of me, but can you read -- do you have
   24   that in front of you?     Can you read the actual statement?

   25               MR. MARTICELLO:    I do, Your Honor.   He says, at




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    1   line 22:
    2                “In fact, in calculating my debt for inclusion in

    3           the involuntary petition, I took the most conservative
    4           approach by including the principal amount owed and an

    5           amount that had absolutely no chance of being
    6           disputed.”

    7                THE COURT:   Okay.   Now, Mr. Richards, that's in
    8   this court.     That was not in state court.    I’m going to

    9   leave it, but I’m telling you right now, I don’t buy your

   10   argument.

   11                MR. RICHARDS:   Well, Your Honor, there’s nothing
   12   on --

   13                THE COURT:   That’s in this particular court and

   14   part of these proceedings before me.      He is stating exactly
   15   what the Ninth Circuit says is subject to reasonable

   16   dispute.    I’ll give -- do you want to say one more -- a

   17   couple words on that, but I -- that is so obvious to me

   18   what he’s doing, what the Ninth Circuit says you can’t do.

   19   And he’s not talking about fees in the state court or
   20   anything.    He’s talking about the claim in this court.
   21                MR. RICHARDS:   I know, but --

   22                THE COURT:   So do you have any final statement
   23   about Mr. Noval?     And this is not --
   24                MR. RICHARDS:   Yes, Your Honor, and

   25   unfortunately --




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    1                THE COURT:   -- by the way, summary judgment.
    2   This is a 12(b)(6) motion.

    3                MR. RICHARDS:   I know, but, Your Honor,
    4   unfortunately, this state -- this testimony is being

    5   misunderstood.    He’s explaining in the declaration that the
    6   claim that he’s making in this case is not subject to

    7   dispute.   He’s not compelled to put on evidence of interest
    8   or other things that they could dispute.       He’s following

    9   the procedures.    When you make a claim in the Central

   10   District, you put the principal amount.       You don’t put all

   11   the other parts of the claim.      So he’s explaining to you
   12   why this --

   13                THE COURT:   Well, for instance --

   14                MR. RICHARDS:   -- there’s an inconsistency in the
   15   statement.

   16                THE COURT:   -- let’s say there are attorney’s

   17   fees involved in the claim.     Those -- and those might be

   18   disputed --

   19                MR. RICHARDS:   (Indiscernible) --
   20                THE COURT:   -- on not being reasonable.    Isn't
   21   that what the Ninth Circuit is talking about?

   22                MR. RICHARDS:   No, Your Honor, because attorney’s
   23   fees are only by a motion.     You wouldn't put stuff that
   24   hasn't been ruled on yet.     In the original claim you only

   25   put the principal.     You can’t put stuff that is not decided




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    1   yet in the future, so --
    2               THE COURT:    Oh, you're not saying --

    3               MR. RICHARDS:    -- when you petition, if
    4   someone’s --

    5               THE COURT:    I’ve seen claims --
    6               MR. RICHARDS:    -- you don’t --

    7               THE COURT:    -- all the time where they say, my
    8   claim is such-and-such plus attorney’s fees allowed by the

    9   contract.

   10               MR. RICHARDS:    Well, that's because --

   11               THE COURT:    Doesn't that happen all the time?
   12               MR. RICHARDS:    If there’s a contract -- if

   13   there’s a contract that calls for prevailing party

   14   attorney’s fees, you have to first win.        So, no, you
   15   wouldn't -- that would only be if there’s like an agreed-

   16   upon amount in a contract for attorney’s fees --

   17               THE COURT:    Well, in any case --

   18               MR. RICHARDS:    -- like a specific amount.

   19               THE COURT:    -- Mr. Richards, I’m going to end the
   20   discussion on this.      I hear you.   I just totally disagree
   21   and not further any -- and he is not -- because his -- he

   22   has stated it himself.      You can twist it and put any spin
   23   you want on it, but it’s absolutely clear, his statement
   24   that he’s -- what he said, and that he is stating that he

   25   is only listing the amount, absolutely it can’t be




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    1   disputed, and that tells me that there is more to it, he’s
    2   admitting it.    So I am not going to allow him as a

    3   petitioning creditor.
    4              Who is going to talk about Mr. Marco?

    5              MR. COHEN:    Your Honor, that would be me, Baruch
    6   Cohen.

    7              THE COURT:    All right.   Well, mister -- you've
    8   seen where, in the -- he and International going after the

    9   same diamond, are they not?

   10              MR. COHEN:    We do not agree that they’re going

   11   after the same diamond.     In fact, I didn't see any evidence
   12   presented by the putative debtor that’s it’s the exact same

   13   jewelry.   We liq --

   14              THE COURT:    It looked like to me, in the claim --
   15              MR. COHEN:    I did not see the exact same jewelry.

   16   Plus, you know, we have a total of approximately 6.9.         You

   17   know, there’s been transactions between the parties as to

   18   what the -- both of --

   19              THE COURT:    No, but wait a minute.
   20              MR. COHEN:    -- these balances, but we --
   21              THE COURT:    Didn't he say it in the state court

   22   action that -- isn't the claim 7.6?
   23              MR. COHEN:    The --
   24              THE COURT:    Take a look at --

   25              MR. COHEN:    That was in addition -- yeah --




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    1                THE COURT:   -- his statement in the petitioning
    2   creditors.    Isn't it 7.6 million, no 6.9?

    3                MR. COHEN:   Correct, I believe so.
    4                THE COURT:   Okay.   So right on the face of it --

    5                MR. COHEN:   But then, again -- but we --
    6                THE COURT:   -- he’s admitting in the other

    7   action --
    8                MR. COHEN:   -- but let me just finish, Your

    9   Honor.    The point --

   10                THE COURT:   -- that it should be less than the

   11   7.6.
   12                MR. COHEN:   Well, you know, when we get a letter

   13   from debtor’s counsel saying that they want to pay my

   14   client -- you know, this is the February 4th, 2020 letter.
   15   So regardless of what the number was from one pleading to

   16   the other, when Rechnitz’s or Jadelle’s lawyer writes us

   17   saying, “We want to pay you,” you know, that’s the debtor

   18   stating that, “We have no issue as to your amount, as to

   19   Marco.”   And the Court hasn't addressed that, but I don’t
   20   see how you could get around, when the debtor writes the
   21   letter and saying, “Hey, you know, we have a family member

   22   who wants to pay you,” not raising any dispute as to
   23   amount --
   24                THE COURT:   I totally disagree.

   25                MR. COHEN:   -- not raising any --




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    1                THE COURT:   I hear you, and you’re a fine lawyer,
    2   but that’s just -- and as a matter of fact from the other

    3   side, namely on your side, that there’s this family member
    4   out there.    I don’t think you jump and down and say, “Wow,

    5   they’re going to pay.”     Would that be a fair statement?
    6                MR. COHEN:   That’s not necessarily accurate.

    7   This is a family member who’s quite a philanthropist who
    8   has a good reputation, you know, of being philanthropic.

    9   He’s well known within the -- to our client.       He’s well

   10   known within the Orthodox Jewish community.       So without

   11   dropping any names, when they say that, you know, Bill
   12   Gates is paying your bill you take note.        And when we get a

   13   letter saying, “Hey, we’re paying your bill, you know,

   14   we’re just trying to fund it” and the debtor’s letter says
   15   absolutely nothing about there being a dispute then right

   16   now what that --

   17                THE COURT:   Well, no.   I --

   18                MR. COHEN:   By the way --

   19                THE COURT:   I hear you.   But let me ask you this.
   20                MR. COHEN:   And Marco is now --
   21                THE COURT:   This -- isn’t he suing -- but getting

   22   back to Mr. Marco, isn’t he suing the -- for the same
   23   jewelry, the individuals, in state court?
   24                MR. COHEN:   I do not be -- no.    We’re suing the

   25   Rechnitzes in state court.




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    1               THE COURT:   For the same jeweler.    They’re not
    2   the --

    3               MR. COHEN:   We are not suing Jadelle.
    4               THE COURT:   Doesn’t the state court action say

    5   the matter is --
    6               MR. COHEN:   I do not believe it’s --

    7               THE COURT:   I’ve seen the complaint.    It says --
    8               MR. COHEN:   I’m -- I do not believe it --

    9               THE COURT:   -- that the matter is consigned where

   10   it’s consigned to the -- he took the same language from

   11   here and said -- in this case he says, “These jeweler items
   12   were consigned through the debtor.”      And in the state court

   13   action he says the same language, they were consigned to

   14   the Rechnitzes.    Isn’t that the correct?
   15               MR. COHEN:   You are correct, but it’s

   16   interchangeable because the invoices are both to Jadelle

   17   and to Jona.

   18               THE COURT:   Well, you say that but he didn’t say

   19   that.    How is they didn’t -- he didn’t say -- what he’s
   20   saying in the one complaint is --
   21               MR. COHEN:   I think we’re --

   22               THE COURT:   He doesn’t mention Jadelle at all,
   23   does he, in the state court action?
   24               MR. COHEN:   Because the state court was stayed

   25   by -- it was a U.S. District Court matter, Your Honor,




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    1   before --
    2               THE COURT:   Okay.    District Court.   Okay.

    3               MR. COHEN:   But in that matter -- that matter
    4   because Jadelle already was -- there was an involuntary

    5   already placed against it, so there was -- you know, there
    6   was no real need to identify Jadelle as the responsible

    7   party when in essence the invoices say both.
    8               THE COURT:   No.   You’re talking -- you’re adding

    9   something to it.    You’re saying what the invoices say.       In

   10   one pleading it says it’s the individuals that -- consign

   11   to it and then the involuntary says there was -- it was the
   12   debtor Jadelle.    Those are -- you don’t think those are

   13   inconsistent positions --

   14               MR. COHEN:   I think -- I think Peter Marco --
   15               THE COURT:   -- that this lease -- not as a

   16   matter --

   17               MR. COHEN:   No, because when --

   18               THE COURT:   -- not to decide it ultimately

   19   because they might conceivably both be liable.       But I’m
   20   saying as far as whether or not there is a -- on the face
   21   of it a dispute as to who’s liable.      Why does that not show

   22   a dispute, just on its face?
   23               MR. COHEN:   We don’t believe it’s a dispute.
   24   They are one and the same.       It’s for another substance.

   25               THE COURT:   Well, you’re -- again, you say




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    1   they’re one and the same but isn’t that subject to dispute?
    2   They may say, “No, it’s not.”

    3               MR. COHEN:   We lost the judge again, CourtCall
    4   operator.

    5               THE COURT:   You can’t hear me?    Oh-oh.
    6               ATTORNEYS:   We hear you now, Your Honor.

    7               THE COURT:   I’m back.
    8               MR. RICHARDS:   Yeah.

    9               And, you know, are you sure, Mr. Cohen, that

   10   you’ve looked at the pleading because I have and it seems

   11   to me that there -- that International and Mr. Marco are
   12   going after at least one of the same items.       Have you

   13   looked at the documents?       Are you telling me that they

   14   don’t overlap?
   15               MR. COHEN:   They’re mis -- see, that’s where the

   16   confusion is.    There may be an overlap but that in terms of

   17   the trans --

   18               THE COURT:   Well, not a maybe.    They -- it seems

   19   to me there is.    Am I -- I’m asking you as an officer of
   20   the court, have you actually looked at the claims as to
   21   whether or not there really is, at least as to this 1.2

   22   million or whatever it’s worth, this diamond, are you
   23   telling me that that’s not the case?
   24               MR. COHEN:   No.    I’m saying there is overlap but

   25   I’m saying it’s a confusing web of transactions --




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    1              THE COURT:    No, no.    Wait a minute.
    2              MR. COHEN:    -- with Rechnitzes --

    3              THE COURT:    Back up.
    4              MR. COHEN:    -- Jadelle and my client.

    5              THE COURT:    That isn’t what you just told me
    6   about a couple minutes ago.      You said, no, there’s no

    7   overlap.   Be very careful, Mr. Cohen, that --
    8              MR. COHEN:    No, what I’m saying is I don’t see

    9   ev -- Your Honor, I’m very careful.      I said I don’t see

   10   evidence of any overlap.

   11              THE COURT:    Okay.
   12              MR. COHEN:    It’s hard to --

   13              THE COURT:    Let me -- let me go back to

   14   Mr. Marticello.    Why don’t you point out to it?      I’ve seen
   15   it but I want you to help Mr. Cohen out.

   16              MR. MARTICELLO:    Your Honor, the evidence is in

   17   Mr. Marco’s pleading.     It is page -- it’s Bates-stamped 100

   18   of Exhibit 7 where it lists First International and the --

   19   Diamond and the amount.
   20              THE COURT:    And that -- the Diamond -- I forget.
   21   I looked at it and my eyes kind of glazed over, but it does

   22   describe -- I don’t know what all those numbers mean, but
   23   why don’t you -- do you have in front of you what the -- I
   24   don’t know, is that 16 carat?       I don’t know.    I don’t know.

   25   I’m not a jeweler so I have no idea.




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    1              MR. MARTICELLO:      Yeah, Your Honor, it -- under
    2   the description -- and this is Robert Marticello for the

    3   debtor.
    4              THE COURT:    Yes.

    5              MR. MARTICELLO:      Under the description it says
    6   EID -- EID NT 13.62 d/bbs1, then the number sign, and then

    7   the number sign, and then the number is 11776564.
    8              THE COURT:    And again -- just for the record

    9   again --

   10              MR. MARTICELLO:      And the Court --

   11              THE COURT:    -- you’re reading from what?
   12              MR. MARTICELLO:      I’m reading from -- this is our

   13   request for judicial notice in support of our motion to

   14   dismiss.   It’s Exhibit 7, Bates-stamped 100.
   15              THE COURT:    No, no.    What is the document?    I

   16   think I have it but just for the record to be clear what

   17   are you reading from?

   18              MR. MARTICELLO:      The doc -- oh, the document,

   19   it’s Marco’s third -- amended third-party complaint.
   20              THE COURT:    All right.    And that’s filed in the
   21   district court?

   22              MR. MARTICELLO:      Correct.
   23              THE COURT:    Right.    And now shifting to
   24   International, they’re -- how -- they show that they’re

   25   looking for the same thing.       How do you connect the two?




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    1   What about things from them?
    2                MR. MARTICELLO:    Well, one, Your Honor, the place

    3   that I just read in Marco’s third amended complaint, it
    4   actually lists First International as the vendor for that

    5   particular item, but also coming from Mr. Anter in this
    6   Court he submitted the declaration in support of his motion

    7   for a trustee --
    8                THE COURT:   Right.

    9                MR. MARTICELLO:    -- which is document number

   10   15 -- and he states that he consigned certain items to

   11   Jadelle and in support of that item he attaches his memos
   12   and the memo lists the same item.

   13                THE COURT:   All right.   Well, that was my

   14   recollection.    I didn’t remember all the documents.
   15                But now, Mr. Cohen, are you -- do you -- are you

   16   listening?    Do you now see that they’re talking about the

   17   same item?

   18                MR. COHEN:   So, Your Honor, I’m not sure they’re

   19   the same item.    We -- first of all, First International did
   20   not file a lawsuit yet.
   21                THE COURT:   No.   They haven’t filed a lawsuit.

   22                MR. COHEN:   Number two, that this --
   23                THE COURT:   Anyway, let’s put it this way.
   24                MR. COHEN:   And the --

   25                THE COURT:   It is absolutely clear to me that




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    1   they -- and it’s not unusual -- but they’re making the same
    2   claim and they may not even know amongst themselves through

    3   all these consignments and so forth, but it’s absolutely
    4   clear to me that they’re going after the same diamond.         And

    5   again, I don’t write the law.      I don’t make the law.     But
    6   it's clear that in that case they’re not only talking about

    7   the amount of the claim but actually as to what’s included
    8   in the claim.

    9             So, Mr. Cohen, do you have anything to add to

   10   either Mr. Marco or -- you’re dealing with International as

   11   well, right?
   12             MR. COHEN:     You’re right, Your Honor.    I’m

   13   dealing with both and the problem is that the description

   14   doesn’t match in both.     And in an ideal world if they did
   15   match I would be more ready and eager to acknowledge and

   16   submit to the point, but they don’t match and therefore I’m

   17   not 100 percent sure that it’s the same.

   18             THE COURT:     Okay.

   19             MR. COHEN:     But --
   20             THE COURT:     Well, there is reference I am
   21   convinced --

   22             MR. COHEN:     Yeah.
   23             THE COURT:     Because there is reference in
   24   Mr. Marco’s papers that it dealt with International.

   25   Obviously, the money we’re talking about at this level a




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    1   lot of these, you know, outfits and people are dealing with
    2   each other it’s not unusual.      But I am convinced that --

    3              MR. COHEN:    Right.   But the additional point,
    4   Your Honor --

    5              THE COURT:    Yes.
    6              MR. COHEN:    The additional point, Your Honor, is

    7   that Jadelle issued 2.1 -- $2,122,760 worth of bogus
    8   checks.   There is absolutely no dispute that Jadelle issued

    9   that amount of bounced checks.

   10              THE COURT:    Well -- and, Mr. Cohen, stop.

   11              MR. COHEN:    Well, even --
   12              THE COURT:    You’re changing the subject.     I --

   13   you know, it is pretty clear to me -- and this is not a

   14   criminal court.    This is just a bankruptcy court dealing
   15   with an involuntary.     I have no doubt from reading all

   16   these pleadings, and the debtor doesn’t say they’re not

   17   correct, that there’s all kinds of stuff going on and

   18   jewelry that’s missing and so forth.      So I don’t doubt that

   19   for a second.
   20              But the only question for me is a very simple one
   21   really, is whether or not there is a -- under the -- under

   22   bankruptcy law whether there is a dispute as to the amount
   23   of the debt.    So I have no doubt from these pleadings that
   24   probably millions of dollars are probably at least owed by

   25   the debtor.     That I have no doubt about it.    The question




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    1   is how much?    And that’s what this is about.     So it seems
    2   to me --

    3               MR. RICHARDS:   Your Honor, excuse me.      Will we be
    4   allowed to --

    5               THE COURT:   -- that at least as far as people who
    6   obviously work together, Marco and International, there is

    7   an overlapping claim.
    8               MR. RICHARDS:   Your Honor, we should be allowed

    9   to -- this is Ronald Richards.      We should be allowed to

   10   amend our pleadings to -- if that’s an issue of any --

   11               THE COURT:   No.   Let me stop you.   No.   This is
   12   not a -- this -- no, this is a very simple matter.        This is

   13   not a Ping-Pong match.

   14               So as far as all three of these it is clear to me
   15   and for the re -- this is a discussion that there are

   16   disputes I’ve already indicated as to the amount, as to who

   17   they’re owed to, the dispute as to it and I’ve listed

   18   pretty much all of them.

   19               So, you know, there’s not -- this is not a
   20   pleading where you can amend.      This is dealing with the
   21   petition.   But what I am going to do as follows.       Again --

   22   and this is not the normal complaint, answer and so forth.
   23   So the Rule 12(b)(6) does apply but in kind of an unusual
   24   way.   What I’m going to do as follows.

   25               It -- for the reasons I’ve stated on the record I




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    1   agree with the debtor that these three have disputes, at
    2   least as to the amount and/or as to the claim itself.

    3   However, again, I’m not ruling -- of course, I’m
    4   reiterating myself ad nauseum that indeed that’s the final,

    5   the ult -- at the end of the day those claims can’t be
    6   proven.   I’m just talking about whether petitioning

    7   creditor -- I don’t doubt that they have claims.        It’s just
    8   a question of whether they’re subject to the dispute.

    9   That’s what’s before me.     A totally different question.

   10              But what I may do is this and that’s why I

   11   originally -- and, by the way, so I -- what I’m going to do
   12   is the following.     I am going to require the -- both -- we

   13   have two -- we -- there are two principals of this debtor,

   14   right, the Rechnitz -- however you pronounce their last
   15   name -- but that is correct, right, from the debtor -- from

   16   the debtor’s standpoint there are two?       They’re the -- the

   17   only two people in the LLC.     They’re the only members, is

   18   that correct?

   19              MR. MARTICELLO:    To my -- Your Honor, this is
   20   Robert Marticello for the debtor.      My understanding is that
   21   Rachel Rechnitz is the member.      I -- to my knowledge

   22   Mr. Rechnitz is not a member.
   23              THE COURT:    Well, what is he?    I thought he -- I
   24   thought you -- what --

   25              MR. RICHARDS:    Your Honor, he was --




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    1               THE COURT:   In an LLC you’re either a member or
    2   you’re not.

    3               MR. RICHARDS:   Your Honor, Ronald Richards.
    4               THE COURT:   I mean, I don’t understand.     Why is

    5   he not a member?
    6               MR. RICHARDS:   His wife is the member.     She’s the

    7   member.    He’s the -- he’s a member under community property
    8   law.

    9               THE COURT:   No, no.

   10               MR. RICHARDS:   And he’s the one that frank --

   11               THE COURT:   Is he an actual member on the papers?
   12               MR. COHEN:   He is not, Your Honor.    This is

   13   Baruch Cohen.    He is not a member.

   14               MR. RICHARDS:   They objected to all of our
   15   discovery requests, all of them that we sent, Your Honor,

   16   that were -- last night we received blanket objections.

   17               THE COURT:   As to what?   I don’t have that before

   18   me.    Because what I’m going to do --

   19               MR. RICHARDS:   We --
   20               THE COURT:   So you’re telling me that again the
   21   community -- obviously, because of the community property

   22   is one thing.    I am going to order the debtor -- so she’s
   23   basically the one who runs the business end, is that
   24   correct?

   25               MR. RICHARDS:   No.    Mister Rechnitz -- Jonah




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    1   Rechnitz runs the business.
    2               THE COURT:    Excuse me?

    3               MR. RICHARDS:    Jona Rech -- this is Ronald
    4   Richards -- Jona Rechnitz runs the business.       His wife has

    5   been listed as a member, but the person that’s committing
    6   these frauds and tendering the worthless checks is Jona

    7   Rechnitz in connection with his wife.       They were married.
    8   They have six children --

    9               THE COURT:    Okay.

   10               MR. RICHARDS:    -- together.

   11               THE COURT:    Well, what I’m going to tell you what
   12   I’m going to do because I hear --

   13               MR. RICHARDS:    It’s a community property

   14   business.
   15               THE COURT:    -- what’s going on.   In all the

   16   pleadings it seems like the -- they’re both involved.         I

   17   don’t know which one is more involved.       I have no idea.

   18               But I am going to do this.      I am going to require

   19   the debtor -- and that is both Mr. and Mrs. Rechnitz -- to
   20   file a declaration.      I’m going to give you -- I’m going to
   21   give them one week from today, that is they have to file a

   22   complete list of all creditors of the debtor.       Those are
   23   the only two people I know were involved and they’re going
   24   to have to -- I’m giving them one week.       They would know

   25   who the various creditors are.      They have one week from




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    1   today to file that, listing all creditors of the debtor
    2   with the nature of the debt.      Just a summary but just, you

    3   know, for its -- and jew -- consigned jewelry, what have
    4   you, because you had said originally -- I think one counsel

    5   for the debtor that they’re all paying their debts as they
    6   become due.     I forget who made that statement but one of

    7   you did.
    8              So obviously somebody and I’m not going to be --

    9   worry about which one -- I want a declaration from both of

   10   them signing it as to who the -- who are the creditors, how

   11   much is owed, the nature of the debt, contact information.
   12   namely the address, email, phone, anything possible in

   13   order to allow the creditors, as you indicated in your

   14   pleadings, to be able to get other people involved.
   15              I know at least two of the creditors here have

   16   filed suit.     International hasn’t.   So -- but nevertheless

   17   the law does require now with the Oved case with the big

   18   problem with the judge.     I don’t know reading that case was

   19   fascinating as to how the things moved so quickly.        I’m
   20   only trying to be fair to both sides.      But it seems to me
   21   within one week the debtor and the joint I’m ordering both,

   22   both of the principal -- the principals, that would be Mr.
   23   and Mrs. Rechnitz, to be able to order under penalty of
   24   perjury to file a statement of all the creditors.

   25              And then after that I’m going to -- I am going to




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    1   give the -- after receipt of that list I’m going to give --
    2   and I’ll give some dates -- I’m going to give the creditors

    3   30 days to contact them.     This is not a matter of just
    4   discovery, just to be able to -- with the really creditor

    5   to be able to see whether they would join in.       They may
    6   very well want to.

    7              And then what I’m going to do, I’ll give you the
    8   actual dates.    That should be plenty of time.     That is 30

    9   days after you get the receipt.      And if the debtor -- the

   10   principals play games and don’t give adequate information

   11   that will be a real problem.      Then I’m going to continue
   12   this for a status conference.      I’ll give you a specific

   13   date for that.

   14              And at this particular time, even though the --
   15   and I’m not going to dismiss the case.      I will be preparing

   16   the order in this case, by the way.      I’m not going to

   17   dismiss it and I’m not going to appoint a trustee.        I see

   18   no reason whatsoever at this point for appointing a

   19   trustee.   I think the allegations are the debtor did some
   20   really -- the principal -- I know the debtor did some
   21   really bad things, but I see no -- I think in this

   22   particular case if a trustee ultimately is appointed it’s
   23   going to be preferences, fraudulent transfers and searching
   24   out things.     But I doubt seriously, from what I’ve heard,

   25   that if in the premises they’re going to find at that




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    1   location an actual thing.
    2                So I see -- I don’t see at this point any need

    3   for a trustee, so I will prepare an order without
    4   prejudice.    I’m denying the motion for a trustee.      I’m

    5   going to -- so I’m going to -- I will set this for a
    6   further status conference to see whether or not the debtors

    7   have complied and this -- again, this is under penalty of
    8   perjury.   So I would strongly suggest that they tell the

    9   truth because, if not, they know the consequences.        I’m

   10   required by law to refer it to the Justice Department.          So

   11   I fully expect that in far -- and this is not a -- just a
   12   request.   This is an order.    If the debtors -- if both the

   13   debtors --    principals, do not comply with my order I will

   14   enter an order for relief.     So I want to make it very clear
   15   at this point I’ve expressed my view as to, you know, the -

   16   - why these particular creditors or these who are subject

   17   to dispute -- not that the claims are invalid, but just

   18   that they’re subject to dispute -- and I’m required by law

   19   to give them an opportunity and give them 30 days from
   20   receipt of these declaration from the joint declaration
   21   from the principals as to a listing of all of their

   22   creditors.
   23                Any -- and again, I’m not going to change what
   24   I’ve said and I’ll give you specific dates, but any -- let

   25   me ask from the debtor’s standpoint.      This is really from




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    1   the debtor, Mr. Cohen, or -- do you -- so if you have any
    2   question about what I’ve ordered the debtor -- the

    3   principals of the debtor to do?
    4                MR. MARTICELLO:   I -- Your Honor, this is Robert

    5   Marticello for the debtor.     I don’t have a question, but I
    6   would like to just make one point if I could, Your Honor,

    7   because the Court stated it’s so required to offer an
    8   opportunity to join and I actually do not think that is

    9   required under the Vortex Fishing cases in the Ninth

   10   Circuit --

   11                THE COURT:   I’m not saying it’s required.       I am
   12   requiring it.

   13                MR. MARTICELLO:   Okay.   I understand.

   14                THE COURT:   Do you follow?   This is -- I’m trying
   15   to -- I am -- I have the power to do it and I’m doing it.

   16   I don’t see anything unreasonable.      The -- again, the law

   17   is kind of a -- it’s pretty clear to me after reading the

   18   various opinions that I have to, and I will since I’ve

   19   disqualified, at least for being petitioning creditors --
   20   the three petitioning creditors and they have to have a
   21   reasonable time to be able to see if they can get other

   22   creditors to join in.     It’s that simple.    What’s -- so
   23   what’s so difficult about that to understand?
   24                And who was it that was just speaking?

   25                MR. MARTICELLO:   It’s not -- Your Honor, I




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    1   apologize.    This is Robert Marticello for the debtor.
    2                THE COURT:   Yeah.   Well -- and that’s -- you

    3   understand.     That’s not difficult to understand, is it,
    4   what I’m ordering?

    5                MR. MARTICELLO:   It -- I understand the Court’s
    6   order.

    7                MR. RICHARDS:   Your Honor, this is Robert
    8   Richards.    Just so the record’s clear because you keep

    9   referring to the debtor’s principal.      Do you mean Jona and

   10   Rachel Rechnitz are required to file a declaration?

   11                THE COURT:   Those are the two people.    That’s it.
   12   Those are the only people that I -- there was this other

   13   declaration person who was signing checks.       But, yes, those

   14   are the two people that -- as far as I can tell.         That’s
   15   why I asked you when we started this hearing, who’s really

   16   -- is -- are the people behind the debtor and obviously

   17   those are the two people.      And it’s -- and the -- and I

   18   assume they have -- if they’re not ans -- to an -- able to

   19   answer that question I’m going to enter an order for
   20   relief.   I want them to answer truthfully and I want to
   21   give the creditors -- the petitioning creditors an

   22   opportunity to see if they could convince the three other -
   23   - assuming there are more than 12 -- creditors to be able
   24   to do it.

   25                Any questions about what I’m ordering?




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    1                MR. MARTICELLO:     No, Your Honor.
    2                MR. RICHARDS:    And from -- this is Ronald

    3   Richards.
    4                THE COURT:    Okay.   Then I’m going to do this.      I

    5   am going to -- there’s -- seven days should be more than
    6   enough time.    This is not a difficult thing to do, is it,

    7   Mr. Marticello?       That should be a simple thing for them to
    8   do, right?

    9                MR. MARTICELLO:     I believe we can accomplish it

   10   in seven days, Your Honor.

   11                THE COURT:    Okay.   So I’m going to do this.     I’m
   12   going to give you some dates and I’ll look at my calendar

   13   here.   Just so you understand, I just want to get -- I want

   14   to give each side a fair opportunity to present the case
   15   but I think it’s important for both sides, quite frankly,

   16   to get this resolved one way or the other.         So I’m still

   17   looking for my -- I’m looking for my calendar.

   18                Stacy?    No, no.   An actual calendar.

   19                THE CLERK:    (Indiscernible.)
   20                THE COURT:    I have such a pile of papers here.         I
   21   can’t find my little -- there it is.       It was buried

   22   under -- okay.    So today, this is June 9th.      I will pre --
   23   I -- it may take me a day or two to prepare this order, but
   24   this is the order right now.       In fact, you may not get the

   25   written one.    That’s why I want to make it absolutely




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    1   clear --   everybody hears me -- this is June 6 -- excuse
    2   me, this June 9.    By the end of the day on June -- let’s

    3   say -- I’m going to change this.       Everybody knows it’s all
    4   done by email.    I want it filed with the Court by 3 o’clock

    5   on the 16th of June.     So we’ll get it and the other -- and
    6   the -- obviously, all the three petitioning creditors or

    7   counsel they will get the -- this list.
    8              Again, just so there’s no misunderstanding, it’s

    9   got to be signed by both under penalty of perjury that it

   10   is a complete list of all creditors of the debtor.        And

   11   with the amount of the debt -- of the name of -- of course,
   12   the name of the creditor, all indication in how to reach

   13   them, namely, phone, email, mailing address and the nature

   14   of the debt.
   15              MR. RICHARDS:    Your Honor, did you say email,

   16   too?

   17              THE COURT:    Everything.

   18              MR. RICHARDS:    Email address?

   19              THE COURT:    Any way of contacting them.
   20              MR. RICHARDS:    Okay.
   21              THE COURT:    That is a physical address, phone,

   22   fax, any way of communicating with them, then -- and of all
   23   of them.   Again, the amount, the name --
   24              MR. RICHARDS:    Any cell phones if they have it?

   25              THE COURT:    Excuse me?




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    1               MR. RICHARDS:    And cell phones if they have it?
    2               THE COURT:   Yeah.   Well, of course.    Only if they

    3   have it.    But I’m not going to be too impressed if they
    4   say, “Gee, we really can’t reach them.”       That would be

    5   pretty -- a pretty ridiculous response.       So in any case
    6   it’s the name, what the debt’s for, just a summary, you

    7   know, for a consigned whatever, whatever it is, or it could
    8   be non-jewelry.    It could be other debts.     I don’t know

    9   what the debtor might have, rent on the place, whatever.           I

   10   don’t -- I don’t know.      But whatever debts.    The name of

   11   the creditor, the amount, the nature of the debt and every
   12   contact information, an address, email, fax, phone, you

   13   know, whatever.    And that -- and it’s asked by 3:00 p.m.

   14   next Tuesday.    And that has to be delivered.
   15               And from there I’m going to give the petitioning

   16   creditors -- to the approximate -- let’s see, that’s one,

   17   two, three -- I’ll give actually a little more.        I’ll give

   18   to July -- Bastille Day, no particular importance to us

   19   here in the U.S. -- July 14th for the creditors to try to
   20   get any additional person to file -- to join in in the
   21   petition.

   22               Is that clear from the petitioning creditors?
   23   Mr. Richards, any of the others, is that clear?
   24               MR. RICHARDS:    Yes, Your Honor.     Just a quick

   25   question.   When you say “deliver this list,” I’m assuming




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    1   that they are going to file the two declarations on the
    2   docket, correct, by 3:00 p.m.?

    3              THE COURT:    Oh, they’ll be filed but also they’ll
    4   be served by email on the -- all the three petitioning

    5   cred -- counsel for the petitioning creditors.       Yes.
    6              MR. RICHARDS:    Okay.   Thank you.

    7              THE COURT:    And then you’ll get to the 6th -- to
    8   July 14th by -- again by 5:00 but we’ll make it again by 3

    9   o’clock.   Just to make it clear, by 3 o’clock on July 14th

   10   to have to get somebody else to join in and I’ll have no

   11   idea how many of those other people are.
   12              And, by the way, if there are -- of course, if

   13   there are less than 12 creditors there can be just one but

   14   so -- but I don’t know.     So if there -- so we all know
   15   that, that’s a bankruptcy if there’s more than 12 or 12 or

   16   more.

   17              So what I’m going to do and I will know and you

   18   will know by the 14th of July at 3 o’clock if you have at

   19   least the required number of creditors and then I’m going
   20   to set it for a status conference two weeks after that or
   21   approximately.

   22              Do we have a date?
   23              THE CLERK:    We have July 7th at 3:00.
   24              THE COURT:    Okay.   So that would be -- no, no, it

   25   can’t be July 7th.     Two weeks after the 14th.    So that




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    1   would be -- that would be the 28th.
    2             So I’m going to continue this for a status

    3   conference on July 28th at 10:00 a.m. and I’ll find out at
    4   that point whether I dismiss this because there is not a --

    5   there are no -- not sufficient creditors or if there are go
    6   from there.     If there are some filed there may be further

    7   objections to them.     I have no idea but I want -- I -- what
    8   I want is a status report one week before the 28th.         That

    9   is on the 21st I want a status or joint status from just

   10   to -- just telling me what’s happening.       That is, the

   11   counsel for the -- well, there’s one counsel for the debtor
   12   and I guess there are either two or three, depending on how

   13   you count, on the creditors to tell me what’s going on.

   14   There are a lot of possibilities.      It may be that there’s
   15   no further -- no further, you know, creditors and then I --

   16   and then, of course, there’s going to be a motion for

   17   attorney’s fees or -- by the debtor, but I don’t know that

   18   for sure but that would likely happen.      But if there are

   19   other creditors then I’d have to know on that status report
   20   whether or not there’s a dispute as to who -- you know,
   21   they’re being eligible.

   22             And so I’m going to -- I will ultimately prepare
   23   an order on this, but as far as getting that list out and
   24   as far as the response and all, I want everybody to know

   25   exactly what’s going to happen and we will again have




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    1   that -- let’s see, the hearing will be when again?
    2               THE CLERK:   You said July 28th at 10:00.

    3               THE COURT:   Yeah.    July -- it would be July 28th
    4   at 10:00.

    5               Any questions at all about what I’ve said?       I’m
    6   not asking the creditors to agree.      I just want to

    7   understand what I’ve done.       Any question at all?
    8               MR. COHEN:   Your Honor, this is Baruch Cohen.       I

    9   have a question for you.

   10               THE COURT:   Yes.

   11               MR. COHEN:   Baruch Cohen on CourtCall.      I have a
   12   question.   Okay.   So the principals of the debtor, Mr. and

   13   Mrs. Rechnitz, to submit a declaration as to the debts of

   14   Jadelle as of what date?     As of the petition date?     Because
   15   I suspect that the Rechnitzes are immediately upon

   16   conclusion of this hearing going to try and interfere with

   17   creditors --

   18               THE COURT:   Oh, no, no.    That’s --

   19               MR. COHEN:   -- and try to pay them off.
   20               THE COURT:   No, the law is -- no, it’s clear and
   21   it’s a good question and for lots of reasons.       It’s as of

   22   the petition date because what people have tried to do
   23   is -- in the past is try to pay off all the debts, you
   24   know.   And, of course, that’s not going to happen --

   25               MR. COHEN:   Right.




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    1              THE COURT:    -- in this case because you’ve got
    2   millions of dollars in this one.      I have had a couple cases

    3   where --
    4              MR. COHEN:    There -- over 30 million we can

    5   leave, Your Honor.
    6              THE COURT:    -- the debtor says --

    7              MR. COHEN:    But what the --
    8              THE COURT:    “Well, I’ll just pay off the debt so

    9   there’s no petitioning creditors.”      That’s -- no, law is as

   10   of the date of the petition.

   11              MR. RICHARDS:    Your Honor --
   12              MR. COHEN:    Thank you.

   13              MR. RICHARDS:    -- Ronald Richards.    It’s also

   14   important that you make it clear in your order of who a
   15   creditor is, that any claims that Mr. Rechnitz has in the

   16   Rabbinical Court, because we’ve been contacted by many

   17   debtors that felt they had religious obligations to exhaust

   18   that -- our creditors so there’s no funny business, that he

   19   excludes creditors.     It’s anybody that he’s -- owes money
   20   to.
   21              THE COURT:    Oh, yeah.

   22              MR. MARTICELLO:    Your Honor --
   23              THE COURT:    You know, I’m quite familiar, not --
   24              MR. MARTICELLO:    -- this is Bob Mar --

   25   Marticello.




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    1             THE COURT:     -- I mean, with the bet din, I guess
    2   it’s called as I recall.     No, no, no.   This is -- yeah,

    3   make it quite clear.     I know you’re all very -- I know most
    4   of you on the line very bright people.      No, this is the --

    5   I understand about their religious court.       No, no.    This is
    6   very simple, not complex at all.      We’re talking about

    7   outside in the -- in the regular world how much -- what
    8   creditors they have.

    9             I hear what you said, Mr. Cohen.       I don’t

   10   understand what the debtor would attempt to -- what monkey

   11   business the debtor would attempt to do here.
   12             MR. RICHARDS:     We’re concerned that -- this is

   13   Ronald Richards.    I’m just concerned that because we --

   14   they objected to all of our discovery and we can’t file a
   15   motion to compel before the -- well, I’d like permission to

   16   file a motion to compel that there be some check-and-

   17   balance that we could verify they’re not intentionally

   18   excluding creditors because we believe there’s over 30

   19   million dollars’ worth of theft in defaulted payments and
   20   bad checks.     And so by trusting Jona and Rachel to be
   21   honest and not commit perjury is a -- is one thing, but

   22   we’d have no way of imploring the adversarial process.         So
   23   I don’t know why we wouldn’t be able to take a deposition
   24   after they submit the declaration --

   25             THE COURT:     Okay.




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    1               MR. RICHARDS:   -- and make sure that --
    2               THE COURT:   You know what I’m going to do, I am

    3   going to change one thing because I hadn’t thought of that
    4   and certainly that possibility.      So I’m going to change a

    5   couple of things.
    6               I’m going to give you 60 days to get these other

    7   people because I was thinking that if there -- I can just
    8   see obviously the creditors don’t trust the debtor at all,

    9   the principals, so I’m going to -- I am going to change

   10   that.   I had -- it hadn’t dawned on me that you would no

   11   doubt want to do what you’ve just suggested so I’m going to
   12   change that.    So I’m going to change from the -- I’m going

   13   to -- that the debtor still by the 16th at 3:00. but I’m

   14   going to give you until 60 days.      So that would be to the -
   15   - approximately 60 days -- to August 14 at 3:00 to get the

   16   creditors to join and I’m changing that.       And I’m going to

   17   continue the hearing to the -- or may -- I may -- no, let

   18   me.    Let me -- I’m going to keep this on, you know, Aug --

   19   or may -- August 14.     And then I’m going to change the
   20   hearing.   And I’m asking my credit -- my staff here to give
   21   me the hearing after that.

   22               THE CLERK:   We have August 25th at 10:00.
   23               THE COURT:   Yeah.   I’m going to continue the
   24   hearing to August 25 at 10:00.      So I -- yeah, I’m going to

   25   take into account that just -- it may not be necessary but




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    1   you’re right.    Thirty days is just not a lot of time to
    2   give you the opportunity to do discovery, so I’m changing

    3   the hearing date to August 25 at 10:00.       The -- by
    4   August 14 at 3 o’clock you have the -- at that point is the

    5   time that you can get any additional creditors and you --
    6   and as far as the discovery you can go -- immediately get

    7   the discovery.    I assume you want to take the deposition as
    8   to just what we’re talking about.      I hope you don’t do any

    9   beyond that.    It will make it very unnecessarily

   10   complicated.

   11             MR. RICHARDS:     I will not do that, Your Honor.         I
   12   (indiscernible) --

   13             THE COURT:     The discovery should just be at this

   14   point literally --
   15             MR. RICHARDS:     I understand declarations.

   16             THE COURT:     -- if you take they’re either written

   17   discovery or do what you want as to tell -- to be able to

   18   cross-examine both of them as to -- you know, that’s what

   19   we’re talking about.     So, yeah.   I think that’s only fair
   20   and then the -- so the -- I still want that status report
   21   one week before the 25th of September and that would be --

   22   no, was it -- no, wait.
   23             It was the 15th of September, wasn’t it?
   24             THE CLERK:     August 25th was the status --

   25             MR. RICHARDS:     August, Your Honor.




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    1                THE COURT:   Oh, I’m sorry.   August.   I’m --
    2                THE CLERK:   Yeah.

    3                THE COURT:   You know, yeah, this has been a very
    4   long morning.    I apol -- I actually seem to be in the

    5   afternoon now.    My head is spinning.     August 25 at 10:00.
    6   So a week before that is August 18, I want that status

    7   report.   And by that time it seems to me you will have
    8   exhausted the -- getting the information from both the

    9   principals.     And I hope for their sake that don’t know --

   10   at least in this Court anyway if I have any suspicion that

   11   they’re not being truthful, that would be a problem.          And I
   12   don’t have any reason to suspect they won’t be and if they

   13   are, then it’s really up to the creditors and that time is

   14   more -- that’s more.      They’ve got 60 days to be able to
   15   convince other people to join in.      But at that point one or

   16   two things are going to happen:      either they -- you’ve not

   17   been able to convince other people, then I will dismiss it,

   18   or you have and then we’ll deal with them.

   19                So any questions about the -- any of that?       From
   20   the debtor’s standpoint --
   21                MR. MARTICELLO:   Your Honor --

   22                THE COURT:   -- you know basically what the debtor
   23   has to do.
   24                MR. COHEN:   Yes, Your Honor.   Baruch Cohen.

   25   Clarification question.     A clarification question --




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    1               MR. MARTICELLO:   Your Honor, this is Robert
    2   Marticello with --

    3               THE COURT:   I want to hear first from the debtor.
    4               Or, Mr. Marticello, what do you want?     What’s

    5   your question?
    6               MR. MARTICELLO:   Sure.   Your Honor, I would -- I

    7   have a couple points, Your Honor.      I would ask that the
    8   Court not prejudge any request for discovery at this point.

    9   We have three creditors that the Court --

   10               THE COURT:   Well, let me stop you.    I’m not

   11   prejudging anything.
   12               MR. MARTICELLO:   -- has determined are not

   13   eligible.

   14               THE COURT:   But I’m telling you right now -- I’m
   15   telling -- that’s why I was telling the creditors their

   16   discovery, as far as I’m concerned, should be limited to

   17   just what we’re talking about, who the creditors of the

   18   debtor are.     What are you worried about?

   19               MR. MARTICELLO:   I just -- I’m -- Your Honor, the
   20   document requests we were served it basically -- the
   21   petitioning creditors are trying to litigate their existing

   22   pending litigation disputes before this Court.
   23               THE COURT:   That’s -- that -- let me ask you
   24   this.

   25               MR. MARTICELLO:   I have three creditors that




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    1   aren’t even eligible in this case.
    2                THE COURT:   As far as the -- taking the

    3   depositions for the purpose of this hearing, the creditors
    4   you agree I -- for that purpose only because it can get --

    5   I don’t want to be here forever and objections to this side
    6   and the other thing.      Would you simply limit your

    7   discovery?    You have to amend it to just the -- what we’re
    8   talking about, just the creditors.       I’m not going to allow

    9   you at this point --

   10                MR. MARTICELLO:   Yes.    We will amend --

   11                THE COURT:   -- to be litigating the whole
   12   thing --

   13                MR. MARTICELLO:   We will amend our discovery.

   14                THE COURT:   -- because you might if there --
   15                MR. MARTICELLO:   Yeah.   We will serve --

   16                THE COURT:   If we have an order for relief then I

   17   have no problem with that.     So let me again --

   18                MR. MARTICELLO:   Your Honor --

   19                THE COURT:   I didn’t fully appreciate that,
   20   Mr. Marticello.
   21                So from the creditors’ standpoint I would like

   22   you -- for I will allow discovery, but why don’t you redo
   23   the -- why don’t you do discovery requests?
   24                MR. RICHARDS:   We will, Your Honor.   We will --

   25                THE COURT:   Limit it just to --




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    1              MR. RICHARDS:    We thought our current discovery
    2   is for other creditors and (indiscernible).       We will amend

    3   it.
    4              THE COURT:    Just to the -- what we’re talking

    5   about.   Just to who all the creditors are and contact
    6   information and briefly, very short, you know, as Mister --

    7   Mark Twain was supposed to have said, “If I had more time I
    8   would have written you a shorter letter.”       Keep it brief.

    9              MR. RICHARDS:    Right.   And, Your Honor, and in

   10   the depositions we will stick to those areas as well.

   11              THE COURT:    Just to that, that may --
   12              MR. RICHARDS:    We will not go into the other

   13   areas.

   14              THE COURT:    I know that plenty of you want to
   15   know where the stuff is.     You want to know all kinds of

   16   stuff or where the transfer -- whatever.       For these

   17   purposes I just -- I’m going to limit your discovery to

   18   just the very simple questions of what they’re going to

   19   have to do by the -- by a week from today, in any case.
   20   But you certainly can probe further if you wish and they
   21   may -- I assume they’ll give you the same answers.         But,

   22   yes, it’s just limited.     That discovery is just to the --
   23   so redo your discovery just to basically ask him.        And as I
   24   said, as a practical matter if they comply with my order

   25   they will have already answered you but you certainly have




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    1   a right to do your own investigations and then under oath,
    2   of course, to cross-examine them, you know, at the -- you

    3   know, or not cross-examine them.      Examine them at your
    4   deposition.

    5               So from the creditors’ standpoint you now
    6   understand --

    7               MR. RICHARDS:   Your Honor, we’ll --
    8               THE COURT:   -- you’re going to redo --

    9               MR. RICHARDS:   We’re going to send out the dep --

   10               THE COURT:   -- your discovery?

   11               MR. RICHARDS:   Yeah.   We’re going to send out
   12   deposition notices today with a document production related

   13   to who the creditors are and documents that will identify

   14   the creditors and then we’ll see how they respond.        I think
   15   you’re assuming that they’re going to participate in this

   16   case.    Let’s just see what happens.    We’ll follow --

   17               THE COURT:   Well, again, I told you, by the

   18   way --

   19               MR. RICHARDS:   -- the Court’s (indiscernible)
   20   order.
   21               THE COURT:   I know that there are criminal --

   22   there are other charges and so there’s a lot of stuff going
   23   on.    I have no opinion.   I know what happened in the state
   24   court, but I have no opinion as to the ultimate outcome.

   25   But I tell you this, if either -- or they both must comply




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    1   and I make it quite clear.     If they don’t comply with the
    2   request, whether it’s Fifth Amendment or whatever, then I

    3   will enter the order for relief.
    4              Is it the debt -- from the debtor’s standpoint,

    5   do you understand that?     Mr. Marticello, do you understand
    6   that?

    7              MR. MARTICELLO:    Your Honor, this is Robert
    8   Marticello for the debtor.     I understand the Court’s --

    9   what the Court just said and I will comply with the Court’s

   10   order.   My concern is, Your Honor, like you said there are

   11   other things going on and --
   12              THE COURT:    No, I understand that.    But, no, I’m

   13   telling you --

   14              MR. MARTICELLO:    -- if there is a -- if there’s
   15   a --

   16              THE COURT:    -- this is really simple and I

   17   can’t -- I’m not -- I -- people have a right to the -- you

   18   know, to take the Fifth and I -- again, whether they do or

   19   not I have no idea.     But I’m telling you right now the
   20   creditors have a right to this information.       If they
   21   refuse, either of them, I want both of them to sign it

   22   because it’s not clear to me exactly who’s really running
   23   the business.    My guess is that maybe the husband is but I
   24   don’t know that, just from the various pleadings.        I don’t

   25   really know.




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    1             So there -- therefore, I am requiring both to
    2   sign under penalty of perjury.      And if nei -- and if they

    3   don’t both sign it under penalty of perjury, then I will
    4   enter an order for relief.     I just want you -- you -- I

    5   want you in particular and your clients, the debtor, the
    6   principals, to understand that.      You do -- you understand

    7   what I’ve said.    I want them to understand it.     That would
    8   be the price for not complying with my order.       You --

    9             MR. MARTICELLO:     I understand, Your Honor.

   10             THE COURT:     Mr. Marticello, you understand what

   11   I’ve said obviously.     I’m not being facetious.    You
   12   understand.

   13             And so any --

   14             MR. MARTICELLO:     Correct, Your Honor.
   15             THE COURT:     Any other questions?    This is going

   16   to be a long -- this is important, but I think I’ve given

   17   the debtor a fair opportunity.      I’ve agreed as far as their

   18   argu -- your arguments as far as these particular

   19   creditors, at least not in being -- not that they’re claims
   20   are not allowed, but that they’re just obviously for
   21   various reasons that I’ve stated on the record are not

   22   eligible to be petitioning creditors.      And you also know
   23   the obligation a week from today at 3:00 that for your --
   24   both the principals to do what I’ve suggested, right?

   25             MR. COHEN:     Your Honor, this is Baruch Cohen.       I




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    1   have a clarification question.
    2               THE COURT:   All right.    Briefly.   What is it?

    3               MR. COHEN:   Briefly.    Number one, when we conduct
    4   discovery of the principals of the debtor we are allowed to

    5   ask them whether there’s a dispute as to the amount
    6   (indiscernible).

    7               THE COURT:   Okay.
    8               MR. COHEN:   Not just merely --

    9               THE COURT:   Okay.    You know that’s a good

   10   question.   I hadn’t thought of that and that’s why I enjoy

   11   these discussions.     Yes.   I think at that point that’s a --
   12   yeah, because that -- what I anticipate is if they list

   13   them -- somebody and then they’re li -- then you get them

   14   to file -- and remember I mentioned that briefly -- and
   15   then you get them to sign up being petitioning creditors

   16   and then they’ll object as -- yes.      I think that’s a --

   17   that is in -- a fair question to -- they list all of the

   18   creditors, period, and then -- that’s a very good point.

   19   And then to say as to this one are -- is there any dispute
   20   either amount or liability and, if so, what is that?         Yes.
   21   I’ll allow that.

   22               MR. MARTICELLO:    Your Honor, this is Robert
   23   Marticello for the debtor.       And you’re talking about the
   24   creditors -- other creditors on this list, not the

   25   petitioning creditors, correct?




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    1              THE COURT:    Oh, yes.   Oh, yeah.    Oh, yes,
    2   absolute -- no, we’re only talking about the additional

    3   one.   We’re not -- we’ve already gone -- there’s nothing
    4   new about these three.

    5              MR. MARTICELLO:    Understood, Your Honor.
    6              THE COURT:    But that’s a good point.    That will

    7   eliminate -- at least it will tee up any particular
    8   problems that maybe they’re in dispute or not.       I think

    9   that’s a very good point.

   10              Yeah.   No, we’re only talking -- not -- I’m not

   11   talking about these three petitioning creditors.        We’re
   12   talking about the additional ones that they -- that is a

   13   list as their other creditors.

   14              So, thank you, Mr. Cohen.     That’s a very good
   15   point.

   16              Anything else?

   17              MR. COHEN:    Actually, my counterpoint to that is

   18   it’s important that the debtors do describe under penalty

   19   of perjury why they dispute our client’s claim.
   20              THE COURT:    No, no, no, no.
   21              MR. COHEN:    Why should our three clients --

   22              THE COURT:    I’ve already ruled it.
   23              MR. COHEN:    -- be excluded?
   24              THE COURT:    I’ve ruled on it.    No.   Stop.

   25              MR. COHEN:    Okay.   Second point.   Your Honor,




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    1   quickly, second point.     To what extent can the Court
    2   instruct this debtor and the principals not to engage in

    3   funny business by interfering with creditors right now and
    4   communicating with them and trying to get them to sign off

    5   on claims?
    6                THE COURT:   Well, I don’t see that that’s -- you

    7   can talk to them.     They can talk to them.    I don’t see any
    8   problem with that.     Now, there are criminal laws.     They

    9   can’t threaten them.      They can’t -- I think that -- I don’t

   10   see any provision of the law.

   11                Now, the fact of the matter is if these other
   12   creditors -- as I told you before, the date of the petition

   13   is the time.    So even if they were to -- so, you know, they

   14   could offer to pay them but, no, I -- you can talk to them.
   15   I don’t see any reason why the debtor can’t talk to them

   16   unless there’s no threats.     So, no, I don’t see any reason

   17   at all.

   18                So, anyway, any other questions?

   19                MR. COHEN:   All right, Your Honor.   Thank you
   20   very much for your time today.
   21                THE COURT:   What’s that?

   22                MR. COHEN:   No questions.
   23                MR. MARTICELLO:   Your Honor, Robert Marticello
   24   for the debtor.    One question, just to make sure we’re

   25   clear.    Any joinder needs to be filed with the Court by




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    1   that 3:00 p.m. deadline on August 14th, is that correct?
    2               THE COURT:    That’s correct.

    3               MR. MARTICELLO:   Thank you, Your Honor.
    4               THE COURT:    And at that point, if there’s -- if

    5   we don’t -- and again, one will be sufficient if there are
    6   fewer than 12, but I have no idea.      I gather there are more

    7   than 12.   I don’t know because I don’t think that was ever
    8   mentioned in the pleadings.       But there’s -- if it’s li --

    9   if there are -- it could be one, if there are very few

   10   creditors but if there are 12 or more then obviously there

   11   would be three and that will be it.      At that point you
   12   either have them or they’re not.      So I have no idea.      I

   13   have no idea how many other creditors there are out there

   14   from the debtor.    These are obviously probably the
   15   biggest -- well, not probably, I don’t know that, but

   16   certainly three big creditors as far as amount.

   17               Anything else?    I hate to suggest it.    Anything

   18   else?

   19               (Laughter.)
   20               MR. MARTICELLO:   No, Your Honor.
   21               THE COURT:    Okay.   It’s a very bright group of

   22   people.    But, you know what, there’s some good points that
   23   have been made and I think this is fair.       Again, obviously
   24   the creditors don’t agree with it, but as I was saying,

   25   it’s absolutely clear to me on the documents as far as that




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    1   I can take judicial notice of that there is a dispute as to
    2   the amount and/or -- subject to dispute.

    3             But as far as this other, I think giving the
    4   creditors the 60 days to search out other people and the

    5   discovery, at the end of the day I think everybody will
    6   have their fair day in court and then I will find out with

    7   your status report filed -- what did I say, one week before
    8   the -- that’s by the 18th --

    9             MR. MARTICELLO:     Yes, your Honor.

   10             THE COURT:     -- of August that I’ll know what’s

   11   going on in this case.     So anyway, it’s been interesting.
   12             MR. RICHARDS:     Your Honor, Ronald Richards.

   13             THE COURT:     And that will conclude this hearing.

   14   I’ll see you all at the --
   15             MR. RICHARDS:     King Solomon couldn’t have done

   16   better himself today.

   17             THE COURT:     By the way, one thing I did not

   18   mention that after all of this because it was -- it was

   19   extended 30 days.     We had a judge’s meeting on Friday and
   20   as to when we’re going to open up.      That -- this hearing,
   21   by the way, on the 25th is going to be here in court unless

   22   some -- something happens that will prevent me from doing
   23   that due to who knows what, but we fully intend to be
   24   operational of -- subject to each judge.       But I don’t like

   25   these hearings at all.     I like seeing people and see -- you




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    1   seeing me, I seeing you.       So if -- for me anyway this
    2   hearing, by the way, is going to be in court unless you are

    3   notified a couple of wee -- about two weeks before that
    4   something has come up and it won’t be, so I want you to

    5   understand that.    This will be an in-court, real hearing.
    6             MR. COHEN:     Will it be an evidentiary hearing,

    7   Your Honor?
    8             THE COURT:     No.    No, no, no, no.   This is a

    9   status hearing, not an -- no, the only --

   10             MR. COHEN:     Well, the status conference.

   11             THE COURT:     The -- it’s as I said you’re --
   12   either we will have three petitioning creditors, assuming

   13   there are 12 or more, or we won’t.      If we don’t, then I’m

   14   going to dismiss the petition and no doubt the other --
   15   then it will be a status conference and no doubt the other

   16   side will be asking for fees.      No, there’s nothing to be in

   17   an evidentiary hearing about.      It’s basically a status.      If

   18   there are three then I’ll have to see whether or not

   19   there’s an objection to them as being in dispute and the
   20   creditors will know that at least because they’ll be asking
   21   that question and I’m glad you clarified that and I will --

   22   as far as discovery.     So, no, there’s no -- there will not
   23   be an evidentiary hearing.
   24             MR. COHEN:     Understood.

   25             THE COURT:     Okay.    Thank you.   We’ve worn




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    1   everybody out, including me.
    2              MR. RICHARDS:    All right.   Thank you, Your Honor.

    3   You missed my -- when I said King Solomon couldn’t have
    4   done better himself today.

    5              THE COURT:    Well, we had an equally interesting
    6   one in the morning which you didn’t have to participate in.

    7   So, in any case, it’s a fascinating case and I’ll see you
    8   back August 25 -- excuse me.      Yeah, August 25 at 10:00.

    9   But these orders, even though you don’t have it in writing

   10   at the moment, consider those -- those are the order of the

   11   Court.   We’ll eventually get a written order but you have
   12   all of the dates and so forth and we’ll see how it turns

   13   out.   So I’ll see you back on the 25th at 10:00.       Anyway,

   14   that concludes this hearing.      Thank you very much.
   15              ATTORNEYS:    Thank you, Your Honor.

   16              THE COURT:    Thank you.

   17   (End at 1:03 p.m.)

   18                            * * * * * * * *

   19              I certify that the foregoing is a correct
   20   transcript from the electronic sound recording of the
   21   proceedings in the above-entitled matter.

   22
   23
   24   _____________________________               Date:   6/12/2020

   25   RUTH ANN HAGER, C.E.T.**D-641




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   5 Attorney for Defendants/Third-Party Plaintiffs PETER VOUTSAS aka PETER
     MARCO aka PETER VOUTSAS, aka PETER MARCO EXTRAORDINARY JEWELS
   6 OF BEVERLY HILLS, dba PETER MARCO LLC
   7
   8                        IN THE UNITED STATES DISTRICT COURT
   9                     FOR THE CENTRAL DISTRICT OF CALIFORNIA
  10

  11    DAVID ROVINSKY LLC, a Delaware                 USDC # 2:20-cv-02580-ODW-AS
        limited liability company,
  12                                                   Hon. Otis D. Wright II
                            Plaintiff,
  13
        PETER VOUTSAS aka PETER                        SUPPLEMENTAL DECLARATION
  14    MARCO aka PETER VOUTSAS, aka                   OF BARUCH C. COHEN
        PETER MARCO EXTRAORDINARY                      REGARDING THIRD-PARTY
  15    JEWELS OF BEVERLY HILLS, dba                   DEFENDANTS’ MOTION FOR
        PETER MARCO LLC,                               STAY OF PROCEEDINGS
  16
              Defendants/Third-Party Plaintiffs,       [Concurrently filed with Request for
  17                                                   Judicial Notice]
        vs.
  18
        JONA S. RECHNITZ, an individual;               Date: [Taken off Calendar]
  19    RACHEL RECHNITZ, an individual;                Time:
        LEVIN PRADO aka LEVON PRADO,                   Courtroom: 5D
  20    an individual,

  21                 Third-Party Defendants.

  22
  23             Third-Party Plaintiffs PETER VOUTSAS aka PETER MARCO aka PETER

  24   VOUTSAS, aka PETER MARCO EXTRAORDINARY JEWELS OF BEVERLY

  25   HILLS, dba PETER MARCO LLC (“Marco”), hereby submit a Supplemental

  26   Declaration of Baruch C. Cohen Regarding Third-party Plaintiffs’ Third-party

  27   Defendants’ Motion for Stay of Proceedings.

  28                      SUPPLEMENTAL DECLARATION OF BARUCH C. COHEN REGARDING
                           THIRD-PARTY DEFENDANTS’ MOTION FOR STAY OF PROCEEDINGS

       6/11-2:58pm


                                                                           EXHIBIT "8", PAGE 152
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   1             On 6-2-2020, this Court vacated the 6-15-2020 hearing on Rechnitz's Motion
   2   to Stay, and the matter is submitted.
   3             On 6-9-2020, this Court denied Rechnitz’s ex Parte Application for an Order
   4   Permitting Submission for in Camera Review, Declaration of Counsel Providing
   5   Information to the Court Relating to the Ongoing Criminal Investigation (“Ex
   6   Parte”)[Doc-57] Regarding the Motion for Stay of Proceedings (“Motion”) finding
   7   that the application does not warrant in camera review.
   8             As to whether this court should stay this proceeding, Marco wishes to advise
   9   and update this Court that on 6-10-2020, in the Jadelle involuntary bankruptcy
  10   proceeding, Case # 2:20-bk-13530-BR United States Bankruptcy Judge Barry
  11   Russell, issued an Order Directing Rachel Rechnitz and Jona Rechnitz to File Joint
  12   Declaration under Penalty of Perjury [Doc-39] ordered the following:
  13   1.        Rachel Rechnitz and Jona Rechnitz (collectively, the “Rechnitz’s”) must file a
  14             file a joint declaration, sworn under penalty of perjury, which identifies each
  15             and every one of the debtor’s creditors as of the date of the filing of the
  16             involuntary petition on April 6, 2020. The joint declaration shall include,
  17             without limitation, the following information with respect to each creditor
  18             identified therein:
  19             a.    the name of the creditor;
  20             b.    the nature of the debt owed to the creditor (e.g., consigned jewelry, rent
  21                   due and owing, etc.);
  22             c.    the amount of the creditor’s claim;
  23             d.    whether the creditor’s claim is disputed and, if so, the nature of the
  24                   dispute; and
  25             e.    complete contact information for each creditor including, but not
  26                   limited to, the creditor’s address, telephone number, cell phone number
  27                   (if known), fax number (if applicable), and email address (if known);
  28                     SUPPLEMENTAL DECLARATION OF BARUCH C. COHEN REGARDING
                          THIRD-PARTY DEFENDANTS’ MOTION FOR STAY OF PROCEEDINGS

       6/11-2:58pm
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   1   2.        The Rechnitz’s shall have seven (7) days from the date of this hearing (i.e., no
   2             later than 3:00 p.m. on Tuesday, June 16, 2020) to file their joint declaration
   3             with the Court and serve the declaration on counsel for the petitioning
   4             creditors;
   5   3.        If the Rechnitz’s fail to file the joint declaration by that date and time, the
   6             Court will deny the debtor’s Motion to Dismiss and immediately enter an
   7             order for relief in this case. The entry of such an order for relief will render
   8             both the pending Motion to Dismiss and Trustee Appointment Motion moot;
   9   4.        If the Rechnitz’s file the joint declaration by the required date and time, then:
  10             a.    The petitioning creditors shall have sixty (60) days from the date of this
  11                   hearing (i.e., no later than 3:00 p.m. on August 14, 2020) to contact the
  12                   creditors listed in the joint declaration to determine if any of them are
  13                   willing to join in the involuntary petition;
  14             b.    The petitioning creditors shall have the same sixty (60) day period
  15                   within which to conduct discovery of the creditors listed in the joint
  16                   declaration, which discovery shall be limited solely to questions
  17                   regarding the nature and amount of the creditor’s claim and, if the
  18                   creditor’s claim is listed in the joint declaration as disputed, the nature
  19                   of such dispute.1
  20             The point being, is that by filing their Joint Declarations sworn under penalty
  21   of perjury regarding their defrauded creditors (like Marco), and their having to be
  22   deposed by Petitioning Creditors re same. Rechnitz will de facto, have to waive their
  23
                 1
                A true and correct copy of United States Bankruptcy Court Judge Barry Russell’s 6-10-2020
  24   Order: (1) Directing Rachel Rechnitz and Jona Rechnitz to File Joint Declaration under Penalty of
       Perjury; (2) Setting Date by Which Petitioning Creditors May Contact Creditors Identified in Joint
  25
       Declaration and Conduct Certain Discovery; (3) Setting Date for Hearing on Status Conference; and
  26   (4) Setting Date for Filing of Joint Status Report Prior to Status Conference [Doc-39] is attached
       hereto as Exhibit “1" and is incorporated herein by this reference. See, Declaration of Baruch C.
  27   Cohen, and Request for Judicial Notice.
  28                     SUPPLEMENTAL DECLARATION OF BARUCH C. COHEN REGARDING
                          THIRD-PARTY DEFENDANTS’ MOTION FOR STAY OF PROCEEDINGS

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   1   Fifth amendment rights against self-incrimination from criminal liability that they
   2   fear in this Motion. If indeed, Rechnitz complies with Judge Russell’s Order, this
   3   Motion for Stay would be moot.
   4
   5 DATED:          June 11, 2020            LAW OFFICE OF BARUCH C. COHEN
                                              A Professional Law Corporation
   6
                                              By      /S/ Baruch C. Cohen
   7                                                Baruch C. Cohen, Esq.
                                              Attorney for Defendants/Third-Party
   8                                          Plaintiffs PETER VOUTSAS aka PETER
                                              MARCO aka PETER VOUTSAS, aka PETER
   9                                          MARCO EXTRAORDINARY JEWELS OF
                                              BEVERLY HILLS, dba PETER MARCO LLC
  10

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  28                   SUPPLEMENTAL DECLARATION OF BARUCH C. COHEN REGARDING
                        THIRD-PARTY DEFENDANTS’ MOTION FOR STAY OF PROCEEDINGS

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   1                 SUPPLEMENTAL DECLARATION OF BARUCH COHEN
   2             I, BARUCH C. COHEN, declare and state as follows:
   3 1.          The facts stated below are true and correct to the best of my personal
   4             knowledge and if called upon to testify to them, I could and would
   5             competently do so.
   6 2.          I am a member in good standing and eligible to practice before the following
   7             courts: California State Supreme Court; United States Court of Appeals -
   8             Ninth Circuit; Bankruptcy Appellate Panel; United States District Courts:
   9             Central District of California; Eastern District of California; Northern District
  10             of California; and Southern District of California.
  11 3.          I am the principal shareholder and President of The Law Office of Baruch C.
  12             Cohen, a Professional Law Corporation, located at 4929 Wilshire Boulevard,
  13             Suite 940, Los Angeles, California 90010.
  14 4.          I proudly represent Defendants/Third-Party Plaintiffs PETER VOUTSAS aka
  15             PETER MARCO aka PETER VOUTSAS, aka PETER MARCO
  16             EXTRAORDINARY JEWELS OF BEVERLY HILLS, dba PETER MARCO
  17             LLC.
  18 5.          This Supplemental Declaration is in support of THIRD-PARTY
  19             PLAINTIFFS’ OPPOSITION TO THIRD-PARTY DEFENDANTS’
  20             THIRD-PARTY DEFENDANTS’ MOTION FOR STAY OF
  21             PROCEEDINGS.
  22 6.          A true and correct copy of United States Bankruptcy Court Judge Barry
  23             Russell’s 6-10-2020 Order: (1) Directing Rachel Rechnitz and Jona Rechnitz
  24             to File Joint Declaration under Penalty of Perjury; (2) Setting Date by Which
  25             Petitioning Creditors May Contact Creditors Identified in Joint Declaration
  26             and Conduct Certain Discovery; (3) Setting Date for Hearing on Status
  27             Conference; and (4) Setting Date for Filing of Joint Status Report Prior to
  28                      SUPPLEMENTAL DECLARATION OF BARUCH C. COHEN REGARDING
                           THIRD-PARTY DEFENDANTS’ MOTION FOR STAY OF PROCEEDINGS

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   1             Status Conference [Doc-39] is attached hereto as Exhibit “1" and is
   2             incorporated herein by this reference.
   3             I declare under penalty of perjury under the laws of the State of California that
   4 the foregoing is true and correct.
   5             Executed June 11, 2020, at Los Angeles, California.
   6
                                                          By /s/ Baruch C.         Cohen
   7                                                            Baruch C. Cohen
   8

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  28                     SUPPLEMENTAL DECLARATION OF BARUCH C. COHEN REGARDING
                          THIRD-PARTY DEFENDANTS’ MOTION FOR STAY OF PROCEEDINGS

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  1
  2
                                                                FILED & ENTERED
  3
  4                                                                    JUN 10 2020
  5
                                                                  CLERK U.S. BANKRUPTCY COURT
                                                                  Central District of California
  6                                                               BY fortier    DEPUTY CLERK


  7
                          UNITED STATES BANKRUPTCY COURT
  8
                           CENTRAL DISTRICT OF CALIFORNIA
  9
                                  LOS ANGELES DIVISION
 10
 11
 12   In re:                                    Case No.: 2:20-bk-13530-BR

 13   Jadelle Jewelry and Diamonds LLC,         Chapter 7
 14                                             ORDER:
 15                                             (1) DIRECTING RACHEL RECHNITZ AND
 16                                             JONA RECHNITZ TO FILE JOINT
                                  Debtor(s).    DECLARATION UNDER PENALTY OF
 17                                             PERJURY;
 18
                                                (2) SETTING DATE BY WHICH
 19                                             PETITIONING CREDITORS MAY CONTACT
                                                CREDITORS IDENTIFIED IN JOINT
 20                                             DECLARATION AND CONDUCT CERTAIN
 21                                             DISCOVERY;

 22                                             (3) SETTING DATE FOR HEARING ON
                                                STATUS CONFERENCE; AND
 23
 24                                             (4) SETTING DATE FOR FILING OF JOINT
                                                STATUS REPORT PRIOR TO STATUS
 25                                             CONFERENCE
 26                                             Date:      June 9, 2020
 27                                             Time:      10:00 a.m.
                                                Courtroom: 1668
 28




                                               -1-


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  1         The Court held a hearing on June 9, 2020 on the following two motions: the
  2   “Putative Debtor’s Motion to Dismiss Involuntary Petition and Request for Attorney’s
  3
      Fees, Costs and Damages” (“Motion to Dismiss”), filed by the debtor on May 1, 2020,
  4
      and the “Petitioning Creditors’ Notice of Motion and Motion for Appointment of Interim
  5
      Chapter 7 Trustee” (“Trustee Appointment Motion”) filed on May 19, 2020 by petitioning
  6
  7   creditors Victor Franco Noval, Peter Marco, LLC and First International Diamond, Inc.

  8         Robert S. Marticello, Esq. of Smiley, Wang-Ekvall, LLP appeared on behalf of the
  9   debtor. Ronald Richards of the Law Firm of Ronald L. Richards & Associates, APC,
 10
      Baruch C. Cohen, APLC and Daniel A. Lev, Esq. of SulmeyerKupetz, A Professional
 11
      Corporation, appeared on behalf of the petitioning creditors.
 12
 13         With respect to the debtor’s Motion to Dismiss, the Court considered the Motion,

 14   the petitioning creditors’ Opposition to the Motion, the debtor’s Reply to the petitioning
 15   creditors’ Opposition, and all pleadings related to the Motion, Opposition and Reply.
 16
            With respect to the petitioning creditors’ Trustee Appointment Motion, the Court
 17
      considered the Motion and all related pleadings including the separately filed
 18
      declarations of Ronald Richards, Oved Anter, Victor Franco Noval, and Peter Marco,
 19
 20   the debtor’s Opposition to the Motion, the petitioning creditors’ Reply to the debtor’s

 21   Opposition, and all other pleadings related to the Motion, Opposition and Reply.
 22         The Court also considered the debtor’s separately filed declarations of Levin
 23
      Prado and Marc Williams in Opposition to the Trustee Appointment Motion, the debtor’s
 24
      evidentiary objections to the declarations of Oved Anter, Victor Franco Noval, Peter
 25
 26   Marco and Ronald Richards, the petitioning creditors’ evidentiary objections to the

 27   debtor’s Request for Judicial Notice, and all other pleadings related to the Motion,

 28   Opposition and Reply.




                                                 -2-


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  1         At the June 9 hearing, the Court ruled on the record on all of the evidentiary
  2   objections and heard argument and representations of counsel. After consideration of
  3
      all of the above, the Court HEREBY ORDERS AS FOLLOWS:
  4
            1. Rachel Rechnitz and Jona Rechnitz (collectively, the “Rechnitz’s”) must file a
  5
               joint declaration, sworn under penalty of perjury, which identifies each and
  6
  7            every one of the debtor’s creditors as of the date of the filing of the involuntary

  8            petition on April 6, 2020. The joint declaration shall include, without limitation,
  9            the following information with respect to each creditor identified therein:
 10
                   a. the name of the creditor;
 11
                   b. the nature of the debt owed to the creditor (e.g., consigned jewelry,
 12
 13                    rent due and owing, etc.);

 14                c. the amount of the creditor’s claim;
 15                d. whether the creditor’s claim is disputed and, if so, the nature of the
 16
                       dispute; and
 17
                   e. complete contact information for each creditor including, but not limited
 18
                       to, the creditor’s address, telephone number, cell phone number (if
 19
 20                    known), fax number (if applicable), and email address (if known);

 21         2. The Rechnitz’s shall have seven (7) days from the date of this hearing (i.e.,
 22            no later than 3:00 p.m. on Tuesday, June 16, 2020) to file their joint
 23
               declaration with the Court and serve the declaration on counsel for the
 24
               petitioning creditors;
 25
 26         3. If the Rechnitz’s fail to file the joint declaration by that date and time, the

 27            Court will deny the debtor’s Motion to Dismiss and immediately enter an order

 28




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   1            for relief in this case. The entry of such an order for relief will render both the
   2            pending Motion to Dismiss and Trustee Appointment Motion moot;
   3
            4. If the Rechnitz’s file the joint declaration by the required date and time, then:
   4
                    a. The petitioning creditors shall have sixty (60) days from the date of
   5
                        this hearing (i.e., no later than 3:00 p.m. on August 14, 2020) to
   6
   7                    contact the creditors listed in the joint declaration to determine if any of

   8                    them are willing to join in the involuntary petition;
   9                b. The petitioning creditors shall have the same sixty (60) day period
  10
                        within which to conduct discovery of the creditors listed in the joint
  11
                        declaration, which discovery shall be limited solely to questions
  12
  13                    regarding the nature and amount of the creditor’s claim and, if the

  14                    creditor’s claim is listed in the joint declaration as disputed, the nature
  15                    of such dispute;
  16
                    c. The Court shall hold a status conference on this involuntary case on
  17
                        August 25, 2020 at 10:00 a.m., and
  18
                    d. The parties shall file a joint status report seven (7) days prior to the
  19
  20                    status conference (i.e., no later than 3:00 p.m. on August 18, 2020).

  21        IT IS SO ORDERED.
  22                                               ###
  23
  24
  25       Date: June 10, 2020

  26
  27
  28




                                                    -4-


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    1                                CERTIFICATE OF SERVICE
    2       I declare that I am a citizen of the United States and I am a resident and
      employed in Los Angeles, California; that my business address is 4929 Wilshire
    3 Boulevard, Suite 940, Los Angeles, California 90010; that I am over the age of 18
      and not a party to the above-entitled action.
    4
                  I am employed by a member of the United States District Court for the Central
    5 District of California, and at whose direction I caused service of the foregoing
        document entitled SUPPLEMENTAL DECLARATION OF BARUCH C.
    6 COHEN REGARDING THIRD-PARTY DEFENDANTS’ MOTION FOR
        STAY OF PROCEEDINGS on all interested parties in this action by the method
    7 indicated below at the address stated below:
    8
        Marc S. Williams, Esq.
    9 Cohen Williams, LLP
        724 South Spring Street, 9th Floor
   10 Los Angeles, CA 90014
        Email: mwilliams@cohen-williams.com
   11 Attorney for Third-Party Defendants Jona S. & Rachel Rechnitz

   12
        [X]       BY ELECTRONIC TRANSMISSION: by electronically filing the
   13             foregoing with the Clerk of the District Court using its CM/ECF System
                  pursuant to the Electronic Case Filing provision of the United States District
   14             Court General Order and the E-Government Act of 2002, which electronically
                  notifies all parties in this case. A pdf version of this document was also
   15             transmitted to counsel via electronic mail at the mail address indicated above.
   16      I declare under penalty of perjury under the laws of the United States of
      America that the foregoing is true and correct. Executed on June 11, 2020 at Los
   17 Angeles, California.
   18
        By: /s/       Baruch C. Cohen
   19 Baruch C. Cohen
   20

   21
   22
   23

   24

   25
   26

   27
   28                     SUPPLEMENTAL DECLARATION OF BARUCH C. COHEN REGARDING
                           THIRD-PARTY DEFENDANTS’ MOTION FOR STAY OF PROCEEDINGS

        6/11-2:58pm
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From:                              Ronald Richards <ron@ronaldrichards.com>
Sent:                              Thursday, June 11, 2020 5:12 PM
To:                                Robert Marticello
Cc:                                dlev@sulmeyerlaw.com; Baruch Cohen; Morani Stelmach
Subject:                           DEPOSITION NOTICES
Attachments:                       Exhibit _A_ in Support of Subpoena to Testify At Deposition (Jadelle_Jona Rechnitz).pdf;
                                   Notice of Deposition of Jona Rechnitz (Jadelle) (002).pdf; Subpoena to Testify At
                                   Deposition (Jadelle_Jona Rechnitz).pdf; Subpoena to Testify At Deposition II
                                   (Jadelle_Rachel Rechnitz).pdf; Exhibit _A_ in Support of Subpoena to Testify At
                                   Deposition II (Jadelle_^.^.pdf; Notice of Deposition of Rachel Rechnitz (Jadelle).pdf

Importance:                        High


Dear Robert,

Please see attached deposition notices. I am assuming you will agree that we don’t need to serve a party member and
manager for the deposition, or her husband if that is even the case, or a manager of the entity.

Previously, Marc Cohen did not want me to send a legion of process servers to Jona’s house in Beverlywood. Out of my
high respect for Marc and Reuven, and of course you, I will not send them there this evening. However, I have three
standing by for tomorrow night, at exactly 8:05pm to serve these subpoenas, as well as day service. It would very
unfortunate if we had any issue at all on this. I am asking you to produce these people that the court ordered their
declarations and deposition. There is also a local rule on deposing declarants that is analogous.

I am happy to send them there all night Friday and Saturday all day, and then non stop until they are served even though
I do not believe they have to be served as they are making a general appearance per court order. I am sorry for the tone
but some people told me that you would not be cooperative and I said Robert has done a great job and is a true
professional. He will not advise his members to avoid service or send a message to Judge Russell that they are avoiding
a deposition or discovery as contemplated by the Court.

I would think the judge would frown upon any games as to service as stated above. Finally, if they are not going to
provide testimony as has been their position in two other cases which officers of the Court represented they would not,
that is fine, just let me know the grounds.

I want you to be aware of the below cases based upon previous positions taken by Jona and Rachel. Please review these
cases. We believe if you file the declarations the court requested, you have waived any assertion of the 5th Amendment
as to the entire subject matter which will be a large swath of questions about the various creditors and Jona and
Rachel’s credibility is far game and at issue. Therefore, we don’t want to waste time on scheduling these if you are going
to invoke. If you are not going to invoke, then will be taking two depositions and serving written discovery. We will
also need Jona and Rachel’s cell phones for a vendor to upload their text message and emails. We will need ESI
discovery on Jona’s email account so we need to formulate a ESI protocol between our respective offices. Please tell me
how you want to do that and please tell Jona and Rachel that any deleted text messages will be met with motion
practice for things I will not mention herein. The relevant cases are below.

See Mitchell v. United States, 526 U.S. 314 (1999)(“It is well established that a witness, in a single proceeding, may not
testify voluntarily about a subject and then invoke the privilege against self‐incrimination when questioned about the
details.”). The Supreme Court of the United States of America has articulated two discrete explanations why selective
waiver of the privilege against self‐incrimination is impermissible; Rogers v. United States, 340 U.S. 367, 371, 71 S.Ct.

                                                             1
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438, 95 L.Ed. 344 (1951) (discussing 5th Amendment privilege against self‐incrimination, the Supreme Court noted that,
having waived the privilege, one cannot later assert it: “To uphold a claim of privilege in this case would open the way to
distortion of facts by permitting a witness to select any stopping place in the testimony.”). It would provide a perverse
incentive to dilatory discovery practice if the Court were to allow a party to escape disclosure of documents it has shown
to a testifying expert. CP Kelco U.S. Inc., 213 F.R.D. at 179.; Sundance Image Technology, Inc. v. Cone Editions Press, Ltd.
(S.D. Cal., Aug. 19, 2005, No. 02CV2258 B (AJB)) 2005 WL 8173278, at *4.; The Fifth Amendment privilege is not self‐
executing, however, and may be found to have been waived if it is not invoked in a timely manner. Maness v. Meyers,
419 U.S. 449, 465–66 (1975); Rogers v. United States, 340 U.S. 367, 370–71 (1951); Yakus v. United States, 321 U.S. 414,
444 (1944) (“No procedural principle is more familiar to this Court than that a constitutional right may be forfeited in
criminal as well as civil cases by the failure to make timely assertion of the right before a tribunal having jurisdiction to
determine it.”); United States ex rel. Vajtauer v. Comm'r of Immigration at Port of New York, 273 U.S. 103, 113 (1927);
Davis v. Fendler, 650 F.2d 1154, 1160 (9th Cir. 1981). A waiver may be found if one agrees to an order commanding one
to do the very thing later claimed to be privileged without invoking the privilege at or before the time of the entry of the
order. See S.E.C. v. Telexfree, Inc., 164 F. Supp. 3d 187, 192 (D. Mass. 2015); In re Wolf (Bankr. N.D. Ill., May 24, 2018,
No. 14 B 27066) 2018 WL 2386813, at *5; An individual may invoke the Fifth Amendment privilege against self‐
incrimination in any proceeding “whether civil or criminal, formal or informal, including a bankruptcy proceeding.” In re
Blan, 239 B.R. 385, 392 (Bankr.W.D.Ark.1999) (citations omitted). It is, however, “not self‐executing.” In re Gi Yeong
Nam, 245 B.R. 216, 227 (Bankr.E.D.Pa.2000) (citing Roberts v. United States, 445 U.S. 552, 559, 100 S.Ct. 1358, 63
L.Ed.2d 622 (1980)). The privilege may only be relied upon if it is invoked in a proper and timely manner. Roberts, 445
U.S. at 559–60, 100 S.Ct. 1358; see also 3–344 Collier on Bankruptcy ¶ 344.03 (15th ed. 2015) (“[I]t may not properly be
invoked, for example, for the first time at a contempt hearing arising out of the refusal to answer.”). If the privilege is
not timely asserted, it may be deemed waived. See In re Gi Yeong Nam, 245 B.R. at 226–27 (citing Rogers v. United
States, 340 U.S. 367, 373, 71 S.Ct. 438, 95 L.Ed. 344 (1951)); To properly invoke the privilege, a party must produce “for
the Court's consideration, a meaningful, articulation of the reasons why [responding] would tend to incriminate him.” In
re Bartlett, 162 B.R. 73, 79 (Bankr.D.N.H.1993) (citations omitted). The claimant need not “establish the threat of
incrimination in detail, of course, since such detailed disclosure may negate the very privilege he seeks to assert.” In re
Blan, 239 B.R. at 392 (citing In re Connelly, 59 B.R. 421, 433 (Bankr.N.D.Ill.1986)). However, the party must at a minimum
show that “the claimant is confronted by substantial and ‘real,’ and not merely trifling or imaginary, hazards of
incrimination.” Marchetti v. United States, 390 U.S. 39, 59, 88 S.Ct. 697, 19 L.Ed.2d 889 (1968); see In re Connelly, 59
B.R. at 433. There need not be an active criminal investigation or proceeding in order to assert the privilege. See, e.g., In
re Gi Yeong Nam, 245 B.R. at 225–26 (adequate facts were alleged and certain federal and state statutes identified to
find it “conceivable that Defendants could be linked with the federal or state crime of aiding and abetting flight to avoid
prosecution”); In re Brown, No. 12–50853–can7, 2014 WL 309403, at *2 (Bankr.W.D.Mo. Jan. 28, 2014) (determining the
debtor's response to a particular question may result in his admitting to fraud);

As for our call tomorrow, the other things I want to propose and discuss are not in this email so I look forward to seeing
you on the call at 930am and I wish you a pleasant evening. We all respect you and your team and the practice we have
engaged in thus far.


Sincerely,

Ronald Richards, Esq.
Law Offices of Ronald Richards & Associates, A.P.C.
310‐556‐1001 Office
310‐277‐3325 Fax
www.ronaldrichards.com


Mailing Address:
P.O. Box 11480
Beverly Hills, CA 90213

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             EXHIBIT “A” IN SUPPORT OF SUBPOENA TO JONA RECHNITZ

                                 Production of Documents

 Definitions:

 The following definitions apply herein:

 A.      The term “Case” shall mean that bankruptcy case styled In re Jadelle Jewelry and
 Diamonds, LLC, presently pending in the United States Bankruptcy Court, Central
 District of California, Los Angeles Division, bearing Case No. 2:20-bk-13530-BR,
 commenced on April 6, 2020.

 B.      The term “Claim” shall have the meaning ascribed to it in 11 U.S.C. § 101(5).

 C.      The term “Creditor” shall have the meaning ascribed to it in 11 U.S.C. § 101(10).

 D       The term “Communications” shall mean any transmission of information from
 one person or entity to another by mail, facsimile, electronic mail, text message, instant
 messaging, audio recordings, journals, diaries, logs, or calendars, including (without
 limitation) any form of memorialization of personal meetings, conferences, telephone
 conversations, radio, electronic mail, teleconference, etc.

 E       The term “Debt” shall have the meaning ascribed to it in 11 U.S.C. § 101(12).

 G.      The term “Involuntary Petition” shall mean that certain involuntary chapter 7
 petition styled In re Jadelle Jewelry and Diamonds, LLC, presently pending in the United
 States Bankruptcy Court, Central District of California, Los Angeles Division, bearing
 Case No. 2:20-bk-13530-BR.

 H.      The term “Jadelle” shall mean Jadelle Jewelry and Diamonds, LLC, and any of its
 respective officers, directors, employees, affiliates, parents, subsidiaries, representatives,
 agents, attorneys, and all other persons acting or purporting to act on its behalf, including
 Jona Rechnitz and Rachel Rechnitz.

 I.     The term “Jona” shall mean Jona Rechnitz, and his representatives, agents,
 attorneys, and all other persons acting or purporting to act on his behalf.

 J.      The term “Petition Date” shall mean April 6, 2020, the date the Involuntary
 Petition was filed.

 K.     The term “Rachel” shall mean Rachel Rechnitz, and her representatives, agents,
 attorneys, and all other persons acting or purporting to act on her behalf.

 L.     The terms “and” or “or” or “and/or” shall be construed either disjunctively or
 conjunctively or both, as necessary, to bring within the scope of any request for responses
 which might otherwise be construed to be outside the scope.

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M.      The term “Contact Information” shall mean information upon which a person or
entity may be reached via mail, telephone, facsimile, e-mail or in person or any other
medium that is reasonable, and shall include without limitation, present and last known
address(es), phone number(s), facsimile number(s), and e- mail address(es).

N.      The terms “Document” or “Documents” shall mean and includes any medium,
including without limitation, writings, drawings, graphs, charts, photographs, audio and
video recordings, computerized records, such as e-mails, microfilm, microfiche, data
compilations, upon which intelligence or information can be recorded, maintained or
retrieved, including without limitation, the original or a copy thereof, regardless of the
origin and location, of any writing or recording of any type or description, however
produced or reproduced, which is in your or your representatives’ possession, custody or
control, or to which you have or had access, or of which you have knowledge or which
you have a right or privilege to examine upon request or demand, and includes any and
all writings and recordings as the term is used in Rule 1001(1) of the Federal Rules of
Evidence and includes the original (or a copy if the original is not available) and any
nonidentical copies (whether different from the original because of notes made on the
copy or otherwise).

O.      The terms “relate to”, “refer to”, “evidence”, “concern”, “pertain to” and
“pertaining to” shall mean mentioning, discussing, including, summarizing, describing,
reflecting, containing, referring to, relating to, depicting, connected with, embodying,
evidencing, constituting, concerning, reporting, purporting or involving an act,
occurrence, event, transaction, fact, thing, or course of dealing.

P.      The term “you” or “your” shall mean and includes Jadelle. The term “Jadelle”
shall be used interchangeably with the terms “you” or “your”.

Q.      The singular form of a word should be interpreted as plural and the plural should
be interpreted as singular to give the word or words the broadest possible meaning.

R.     The masculine gender of any word shall be construed to include the masculine, feminine,
and neuter gender.

Requested Documents:

1.      All Documents regarding any Debt owed by Jadelle to a Creditor as of the
Petition Date, including, without limitation, Documents evidencing (i) the identity of the
Creditor, including Contact Information, (ii) the amount of the Debt, (iii) the basis for the
Debt, (iv) the date the Debt was incurred, (v) the account or reference number of the
Debt, and (vi) the nature, priority, and validity of the Debt.

2.      All Documents regarding any Claim of a Creditor against Jadelle as of the
Petition Date, including, without limitation, Documents evidencing (i) the identity of the
Creditor, including Contact Information, (ii) the amount of the Claim, (iii) the basis for
the Claim, (iv) the date the Claim was incurred, (v) the account or reference number of
the Claim, and (vi) the nature, priority, and validity of the Claim.

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 3.      All Documents you contend support your contention that there is a bona fide
 dispute regarding the amount or liability of any Debt owed by Jadelle to a Creditor as of
 the Petition Date.

 4.      All Documents you contend support your contention that there is a bona fide
 dispute regarding the amount or liability of any Claim of a Creditor against Jadelle as of
 the Petition Date.

 5.     All Documents referencing any Communications between Jadelle, Rachel, Jona,
 or any person acting, or purporting to act, on their respective behalf, regarding the nature,
 amount, and validity of any Debt owed by Jadelle to a Creditor as of the Petition Date.

 6.     All Documents referencing any Communications between Jadelle, Rachel, Jona,
 or any person acting, or purporting to act, on their respective behalf, regarding the nature,
 amount, and validity of any Claim of a Creditor against Jadelle as of the Petition Date.

 7.     All Documents referencing the post-Petition Date payment of any portion of a
 Debt owed by Jadelle to a Creditor as of the Petition Date made by Jadelle, Rachel, Jona,
 or any person acting, or purporting to act, on their respective behalf.

 8.     All Documents referencing the post-Petition Date payment of any portion of a
 Claim of a Creditor against Jadelle as of the Petition Date made by Jadelle, Rachel, Jona,
 or any person acting, or purporting to act, on their respective behalf.

                                   Topics of Examination

 1.      The nature, amount, and validity of any Debt owed by Jadelle to a Creditor as of
 the Petition Date, including, without limitation, (i) the identity of the Creditor, including
 Contact Information, (ii) the amount of the Debt, (iii) the basis for the Debt, (iv) the date
 the Debt was incurred, (v) the account or reference number of the Debt, and (vi) the
 nature, priority, and validity of the Debt.

 2.     Any Documents which support the nature, amount, and validity of any Debt owed
 by Jadelle to a Creditor as of the Petition Date.

 3.     Any Communications between Jadelle, Rachel, Jona, or any person acting, or
 purporting to act, on their respective behalf, regarding the nature, amount, and validity of
 any Debt owed by Jadelle to a Creditor as of the Petition Date.

 4.      Any Documents which support your contention that there is a bona fide dispute
 regarding the amount or liability of any Debt owed by Jadelle to a Creditor as of the
 Petition Date.

 5.     Any Communications between Jadelle, Rachel, Jona, or any person acting, or
 purporting to act, on their respective behalf, supporting Jadelle, Rachel, or Jona’s
 contention that there is a bona fide dispute regarding the amount or liability of any Debt
 owed by Jadelle to a Creditor as of the Petition Date.

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 6.     Any Documents referencing the post-Petition Date payment of any portion of a
 Debt owed by Jadelle to a Creditor as of the Petition Date made by Jadelle, Rachel, Jona,
 or any person acting, or purporting to act, on their respective behalf.

 7.      Any Communications between Jadelle, Rachel, Jona, or any person acting, or
 purporting to act, on their respective behalf, referencing the post-Petition Date payment
 of any portion of a Debt owed by Jadelle to a Creditor as of the Petition Date made by
 Jadelle, Rachel, Jona, or any person acting, or purporting to act, on their respective
 behalf.

 8.      The nature, amount, and validity of any Claim of a Creditor against Jadelle as of
 the Petition Date, including, without limitation, (i) the identity of the Creditor, including
 Contact Information, (ii) the amount of the Claim, (iii) the basis for the Claim, (iv) the
 date the Claim was incurred, (v) the account or reference number of the Claim and (vi)
 the nature, priority, and validity of the Claim.

 9.     Any Documents which support the nature, amount, and validity of any Claim of a
 Creditor against Jadelle as of the Petition Date.

 10.    Any Communications between Jadelle, Rachel, Jona, or any person acting, or
 purporting to act, on their respective behalf, regarding the nature, amount, and validity of
 any Claim of a Creditor against Jadelle as of the Petition Date.

 11.     Any Documents which support your contention that there is a bona fide dispute
 regarding the amount or liability of any Claim of a Creditor against Jadelle as of the
 Petition Date.

 12.     Any Communications between Jadelle, Rachel, Jona, or any person acting, or
 purporting to act, on their respective behalf, supporting Jadelle, Rachel, or Jona’s
 contention that there is a bona fide dispute regarding the amount or liability of any Claim
 of a Creditor against Jadelle as of the Petition Date.

 13.    Any Documents referencing the post-Petition Date payment of any portion of a
 Claim of a Creditor against Jadelle as of the Petition Date made by Jadelle, Rachel, Jona,
 or any person acting, or purporting to act, on their respective behalf.

 14.     Any Communications between Jadelle, Rachel, Jona, or any person acting, or
 purporting to act, on their respective behalf, referencing the post-Petition Date payment
 of any portion of a Claim of a Creditor against Jadelle as of the Petition Date made by
 Jadelle, Rachel, Jona, or any person acting, or purporting to act, on their respective
 behalf.




 DAL 2702633v1                                 4



                                                                             EXHIBIT "9", PAGE 169
                                             Case 2:20-bk-13530-BR                        Doc 65 Filed 06/19/20 Entered 06/19/20 17:25:01      Desc
                                                                                         Main Document    Page 179 of 309




                                                                1 Daniel A. Lev (CA Bar No. 129622)
                                                                   dlev@sulmeyerlaw.com
                                                                2 SulmeyerKupetz
                                                                    A Professional Corporation
                                                                3 333 South Grand Avenue, Suite 3400
                                                                  Los Angeles, California 90071-1406
                                                                4 Telephone: 213.626.2311
                                                                  Facsimile: 213.629.4520
                                                                5
                                                                  Attorneys for Petitioning Creditors
                                                                6
                                                                  Ronald Richards (CA Bar No. 176246)
                                                                7 ron@ronaldrichards.com
                                                                  Law Offices of Ronald Richards & Associates, APC
                                                                8 P.O. Box 11480
                                                                  Beverly Hills, California 90213
                                                                9 Telephone: 310.556.1001
                                                                  Facsimile: 310.277.3325
                                                               10
                                                                  Attorneys for Victor Franco Noval
                                                               11
  Professional Corporation
                       333 SOUTH GRAND AVENUE, SUITE 3400
                       LOS ANGELES, CALIFORNIA 90071-1406
                        TEL. 213.626.2311 • FAX 213.629.4520




                                                                  Baruch C. Cohen (CA Bar No. 159455)
                                                               12 baruchcohen@baruchcohenesq.com
                                                                  Law Office of Baruch C. Cohen, APLC
                                                               13 4929 Wilshire Boulevard, Suite 940
                                                                  Los Angeles, California 90010
                                                               14 Telephone: 323.937.4501
                                                                  Facsimile: 888.316.6107
SulmeyerKupetz, A




                                                               15
                                                                  Attorneys for Peter Marco, LLC and First International Diamond, Inc.
                                                               16
                                                                                           UNITED STATES BANKRUPTCY COURT
                                                               17
                                                                             CENTRAL DISTRICT OF CALIFORNIA, LOS ANGELES DIVISION
                                                               18
                                                               19 In re                                        Case No. 2:20-bk-13530-BR

                                                               20 JADELLE JEWELRY AND DIAMONDS,                Chapter 7
                                                                  LLC,
                                                               21                                              NOTICE OF SUBPOENA TO APPEAR
                                                                                                               AT DEPOSITION SERVED ON JONA
                                                               22                                              RECHNITZ
                                                                                    Alleged Debtor.
                                                               23                                              DEPOSITION OF JONA RECHNITZ:

                                                               24                                              DATE:       June 25, 2020
                                                                                                               TIME:       10:00 a.m.
                                                               25                                              PLACE:      333 South Grand Avenue
                                                                                                                           Suite 3400
                                                               26                                                          Los Angeles, CA 90071

                                                               27

                                                               28


                                                                    DAL 2702611v1



                                                                                                                                EXHIBIT "9", PAGE 170
                                                      Case 2:20-bk-13530-BR                Doc 65 Filed 06/19/20 Entered 06/19/20 17:25:01                 Desc
                                                                                          Main Document    Page 180 of 309




                                                               1
                                                                 VICTOR FRANCO NOVAL; PETER
                                                               2 MARCO, LLC; and FIRST
                                                                 INTERNATIONAL DIAMOND, INC.,
                                                               3
                                                                           Petitioning Creditors,
                                                               4
                                                                      vs.
                                                               5
                                                                 JADELLE JEWELRY AND DIAMONDS,
                                                               6 LLC,

                                                               7                    Alleged Debtor.
                                                               8

                                                               9
                                                                    TO THE ALLEGED DEBTOR, JONA RECHNITZ, AND THEIR ATTORNEYS OF
                                                               10
                                                                    RECORD:
                                                               11
  Professional Corporation




                                                                                    PLEASE TAKE NOTICE that, pursuant to Rule 45 of the Federal Rules of
                       333 SOUTH GRAND AVENUE, SUITE 3400
                       LOS ANGELES, CALIFORNIA 90071-1406




                                                               12
                        TEL. 213.626.2311 • FAX 213.629.4520




                                                                    Civil Procedure (made applicable to this bankruptcy case pursuant to Rule 9016 of the
                                                               13
                                                                    Federal Rules of Bankruptcy Procedure), petitioning creditors, Victor Franco Noval
                                                               14
                                                                    (“Noval”), Peter Marco, LLC (“Marco”), and First International Diamond, Inc. (“First
                                                               15
SulmeyerKupetz, A




                                                                    International” and together with Noval and Marco, the “Petitioning Creditors”), have
                                                               16
                                                                    caused the “Subpoena to Appear and Testify at a Deposition in a Bankruptcy Case (or
                                                               17
                                                                    Adversary Proceeding)” (the “Subpoena”), to be issued and served upon Jona Rechnitz
                                                               18
                                                                    (the “Subpoenaed Party”). A true and correct copy of the Subpoena is attached hereto
                                                               19
                                                                    as Exhibit “A”.
                                                               20
                                                                                    PLEASE TAKE FURTHER NOTICE that the Subpoena commands that the
                                                               21
                                                                    Subpoenaed Party appear for deposition, under oath, and that such deposition take place
                                                               22
                                                                    on June 25, 2020, at 10:00 a.m., at SulmeyerKupetz, A Professional Corporation, 333
                                                               23
                                                                    South Grand Avenue, Suite 3400, Los Angeles, California 90071.
                                                               24
                                                                                    PLEASE TAKE FURTHER NOTICE that the Subpoenaed Party is a natural
                                                               25
                                                                    person.
                                                               26

                                                               27

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                                                                    DAL 2702611v1                                2

                                                                                                                                       EXHIBIT "9", PAGE 171
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                                                               1                    PLEASE TAKE FURTHER NOTICE that the Subpoena commands the

                                                               2 Subpoenaed Party to bring to the deposition, and permit inspection and copying of,

                                                               3 documents and other information set forth in Exhibit “A” to the Subpoena.

                                                               4                    PLEASE TAKE FURTHER NOTICE that the deposition will be recorded by

                                                               5 audio, audiovisual, and/or stenographic means, and that Petitioning Creditors, at their
                                                               6 sole discretion, may elect to conduct the deposition by means of “zoom” or such other

                                                               7 form of virtual examination.
                                                               8 DATED: June 11, 2020                    SulmeyerKupetz
                                                                                                         A Professional Corporation
                                                               9

                                                               10
                                                               11                                        By: /s/ Daniel A. Lev          _________________
  Professional Corporation




                                                                                                             Daniel A. Lev
                       333 SOUTH GRAND AVENUE, SUITE 3400
                       LOS ANGELES, CALIFORNIA 90071-1406




                                                               12
                        TEL. 213.626.2311 • FAX 213.629.4520




                                                                                                             Attorneys for Petitioning Creditors
                                                               13
                                                               14

                                                               15
SulmeyerKupetz, A




                                                               16

                                                               17

                                                               18
                                                               19

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                                                                    DAL 2702611v1                               3

                                                                                                                                      EXHIBIT "9", PAGE 172
            Case 2:20-bk-13530-BR                       Doc 65 Filed 06/19/20 Entered 06/19/20 17:25:01                                           Desc
                                                       Main Document    Page 182 of 309
B2560 (Form 2560 – Subpoena to Testify at a Deposition in a Bankruptcy Case or Adversary Proceeding) (12/15)

                                       UNITED STATES BANKRUPTCY COURT
Central                                                                     District of California
In re JADELLE JEWELRY AND DIAMONDS, LLC,
                                     Alleged Debtor
                                                                                     Case No. 2:20-bk-13530-BR
          (Complete if issued in an adversary proceeding)
                                                                                     Chapter 7
                                    Plaintiff
                                       v.


                                   Defendants

                                         SUBPOENA TO TESTIFY AT A DEPOSITION
                                  IN A BANKRUPTCY CASE (OR ADVERSARY PROCEEDING)
 To: Jona Rechnitz
                                                           (Name of person to whom the subpoena is directed)

      Testimony: YOU ARE COMMANDED to appear at the time, date, and place set forth below to testify at a deposition to
  be taken in this bankruptcy case (or adversary proceeding). If you are an organization, you must designate one or more
  officers, directors, or managing agents, or designate other persons who consent to testify on your behalf about the following
  matters, or those set forth in an attachment:
  PLACE                                                                                                        DATE AND TIME
                                                                                                               June 25, 2020 at 10:00 a.m.
  SulmeyerKupetz, A Professional Corporation
  333 South Grand Avenue, Suite 3400
  Los Angeles, CA 90071
  The deposition will be recorded by this method: Stenography and/or video
     Production: You, or your representatives, must also bring with you to the deposition the following documents,
 electronically stored information, or objects, and must permit inspection, copying, testing, or sampling of the material:
 See Exhibit “A”
         The following provisions of Fed. R. Civ. P. 45, made applicable in bankruptcy cases by Fed. R. Bankr. P. 9016, are
 attached – Rule 45(c), relating to the place of compliance; Rule 45(d), relating to your protection as a person subject to a
 subpoena; and Rule 45(e) and 45(g), relating to your duty to respond to this subpoena and the potential consequences of not
 doing so.
 Date: June 12, 2020
                                    CLERK OF COURT
                                                                                       OR

                                    Signature of Clerk or Deputy Clerk        Attorney’s signature
                                                                         Daniel A. Lev
  The name, address, email address, and telephone number of the attorney representing (name of party) petitioning creditors
  Victor Franco Noval, Peter Marco, LLC, and First International Diamond, Inc., who issues or requests this subpoena, are:
  Daniel A. Lev, 333 South Grand Avenue, Suite 3400, Los Angeles, California 90071, email: dlev@sulmeyerlaw.com
                                   Notice to the person who issues or requests this subpoena
  If this subpoena commands the production of documents, electronically stored information, or tangible things, or the
  inspection of premises before trial, a notice and a copy of this subpoena must be served on each party before it is served on
  the person to whom it is directed. Fed. R. Civ. P. 45(a)(4).




                                                                                                                                      American LegalNet, Inc.
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                                                                                                                          EXHIBIT "9", PAGE 173
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B2560 (Form 2560 – Subpoena to Testify at a Deposition in a Bankruptcy Case or Adversary Proceeding) (Page 2)



                                                                PROOF OF SERVICE
                      (This section should not be filed with the court unless required by Fed. R. Civ. P. 45.)

I received this subpoena for (name of individual and title, if any): Jona Rechnitz
on (date) June XX, 2020 .

   I served the subpoena by delivering a copy to the named person as follows:

                                                       on (date)                                    ; or

    I returned the subpoena unexecuted because:



Unless the subpoena was issued on behalf of the United States, or one of its officers or agents, I have also tendered to the
witness the fees for one day’s attendance, and the mileage allowed by law, in the amount of $                                                                      .

My fees are $                      for travel and $                   for services, for a total of $                     .



          I declare under penalty of perjury that this information is true and correct.

Date: June XX, 2020

                                                                                                                  Server’s signature


                                                                                                                Printed name and title



                                                                                                                  Server’s address


Additional information concerning attempted service, etc.:




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B2560 (Form 2560 – Subpoena to Testify at a Deposition in a Bankruptcy Case or Adversary Proceeding) (Page 3)


                             Federal Rule of Civil Procedure 45(c), (d), (e), and (g) (Effective 12/1/13)
                         (made applicable in bankruptcy cases by Rule 9016, Federal Rules of Bankruptcy Procedure)

(c) Place of compliance.                                                                   (ii) disclosing an unretained expert's opinion or information that does
                                                                                      not describe specific occurrences in dispute and results from the expert's
   (1) For a Trial, Hearing, or Deposition. A subpoena may command a                  study that was not requested by a party.
person to attend a trial, hearing, or deposition only as follows:                         (C) Specifying Conditions as an Alternative. In the circumstances
    (A) within 100 miles of where the person resides, is employed, or                 described in Rule 45(d)(3)(B), the court may, instead of quashing or
regularly transacts business in person; or                                            modifying a subpoena, order appearance or production under specified
     (B) within the state where the person resides, is employed, or regularly         conditions if the serving party:
transacts business in person, if the person                                                 (i) shows a substantial need for the testimony or material that cannot
       (i) is a party or a party’s officer; or                                        be otherwise met without undue hardship; and
       (ii) is commanded to attend a trial and would not incur substantial                   (ii) ensures that the subpoenaed person will be reasonably
expense.                                                                              compensated.

  (2)For Other Discovery. A subpoena may command:                                     (e) Duties in Responding to a Subpoena.
     (A) production of documents, or electronically stored information, or
things at a place within 100 miles of where the person resides, is employed,             (1) Producing Documents or Electronically Stored Information. These
or regularly transacts business in person; and                                        procedures apply to producing documents or electronically stored
    (B) inspection of premises, at the premises to be inspected.                      information:
                                                                                           (A) Documents. A person responding to a subpoena to produce
(d) Protecting a Person Subject to a Subpoena; Enforcement.
                                                                                      documents must produce them as they are kept in the ordinary course of
                                                                                      business or must organize and label them to correspond to the categories in
     (1) Avoiding Undue Burden or Expense; Sanctions. A party or                      the demand.
attorney responsible for issuing and serving a subpoena must take                          (B) Form for Producing Electronically Stored Information Not
reasonable steps to avoid imposing undue burden or expense on a person                Specified. If a subpoena does not specify a form for producing
subject to the subpoena. The court for the district where compliance is               electronically stored information, the person responding must produce it in
required must enforce this duty and impose an appropriate sanction —                  a form or forms in which it is ordinarily maintained or in a reasonably
which may include lost earnings and reasonable attorney's fees — on a                 usable form or forms.
party or attorney who fails to comply.                                                     (C) Electronically Stored Information Produced in Only One Form. The
                                                                                      person responding need not produce the same electronically stored
  (2) Command to Produce Materials or Permit Inspection.
                                                                                      information in more than one form.
    (A) Appearance Not Required. A person commanded to produce
                                                                                           (D) Inaccessible Electronically Stored Information. The person
documents, electronically stored information, or tangible things, or to
                                                                                      responding need not provide discovery of electronically stored information
permit the inspection of premises, need not appear in person at the place of
                                                                                      from sources that the person identifies as not reasonably accessible because
production or inspection unless also commanded to appear for a deposition,
                                                                                      of undue burden or cost. On motion to compel discovery or for a protective
hearing, or trial.
                                                                                      order, the person responding must show that the information is not
    (B) Objections. A person commanded to produce documents or tangible
                                                                                      reasonably accessible because of undue burden or cost. If that showing is
things or to permit inspection may serve on the party or attorney designated
                                                                                      made, the court may nonetheless order discovery from such sources if the
in the subpoena a written objection to inspecting, copying, testing or
                                                                                      requesting party shows good cause, considering the limitations of Rule
sampling any or all of the materials or to inspecting the premises — or to
                                                                                      26(b)(2)(C). The court may specify conditions for the discovery.
producing electronically stored information in the form or forms requested.
The objection must be served before the earlier of the time specified for
compliance or 14 days after the subpoena is served. If an objection is made,             (2) Claiming Privilege or Protection.
the following rules apply:                                                                 (A) Information Withheld. A person withholding subpoenaed
       (i) At any time, on notice to the commanded person, the serving party          information under a claim that it is privileged or subject to protection as
may move the court for the district where compliance is required for an               trial-preparation material must:
order compelling production or inspection.                                                    (i) expressly make the claim; and
      (ii) These acts may be required only as directed in the order, and the                  (ii) describe the nature of the withheld documents, communications,
order must protect a person who is neither a party nor a party's officer from         or tangible things in a manner that, without revealing information itself
significant expense resulting from compliance.                                        privileged or protected, will enable the parties to assess the claim.
                                                                                            (B)Information Produced. If information produced in response to a
  (3) Quashing or Modifying a Subpoena.                                               subpoena is subject to a claim of privilege or of protection as trial-
   (A) When Required. On timely motion, the court for the district where              preparation material, the person making the claim may notify any party that
compliance is required must quash or modify a subpoena that:                          received the information of the claim and the basis for it. After being
     (i) fails to allow a reasonable time to comply;                                  notified, a party must promptly return, sequester, or destroy the specified
     (ii) requires a person to comply beyond the geographical limits                  information and any copies it has; must not use or disclose the information
specified in Rule 45(c);                                                              until the claim is resolved; must take reasonable steps to retrieve the
      (iii) requires disclosure of privileged or other protected matter, if no        information if the party disclosed it before being notified; and may
exception or waiver applies; or                                                       promptly present the information under seal to the court for the district
      (iv) subjects a person to undue burden.                                         where compliance is required for a determination of the claim. The person
   (B) When Permitted. To protect a person subject to or affected by a                who produced the information must preserve the information until the claim
subpoena, the court for the district where compliance is required may, on             is resolved.
motion, quash or modify the subpoena if it requires:                                  …
      (i) disclosing a trade secret or other confidential research,                   (g) Contempt. The court for the district where compliance is required – and
development, or commercial information; or                                            also, after a motion is transferred, the issuing court – may hold in contempt
                                                                                      a person who, having been served, fails without adequate excuse to obey
                                                                                      the subpoena or an order related to it.


                                          For access to subpoena materials, see Fed. R. Civ. P. 45(a) Committee Note (2013)

                                                                                                                                         American LegalNet, Inc.
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                                                                                                                          EXHIBIT "9", PAGE 175
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                                                       Main Document    Page 185 of 309
B2560 (Form 2560 – Subpoena to Testify at a Deposition in a Bankruptcy Case or Adversary Proceeding) (12/15)

                                       UNITED STATES BANKRUPTCY COURT
Central                                                                     District of California
In re JADELLE JEWELRY AND DIAMONDS, LLC,
                                     Alleged Debtor
                                                                                     Case No. 2:20-bk-13530-BR
          (Complete if issued in an adversary proceeding)
                                                                                     Chapter 7
                                    Plaintiff
                                       v.


                                   Defendants

                                         SUBPOENA TO TESTIFY AT A DEPOSITION
                                  IN A BANKRUPTCY CASE (OR ADVERSARY PROCEEDING)
 To: Rachel Rechnitz
                                                           (Name of person to whom the subpoena is directed)

      Testimony: YOU ARE COMMANDED to appear at the time, date, and place set forth below to testify at a deposition to
  be taken in this bankruptcy case (or adversary proceeding). If you are an organization, you must designate one or more
  officers, directors, or managing agents, or designate other persons who consent to testify on your behalf about the following
  matters, or those set forth in an attachment:
  PLACE                                                                                                        DATE AND TIME
                                                                                                               June 26, 2020 at 10:00 a.m.
  SulmeyerKupetz, A Professional Corporation
  333 South Grand Avenue, Suite 3400
  Los Angeles, CA 90071
  The deposition will be recorded by this method: Stenography and/or video
     Production: You, or your representatives, must also bring with you to the deposition the following documents,
 electronically stored information, or objects, and must permit inspection, copying, testing, or sampling of the material:
 See Exhibit “A”
         The following provisions of Fed. R. Civ. P. 45, made applicable in bankruptcy cases by Fed. R. Bankr. P. 9016, are
 attached – Rule 45(c), relating to the place of compliance; Rule 45(d), relating to your protection as a person subject to a
 subpoena; and Rule 45(e) and 45(g), relating to your duty to respond to this subpoena and the potential consequences of not
 doing so.
 Date: June 12, 2020
                                    CLERK OF COURT
                                                                                       OR

                                    Signature of Clerk or Deputy Clerk        Attorney’s signature
                                                                         Daniel A. Lev
  The name, address, email address, and telephone number of the attorney representing (name of party) petitioning creditors
  Victor Franco Noval, Peter Marco, LLC, and First International Diamond, Inc., who issues or requests this subpoena, are:
  Daniel A. Lev, 333 South Grand Avenue, Suite 3400, Los Angeles, California 90071, email: dlev@sulmeyerlaw.com
                                   Notice to the person who issues or requests this subpoena
  If this subpoena commands the production of documents, electronically stored information, or tangible things, or the
  inspection of premises before trial, a notice and a copy of this subpoena must be served on each party before it is served on
  the person to whom it is directed. Fed. R. Civ. P. 45(a)(4).




                                                                                                                                      American LegalNet, Inc.
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B2560 (Form 2560 – Subpoena to Testify at a Deposition in a Bankruptcy Case or Adversary Proceeding) (Page 2)



                                                                PROOF OF SERVICE
                      (This section should not be filed with the court unless required by Fed. R. Civ. P. 45.)

I received this subpoena for (name of individual and title, if any): Rachel Rechnitz
on (date) June XX, 2020 .

   I served the subpoena by delivering a copy to the named person as follows:

                                                       on (date)                                    ; or

    I returned the subpoena unexecuted because:



Unless the subpoena was issued on behalf of the United States, or one of its officers or agents, I have also tendered to the
witness the fees for one day’s attendance, and the mileage allowed by law, in the amount of $                                                                      .

My fees are $                      for travel and $                   for services, for a total of $                     .



          I declare under penalty of perjury that this information is true and correct.

Date: June XX, 2020

                                                                                                                  Server’s signature


                                                                                                                Printed name and title



                                                                                                                  Server’s address


Additional information concerning attempted service, etc.:




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          Case 2:20-bk-13530-BR                          Doc 65 Filed 06/19/20 Entered 06/19/20 17:25:01                                            Desc
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B2560 (Form 2560 – Subpoena to Testify at a Deposition in a Bankruptcy Case or Adversary Proceeding) (Page 3)


                             Federal Rule of Civil Procedure 45(c), (d), (e), and (g) (Effective 12/1/13)
                         (made applicable in bankruptcy cases by Rule 9016, Federal Rules of Bankruptcy Procedure)

(c) Place of compliance.                                                                   (ii) disclosing an unretained expert's opinion or information that does
                                                                                      not describe specific occurrences in dispute and results from the expert's
   (1) For a Trial, Hearing, or Deposition. A subpoena may command a                  study that was not requested by a party.
person to attend a trial, hearing, or deposition only as follows:                         (C) Specifying Conditions as an Alternative. In the circumstances
    (A) within 100 miles of where the person resides, is employed, or                 described in Rule 45(d)(3)(B), the court may, instead of quashing or
regularly transacts business in person; or                                            modifying a subpoena, order appearance or production under specified
     (B) within the state where the person resides, is employed, or regularly         conditions if the serving party:
transacts business in person, if the person                                                 (i) shows a substantial need for the testimony or material that cannot
       (i) is a party or a party’s officer; or                                        be otherwise met without undue hardship; and
       (ii) is commanded to attend a trial and would not incur substantial                   (ii) ensures that the subpoenaed person will be reasonably
expense.                                                                              compensated.

  (2)For Other Discovery. A subpoena may command:                                     (e) Duties in Responding to a Subpoena.
     (A) production of documents, or electronically stored information, or
things at a place within 100 miles of where the person resides, is employed,             (1) Producing Documents or Electronically Stored Information. These
or regularly transacts business in person; and                                        procedures apply to producing documents or electronically stored
    (B) inspection of premises, at the premises to be inspected.                      information:
                                                                                           (A) Documents. A person responding to a subpoena to produce
(d) Protecting a Person Subject to a Subpoena; Enforcement.
                                                                                      documents must produce them as they are kept in the ordinary course of
                                                                                      business or must organize and label them to correspond to the categories in
     (1) Avoiding Undue Burden or Expense; Sanctions. A party or                      the demand.
attorney responsible for issuing and serving a subpoena must take                          (B) Form for Producing Electronically Stored Information Not
reasonable steps to avoid imposing undue burden or expense on a person                Specified. If a subpoena does not specify a form for producing
subject to the subpoena. The court for the district where compliance is               electronically stored information, the person responding must produce it in
required must enforce this duty and impose an appropriate sanction —                  a form or forms in which it is ordinarily maintained or in a reasonably
which may include lost earnings and reasonable attorney's fees — on a                 usable form or forms.
party or attorney who fails to comply.                                                     (C) Electronically Stored Information Produced in Only One Form. The
                                                                                      person responding need not produce the same electronically stored
  (2) Command to Produce Materials or Permit Inspection.
                                                                                      information in more than one form.
    (A) Appearance Not Required. A person commanded to produce
                                                                                           (D) Inaccessible Electronically Stored Information. The person
documents, electronically stored information, or tangible things, or to
                                                                                      responding need not provide discovery of electronically stored information
permit the inspection of premises, need not appear in person at the place of
                                                                                      from sources that the person identifies as not reasonably accessible because
production or inspection unless also commanded to appear for a deposition,
                                                                                      of undue burden or cost. On motion to compel discovery or for a protective
hearing, or trial.
                                                                                      order, the person responding must show that the information is not
    (B) Objections. A person commanded to produce documents or tangible
                                                                                      reasonably accessible because of undue burden or cost. If that showing is
things or to permit inspection may serve on the party or attorney designated
                                                                                      made, the court may nonetheless order discovery from such sources if the
in the subpoena a written objection to inspecting, copying, testing or
                                                                                      requesting party shows good cause, considering the limitations of Rule
sampling any or all of the materials or to inspecting the premises — or to
                                                                                      26(b)(2)(C). The court may specify conditions for the discovery.
producing electronically stored information in the form or forms requested.
The objection must be served before the earlier of the time specified for
compliance or 14 days after the subpoena is served. If an objection is made,             (2) Claiming Privilege or Protection.
the following rules apply:                                                                 (A) Information Withheld. A person withholding subpoenaed
       (i) At any time, on notice to the commanded person, the serving party          information under a claim that it is privileged or subject to protection as
may move the court for the district where compliance is required for an               trial-preparation material must:
order compelling production or inspection.                                                    (i) expressly make the claim; and
      (ii) These acts may be required only as directed in the order, and the                  (ii) describe the nature of the withheld documents, communications,
order must protect a person who is neither a party nor a party's officer from         or tangible things in a manner that, without revealing information itself
significant expense resulting from compliance.                                        privileged or protected, will enable the parties to assess the claim.
                                                                                            (B)Information Produced. If information produced in response to a
  (3) Quashing or Modifying a Subpoena.                                               subpoena is subject to a claim of privilege or of protection as trial-
   (A) When Required. On timely motion, the court for the district where              preparation material, the person making the claim may notify any party that
compliance is required must quash or modify a subpoena that:                          received the information of the claim and the basis for it. After being
     (i) fails to allow a reasonable time to comply;                                  notified, a party must promptly return, sequester, or destroy the specified
     (ii) requires a person to comply beyond the geographical limits                  information and any copies it has; must not use or disclose the information
specified in Rule 45(c);                                                              until the claim is resolved; must take reasonable steps to retrieve the
      (iii) requires disclosure of privileged or other protected matter, if no        information if the party disclosed it before being notified; and may
exception or waiver applies; or                                                       promptly present the information under seal to the court for the district
      (iv) subjects a person to undue burden.                                         where compliance is required for a determination of the claim. The person
   (B) When Permitted. To protect a person subject to or affected by a                who produced the information must preserve the information until the claim
subpoena, the court for the district where compliance is required may, on             is resolved.
motion, quash or modify the subpoena if it requires:                                  …
      (i) disclosing a trade secret or other confidential research,                   (g) Contempt. The court for the district where compliance is required – and
development, or commercial information; or                                            also, after a motion is transferred, the issuing court – may hold in contempt
                                                                                      a person who, having been served, fails without adequate excuse to obey
                                                                                      the subpoena or an order related to it.


                                          For access to subpoena materials, see Fed. R. Civ. P. 45(a) Committee Note (2013)

                                                                                                                                         American LegalNet, Inc.
                                                                                                                                         www.FormsWorkFlow.com
DAL 2702614v1
                                                                                                                          EXHIBIT "9", PAGE 178
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Electronically FILED by Superior Court of California, County of Los Angeles on 02/10/2020 12:00 AM Sherri R. Carter, Executive Officer/Clerk of Court, by M. Mariscal,Deputy Clerk
                                                                                       20SMCV00216
                                        Assigned for all purposes to: Santa Monica Courthouse, Judicial Officer: Marc Gross




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                        13
                                                           SUPERIOR COURT OF THE STATE OF CALIFORNIA
                        14
                                                       FOR THE COUNTY OF LOS ANGELES – WEST DISTRICT
                        15
                        16
                        17 VICTOR FRANCO NOVAL, an individual,                                               Case No.
                        18                            Plaintiff,
                                                                                                             VERIFIED COMPLAINT FOR:
                        19                 vs.
                                                                                                                 (1) Fraud
                        20 JONA S. RECHNITZ, an individual;                                                     (2) Civil Theft (Penal Code, § 496)
                        21 RACHEL   RECHNITZ, an individual;
                           JADELLE INC., a California corporation;                                              (3) Breach of Contract
                        22 JADELLE     JEWELRY AND DIAMONDS,
                           LLC, a Delaware limited liability company;                                           (4) Conspiracy to Commit Theft, Fraud,
                                                                                                                    and Fraud by Concealment
                        23 LEVIN   PRADO aka LEVON PRADO, an
                           individual; XIOMARA CORTEZ, an                                                       (5) Appointment of Receiver
                        24 individual and DOES 1-20.
                        25                            Defendants.

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                                                                                                  COMPLAINT

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 1          Plaintiff Victor Franco Noval (“Plaintiff” or “Franco”) hereby alleges as follows:

 2                                               PARTIES

 3          1.      Plaintiff Victor Franco Noval (“Franco”) is an individual residing in Beverly Hills,
 4 California in the County of Los Angeles.
 5          2.      Defendant Jona S. Rechnitz (“Jona”) is an individual who is residing in the County
 6 of Los Angeles in a rental house located at 9533 Sawyer St., Beverlywood area, City of Los Angeles.
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20          3.      Defendant Rachel Rechnitz (“Rachel”) is an individual who is residing in the County
21 of Los Angeles in a rental house located at 9533 Sawyer St., Beverlywood area, City of Los Angeles.
22 She is formerly known as Rachel Kahn. Both Jona and Rachel advertise political and powerful
23 celebrity connections to create a false sense of credibility about themselves and their business. They
24 post photos on social media of Kylie Jenner and Kim Kardashian, and Jona is seen with the mayor
25 of New York and holding large amounts of United States Currency.
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                                                COMPLAINT

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                                     COMPLAINT

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 1          4.      Defendant Jadelle Inc. (“Jadelle Inc.”) is a California corporation whose principle

 2 office is in Beverly Hills and whose board member and President is Rachel.
 3          5.      Defendant Jadelle Jewelry and Diamonds, LLC (“Jadelle LLC,” collectively with

 4 Jadelle Inc., the “Jadelle Entities”) is a Delaware limited liability company qualified to do business
 5 in California. Rachel is the managing member of Jadelle LLC.
 6          6.      Defendant Levin Prado aka Levon Prado (“Prado”) is the agent for service of process,
 7 controller, and check signer for the Jadelle Entities. It is alleged on information and belief that
 8 Prado has a girlfriend named Xiomara Cortez at the Wells Fargo Bank Beverly Hills branch who
 9 assisted him in furthering Rachel and Jona’s fraud by stopping payment on checks and allowing
10 numerous improper check transactions to occur on both of the Jadelle Entities’ accounts. Prado is
11 displaying the sign he has indicated with his action towards Plaintiff and others as it relates to their
12 goods and collateral.
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                                                 COMPLAINT

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 1          7.     Xiomara Cortez is an individual believed to reside in the County of Los Angeles who

 2 is employed at Wells Fargo Bank. Cortzez was instrumental in allowing Jona and Rachel’s frauds
 3 to continue by keeping the current bank account open and by allowing Prado to continue to open up
 4 accounts and issue worthless instruments.
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19          8.     The true names and capacities of defendants Does 1 through 20, whether individual,
20 corporate, associate or otherwise, are unknown to Plaintiff, who therefore sues these defendants by
21 such fictitious names. Plaintiff will amend this complaint to show the true names and capacities of
22 those defendants after they have been ascertained. Plaintiff is informed and believes, and on that
23 basis alleges, that each of the fictitiously named defendants is responsible in some manner for the
24 occurrences alleged in this complaint and that Plaintiff’s damages as alleged in the Complaint were
25 proximately caused by the acts or omissions of such defendant.
26          9.     Plaintiff is informed that, at all times mentioned in this Complaint, Defendants, and
27 each of them, were the partners, joint venturers, agents, employees, alter egos, and representatives
28 of each other in doing the things herein alleged and, in doing so, were acting within the scope of
                                                     4
                                               COMPLAINT

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 1 their respective authorities as agents, employees and representatives, and are jointly and severally
 2 liable to Plaintiff.
 3          10.     The alleged frauds committed by Jona were committed with Rachel’s knowledge and

 4 direction, along with the assistance of Prado, making them personally liable. Without Rachel setting
 5 upon the entities to commit the frauds, Jona lying to steal the collateral and loan proceeds, and Prado
 6 signing the checks, none of the below referenced offenses could have occurred.
 7                                        JURISDICTION AND VENUE

 8          11.     This Court has jurisdiction over this entire action because it is a civil action wherein
 9 the damages sought are in excess of the jurisdictional limits of this Court, and the Defendants are
10 subject to personal jurisdiction in the State of California
11          12.     Defendants have conducted substantial business in the State of California, are

12 registered and qualified to conduct business in the State of California, are California residents,
13 and/or have purposefully directed tortious activities towards a California resident.
14          13.     Venue in this Court is proper pursuant to California Code of Civil Procedure, §§ 395
15 et seq. Venue of this action is in this Court and County because the obligations, acts and liabilities
16 claimed in this action arose and the torts alleged herein took place in Los Angeles County and the
17 parties reside in this County.
18
19                                  GENERAL FACTUAL ALLEGATIONS
20          14.     On or about January 24, 2019, the Jadelle Entities, which are owned by Jona and

21 Rachel, borrowed money from Plaintiff pursuant to a written agreement. The terms of the written
22 agreement were memorialized in a Debt Acknowledgment, Promissory Note and Security
23 Agreement (“Debt Agreement”) dated March 2019. A true and correct copy of the Debt Agreement
24 is attached hereto and incorporated herein as Exhibit “A”.
25          15.     The original principal amount in the Debt Agreement is $2,850,000 at 9% interest
26 per month, however, the total debt owed by Defendants later increased to $5,800,000. The maturity
27 dates are reflected in the Debt Agreement.
28          16.     Pursuant to the Debt Agreement, the loans were secured by jewelry delivered to
                                                       5
                                                 COMPLAINT

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 1 Franco and a 2012 Bugatti. Jona delivered the Bugati and the jewelry to Franco as security/collateral
 2 for the loan.
 3          17.    After a series of further advance transactions, the debt on the loan grew to

 4 $5,800,000.
 5          18.    The Bugati was liquidated and the funds were credited against principal for a total
 6 credit of $400,000.
 7          19.    As background on Jona Rechnitz, a sealed information was filed against him in the
 8 Southern District of New York on June 6, 2016 for wire fraud. A copy of the information is attached
 9 hereto as Exhibit “B”.
10          20.    Jona entered a guilty plea on June 6, 2016.
11          21.    On March 15, 2017, the information against Jona was unsealed. On March 15, 2017,
12 Jona was released on bond pursuant to release conditions imposed by Judge Alvin K. Hellerstein.
13          22.    On December 6, 2019, Jona was sentenced to 10 months of custody. He was granted
14 release pending appeal.
15          23.    The government in its sentencing memorandum indicated that “Rechnitz was in a
16 position to cooperate regarding a broad range of subject matters in part because, for several years
17 beginning when he was 26 years old in 2008, Rechnitz rode a wave of unbridled ambition and a
18 seemingly limitless sense of entitlement through a series of misdeeds. Rechnitz had been a brazen
19 criminal, and the seriousness of his crimes of conviction cannot, and should not, be minimized.”
20          24.    Yet, apparently misunderstanding his role as a “one of the single most important and
21 prolific white collar cooperating witnesses in the recent history of the Southern District of New
22 York” according to the government, Jona mistakenly believes that this provides him immunity from
23 committing fraud in California.
24          25.    No sooner than within weeks of being sentenced in the Southern District of New
25 York, Jona swindled Franco in a large scale fraud totaling $5,800,000. On information and belief,
26 Jona and Rachel have defrauded other diamond dealers in Southern California and as those victims
27 authorize the release of their names, the complaint will be amended to recover their stolen goods as
28 well.
                                                     6
                                                COMPLAINT

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 1          26.     At the time of the fraud, Jona Rechnitz was and still is a convicted felon from the

 2 Southern District of New York. He is presently out on bond for a wire fraud conviction where he
 3 was granted bail pending appeal. He is married to Rachel Rechnitz and they have six children
 4 together.
 5          27.     They both now reside in a rental home in the Beverlywood area in the City of Los
 6 Angeles.
 7          28.     Jona and Rachel operate a jewelry business through two similarly named entities,
 8 defendants Jadelle Inc. and Jadelle Jewelry and Diamonds, LLC, herein the Jadelle Entities, whose
 9 marque client is the Kardashian family. Each of their clients will be added to this action as the facts
10 unfold showing the stolen collateral was sold to retail customers of Jona and Rachel.
11          29.     The Debt Agreement between the parties was simple. Jona tendered over $7,000,000
12 worth of diamonds to Plaintiff to be held as a collateral against a loan which totaled $5,800,000.
13          30.     In late December of 2019, AFTER, Jona was sentenced, Jona indicated to Franco
14 that he was going to get a credit line and asked for the release of the diamond collateral in exchange
15 for payment in full. This representation by Jona was false when made. Jona knew the representation
16 was false when made. Jona made this representation with the intention of causing Franco to rely on
17 it. Franco relied on this representation to his detriment.
18          31.     Jona persuaded Franco and Franco’s brother to deliver the collateral to Jona and
19 Rachel’s office at 9454 Wilshire Blvd. in Beverly Hills. Jona exchanged two checks payable to
20 Franco in exchange for the diamond collateral dated January 14, 2020 and January 16, 2020 in the
21 amounts of $2,500,000 and $1,300,000, respectively. True and correct copies of said checks are
22 attached hereto as Exhibit “C.” At the time Jona issued the checks to Franco he had no intention of
23 honoring the checks. Franco relied on Jona issuing and intending to honor the checks by releasing
24 the diamond collateral.
25          32.     Plaintiff and Plaintiff’s brother complied by exchanging the diamond collateral and
26 Jona tendered two checks attached hereto as Exhibit “C”. The checks, however, were NSF at the
27 time of tender. Jona has repeatedly lied, lulled, and attempted to fabricate one excuse after another
28 to delay paying Plaintiff.
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                                                 COMPLAINT

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 1          33.    Based upon information and belief, Prado, acting in concert with Jona and Rachel,

 2 and to further their scheme, had his girlfriend or another representative at Wells Fargo Bank issue a
 3 stop payment on the checks, attached hereto as Exhibit “C”, that Franco was going to deposit.
 4          34.    Jona falsely enlisted attorneys to pretend payment on the loan was coming from

 5 family members to buy himself more time. A number of these family members had written letters
 6 to the Court for Jona’s sentencing.
 7          35.    In reality, Jona liquidated Plaintiff’s diamond collateral and spent Plaintiff’s money,
 8 but refuses to tell Plaintiff how he liquidated the collateral or how he spent the loan proceeds.
 9          36.    It is apparent that Jona is continuing his criminal conduct in California after being
10 convicted in New York.
11          37.    Upon realizing he had been swindled and defrauded, Franco immediately filed a
12 police report with the Beverly Hills Police.
13          38.    Repeated demands have been made to Jona to return the diamond collateral. Jona,
14 who wants to conceal his criminal conduct from the sentencing judge in New York and the federal
15 prosecutors who vouched for him, as well as U.S. Probation, took numerous steps to lull the victim,
16 Franco, to buy more time.
17          39.    On January 16, 2020, with the assistance of a local Beverly Hills attorney, Jona
18 drafted more documents and an additional check, attached hereto as Exhibit “D” and Exhibit “E”,
19 to further stop Franco from disclosing and revealing that Jona’s fraudulent conduct has only grown
20 in scope and size and that he has learned nothing from his life of crime which spanned from 2011
21 to 2015, which then halted while he was cooperating from 2016 to 2018.
22          40.    The fact that Jona only received 10 months custody time with 5 months house arrest
23 has only emboldened him to commit more fraud, grand theft, and to issue worthless instruments.
24          41.    The January 16, 2020 document requested that Franco keep Jona’s fraud and
25 breaches confidential until January 23, 2020. Jona, however, did not comply with the January 16,
26 2020 agreement and no payments have been received. Jona entered into the January 16, 2020
27 agreement without any intention of performing in order to delay Franco from seeking redress for
28 the fraud and breaches. Franco reasonably and detrimentally relied on the January 16, 2020
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                                                  COMPLAINT

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 1 agreement.
 2          42.     Jona then fired the Beverly Hills attorney and retained a new attorney on January 28,

 3 2020, to resolve this matter.
 4          43.     Jona’s modus operandi in this fraud is to have numerous well-respected attorneys

 5 contact Franco’s counsel and advance Jona’s false promises of repayment or outside funding along
 6 with checks that either are NSF or which Jona had no intention of honoring.
 7          44.     Jona directly, and through counsel, has been asked to disclose the location of the
 8 diamond collateral and to provide a tracing and accounting of the loan proceeds. Jona has refused
 9 to do so.
10          45.     On information and belief, Plaintiff alleges that this is because Jona had pledged
11 diamonds to Franco that in fact were loaned to Jona and were not owned by Jona or Rachel. Upon
12 discovering whose diamonds Jona had pledged, this Complaint will be amended to add that party as
13 they have Franco’s collateral and hold it in constructive trust for Plaintiff’s benefit.
14          46.     On information and belief, defendant Xiomara Cortez aided and abetted the
15 defendants in committing these frauds. Defendant Cortez assisted in issuing checks, stopping
16 payment, and verifying funds, knowingly allowing Prado to issue numerous worthless checks and
17 never closed the accounts due to her romantic relationship with Prado.
18          47.     Jona, assisted by Rachel, have only become more emboldened in their frauds. On
19 information and belief, they have taken goods on memo from various Southern California diamond
20 merchants. Namely, Peter Marco, Moti Klein, and Julius Klein. The video Jona showed at his
21 sentencing in federal court to the federal judge on December 19, 2019, with Kim Kardashian, was
22 most likely depicted stolen and fraudulently obtained goods from Plaintiff and various diamond
23 merchants. The amount of losses to these various parties is alleged to be over $15,000,000. They
24 are number other victims as well involved in various scams perpetrated by Jona. On information
25 and belief, they include Sotheby’s, Leon Landver, Sam Gorodistian, Ben Adhoot, and Yehuda
26 Gamzo. All the alleged victims have the same common pattern evidence used by Jona and Rachel
27 which is to have attorneys contact them, telling them they are getting paid according to Jona.
28          48.     On information and belief, Jona made numerous false statements to the federal
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                                                 COMPLAINT

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 1 sentencing judge because by December 19 ,2019, Jona’s frauds were well under way. This house
 2 of fraudulent cards needs to be exposed as his growing victim list is becoming a community wide
 3 problem. This lawsuit and other reports that have been filed, will hopefully bring this economic
 4 terrorist to justice and Plaintiff prays that this Court take appropriate access to find him financially
 5 responsible and appoint a receiver to halt what has now turned into outright theft of merchandise in
 6 the tens of millions of dollars afflicting Plaintiff and other victims. As more come forward, Plaintiff
 7 will amend and add them to this complaint to turn this into a class if appropriate to stop this man
 8 and his wife. Presently, Plaintiff is aware of other victims including Peter Marco, Julius Klein, and
 9 Moti Klein as well as multiple other victims including an active insurance investigation.
10          49.     Plaintiff immediately reported this matter to the Beverly Hills Police Department in
11 the hope of stopping Mr. Rechnitz from further victimizing local residents and businesses. The
12 police have notified Plaintiff there are numerous other victims. The filing of this action is intended
13 to bring to light Rechnitz’s frauds and have him exposed so no further innocent people are hurt by
14 this economic terrorist. At this point, Plaintiff has no realistic belief that Rechnitz will ever pay him
15 back as the list of victims keeps growing. At this point, Plaintiff only hopes no further persons are
16 swindled by Jona, Rachel, and their team of thieves.
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28          50.     On February 4, 2020, his newly retained criminal defense attorney in Los Angeles
                                                       10
                                                  COMPLAINT

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 1 sent a carefully scripted mass email to BCC’ing Jona’s purported victims, attached as Exhibit “F”
 2 which reads as follows:
 3          We write with an update on Jona Rechnitz. A family member of Mr. Rechnitz has informed

 4          our law firm that the family member is seeking to refinance certain real property in order to

 5          satisfy Mr. Rechnitz's outstanding liabilities. We currently have no visibility into the family
 6          member's interest in the property, the value of the property, or what, if any equity, the family
 7          member has in it.
 8          If you are represented by counsel, please let us know and provide your counsel's contact
 9          information. Our client's desire is to resolve this matter amicably.
10          This email comes after Jona had three previous reputable attorneys contact Plaintiff all
11 relaying the same bogus and false words of hope. This type of lulling is widely known under federal
12 law.     The email carefully and correctly discloses that the law firm knows nothing of the veracity
13 of the client directed statements and correctly distances the law firm of any endorsement of Jona’s
14 numerous attempts to use reputable attorneys to buy himself time. It should be noted that each and
15 every time the reputable attorneys Jona retained, correctly made it clear they were not endorsing or
16 underwriting Jona’s promises of repayment of the stolen funds or return of the stolen collateral.
17          51.    Jona and Rachel have directed numerous “lulling letters” in furtherance of their
18 scheme to defraud. A lulling letter is “designed to lull the victims into a false sense of security,
19 postpone their ultimate complaint to the authorities, and therefore make apprehension of the
20 defendants less likely.” United States v. Manarite, 44 F.3d 1407, 1412 (9th Cir.1995) (quoting
21 United States v. Maze, 414 U.S. 395, 403 (1974)); United States v. Shaw (9th Cir. 1996) 97 F.3d
22 1463. The numerous exhibits attached to this complaint are all examples of lulling letters. They
23 display consciousness of Jona and Rachel’s intent to defraud.
24          52.    On February 7, 2020, Plaintiff’s counsel was contacted by two partners at Cohen
25 Williams LLP that notwithstanding the February 4, 2020 email, they unfortunately had no further
26 information to report. Plaintiff’s counsel asked them to stop contacting him regarding this matter
27 as his client cannot psychologically handle further false promises, lies, and false rays of hope that
28 Jona directs his attorneys to provide his various victims. Plaintiff’s counsel informed these fine
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                                                 COMPLAINT

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 1 reputable attorneys not to update him further as he has moved on and that his client has zero belief
 2 Jona will ever pay him back.
 3          53.    Plaintiff is hopeful that the publication of this action will cause more victims to not

 4 feel ashamed of being fleeced and to report these matters to the proper authorities. Absent public
 5 awareness of Jona and his conspirator’s frauds, he will keep stealing from people and hurting
 6 residents and businesses of Southern California.
 7          54.    Jona is using his last cooperation in the Southern District of New York as some sort
 8 of ill-conceived immunity as part of the scheme. During the fraud, Jona has indicated that he was
 9 not concerned with any problems or things he has done because the FBI needs him as an informant
10 so bad in the New York case where there are appeals they would never do anything to him no matter
11 what he did. This is of course is completely an ignorant and delusional view. The FBI does not
12 immunize crooks to steal simply because they cooperate in a case. Jona uses this as a tool to further
13 his scheme to defraud.
14          55.    Numerous victims have been interviewed in this matter. On information and belief,
15 as to the Sotheby’s fraud, Jona falsely represented to Sotheby’s he was entitled to diamonds given
16 to Sotheby’s for auction, Jona secretly picked them up and has dissipated the assets. The total loss
17 was $3,000,000.00. Just adding up all the victims the Plaintiff’s law firm has interviewed the losses
18 exceed $15,000,000. The Plaintiff is encouraging all victims of Jona and Rachel to come forward
19 immediately and to stop believing they are going to get paid.
20                                    FIRST CAUSE OF ACTION

21                              FRAUD AGAINST ALL DEFENDANTS

22          56.    Plaintiff hereby incorporates by reference as though fully set forth in full herein, all

23 preceding Paragraphs of this Complaint.
24          57.    The foregoing representations made by Jona, Rachel, and the other Defendants were
25 false when they were made, and Defendants knew the representations to be false. Defendants did
26 not intend to comply with the promises and representations when they were made.
27          58.    The foregoing representations were made by Jona, Rachel, and Defendants with the
28 intent to deceive Plaintiff and with knowledge that Plaintiff would rely on them.
                                                      12
                                                COMPLAINT

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 1          59.      Plaintiff detrimentally and reasonably relied on the foregoing representations.

 2          60.      Plaintiff has been damaged by Defendants’ false, intentional, and fraudulent

 3 representations and concealing of material information, as alleged above, in an amount to be proven
 4 at trial, but at least $7,000,000, which represents the collateral Jona lied to steal as well as tendered
 5 worthless instruments for.
 6          61.      Plaintiff further requests the imposition of a constructive trust against all Defendants
 7 who are in possession of the diamond collateral set forth in the Debt Agreement and for an order
 8 and judgment that they hold the diamond collateral and/or all proceeds therefrom as constructive
 9 trustees for the benefit of Plaintiff.
10          62.      In doing the things herein alleged, Defendants acted willfully, maliciously, and with
11 the intent to cause injury and harm to Plaintiff. Defendants are therefore guilty of malice and/or
12 fraud in conscious disregard of Plaintiff’s rights, thereby warranting an assessment of punitive and
13 exemplary damages in an amount appropriate to punish Defendants, and each of them, and deter
14 them and others from engaging in similar misconduct
15                                     SECOND CAUSE OF ACTION

16                CIVIL THEFT (Cal. Penal Code, § 496) AGAINST ALL DEFENDANTS
17          63.      Plaintiff hereby incorporates by reference as though fully set forth in full herein, all

18 preceding Paragraphs of this Complaint.
19          64.      As a result of Jona and Defendants’ conduct as alleged herein, they have violated
20 California Penal Code, section 496.
21          65.      California Penal Code, section 496, provides, “[e]very person who buys or receives
22 any property that has been stolen or that has been obtained in any manner constituting theft or
23 extortion, knowing the property to be so stolen or obtained, or who conceals, sells, withholds, or
24 aids in concealing, selling, or withholding any property from the owner, knowing the property to be
25 so stolen or obtained, shall be punished by imprisonment in a county jail for not more than one year,
26 or imprisonment pursuant to subdivision (h) of Section 1170. However, if the value of the property
27 does not exceed nine hundred fifty dollars ($950), the offense shall be a misdemeanor, punishable
28 only by imprisonment in a county jail not exceeding one year, if such person has no prior convictions
                                                       13
                                                  COMPLAINT

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 1 for an offense specified in clause (iv) of subparagraph (C) of paragraph (2) of subdivision (e) of
 2 Section 667 or for an offense requiring registration pursuant to subdivision (c) of Section 290.
 3          66.     Jona and Defendants have obtained and received property from Plaintiff, the

 4 $5,800,000, in a manner constituting “theft,” as that term is defined in California Penal Code,
 5 section 484(a), “[e]very person who shall feloniously steal, take, carry, lead, or drive away the
 6 personal property of another, or who shall fraudulently appropriate property which has been
 7 entrusted to him or her, or who shall knowingly and designedly, by any false or fraudulent
 8 representation or pretense, defraud any other person of money, labor or real or personal property, or
 9 who causes or procures others to report falsely of his or her wealth or mercantile character and by
10 thus imposing upon any person, obtains credit and thereby fraudulently gets or obtains possession
11 of money, or property or obtains the labor or service of another, is guilty of theft.”
12          67.     As a direct and proximate result of Defendants’ civil theft, Plaintiff has been
13 damaged in an amount to be proven at trial, but at least $7,000,000.
14          68.     Pursuant to California Penal Code, section 496(c), Plaintiff is also entitled to recover
15 treble damages from Defendants.
16          69.     Pursuant to California Penal Code, section 496(c), Plaintiff is also entitled to recover
17 attorneys’ fees from Defendants.
18          70.     Plaintiff further requests the imposition of a constructive trust against all Defendants
19 who are in possession of the diamond collateral set forth in the Debt Agreement and for an order
20 and judgment that they hold the diamond collateral and/or all proceeds therefrom as constructive
21 trustees for the benefit of Plaintiff.
22          71.     In doing the things herein alleged, Defendants acted willfully, maliciously, and with
23 the intent to cause injury and harm to Plaintiff. Defendants are therefore guilty of malice and/or
24 fraud in conscious disregard of Plaintiff’s rights, thereby warranting an assessment of punitive and
25 exemplary damages in an amount appropriate to punish Defendants, and each of them, and deter
26 them and others from engaging in similar misconduct
27
28
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 1                                     THIRD CAUSE OF ACTION

 2                    BREACH OF CONTRACT AGAINST ALL DEFENDANTS

 3          72.     Plaintiff hereby incorporates by reference as though fully set forth in full herein, all
 4 preceding Paragraphs of this Complaint.
 5          73.     Plaintiff has duly performed all of his obligations, terms, and conditions of the Debt
 6 Agreement, except to the extent that his performance has been waived, prevented or excused by the
 7 acts, conduct and/or omissions of Defendants.
 8          74.     All conditions for Defendants’ performance on the Debt Agreement have occurred.
 9          75.     Defendants are in breach of the Debt Agreement by failing and refusing to pay
10 Plaintiff all amounts due thereunder and by failing to provide Plaintiff with the collateral required
11 thereunder.
12          76.     As a direct and proximate result of the acts, omissions, and breaches of the Debt
13 Agreement by Defendants, as alleged herein, Plaintiff has suffered damages in a specific amount to
14 be determined at trial, but in the amount of at least $7,000,000.
15                                    FOURTH CAUSE OF ACTION

16            CIVIL CONSPIRACY TO COMMIT THEFT, FRAUD, AND FRAUD BY
17                         CONCEALMENT AGAINST ALL DEFENDANTS

18          77.     Plaintiff hereby incorporates by reference as though fully set forth in full herein, all
19 preceding Paragraphs of this Complaint.
20          78.     Jona, Rachel, and Prado conspired to make an illegal agreement to defraud Franco
21 of his loan proceed and his collateral and to commit civil theft.
22          79.     Jona, with his wife Rachel, have set up serial bogus companies to solicit loans based
23 upon the false premise they have collateral. Meanwhile the collateral is already pledged to a third
24 party or Jona and Rachel have concocted lies to get it back, using Prado as their patsy to sign checks
25 on their corporate checking accounts.
26          80.     Franco is informed, believes, and thereupon alleges that at all times relevant hereto,
27 Defendants, including but not limited to Jona, Rachel, and Prado, formed a civil conspiracy and
28 engaged in the foregoing acts in operation and furtherance of that conspiracy.
                                                      15
                                                 COMPLAINT

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 1          81.    Plaintiff is informed, believes, and thereupon alleges that at all times relevant hereto,

 2 Defendants committed the foregoing misrepresentations, wrongs, theft, and fraud for the purpose
 3 and in furtherance of a fraudulent conspiracy and scheme to defraud Plaintiff, as alleged herein.
 4          82.    As a result of the civil conspiracy, each and every Defendant is liable and responsible

 5 for the acts of the other Defendants in furtherance of the conspiracy and all damages resulting
 6 therefrom.
 7          83.    As a result of the civil conspiracy, Defendants are jointly and severally liable for
 8 $7,000,000.
 9          84.    The egregious nature of the Defendants/conspirators’ collective conduct is malicious,
10 wanton, and willful. Plaintiff needs to be awarded punitive damages plus a judgment of joint and
11 several liability.
12                                       PRAYER FOR RELIEF
13          WHEREFORE, Plaintiff Franco seeks a judgment in her favor and an order granting the
14 following relief:
15          1.     That Plaintiff be awarded compensatory damages in the amount of at least

16                 $7,000,000;

17          2.     That Plaintiff be awarded treble damages pursuant to California Penal Code,

18                 section 496(c);
19          3.     That Plaintiff be awarded reasonable attorneys’ fees pursuant to California Penal
20                 Code, section 496(c);
21          4.     For a constructive trust over the diamond collateral and all proceeds therefrom;
22          5.     That Plaintiff be awarded punitive damages in an amount to be proven at trial;
23          6.     For a receiver to be installed into both defendant companies and personal estates to
24                 marshal the remaining assets;
25          7.     That Plaintiff be awarded costs of suit; and
26          8.     That Plaintiff be awarded such further relief as the Court deems just and proper.
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                                                      16
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  1 DATED: February 8, 2020         LAW OFFICES OF RONALD RICHARDS
                                    & ASSOCIATES, A.P.C.
  2
  3                                 By:   /s/ Ronald Richards
                                                 Ronald Richards
  4                                       Attorneys for Plaintiff Victor Franco Noval
  5
                                    LAW OFFICES OF GEOFFREY LONG, A.P.C.
  6
  7
                                    By:    /s/ Geoffrey Long
  8                                              Geoffrey Long
                                          Attorneys for Plaintiff Victor Franco Noval
  9
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 1                                           VERIFICATION

 2 I, Victor Franco Noval, declare:
 3 I have read the foregoing complaint and know the contents thereof.
 4 I am informed and believe based on information provided to me, materials I have reviewed, and
 5 my personal knowledge that the matters stated in are true and accurate to the best of my
 6 knowledge except where I indicated they are based upon information and belief.
 7 I declare under penalty of perjury pursuant to the laws of the State of California that the
 8 foregoing is true and correct, and that this verification to this complaint was executed this 9th day
 9 of February, 2020, in Beverly Hills, California.
10
     ______________________
11 Victor Franco Noval
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Ronald Richards

From:                                Reuven Cohen <rcohen@
Sent:                                Tuesday, February 4, 2020 9:40 PM
To:                                  Reuven Cohen; Marc Williams
Subject:                             Jona Rechnitz


We write with an update on Jona Rechnitz. A family member of Mr. Rechnitz has informed our law firm that the family
member is seeking to refinance certain real property in order to satisfy Mr. Rechnitz's outstanding liabilities. We
currently have no visibility into the family member's interest in the property, the value of the property, or what, if any
equity, the family member has in it.

If you are represented by counsel, please let us know and provide your counsel's contact information.

Our client's desire is to resolve this matter amicably.

Sincerely,

Reuven L. Cohen
Cohen Williams LLP
724 South Spring Street, 9th Floor
Los Angeles, CA 90014
Tel: 213-232-5163
Fax: 213-232-5167
rcohen@
www.cohen-williams.com




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                                                                    SMILEY WANG-EKVALL, LLP
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                                                                    Costa Mesa, California 92626
                                                                  4 Telephone:     714 445-1000
                                                                    Facsimile:     714 445-1002
                                                                  5
                                                                    Attorneys for Jadelle Jewelry and Diamonds,
                                                                  6 LLC
                                                                  7

                                                                  8                         UNITED STATES BANKRUPTCY COURT
                                                                  9                          CENTRAL DISTRICT OF CALIFORNIA
                                                                 10                                  LOS ANGELES DIVISION
                                                                 11 In re                                         Case No. 2:20-bk-13530-BR
SMILEY WANG-EKVALL, LLP

                          Tel 714 445-1000 • Fax 714 445-1002
                             3200 Park Center Drive, Suite 250




                                                                 12 JADELLE JEWELRY AND DIAMONDS,
                               Costa Mesa, California 92626




                                                                                                                  Chapter 7
                                                                    LLC,
                                                                 13                                               PUTATIVE DEBTOR'S EMERGENCY
                                                                                    Putative Debtor.              MOTION FOR (1) RECONSIDERATION
                                                                 14                                               OF THE COURT'S ORDER, OR (2)
                                                                                                                  ALTERNATIVELY, A STAY OF THE
                                                                 15                                               BANKRUPTCY CASE; AND
                                                                                                                  MEMORANDUM OF POINTS AND
                                                                 16                                               AUTHORITIES IN SUPPORT
                                                                 17                                               [Declaration of Robert S. Marticello,
                                                                                                                  Declaration of Michael V Schafler, Request
                                                                 18                                               for Judicial Notice, and Index of Exhibits
                                                                                                                  filed concurrently herewith]
                                                                 19
                                                                                                                  HEARING:
                                                                 20                                               DATE: To Be Determined
                                                                                                                  TIME: To Be Determined
                                                                 21                                               CTRM: 1668
                                                                                                                         255 E. Temple Street
                                                                 22                                                      Los Angeles, CA 90012
                                                                 23

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                                                                      2828340.1                                                           EMERGENCY MOTION


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SMILEY WANG-EKVALL, LLP

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                             3200 Park Center Drive, Suite 250




                                                                 12
                               Costa Mesa, California 92626




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                                                                  1 TO THE HONORABLE BARRY RUSSELL, UNITED STATES BANKRUPTCY JUDGE:

                                                                  2               Jadelle Jewelry and Diamonds, LLC, the putative debtor ("Jadelle"), files this motion (the

                                                                  3 "Motion") for either (1) reconsideration of the Court's order entered on June 10, 2020 [Docket No.
                                                                  4 39] (the "Order"); or (2) alternatively, a stay of the bankruptcy case. Victor Franco Noval

                                                                  5 ("Noval"), Peter Marco, LLC ("Marco"), and First International, Inc. ("First International"), shall
                                                                  6 be collectively referred to as the "Ineligible Creditors." In support of this Motion, Jadelle submits
                                                                  7 the concurrently-filed Declaration of Robert S. Marticello, Declaration of Michael V Schafler,

                                                                  8 Request for Judicial Notice, and Index of Exhibits, and the following memorandum of points and
                                                                  9 authorities.

                                                                 10
                                                                 11                           MEMORANDUM AND POINTS AND AUTHORITIES
SMILEY WANG-EKVALL, LLP

                          Tel 714 445-1000 • Fax 714 445-1002
                             3200 Park Center Drive, Suite 250




                                                                 12 I.            INTRODUCTION
                               Costa Mesa, California 92626




                                                                 13               Jadelle requests that the Court reconsider the Order, or, alternatively, stay this involuntary
                                                                 14 case pending the conclusion of the ongoing criminal investigation. As discussed herein, the Order

                                                                 15 is contrary to the express provisions of the Code. Moreover, the Ineligible Creditors have made

                                                                 16 clear their intent to misuse the Order and gain an unfair and unwarranted advantage in this and
                                                                 17 other pending litigation. The Order, and the Ineligible Creditors' intent to exploit it, have placed

                                                                 18 Jona Rechnitz and Rachel Rechnitz (collectively, the "Rechnitz Parties") in precisely the type of
                                                                 19 Hobson's choice that a temporary stay is meant to remedy when there are parallel civil and
                                                                 20 criminal proceedings. In fact, here, the consequences of invoking the Fifth Amendment are far

                                                                 21 more severe than would typically be the case because it will result in the ultimate relief requested

                                                                 22 by the Ineligible Creditors—an order for relief, which they otherwise lack the standing to obtain.

                                                                 23               The Court may and should reconsider the Order. The entry of an order for relief if the
                                                                 24 Rechnitz Parties do not file the joint declaration required by the Order would be contrary to the
                                                                 25 express language of the Code. An order for relief is permitted "only if" certain circumstances are
                                                                 26 satisfied, none of which have been satisfied here. See 11 U.S.C. § 303(b) & (h). Jadelle timely

                                                                 27 contested the involuntary petition by its motion to dismiss, there are no eligible petitioning

                                                                 28

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                                                                  1 creditors, and there has been no finding that Jadelle is not paying its undisputed debts as they

                                                                  2 come due. Put simply, there is no basis in the Code to enter an order for relief.

                                                                  3               As it stands, the Order essentially imposes unauthorized terminating sanctions against

                                                                  4 Jadelle for the Rechnitz Parties' permissible exercise of their Fifth Amendment rights. Neither the

                                                                  5 Rechnitz Parties nor Jadelle have done anything to warrant such (or any other) sanctions. At most,
                                                                  6 the Rechnitz Parties' assertion of their Fifth Amendment rights gives rise to an adverse inference at
                                                                  7 trial, as opposed to the immediate entry of the ultimate judgment sought by the Ineligible

                                                                  8 Creditors. Thus, at a minimum, the Court should reconsider the aspect of the Order requiring the
                                                                  9 filing of the joint declaration and for the entry of an order for relief if the Rechnitz Parties do not

                                                                 10 file the joint declaration.
                                                                 11               The Court can also reconsider the Order in its entirety by vacating it and dismissing this
SMILEY WANG-EKVALL, LLP

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                             3200 Park Center Drive, Suite 250




                                                                 12 case. The case was commenced by three petitioning creditors, all of whom the Court has
                               Costa Mesa, California 92626




                                                                 13 concluded are not eligible (based on their own admissions). A putative debtor must file a creditor
                                                                 14 list and creditors must be afforded a reasonably opportunity to join an involuntary petition pending

                                                                 15 trial only when required by Bankruptcy Rule 1003(b). By its express terms, and as interpreted by

                                                                 16 both the Ninth Circuit and the Ninth Circuit BAP, Bankruptcy Rule 1003(b) does not apply in this
                                                                 17 case. As a result, under the Ninth Circuit's decision in In re Vortex Fishing, the Court is not

                                                                 18 required to "pause" to afford non-petitioners with an opportunity to join, but is to determine the
                                                                 19 issues of this case "'at the earliest practicable time and forthwith' enter a dispositive order."
                                                                 20 Because the Court has already determined that the Ineligible Creditors are all ineligible, that

                                                                 21 dispositive order can and should be an order granting Jadelle's motion to dismiss and dismissing

                                                                 22 the case.

                                                                 23               Alternatively, if the Court declines to reconsider its Order, the Court should stay this
                                                                 24 matter on the basis of the Rechnitz Parties' intent to validly assert their Fifth Amendment privilege
                                                                 25 against self-incrimination. The single most important factor in determining whether to stay a
                                                                 26 proceeding based on a litigant's Fifth Amendment privilege is the extent to which that proceeding

                                                                 27 and the related criminal investigation overlap. There can be no question that, here, the criminal

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                                                                  1 investigation, the bankruptcy case, and the Ineligible Creditors' pending civil lawsuits all stem

                                                                  2 from and relate to the operation of Jadelle and its jewelry business. In fact, federal prosecutors

                                                                  3 have unambiguously stated that they are aware of the civil lawsuits and this bankruptcy case and
                                                                  4 that the allegations in those cases are within the scope of the criminal investigation. Thus, the

                                                                  5 single most important factor supports a stay.
                                                                  6               A balancing of the harms also heavily weighs in favor of staying this case. The Ineligible
                                                                  7 Creditors have already asserted that, by complying with the Order, the Rechnitz Parties will have

                                                                  8 waived their Fifth Amendment rights in this case and in their respective pending suits and the
                                                                  9 Ineligible Creditors will seek to gain an advantage in all of the civil lawsuits on that basis. Thus,

                                                                 10 if the Rechnitz Parties comply with the Order, they risk waiving their constitutional rights in
                                                                 11 multiple proceedings. In contrast, the Rechnitz Parties' invocation of the Fifth Amendment will
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                                                                 12 irreparably harm Jadelle as it will be involuntarily placed into bankruptcy in favor of three
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                                                                 13 creditors whom this Court has already determined are clearly not eligible and not entitled to
                                                                 14 commence this case. The Ineligible Creditors will thus obtain an order for relief in a case they

                                                                 15 had no right or standing to commence in the first place. This is not a fair result, it invokes too

                                                                 16 great a penalty for the exercise of Constitutional rights, and is the type of result that the Court can
                                                                 17 address and prevent through a stay.

                                                                 18               Dismissal of this case is the most equitable result. The parallel proceedings are of the
                                                                 19 Ineligible Creditors own creation. The Ineligible Creditors prompted the criminal investigation
                                                                 20 with their allegations and have been attempting to profit ever since. Noval referred the Rechnitz

                                                                 21 Parties and Jadelle to law enforcement for criminal prosecution. Then, Noval and Marco

                                                                 22 commenced suit. When Noval's suit was temporarily stayed, the Ineligible Creditors brought the

                                                                 23 same allegations and disputes to this Court. Notwithstanding the fact that the Ineligible Creditors

                                                                 24 had no standing or right to commence this case, they now stand to obtain discovery they cannot
                                                                 25 currently obtain in their individual lawsuits or an order for relief contrary to the express provisions
                                                                 26 of the Code.

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                                                                  1               Finally, there is cause for emergency relief. The Order requires that the Rechnitz Parties

                                                                  2 file a joint declaration by 3:00 p.m. on Tuesday, June 16, 2020. As there has been only a week

                                                                  3 between the hearing that resulted in the Order and that filing deadline, Jadelle could not have been
                                                                  4 reasonably expected to file this Motion at an earlier time. Due to the deadline in the Order, Jadelle

                                                                  5 files this Motion on an emergency basis. If the Court is inclined to proceed with the entry of an
                                                                  6 order for relief if the joint declaration is not timely filed, then Jadelle requests an emergency
                                                                  7 hearing before the deadline. If, however, the Court is inclined to refrain from entering an order for

                                                                  8 relief pending consideration or a hearing on this Motion, then Jadelle requests a hearing on the
                                                                  9 Motion on a date and time convenient from the Court.

                                                                 10               Accordingly, Jadelle respectfully requests that the Court reconsider the Order and either
                                                                 11 (1) remove the requirement that a joint declaration be filed by the Rechnitz Parties and providing
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                                                                 12 for the entry of an order for relief if they do not, or (2) vacate the Order, grant Jadelle's motion to
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                                                                 13 dismiss this case, and dismiss this case. Alternatively, Jadelle respectfully requests that the Court
                                                                 14 stay this case on account of the Rechnitz Parties assertion of their Fifth Amendment privilege.

                                                                 15

                                                                 16 II.           BACKGROUND
                                                                 17               A.       Hearing on the Motion to Dismiss and the Court's Order

                                                                 18               On June 9, 2020, at 10:00 a.m., the Court heard two motions, Jadelle's motion to dismiss
                                                                 19 this case for failure to state a claim under Federal Rule of Civil Procedure ("Rule") 12(b)(6)
                                                                 20 [Docket No. 8] (the "Motion to Dismiss") and the Ineligible Creditors' motion for the appointment

                                                                 21 of an interim trustee [Docket No. 12] (the "Trustee Motion"). A status conference was also on

                                                                 22 calendar that day.

                                                                 23               With respect to the Motion to Dismiss, the Court determined that, as argued by Jadelle, the
                                                                 24 Ineligible Creditors are ineligible to be petitioning creditors. This Court found that their claims
                                                                 25 are subject to bona fide disputes as to amount and/or liability based on the Ineligible Creditors'
                                                                 26 judicial admissions and the facts subject to judicial notice. (See Ex. 1 1 at Bates Stamps 53, line 19

                                                                 27

                                                                 28        1
                                                                                  Unless otherwise provided, all references to exhibits herein are to the concurrently filed Index of Exhibits.


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                                                                  1 to 51, line 3, Bates Stamp 62, line 3 to Bates Stamp 63, line 8, Bates Stamp 65, line 14 to Bates

                                                                  2 Stamp 66, line 2, and Bates Stamp 90, lines 17-22.) The Court also denied the Trustee Motion

                                                                  3 without prejudice. (See id. at Bate Stamp 71, lines 2-4.)
                                                                  4               Nevertheless, the Court ordered the Rechnitz Parties to sign and file, under penalty of

                                                                  5 perjury, a joint declaration identifying each and every one of Jadelle's creditors as of the petition
                                                                  6 date of April 6, 2020. (See Ex. 2 at § 1.) The Court required that such declaration be filed within
                                                                  7 seven days of the hearing, by 3:00 p.m. on Tuesday, June 16, 2020. (See id. at § 2.) The Order

                                                                  8 states that if the Rechnitz Parties fail to file the joint declaration by the deadline, the Court will
                                                                  9 deny the Motion to Dismiss and "immediately enter an order for relief in this case." (See id. at §

                                                                 10 3.) The Court ordered the filing of the joint declaration in order to provide the Ineligible Creditors
                                                                 11 with 60 days to contact other creditors in order to determine whether any such creditors are willing
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                                                                 12 to join the petition. (See id. at § 4.a.) Any joinders must be filed by 3:00 p.m. on August 14,
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                                                                 13 2020. (See id.; see also Ex. 1 at Bate Stamp 93, line 25 to Bates Stamp 94, line 2.)
                                                                 14               The Order also authorized the Ineligible Creditors to conduct certain limited discovery.
                                                                 15 (See Ex. 2 at § 4.b.) During the hearing, the Court emphasized that any discovery should be

                                                                 16 limited and not complicated. (See Ex. 1 at Bates Stamp 83, lines 7-10, the Court stating "I assume
                                                                 17 you want to take the deposition as to just what we're talking about. I hope you don't do any

                                                                 18 beyond that. It will make it very unnecessarily complicated." (emphasis added); see also id. at
                                                                 19 Bates Stamp 85, lines 16-18, the Court stating "as far as I'm concerned, should be limited to just
                                                                 20 what we're talking about, who the creditors of the debtor are.")

                                                                 21               In response to concerns the Ineligible Creditors would seek discovery regarding their own
                                                                 22 disputed claims, the Court made clear it wanted the discovery limited to only the existence of, and

                                                                 23 any asserted disputes related to, the other creditors listed. (See id. at Bates Stamp 85, line 19 to

                                                                 24 Bates Stamp 86, line 20; 2 see also id. at Bates Stamp 87 lines 4-19.) The Court stated that it did
                                                                 25 not want the Ineligible Creditors seeking discovery as to their own claims. (See id. at Bates Stamp
                                                                 26

                                                                 27
                                                                           2
                                                                                  The reference to "Mr. Marticello" stating "We will amend our discovery" is mistaken and should be "Mr.
                                                                 28 Richards."

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                                                                  1 91, line 22 to Bates Stamp 92, line 24.) The Court stated it that it was not prejudging the requests

                                                                  2 for discovery. (See id. at Bates Stamp 85, lines 7-18.)

                                                                  3               B.     The Ineligible Creditors Immediately Begin to Take Advantage of the Order
                                                                  4               The Ineligible Creditors immediately began attempting to misuse and improperly exploit

                                                                  5 the Order. On June 11, 2020, the day after entry of the Order, Marco filed a declaration in his
                                                                  6 pending lawsuit against the Rechnitz Parties. The declaration was filed in support of Marco's
                                                                  7 opposition to the Rechnitz Parties' motion for a stay of that case (which motion was already, and

                                                                  8 still is, under submission with the District Court). The declaration states, inter alia, as follows:
                                                                  9                      The point being, is that by filing their Joint Declarations sworn under
                                                                                         penalty of perjury regarding their defrauded creditors (like Marco),
                                                                 10                      and their having to be deposed by Petitioning Creditors re same.
                                                                                         Rechnitz will de facto, have to waive their Fifth amendment rights
                                                                 11                      against self-incrimination from criminal liability that they fear in this
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                                                                                         Motion. If indeed, Rechnitz complies with Judge Russell’s Order, this
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                                                                                         Motion for Stay would be moot.
                                                                 13 (See Ex. 3 at Bates Stamp 104-105 (emphasis in original).)
                                                                 14               The Ineligible Creditors also began seeking and demanding discovery that is overly broad
                                                                 15 and overly complicated. On June 11, 2020, the Ineligible Creditors, via counsel, contacted

                                                                 16 Jadelle's counsel to arrange for certain discovery. (See Ex. 4 at Bates Stamp 113.) Specifically,
                                                                 17 the Ineligible Creditors stated their intentions of serving deposition and document subpoenas on

                                                                 18 Mr. Rechnitz and Mrs. Rechnitz.
                                                                 19               Contrary to the Court's desire that any discovery be simple and limited, the Ineligible
                                                                 20 Creditors indicated that they were demanding the Rechnitz Parties' cell phones in order "to upload

                                                                 21 their text messages and emails" and they intended to seek electronically stored information

                                                                 22 discovery regarding Mr. Rechnitz's email account. (See id.)

                                                                 23               The Ineligible Creditors served new document requests, but the new document requests
                                                                 24 included with the subpoenas are still overly broad in at least four respects. 3 First, the Ineligible
                                                                 25 Creditors seek all documents and communications related to all "Creditor[s,]" which as defined in
                                                                 26

                                                                 27        3
                                                                               Jadelle reserves any and all rights and objections related to the discovery proposed by the Ineligible
                                                                      Creditors.
                                                                 28

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                                                                  1 the document request would include discovery related to the Ineligible Creditors, which the Court

                                                                  2 specifically said was not allowed. (See Ex. 4 at Bates Stamps 116-117 .) Second, the Ineligible

                                                                  3 Creditors seek documents regarding any payments to creditors after the petition date, even though
                                                                  4 the Court made clear that the focus of the Ineligible Creditors' inquiry should be as of the petition

                                                                  5 date. (See id. at Bates Stamp 118; see also Ex. 1 at Bates Stamp 80, lines 8-10, stating that post-
                                                                  6 petition payments are irrelevant because the "law is as of the date of the petition."; id. at Bates
                                                                  7 Stamp 93, lines 6-17.) Any post-petition payments or communications are irrelevant. 4 Third, the

                                                                  8 Ineligible Creditors did not include any time limitations in their discovery requests at all. (See id.
                                                                  9 at Bates Stamp 116-119.) Fourth, as discussed above, the Ineligible Creditors' demands for cell

                                                                 10 phones and electronically stored information is simply overly broad and burdensome in light of
                                                                 11 the limited issues currently before the Court—the mere existence of other creditors who may or
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                                                                 12 may not want to join the petition.
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                                                                 13               This is a classic case where the Court gave the Ineligible Creditors an inch (that they were
                                                                 14 not entitled to) and they are racing to take a mile. It is clear that the Ineligible Creditors, whose

                                                                 15 bad faith was extensively documented in the Motion to Dismiss, are seeking to use this case and,

                                                                 16 now, discovery to obtain the type of improper leverage the Ninth Circuit in Blixseth was
                                                                 17 concerned about. See Dep't of Revenue v. Blixseth, 942 F.3d 1179, 1184 & 1187 (9th Cir. 2019)

                                                                 18 (stating the "'bona fide dispute' limitation" is designed to prevent creditors using the involuntary
                                                                 19 bankruptcy process to leverage the collection of disputed claims). It was also not lost on Jadelle
                                                                 20 that the Ineligible Creditors requested that counsel accept service of the subpoenas for the

                                                                 21 Rechnitz Parties under the threat of sending process servers to their house starting 8:05 p.m. on

                                                                 22 Friday, June 12. (See Ex. 4. at Bates Stamp 113.) That is the exact time for sundown and is the

                                                                 23 beginning of Shabbat, which the Rechnitz Parties strictly observe and which is well known to the

                                                                 24 Ineligible Creditors.
                                                                 25               C.      The Criminal Investigation
                                                                 26               Rechnitz Parties and Jadelle first became aware of the ongoing criminal investigation

                                                                 27
                                                                           4
                                                                                  The Court also made clear that there was nothing improper with Jadelle communicating with its creditors
                                                                 28 post-petition. (See Ex 1 at Bates Stamp 93, lines 6-17.)

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                                                                  1 through a draft Los Angeles Superior Court complaint received from Noval. (See Schafler Decl.

                                                                  2 at ¶ 3a ; see also id., Ex. B , Cohen Decl. at ¶ 9.) Rechnitz Parties and Jadelle received the draft

                                                                  3 Noval complaint on February 4, 2020. (See id. at Ex. B, Cohen Decl. at ¶ 9.) The draft complaint
                                                                  4 contained allegations against the Rechnitz Parties and Jadelle, among others, regarding alleged

                                                                  5 loans made to Jadelle. (Id.)
                                                                  6               Noval's draft complaint indicated that Noval had filed a police report with the Beverly
                                                                  7 Hills Police Department ("BHPD") concerning the allegations in the draft complaint. (See

                                                                  8 Schafler Decl. at Ex. B, Cohen Decl., ¶ 9.) This is also reflected in Noval's filed complaint. (See
                                                                  9 Ex. 5 at Bates Stamp 137, ¶ 37.) On February 7, 2020, counsel for Rechnitz Parties and Jadelle

                                                                 10 confirmed with a detective from the BHPD that allegations related to the jewelry business had
                                                                 11 been referred to the Federal Bureau of Investigation ("FBI"). (See Schafler Decl. at Ex. B, Cohen
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                                                                 12 Decl. at ¶ 10.) Thereafter, counsel for the Rechnitz Parties and Jadelle conferred with an Assistant
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                                                                 13 United States Attorney ("AUSA") from the Los Angeles office of the United States Attorney’s
                                                                 14 Office for the Central District of California ("USAO") regarding the status of any criminal

                                                                 15 investigation. (Id. at ¶ 11.)

                                                                 16               Based on multiple discussions with the federal prosecutors investigating Jadelle's jewelry
                                                                 17 business, the following is known:

                                                                 18               1.     The USAO and FBI are investigating conduct related to the jewelry business
                                                                 19                      operated through Jadelle.
                                                                 20               2.     The government's investigation includes the allegations that are the subject of and
                                                                 21                      included in the civil complaints filed by Marco and Noval.
                                                                 22               3.     Mr. Rechnitz is presently a subject of the government's investigation.
                                                                 23               4.     The government's ongoing investigation goes beyond Mr. Rechnitz's conduct and
                                                                 24                      includes other individuals. The government does not wish to publicly disclose the
                                                                 25                      nature and scope of its investigation.
                                                                 26               5.     Mr. Rechnitz may soon be subpoenaed to testify before the grand jury and the
                                                                 27                      government understands that Mr. Rechnitz may assert his Fifth Amendment
                                                                 28

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                                                                  1                      privilege to decline to testify.

                                                                  2               6.     The government is aware of the involuntary bankruptcy proceedings (in addition to

                                                                  3                      the other civil actions) and this Court's oral ruling on June 10, it understands that

                                                                  4                      Jadelle is seeking a stay based on Mr. Rechnitz's Fifth Amendment privilege, and it

                                                                  5                      does not oppose Mr. Rechnitz's assertion of his Fifth Amendment privilege in this
                                                                  6                      case or in the civil lawsuits.
                                                                  7               7.     The government's investigation is ongoing.
                                                                  8 (See Schafler Decl. at ¶ 4.) If Ms. Rechnitz were to be called as a witness, she would for many of
                                                                  9 the same reasons assert her Fifth Amendment privilege and marital privilege to

                                                                 10 decline to answer. (See id. at ¶ 5.)
                                                                 11
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                                                                 12 III.          THE COURT CAN AND SHOULD RECONSIDER THE ORDER BECAUSE IT IS
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                                                                 13               CONTRARY TO THE CODE AND TO NINTH CIRUIT PRECEDENT
                                                                 14               The Court has the discretion to reconsider the Order. The standard governing

                                                                 15 reconsideration depends on whether the Order is considered interlocutory or final. The Court has

                                                                 16 the inherent authority to reconsider and rescind an interlocutory order. See City of Los Angeles,
                                                                 17 Harbor Div. v. Santa Monica Baykeeper, 254 F.3d 882, 886–87 (9th Cir. 2001) ("[A] district

                                                                 18 court's authority to rescind an interlocutory order over which it has jurisdiction is an inherent
                                                                 19 power rooted firmly in the common law and is not abridged by the Federal Rules of Civil
                                                                 20 Procedure."). Moreover, the Court has the authority to reconsider an interlocutory order as justice

                                                                 21 requires under Rule 54(b), which is incorporated into bankruptcy cases by Bankruptcy Rule

                                                                 22 7054(a). See Cobell v. Jewell, 802 F.3d 12, 25 (D.C. Cir. 2015) (stating that Rule 54(b) involves a

                                                                 23 more flexible standard and reflects the "'inherent power of the rendering district court to afford

                                                                 24 such relief from interlocutory judgments as justice requires.'").
                                                                 25               If the Order is considered a final order, then Rule 59 permits the Court to amend the Order
                                                                 26 or issue a new order sua sponte or on a motion by a party. See Fed. R. Civ. P. 59(a)(2), (d), & (e).

                                                                 27 The Ninth Circuit has articulated the following standard for reconsideration under Rule 59(e):

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                                                                                         A district court has considerable discretion when considering a
                                                                  1                      motion to amend a judgment under Rule 59(e). There are four
                                                                                         grounds upon which a Rule 59(e) motion may be granted: 1) the
                                                                  2                      motion is "necessary to correct manifest errors of law or fact upon
                                                                                         which the judgment is based;" 2) the moving party presents "newly
                                                                  3                      discovered or previously unavailable evidence;" 3) the motion is
                                                                                         necessary to "prevent manifest injustice;" or 4) there is an
                                                                  4                      "intervening change in controlling law.
                                                                  5 Turner v. Burlington N. Santa Fe R. Co., 338 F.3d 1058, 1063 (9th Cir. 2003) (alternation in
                                                                  6 original and citations omitted).
                                                                  7               Reconsideration of the Order is appropriate whether it is considered final or interlocutory.
                                                                  8 If the Order is interlocutory, then the Court has the inherent power to reconsider it or as justice
                                                                  9 requires under Rule 54(b). If the Order is considered final, then reconsideration is appropriate

                                                                 10 because entry of an order for relief in this case would constitute a manifest error of law.
                                                                 11 Moreover, the requirement that the Rechnitz Parties file a joint declaration and the entry of an
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                                                                 12 order for relief if they do not do so was not briefed for the Court, but was raised by the Court sua
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                                                                 13 sponte during the hearing on the Motion to Dismiss.
                                                                 14               Reconsideration is also appropriate due to the conduct of the Ineligible Creditors. Despite
                                                                 15 the Court's finding that all three Ineligible Creditors are ineligible based on their own admissions,

                                                                 16 they are emboldened. The Ineligible Creditors are seeking discovery more complicated and
                                                                 17 broader than the limited discovery it appears the Court envisioned. They are also using any

                                                                 18 compliance with the Court's Order to gain an unfair advantage—the entry of an order for relief in
                                                                 19 case they lacked standing to pursue or a waiver of the Rechnitz Parties' Fifth Amendment rights.
                                                                 20               A.     Entry of an Order for Relief Would Be Contrary to the Code

                                                                 21               Under the Bankruptcy Code, an involuntary petition must be commenced by the requisite

                                                                 22 number of eligible petitioning creditors and, if an involuntary petition is timely controverted, the

                                                                 23 court shall, after trial, enter an order for relief "only if — (1) the debtor is generally not paying

                                                                 24 such debtor's debts as such debts become due unless such debts are the subject of a bona fide
                                                                 25 dispute as to liability or amount. . . ." See 11 U.S.C. § 303(b) & (h) (emphasis added); see also In
                                                                 26 re Marciano, 446 B.R. 407, 420 (Bankr. C.D. Cal. 2010), aff'd, 459 B.R. 27 (B.A.P. 9th Cir.

                                                                 27

                                                                 28

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                                                                  1 2011), aff'd, 708 F.3d 1123 (9th Cir. 2013) (listing the five elements petitioning creditors must

                                                                  2 establish).

                                                                  3               The entry of an order for relief at this preliminary stage simply if the Rechnitz Parties

                                                                  4 permissibly invoke the Fifth Amendment and decline at their counsel's advice to file the joint

                                                                  5 declaration as required by the Order would be contrary to the Code. The Code permits the entry of
                                                                  6 an order for relief only in certain express circumstances, none of which will have been satisfied in
                                                                  7 this case.

                                                                  8               •      First, Jadelle timely controverted the Involuntary Petition, and, therefore entry of
                                                                  9                      an order for relief due to an alleged debtor's default is not appropriate. See 11
                                                                 10                      U.S.C. § 303(h).
                                                                 11               •      Second, the Court concluded that each of the Ineligible Creditors are ineligible
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                                                                 12                      under the Ninth Circuit's decision in Blixseth and, as a result, the Ineligible
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                                                                 13                      Creditors lack standing to commence this case as required by § 303(b) and no other
                                                                 14                      creditors have joined this case. See Dep't of Revenue v. Blixseth, 942 F.3d 1179,
                                                                 15                      1185 (9th Cir. 2019) (stating that a bona fide dispute "strips the creditor of
                                                                 16                      standing. . . .").
                                                                 17               •      Third, there has been no finding, after trial, that Jadelle is generally not paying its
                                                                 18                      undisputed debts as they become due on the agreed to terms. See 11 U.S.C. §
                                                                 19                      303(h).
                                                                 20               Because Jadelle timely controverted the Involuntary Petition, the Court can enter an order
                                                                 21 for relief if and "only if" there is the requisite number of eligible petitioning creditors and the

                                                                 22 Court determines after a trial that Jadelle is generally not paying its undisputed debts as they

                                                                 23 become due on the agreed to terms. These requirements have not been satisfied. The entry of an

                                                                 24 order for relief would, in effect, be an unwarranted terminating sanction contrary to the express
                                                                 25 language of the Code. Jadelle should not be penalized or sanctioned as a result of non-debtor third
                                                                 26 parties exercising their Constitutional rights. The Ineligible Creditors are not entitled the windfall

                                                                 27 or (victory by default) that they seek and that they have essentially tried to engineer since the

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                                                                  1 outset of their disputes with Jadelle. Thus, the Court should reconsider its Order and remove the

                                                                  2 requirements that the Rechnitz Parties file a joint declaration and that an order for relief will be

                                                                  3 entered if they do not file the joint declaration.
                                                                  4               B.     The Court May Dismiss This Case Without a Creditor List

                                                                  5               According to the Ninth Circuit, "'[t]he court shall determine the issues of a contested
                                                                  6 [involuntary] petition at the earliest practicable time and forthwith' enter a dispositive order." See
                                                                  7 In re Vortex Fishing Systems, Inc., 277 F.3d 1057, 1061 (9th Cir. 2002) (quoting Bankruptcy Rule

                                                                  8 1013(a)) (alterations in original). The bankruptcy court is required to "pause before [a] hearing on
                                                                  9 the merits of an involuntary petition in only one circumstance." See id. (emphasis added). The

                                                                 10 court must assure that creditors have a reasonable opportunity to join the petition when required
                                                                 11 by Bankruptcy Rule 1003(b), i.e., "when the alleged debtor's answer to the petition filed by fewer
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                                                                 12 than three petitioners asserts that the petition fails" because three petitioning creditors are
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                                                                 13 required. See id. (emphasis added). In Vortex Fishing, the Ninth Circuit concluded that
                                                                 14 "[b]ecause more than three petitioners filed the initial involuntary petition, notification of other

                                                                 15 creditors was not required under the joinder provisions of Bankruptcy Rule § 1003(b)." See id. at

                                                                 16 1072.
                                                                 17               The Ninth Circuit BAP's decision in QDOS, Inc., fully supports granting Jadelle's
                                                                 18 meritorious Motion to Dismiss and without requiring a creditor list and an opportunity to join the
                                                                 19 petition. QDOS is distinguishable for three important reasons. First, the issue presented to the
                                                                 20 bankruptcy court in that case was whether the case was commenced by too few creditors, i.e., only

                                                                 21 two eligible creditors when three were required. See In re QDOS, Inc., 607 B.R. 338, 341-42

                                                                 22 (B.A.P. 9th Cir. 2019). Second, the bankruptcy court determined that it could not grant the

                                                                 23 putative debtor's Rule 12(b)(6) motion to dismiss and triable issues existed. See id. at 341-42 &

                                                                 24 346-47. Third, according to the BAP, once the bankruptcy court determined that triable issues
                                                                 25 existed (and implicitly denied the debtor's motion to dismiss), the debtor was required to answer
                                                                 26 and, based on the debtor's position, provide a list of creditors as required by Rule 1003(b). See id.

                                                                 27 at 341 & 347. However, the BAP recognized that the putative debtor is required to answer the

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                                                                  1 petition only if a Rule 12(b)(6) motion to dismiss is denied. See id. at 345. Moreover, a debtor is

                                                                  2 required to comply with Bankruptcy Rule 1003(b) and provide a list of creditors as required

                                                                  3 pursuant to that rule "if" it "asserts that it has more than 12 creditors in its answer. . . ." See id. at
                                                                  4 345 (emphasis added). The BAP reversed the bankruptcy court for procedural reasons because it

                                                                  5 determined that Bankruptcy Rule 1003 applied in that case and the court dismissed the case due to
                                                                  6 an insufficiency in the number of petitioning creditors without requiring the putative debtor to
                                                                  7 comply with Bankruptcy Rule 1003. See id. at 341.

                                                                  8               Where, as here, the case is commenced by three petitioning creditors, Rule 1003(b) does
                                                                  9 not apply and the court is not required to provide creditors with any opportunity to join. In In re

                                                                 10 Taub, the alleged debtor sought dismissal of an involuntary petition commenced by three
                                                                 11 petitioning creditors on the basis that the creditors' claims were subject to bona fide dispute as to
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                                                                 12 liability and amount. See In re Taub, 439 B.R. 261, 267 (Bankr. E.D.N.Y. 2010). The petitioning
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                                                                 13 creditors argued that the court "should provide a window of time for non-petitioning creditors
                                                                 14 holding unsecured claims to join the Petition." See id. at 271. The court rejected the creditors'

                                                                 15 request. See id. at 271-72. The court held that Bankruptcy Rule 1003 does not apply "when the

                                                                 16 alleged debtor seeks dismissal of the petition on the basis that the petitioning creditors are not
                                                                 17 qualified under § 303(b) because their claims are subject to a bona fide dispute." See id. at 271.

                                                                 18 Relying on the Ninth Circuit's decision in Vortex Fishing Systems, the court concluded that
                                                                 19 because the case was commenced by three petitioners and because the debtor sought dismissal
                                                                 20 because all three were ineligible, "there is no requirement that non-petitioning creditors be

                                                                 21 afforded 'a reasonable opportunity' to join the Petition." See id.

                                                                 22               The Court can and should dismiss this case at this time and without affording non-
                                                                 23 petitioners an opportunity to join. According to both the Ninth Circuit and the Ninth Circuit BAP,

                                                                 24 a creditor list and opportunity to join is required only where Bankruptcy Rule 1003(b) requires it.
                                                                 25 The procedural mistake by the court in QDOS was that the BAP concluded that Bankruptcy Rule
                                                                 26 1003(b) applied in that case and the putative debtor was not required to answer and file a list as the

                                                                 27 rule requires. See In re QDOS, Inc., 607 B.R. at 347. Here, Bankruptcy Rule 1003(b) is

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                                                                  1 inapplicable because the case was not commenced by "fewer than three petitioning creditors[.]"

                                                                  2 Like Taub, this case was commenced by three creditors and Jadelle sought dismissal on the basis

                                                                  3 that all three are ineligible. Moreover, the Court concluded that the claims of the Ineligible
                                                                  4 Creditors are subject to bona fide disputes and that the Motion to Dismiss could be granted.

                                                                  5 Because Bankruptcy Rule 1003(b) does not apply here, the Court is not required to pause, but
                                                                  6 enter a dispositive order "at the earliest practicable time and forthwith[.]" See In re Vortex Fishing
                                                                  7 Systems, Inc., 277 F.3d at 1061.

                                                                  8               This Court has already determined that the Ineligible Creditors are ineligible, and
                                                                  9 therefore, under the Code and Ninth Circuit precedent, this Court should issue a dispositive order

                                                                 10 granting the Motion to Dismiss and dismissing the case.
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                                                                 12 IV.           IF THE COURT DOES NOT RECONSIDER ITS ORDER, THEN A STAY
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                                                                 13               PURSUANT TO THE FIFTH AMENDMENT IS NECESSARY AND PROPER
                                                                 14               A.     Courts Have Discretion to Stay Cases as Justice Requires

                                                                 15               It is widely recognized that courts have the authority to stay civil proceedings pending the

                                                                 16 resolution of a parallel criminal proceeding. See Keating v. Office of Thrift Supervision, 45 F.3d
                                                                 17 322, 324 (9th Cir. 1995); Grubbs v. Irey, 2008 WL 906246 (E.D. Cal. March 31, 2008). While the

                                                                 18 Constitution does not require a stay, the decision whether to stay civil proceedings in the face of a
                                                                 19 parallel criminal proceeding depends on "the particular circumstances and competing interests
                                                                 20 involved in the case." See Keating, 45 F.3d at 324 (quoting Federal Sav. & Loan Ins. Corp. v.

                                                                 21 Molinaro, 889 F.2d 899, 902 (9th Cir. 1989)).

                                                                 22               The Fifth Amendment privilege against self-incrimination may be asserted "in any
                                                                 23 proceeding, civil or criminal, administrative or judicial, investigatory or adjudicatory." Fuller v.

                                                                 24 Superior Court of Los Angeles County, 87 Cal. App. 4th 299, 305 (2001). In civil actions,
                                                                 25 however, a witness invoking his constitutional privilege may be subjected to adverse
                                                                 26 consequences arising from the refusal to testify. See Baxter v. Palmigiano, 425 U.S. 308, 318-19

                                                                 27 (1976). Courts have recognized "the dilemma faced by a defendant who must choose between

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                                                                  1 defending the civil litigation by providing testimony that may be incriminating on the one hand,

                                                                  2 and losing the case by asserting the constitutional right and remaining silent, on the other hand."

                                                                  3 See Fuller, 87 Cal. App. 4th at 306 (citing Avant! Corp. v. Superior Court of Santa Clara County,
                                                                  4 79 Cal. App. 4th 876, 882 (2000)); see also People v. Coleman, 13 Cal. 3d 867, 884-85 (1975)

                                                                  5 (recognizing "the plight of a defendant in a criminal prosecution who must also defend against
                                                                  6 civil proceedings involving the same facts.").
                                                                  7               When faced with pending criminal proceedings, a district court has the discretion to stay

                                                                  8 civil proceedings "'when the interests of justice seem [] to require such action.'" See Keating v.
                                                                  9 Office of Thrift Supervision, 45 F.3d 322, 324 (9th Cir. 1995) (quoting Securities & Exchange

                                                                 10 Comm'n v. Dresser Indus., Inc., 628 F.2d 1368, 1375 (D.C. Cir. 1980)); see also Volmar
                                                                 11 Distributors, Inc. v. New York Post Co., 152 F.R.D. 36, 39 (S.D.N.Y. 1993) ("It is well settled that
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                                                                 12 district courts have the inherent power, in the exercise of discretion, to issue a stay when the
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                                                                 13 interests of justice require such action."). Whether a district court exercises its discretion depends
                                                                 14 on the particular circumstances and competing interests involved in the case. See Federal Sav. &

                                                                 15 Loan Ins. Corp. v. Molinaro, 889 F.2d 899, 902 (9th Cir. 1989). "Depending on the particular

                                                                 16 facts of the case, the court may decide to stay civil proceedings, postpone civil discovery, or
                                                                 17 impose protective orders." Volmar Distributors, Inc, 152 F.R.D. at 39.

                                                                 18               Based on Fifth Amendment privilege concerns, courts have entered stay of civil
                                                                 19 proceedings to protect the Fifth Amendment privileges of defendants currently under indictment or
                                                                 20 facing the possibility of indictment. See Chao v. Fleming, 498 F. Supp. 2d 1034, 1037 (W.D.

                                                                 21 Mich. 2007) ("[S]imultaneous criminal and civil cases involving the same or closely related facts

                                                                 22 may give rise to Fifth Amendment concerns sufficient to warrant a stay of the civil proceedings.");

                                                                 23 see also eBay, Inc. v. Digital Point Solutions, 2010 WL 702463 at *3 (N.D. Cal. Feb. 25, 2010)

                                                                 24 (following Chao).
                                                                 25               "[T]he mere possibility of criminal prosecution is all that is necessary for the Fifth
                                                                 26 Amendment privilege against self-incrimination to be invoked." Consumer Fin. Prot. Bureau v.

                                                                 27 Global Fin. Support, Inc., 2016 WL 2868698, at *3 (S.D. Cal. May 17, 2016). Thus, even where a

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                                                                  1 party has not been charged, a stay may still be appropriate. See id. (granting a 120-day stay and

                                                                  2 setting status conference to determine necessity of a further stay in light of an ongoing

                                                                  3 investigation by IRS and FBI); see also Franco v. City of W. Covina, 2019 WL 6794203, at *2
                                                                  4 (C.D. Cal. 2019) (granting a stay of a deposition and discovery related to an officer's involvement

                                                                  5 in a shooting where the authorities were reviewing the legality of the shooting, and noting "[while
                                                                  6 defendant-officer's] Fifth Amendment rights are implicated to a lesser extent than they would be if
                                                                  7 charges had been brought against him . . . this case is not one in which there is an 'absence of any

                                                                  8 hint of criminal proceedings'"); Clifford v. Trump, 2018 WL 3435419, at *3, 6 (C.D. Cal. 2018),
                                                                  9 reconsideration denied, 2018 WL 3436832 (C.D. Cal. 2018) (granting defendant's ex parte

                                                                 10 application for a 90-day stay in light of an ongoing criminal investigation, scheduling a status
                                                                 11 conference at expiration of those 90 days, and noting that "there [was] a large potential factual
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                                                                 12 overlap between the civil and criminal proceedings that would heavily implicate [defendant's]
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                                                                 13 Fifth Amendment rights"); C.M. by & through McLain v. City of Los Angeles, 2017 WL
                                                                 14 10527380, at *2 (C.D. Cal. 2017) ("[T]he Court may still order a stay if there is substantial overlap

                                                                 15 between the criminal investigation and the allegations in the lawsuit.").

                                                                 16               B.      The Most Important Factor in Deciding Whether to Stay a Case is the Overlap
                                                                 17                       Between the Proceedings

                                                                 18               The most important factor in determining whether to stay a proceeding pending a criminal
                                                                 19 investigation is the extent to which the matters overlap. See Volmar Distributors, Inc. v. New York
                                                                 20 Post Co., 152 F.R.D. 36, 39 (S.D.N.Y. 1993) (quoting Parallel Civil and Criminal Proceedings,

                                                                 21 129 F.R.D. 201, 203 (S.D.N.Y. 1989) ("The most important factor at the threshold is the degree to

                                                                 22 which the civil issues overlap with the criminal issues."); see also Chao, 498 F.Supp.2d at 1039

                                                                 23 (stating that "the extent to which the issues in the criminal case overlap with those in the civil case,

                                                                 24 is regarded as the most important factor." (internal quotation marks omitted)).
                                                                 25               District courts also consider the following factors: (1) the interest of the plaintiffs in
                                                                 26 proceeding expeditiously with this litigation or any particular aspect of it, and the potential

                                                                 27 prejudice to plaintiffs of a delay; (2) the burden which any particular aspect of the proceedings

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                                                                  1 may impose on defendants; (3) the convenience of the court in the management of its cases, and

                                                                  2 the efficient use of judicial resources; (4) the interests of persons not parties to the civil litigation;

                                                                  3 and (5) the interest of the public in the pending civil and criminal litigation. See Federal Sav. &
                                                                  4 Loan Ins. Corp. v. Molinaro, 889 F.2d 899, 902-03 (9th Cir. 1989). Courts are to balance these

                                                                  5 factors on a case-by-case basis to "avoid prejudice." See Volmar Distributors, Inc. v. New York
                                                                  6 Post Co., 152 F.R.D. 36, 39 (S.D.N.Y. 1993).
                                                                  7               C.     Courts Can Stay Cases Against Companies on Fifth Amendment Grounds

                                                                  8               Courts have stayed cases against a company based on the Fifth Amendment rights of an
                                                                  9 individual where the individuals invocation of his or her Fifth Amendment rights would prevent

                                                                 10 the company from adequately defending itself. See, e.g. Taylor, Bean & Whitaker Mortg. Corp. v.
                                                                 11 Triduanum Fin., Inc., 2009 WL 2136986, at *3 (E.D. Cal. July 15, 2009) (holding that the
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                                                                 12 corporate defendant was "likely to be greatly prejudiced in it[s] ability to meaningful defend itself
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                                                                 13 in the civil matter."); In re Adelphia Commc'ns Corp., 302 B.R. 439, 452 (Bankr. S.D.N.Y. 2003)
                                                                 14 (finding it "necessary and appropriate" to protect companies from the risk that the individuals

                                                                 15 invocation of the Fifth Amendment would result in adverse consequences to the companies and

                                                                 16 could also cause "a threat to a successful reorganization . . . ."). At least one court has also stayed
                                                                 17 a civil action against a company in the interests of judicial economy and to avoid duplication of

                                                                 18 effort. See Trustees of Plumbers & Pipefitters Nat. Pension Fund v. Transworld Mech., Inc., 886
                                                                 19 F. Supp. 1134, 1139 (S.D.N.Y. 1995) (the defendants also raised the argument that the individuals'
                                                                 20 invocation of the Fifth Amendment would prevent the company from adequately defending itself).

                                                                 21

                                                                 22 V.            THE STAY OF THIS CASE IS APPROPRIATE

                                                                 23               A.     The Issues in the Criminal Investigation Overlap with the Bankruptcy Case

                                                                 24               The criminal investigation and this case involve the same matter. In fact, the criminal
                                                                 25 investigation was initiated by a criminal referral by the Ineligible Creditors. (Schafler Decl, Ex. B,
                                                                 26 Cohen Decl. at ¶ 9.) There can be no dispute that the pending criminal investigation, the Ineligible

                                                                 27 Creditors' civil lawsuits, and this bankruptcy case are all inextricably intertwined. All three stem

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                                                                  1 from and relate to Jadelle's business. There is an ongoing federal criminal investigation

                                                                  2 concerning the Rechnitz Parties related to the operation of Jadelle and its jewelry business. (See

                                                                  3 Schafler Decl. at ¶ 4.) That same business is the focus of the Ineligible Creditors' claims and
                                                                  4 allegations. (See Ex. 5 at Bates Stamp 134, Ex. 6 at Bates Stamp 166, and Ex. 7 at Bates Stamp

                                                                  5 254.) Jadelle's jewelry business is the focus of this case. In particular, the Order requires a joint
                                                                  6 declaration under penalty of perjury identifying the persons with whom Jadelle conducted its
                                                                  7 jewelry business. Thus, the criminal investigation relates to very transactions underlying the

                                                                  8 Ineligible Creditors' claims and with the alleged creditors that would be included in the joint
                                                                  9 declaration ordered by the Court. Moreover, the Order does not merely require a list, but that the

                                                                 10 Rechnitz Defendants provide testimony under oath identifying and regarding Jadelle's alleged
                                                                 11 creditors. The Rechnitz Parties' Fifth Amendment rights are clearly implicated in this case.
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                                                                 12               The overlap between the criminal investigation and this case is further demonstrated by the
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                                                                 13 Ineligible Creditors' actions since the Order was entered. Immediately following entry of the
                                                                 14 Order, Marco filed a declaration with the District Court where his lawsuit is pending asserting that

                                                                 15 if the Rechnitz Parties comply with the Order, they will have waived their Fifth Amendment rights

                                                                 16 in that lawsuit. (See Ex. 3 at Bates Stamps 104-105.) Similarly, in seeking discovery, the
                                                                 17 Ineligible Creditors have asserted that if the Rechnitz Parties comply with the Order, they will

                                                                 18 have waived their Fifth Amendment rights "as to the entire subject matter which will be a large
                                                                 19 swath of questions about the various creditors and Jona and Rachel's credibility is far game and at
                                                                 20 issue." (See Ex. 4 at Bates Stamp 113.) According to the Ineligible Creditors, if the Rechnitz

                                                                 21 Parties comply with the Court's Order, they will have waived their Fifth Amendment rights in this

                                                                 22 case and the pending civil lawsuits. Moreover, if the Rechnitz Parties comply with the Order, then

                                                                 23 the Ineligible Creditors will attempt to proceed with overly broad discovery regarding the same

                                                                 24 transactions at issue in their underlying lawsuits and with the other alleged creditors arising from
                                                                 25 Jadelle's jewelry business, all of which is the subject of the ongoing criminal investigation. The
                                                                 26 criminal investigation, the Ineligible Creditors' lawsuits, and the issues in this case all involve

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                                                                  1 Jadelle and its jewelry business. Thus, the most important factor considered by courts supports

                                                                  2 staying this case.

                                                                  3               B.     Absent a Stay, the Rechnitz Parties and Jadelle Will Be Substantially
                                                                  4                      Prejudiced and Burdened

                                                                  5               Jadelle and the Rechnitz Parties will be substantially and irreparably prejudiced absent a
                                                                  6 stay. The Rechnitz Parties face a Hobson's Choice. The Rechnitz Parties face the impossible
                                                                  7 choice of potentially waiving their Fifth Amendment rights in multiple matters by complying with

                                                                  8 the Order, or, exercising those rights and prejudicing themselves and Jadelle as a result. If the
                                                                  9 Rechnitz Parties comply with the Order, the Ineligible Creditors are waiting to profit therefrom, by

                                                                 10 asserting that the Rechnitz Parties have forever and broadly waived their Fifth Amendment rights
                                                                 11 in this proceeding and their lawsuits. In contrast, invoking the Fifth Amendment, invites prejudice
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                                                                 12 and negative inferences. See Doe ex rel. Rudy-Glanzer v. Glanzer, 232 F.3d 1258, 1264 (9th Cir.
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                                                                 13 2000) ("[I]n civil proceedings adverse inferences can be drawn from a party’s invocation of this
                                                                 14 Fifth Amendment right."); see also Taylor, Bean & Whitaker Mortg. Corp. v. Triduanum Fin.,

                                                                 15 Inc., 2009 WL 2136986, at *3 (E.D. Cal. July 15, 2009 ("if discovery moves forward, the

                                                                 16 defendant will be faced with the difficult choice between asserting his right against self-
                                                                 17 incrimination, thereby inviting prejudice in the civil case, or waiving those rights, thereby courting

                                                                 18 liability in the civil case.").
                                                                 19               The invocation of the Rechnitz Parties' Fifth Amendment rights also will impact Jadelle's
                                                                 20 ability to defend itself. This case is unique as the prejudicial impact arising from the Rechnitz

                                                                 21 Parties exercising their Fifth Amendment rights will go far beyond an adverse inference in this

                                                                 22 case or the civil lawsuits. Rather, if the Rechnitz Parties invoke their Fifth Amendment rights,

                                                                 23 then Jadelle will receive a terminating sanction in the form of the entry of an order for relief

                                                                 24 (where the statutory requirements for such order have not been met). Even if the Court does not
                                                                 25 enter an order for relief, pending the criminal investigation, Jadelle is unable participate in
                                                                 26 discovery and defend itself in response to the Ineligible Creditors' allegations. Thus, absent a stay,

                                                                 27 the Ineligible Creditors will receive an undue advantage—an order for relief in a case where (1)

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                                                                  1 they themselves referred the Rechnitz Parties for criminal prosecution, (2) they did not have

                                                                  2 standing to commence the petition in the first place and (3) they have not and cannot establish the

                                                                  3 statutory requirements for such an order.
                                                                  4               C.     The Ineligible Creditors Will Not Be Prejudiced by a Stay

                                                                  5               The Ineligible Creditors will not be prejudiced by a stay. First, the Ineligible Creditors are
                                                                  6 ineligible and have no standing to commence or proceed with this case. Thus, as it now stands,
                                                                  7 there is no proper petitioning creditor with standing or any interest in proceeding with this case

                                                                  8 (expeditiously or otherwise). For this reason alone, the Ineligible Creditors are not prejudiced if
                                                                  9 this case is temporarily stayed.

                                                                 10               Second, the Ineligible Creditors seek to avoid the stay or potential stay of their own
                                                                 11 individual lawsuits. Noval's lawsuit has been stayed until November 2020. (See Ex. 8 at Bates
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                                                                 12 Stamp 288; see also Ex. 9 at Bates Stamp 290.) There is a motion to stay Marco's lawsuit that is
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                                                                 13 under submission. (See Ex. 10 at Bates Stamp 297, Docket No. 56.) To the extent those lawsuits
                                                                 14 are stayed, the Ineligible Creditors should be bound by the courts' rulings. They should not be

                                                                 15 allowed to circumvent the stay in the pending civil lawsuits by commencing this case. If it was

                                                                 16 not already clear, the discovery contemplated by the Ineligible Creditors demonstrates that this is
                                                                 17 exactly what they intend to do.

                                                                 18               Third, the Ineligible Creditors created the parallel proceedings and seek to profit therefrom.
                                                                 19 They referred the matter to law enforcement for a criminal referral. (Schafler Decl. at ¶ 3(a).)
                                                                 20 Having engineered the criminal investigation with their disputed allegations, they then began

                                                                 21 trying to obtain relief while the Rechnitz Parties and Jadelle have been unable to adequately and

                                                                 22 fully defend themselves. The Ineligible Creditors improperly commenced this case only after

                                                                 23 Noval's suit was temporarily stayed to pursue the same disputed allegations set forth in their

                                                                 24 lawsuits. The Ineligible Creditors have been seeking to create the dilemma the Rechnitz Parties
                                                                 25 are now in order to get precisely the type of advantage provided by the Order.
                                                                 26               Fourth, at most, any prejudice caused to the Ineligible Creditors is the delay of their
                                                                 27 attempts to recover money judgments, which is not a basis to deny a request for a stay. See Larsen

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                                                                  1 v. City of Los Angeles, 2012 WL 12887557, at *9 (C.D. Cal. 2012) ("A delay in recovering

                                                                  2 potential monetary damages is not sufficient prejudice to warrant denial of a stay.").

                                                                  3               D.     Judicial Economy Is Served by the Proposed Stay
                                                                  4               Granting a stay is in the interests of judicial economy. A stay could prevent a number of

                                                                  5 proceedings and disputes. If the involuntary case were to proceed, as demonstrated by the
                                                                  6 Ineligible Creditors' conduct, the discovery addressed to Jadelle and/or to the Rechnitz Parties
                                                                  7 would relate to topics on which the Rechnitz Parties are entitled to invoke their Fifth Amendment

                                                                  8 privileges, and a number of disputes related to discovery are likely to ensue. Similarly, if the
                                                                  9 Court enters an order for relief, then a trustee will be appointed and there will be a number of

                                                                 10 potential disclosures either through discovery or Bankruptcy Rule 2004 or as required by the
                                                                 11 Bankruptcy Code and Rules (e.g., schedules, § 341(a) meeting, etc.) that will implicate the
SMILEY WANG-EKVALL, LLP

                          Tel 714 445-1000 • Fax 714 445-1002
                             3200 Park Center Drive, Suite 250




                                                                 12 Rechnitz Parties' Fifth Amendment rights. The proposed stay could negate a series of discovery
                               Costa Mesa, California 92626




                                                                 13 disputes and motions regarding the boundaries of Rechnitz Parties' rights to invoke their Fifth
                                                                 14 Amendment privilege in the context of a bankruptcy case. A stay could also avoid an appeal of

                                                                 15 the Order and the order for relief and a motion for a stay pending such appeal. Because these

                                                                 16 potential disputes could be avoided by a stay pending the criminal investigation, the interests of
                                                                 17 judicial efficiency weigh in favor of a temporary stay.

                                                                 18               E.     Persons Not Parties to this Action Will Not Be Adversely Impacted by the
                                                                 19                      Proposed Stay
                                                                 20               Any non-parties will not be prejudiced by a stay. The FBI and USAO have an interest in

                                                                 21 an investigation unaffected by related proceedings. The USAO has indicated that it does not

                                                                 22 oppose a stay of matters related to the criminal investigation. (See Schafler Decl. at ¶ 4(f).) It

                                                                 23 remains to be seen whether there are other creditors who wish to join the petition. The Ineligible

                                                                 24 Creditors cannot argue that other alleged creditors are not aware of this case. This case has been
                                                                 25 pending for over two months and the Ineligible Creditors argued to this Court that they know of
                                                                 26 other creditors who want to join the petition, which must mean they have already been contacting

                                                                 27 alleged creditors. (See Ex. 11, excerpt of Opp'n. to Mot. to Dismiss, at Bates Stamp 304, note 3.)

                                                                 28

                                                                      2828340.1                                            21                           EMERGENCY MOTION


                                                                                                                                                  EXHIBIT "11", PAGE 237
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                                                                  1 Yet, despite the Ineligible Creditors assertions and efforts, no other creditors have attempted to

                                                                  2 join the petition. Moreover, even if there are other creditors who may wish to join the petition, a

                                                                  3 temporary stay will not prejudice them. Again, this case should not have been commenced in the
                                                                  4 first instance as the Ineligible Creditors lacked standing from the beginning.

                                                                  5               F.     The Interest of the Public Favors a Stay
                                                                  6               The interest of the public would undoubtedly weigh in favor of a stay. The public interest
                                                                  7 is better served by the completion of the criminal investigation unfettered by the bankruptcy case

                                                                  8 because courts agree that the resolution of criminal proceedings "is of primary importance to the
                                                                  9 public." See S.E.C. v. Nicholas III, 569 F. Supp. 2d 1065, 1072 (C.D. Cal. 2008) (stating that the

                                                                 10 related civil proceeding was not "of an equally pressing nature."); see also Jones v. Conte, 2005
                                                                 11 WL 1287017, at *2 (N.D. Cal. Apr. 19, 2005) ("[T]he public interest is furthered by a stay because
SMILEY WANG-EKVALL, LLP

                          Tel 714 445-1000 • Fax 714 445-1002
                             3200 Park Center Drive, Suite 250




                                                                 12 'the public's interest in the integrity of the criminal case is entitled to precedence over the civil
                               Costa Mesa, California 92626




                                                                 13 litigant.'"). Therefore, this factor also weighs in favor of the proposed stay.
                                                                 14               In sum, there is clear overlap between this case and the criminal investigation as both relate
                                                                 15 to Jadelle's jewelry business. Moreover, a weighing of the other factors considered by courts

                                                                 16 support the temporary stay of this case. Absent a stay, Jadelle will be irreparably prejudiced and
                                                                 17 harmed by the entry of an order for relief contrary to the Code. The Ineligible Creditors will not

                                                                 18 be harmed by a stay and any alleged prejudice cannot outweigh the substantial harm to Jadelle.
                                                                 19 Accordingly, the Court should stay this case pending the criminal investigation.
                                                                 20 ///

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                                                                      2828340.1                                             22                           EMERGENCY MOTION


                                                                                                                                                    EXHIBIT "11", PAGE 238
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                                                                  1 VI.           CONCLUSION

                                                                  2               Based on the foregoing, Jadelle respectfully requests that the Court reconsider the Order

                                                                  3 and either (1) remove the requirement that a joint declaration be filed by the Rechnitz Parties and
                                                                  4 providing for the entry of an order for relief if they do not, or (2) vacate the Order, grant the

                                                                  5 Motion to Dismiss, and dismiss this case. Alternatively, it should stay this case.
                                                                  6
                                                                                                                    Respectfully submitted,
                                                                  7
                                                                      DATED: June 15, 2020                          SMILEY WANG-EKVALL, LLP
                                                                  8
                                                                  9
                                                                                                                    By:          /s/ Robert S. Marticello
                                                                 10                                                       ROBERT S. MARTICELLO
                                                                                                                          MICHAEL L. SIMON
                                                                 11
                                                                                                                          Attorneys for Jadelle Jewelry and Diamonds,
SMILEY WANG-EKVALL, LLP

                          Tel 714 445-1000 • Fax 714 445-1002
                             3200 Park Center Drive, Suite 250




                                                                 12                                                       LLC.
                               Costa Mesa, California 92626




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                                         PROOF OF SERVICE OF DOCUMENT
I am over the age of 18 and not a party to this bankruptcy case or adversary proceeding. My business address is:
                         3200 Park Center Drive, Suite 250, Costa Mesa, CA 92626


A true and correct copy of the foregoing document entitled (specify): Putative Debtor's Emergency Motion for (1)
Reconsideration of the Court's Order, or (2) Alternatively, a Stay of the Bankruptcy Case; and Memorandum of
Points and Authorities in Support will be served or was served (a) on the judge in chambers in the form and manner
required by LBR 5005-2(d); and (b) in the manner stated below:

1. TO BE SERVED BY THE COURT VIA NOTICE OF ELECTRONIC FILING (NEF): Pursuant to controlling General
Orders and LBR, the foregoing document will be served by the court via NEF and hyperlink to the document. On (date)
06/15/2020, I checked the CM/ECF docket for this bankruptcy case or adversary proceeding and determined that the
following persons are on the Electronic Mail Notice List to receive NEF transmission at the email addresses stated below:

    • Baruch C Cohen bcc@BaruchCohenEsq.com, paralegal@baruchcohenesq.com
    • Daniel A Lev dlev@sulmeyerlaw.com, ccaldwell@sulmeyerlaw.com;dlev@ecf.inforuptcy.com
    • Robert S Marticello Rmarticello@swelawfirm.com,
       gcruz@swelawfirm.com;lgarrett@swelawfirm.com;jchung@swelawfirm.com
    • Ronald N Richards ron@ronaldrichards.com, morani@ronaldrichards.com,justin@ronaldrichards.com
    • Neal Salisian ECF@salisianlee.com
    • Michael Simon msimon@swelawfirm.com,
       lgarrett@swelawfirm.com;gcruz@swelawfirm.com;jchung@swelawfirm.com
    • United States Trustee (LA) ustpregion16.la.ecf@usdoj.gov
                                                                 Service information continued on attached page

2. SERVED BY UNITED STATES MAIL:
On (date) __________, I served the following persons and/or entities at the last known addresses in this bankruptcy case
or adversary proceeding by placing a true and correct copy thereof in a sealed envelope in the United States mail, first
class, postage prepaid, and addressed as follows. Listing the judge here constitutes a declaration that mailing to the judge
will be completed no later than 24 hours after the document is filed.




                                                                                            Service information continued on attached page

3. SERVED BY PERSONAL DELIVERY, OVERNIGHT MAIL, FACSIMILE TRANSMISSION OR EMAIL (state method
for each person or entity served): Pursuant to F.R.Civ.P. 5 and/or controlling LBR, on (date) 06/15/2020, I served the
following persons and/or entities by personal delivery, overnight mail service, or (for those who consented in writing to
such service method), by facsimile transmission and/or email as follows. Listing the judge here constitutes a declaration
that personal delivery on, or overnight mail to, the judge will be completed no later than 24 hours after the document is
filed.
Via First Legal:
Hon. Barry Russell
United States Bankruptcy Court
255 E. Temple Street, Suite 1660 / Courtroom 1668
Los Angeles, CA 90012
                                                                            Service information continued on attached page

I declare under penalty of perjury under the laws of the United States that the foregoing is true and correct.

 06/15/2020                     Lynnette Garrett                                                /s/ Lynnette Garrett
 Date                           Printed Name                                                    Signature
            This form is mandatory. It has been approved for use by the United States Bankruptcy Court for the Central District of California.


June 2012                                                                                           F 9013-3.1.PROOF.SERVICE
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        Sam S. Leslie, CPA
        Chapter 7 Trustee

        June 18, 2020

        Via: Via Federal Express and
              Email: rmarticello@swelawfirm.com

        Robert S. Marticello, Esq.
        Smiley Wang-Ekvall, LLP
        3200 Park Center Drive Ste. 320
        Costa Mesa, CA 92626

        Re: Jadelle Jewelry and Diamonds, LLC
            Chapter? Bankruptcy Case No. 2:20-bk-13530-BR


        Dear Mr. Marticello,

        As you know, the above-referenced Debtor was the subject of an Involuntary Chapter 7
        bankruptcy case filed on April 6, 2020, and on June 18, 2020 I was appointed as the
        Chapter 7 Trustee. A copy of the Court’s Notice of Chapter 7 Bankruptcy Case
        reflecting my appointment is included herewith for your reference.

        Please be advised that any and all documents of the Debtor, including text messages,
        emails and correspondence, relating to transactions and the business affairs in which
        the Debtor and its principals and officers working for and on behalf of the Debtor were
        involved must be preserved and turned over to me. Since this case is in a Chapter 7,
        of course, the Debtor may not transact any business or dispose of any assets. I will
        require an inspection of the property located at 9533 Sawyer Street and its contents as
        I understand that property is being used as the home office for the Debtor.

        In order to properly administer the above-referenced case, I request production of the
        following documents:

           1. Documents relating to the Debtor, including:
                  a. Any and all records relating to consignments (including without
                     limitation, memos of transfer or other records) to Debtor of diamonds
                     and/or jewelry since the Debtor’s inception;
                  b. Any and all records relating to consignments (including without
                     limitation, memos of transfer or other records) by Debtor to any third
                     party of diamonds and/or jewelry since inception;




                3435 Wilshire Blvd. Suite 990, Los Angeles, CA 90010 Phone: 213.368.5000
                                     e-mail: sleslie@Trusteeleslie.com




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        Sam S. Leslie, CPA
        Chapter 7 Trustee

                 c. Any and all records relating to sales (including without limitation,
                    invoices or memos of transfer or other records) by Debtor of diamonds
                    and/or jewelry to third parties and/or insiders since inception;
                 d. Any and all records relating to pledges or hypothecations by Debtor of
                    diamonds and/or jewelry to third parties and/or insiders since
                      inception;
                 e. Any and all records relating to transactions conducted through or with
                    Malca-Amit including, but not limited to, communications with Malca-
                      Amit;
                 f.   A list of all bank, brokerage, PayPal or similar cash accounts,
                      including names and addresses and the account numbers used and/or
                      controlled by the Debtor or on the Debtor’s behalf for the conduct of its
                      business since inception, including without limitation, any new account
                      opened since May 28, 2020;
                  g. A copy of all retainer agreements with attorneys entered into by
                      Debtor and its principals, with evidence of what amount of retainer
                      was paid and by whom;
                  h. An inventory of all the Debtor’s merchandise, diamonds and jewelry on
                      hand and its location and approximate value;
                  i. All original GIA certificates on hand;
                 j. All records relating to any and all payments made by the Debtor to or
                      on behalf of the Debtor’s principals or to related parties in the year
                      before April 6, 2020, and subsequently, whether for living expenses or
                      compensation or any other purpose;
                  k. All records relating to any and all payments made by the Debtor to or
                     on behalf of a creditor of Debtor in the 90 days prior to April 6, 2020,
                     and subsequently;
                  I. The names and addresses and amounts owed to all persons owed
                      money by the Debtor;
                  m. A Balance Sheet for the years 2017, 2018, 2019 and year to date for
                      2020;
                  n. Profit and loss statements for the Debtor for the year ended 2017,
                     2018, and 2019, and year to date for 2020;
                  0. Tax returns for the company for the years: 2019,2018, and 2017;
                  p. Payroll tax returns for the last 3 years;
                  q. Bank statements for the 60 months prior to the filing of the bankruptcy
                      case as well as cancelled checks relating to any bank account into
                      which or from which proceeds of the Debtor’s operations were
                      deposited or withdrawn, and any statements issued on accounts after
                      the filing of the bankruptcy case;

              3435 Wilshire Blvd. Suite 990, Los Angeles, CA 90010 Phone: 213.368.5000
                                    e-mail: sleslie@Trusteeleslie.com




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        Sam S. Leslie, CPA
        Chapter 7 Trustee


                    r. Current list of accounts receivable for the company (aging report);
                    s. Current list of accounts payable for the company (aging report);
                    t. If the company uses accounting software (QuickBooks, Quicken, etc.),
                        provide the accounting in a thumb-drive format, and with any
                        passwords and usernames if necessary; if online accounting software
                              was used, provide login information.


                        u. Where are the vendor files maintained?(As noted above, until we take
                              physical possession, please advise the debtor not to destroy these
                              files)
                        V. Where is the company computer server? (As noted above, until we
                           take physical possession, please advise the debtor not to destroy it or
                           otherwise compromise the data on the server);
                        w. A listing of all the Debtor’s personal property, including any autos or
                              other vehicles;
                        A listing of all property paid for by the Debtor on behalf of the
                        X..
                       principals, related parties, and other parties since inception;
                    y. A listing of ail persons, whether employees or external, who performed
                       accounting or other financial bookkeeping of the Debtor;
                    z. A listing of insurance companies and copies of all policies for the
                       Debtor since inception, including but not limited to life insurance,
                              errors and omissions, property, or vehicle; and

           2. Does or has the Debtor owned any real estate property? If yes, have the Debtor
              provide for each property the following:
                   a. Most recent mortgage statement;
                   b. Deed showing debtor on the title;
                        c. Deed of trust;
                        d. Evidence of insurance; or
                        e. Closing statement, if sold

        Please provide the above requested documentation and/or clarifications within 7
        (seven) days. If any such documents do not exist, please so state. If any documents
        cannot be provided in that time frame, please provide an explanation of when they will
        be available.




                3435 Wilshire Blvd. Suite 990, Los Angeles, CA 90010 Phone: 213.368.5000
                                           e-mail: sleslie@Trusteeleslie.com




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        Sam S. Leslie, CPA
        Chapter 7 Trustee


        As to the any and all inventory, this must be turned over immediately. Please contact
        me to arrange for this.

        Any unearned retainer you are presently holding should be turned over to me as
        Trustee. The check should be made payable to Sam S. Leslie, ATF, Jadelle Jewelry
        and Diamonds, LLC


        I thank you in advance for your attention to this highly important matter.

        Should you have any questions, please contact my office at (213) 368-5000.




        Sam S. Leslie, CPA
        CHAPTER 7 TRUSTEE


        Enclosure


        cc:

        Carolyn A. Dye, Esq
        Daniel A. Lev. Esq.




                 3435 Wilshire Blvd. Suite 990, Los Angeles, CA 90010 Phone: 213.368.5000
                                       e-mail: sleslie@Trusteeleslie.com




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                                                7 First Mta Corp No POC                        Page 1 of 2

Debtor             Jadelle Jewelry And Diamonds LLC a Delaware limited
                   liability company                                                              EIN    XX-XXXXXXX

                    Name



United States Bankruptcy Court Central District of California
                                                                                                  Date case filed for chapter 7 4/6/20
Case number; 2:20-bk-13530-BR



Official Form 309C (For Corporations or Partnerships')
Notice of Chapter 7 Bankruptcy Case — No Proof of Claim Deadline                                                                                            12/15



For the debtor listed above, a case has been filed under chapter 7 of the Bankruptcy Code. An order for relief has been
entered.


This notice has important information about the case for creditors, debtors, and trustees, including information about
the meeting of creditors and deadlines. Read both pages carefully.

The filing of the case imposed an automatic stay against most collection activities. This means that creditors generally may not
take action to collect debts from the debtor or the debtor's property. For example, while the stay is in effect, creditors cannot
sue, assert a deficiency, repossess property, or otherwise try to collect from the debtor. Creditors cannot demand repayment
from debtors by mail, phone, or otherwise. Creditors who violate the stay can be required to pay actual and punitive damages
and attorney's fees.
To protect your rights, consult an attorney. All documents filed in the case may be inspected at the bankruptcy clerk's office at
the address listed below or through PACER (Public Access to Court Electronic Records at www.pacer.aov).
The staff of the bankruptcy clerk's office cannot give legal advice.

Do not file this notice with any proof of claim or other filing in the case.
1. Debtor's fuil name                       Jadelle Jewelry And Diannonds LLC a Delaware limited liability company

2. All other names used in the dba Jadelle Inc
   last 8 years
3. Address                                  9454 Wilshire Blvd
                                            Penthouse 01
                                            Beverly Hills, CA 90212
                                            Robert S Marticello                                                  Contact phone 714-445-1000
4. Debtor's attorney                        Smiley Wang-Ekvall, LLP                                              Email
    Name and address                        3200 Park Center Drive, Suite 250
                                            Costa Mesa, CA 92626

                                            Sam S Leslie (TR)                                                    Contact phone 213-368-5000
5- Bankruptcy trustee                       3435 Wilshire Blvd., Suite 990                                       Email
    Name and address                        Los Angeles, CA 90010

                                            255 East Temple Street,                                              Hours open:
6. Bankruptcy clerk's office                Los Angeles, CA 90012                                                9:00AM to 4:00 PM
   Documents in this case may be
   filed at this address. You may                                                                                Contact phone 855-460-9641
   inspect all records filed in this case
    at this office or online at
    wyvw.pgp^r.qpy.                                                                                              Dated: 6/18/20


                                            July 29, 2020 at 10:00 AM                                            Location:
7. Meeting of creditors
    The debtor's representative must
    attend the meeting to be                The meeting may be continued or adjourned to a later date. If        TELEPHONIC MEETING, FOR
                                            so, the date will be on the court docket.                            INSTRUCTIONS, CONTACT THE
    questioned under oath by the                                                                                 TRUSTEE
    trustee and by creditors.
    Creditors may attend, but are not       The trustee is designated to preside at the meeting of creditors,
    required to do so.                      The case is covered by the chapter 7 blanket bond on file with
                                            the court.


8. Proof of claim                           No property appears to be available to pay creditors. Therefore, please do not file a proof of claim now.
    Please do not file a proof of           If it later appears that assets are available to pay creditors, the clerk will send you another notice telling you
    claim unless you receive a notice       that you may file a proof of claim and stating the deadline.
    to do so.

                                                                                                                                                             57/SF

                                                                                                              For more information, see page 2 >
Official Form 309C (For Corporations or Partnerships) Notice of Chapter 7 Bankruptcy Case — No Proof of Claim Deadline                                       page 1




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        1   PETER C. ANDERSON
            UNITED STATES TRUSTEE
        2   OFFICE OF THE UNITED STATES TRUSTEE
            915 Wilshire Blvd., Suite 1850
        3   Los Angeles, California 90017-3560
            (213)894-6811
        4
                                         UNITED STATES BANKRUPTCY COURT
        5
                                         CENTRAL DISTRICT OF CALIFORNIA
       6
                                                LOS ANGELES DIVISION
        7                                 )
            In re:                        ) Chapter 7(Involuntary)
        8                                 )                 I


            JADELLE JEWELRY AND DIAMONDS, ) CaseNo.:2:20-bk-13530-BR
       9    LLC.                          )                 I


                                                           ) NOTICE OF APPOINTMENT OF
       10                            Alleged Debtor.       ) TRUSTEE AND FIXING OF BOND:
                                                           ) ACCEPTANCE OF APPOINTMENT AS
       11                                                  ) INTERIM TRUSTEE
       12
                                         Pursuant to 11 U.S.C. 701 and 11 U.S.C. 322
       13

       14                            SAM LESLIE,of LOS ANGELES,CA
       15

       16
                    is appointed Interim Trustee ofthe case of said debtor(s) and is hereby designated to preside
       17
            at the meeting of creditors. This case is covered by the chapter 7 blanket bond on file with the
            Court on behalf of the Trustees listed on Schedule A ofthe bond and any amendments or
            modifications thereto.
       18

       19   DATED: June 17, 2020
      20
                                                                    PETER C. ANDERSON
      21
                                                                    UNITED STATES TRUSTEE
      22

      23
            I, the undersigned, affirm that to the best of my knowledge and belief, I am disinterested within the
      24
            meaning of 11 U.S.C. 101(14), and on this basis, I hereby accept my appointment as Interim
            Trustee in the above case. I will immediately notify the United States Trustee ifI become aware of
            any facts to the contrary.                                                          '
      25

      26
                     DATED:                                                    Mu 6-
                                                                            Sam Leslie
                                                                                                 ^3-    L
      27                                                                    Interim Trustee

      28


                                                                1




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                                                                                           Incomplete


                                   U.S. Bankruptcy Court
                          Central District of California (Los Angeles)
                          Bankruptcy Petition #: 2:20-bk-13530-BR
                                                                             Date filed:   04/06/2020
Assigned to: Barry Russell                                                341 meeting:     07/29/2020
Chapter 7                                            Deadline for filing claims (govt.):   12/14/2020
Involuntary                                        Deadline for objecting to discharge:    09/28/2020


Debtor                                           represented by Robert S Marticello
Jadelle Jewelry And Diamonds LLC a                              Smiley Wang-Ekvall, LLP
Delaware limited liability company                              3200 Park Center Drive, Suite 250
9454 Wilshire Blvd                                              Costa Mesa, CA 92626
Penthouse 01                                                    714-445-1000
Beverly Hills, CA 90212                                         Email: Rmarticello@swelawfirm.com
LOS ANGELES-CA
Tax ID / EIN: XX-XXXXXXX                                       Michael Simon
dba Jadelle Inc                                                3200 Park Center Dr Ste 250
                                                               Costa Mesa, CA 92626
                                                               714-445-1000
                                                               Fax : 714-445-1002
                                                               Email: msimon@swelawfirm.com

Petitioning Creditor                             represented by Baruch C Cohen
First International Diamond Inc                                 Law Office of Baruch C. Cohen
PO Box 3765                                                     APLC
Beverly Hills, CA 90212                                         4929 Wilshire Blvd Ste 940
                                                                Los Angeles, CA 90010
                                                                323-937-4501
                                                                Email: bcc@BaruchCohenEsq.com

                                                               Daniel A Lev
                                                               333 South Grand Avenue
                                                               Suite 3400
                                                               Los Angeles, CA 90071
                                                               213-626-2311
                                                               Fax : 213-629-4520
                                                               Email: dlev@sulmeyerlaw.com

Petitioning Creditor                             represented by Baruch C Cohen
Peter Marco LLC                                                 (See above for address)
252 N Rodeo Dr
Beverly Hills, CA 90210                                        Daniel A Lev
                                                               (See above for address)




https://ecf.cacb.uscourts.gov/cgi-bin/DktRpt.pl?472345329709182-L_1_0-1                      6/19/2020
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Petitioning Creditor                             represented by Daniel A Lev
Victor Franco Noval                                             (See above for address)
1141 Summit Drive
Beverly Hills, CA 90210                                        Ronald N Richards
                                                               Law Offices of Ronald Richards &
                                                               Assoc
                                                               PO Box 11480
                                                               Beverly Hills, CA 90213
                                                               310-556-1001
                                                               Fax : 310-277-3325
                                                               Email: ron@ronaldrichards.com

Trustee
Sam S Leslie (TR)
3435 Wilshire Blvd., Suite 990
Los Angeles, CA 90010
213-368-5000

U.S. Trustee
United States Trustee (LA)
915 Wilshire Blvd, Suite 1850
Los Angeles, CA 90017
(213) 894-6811


  Filing Date                    #                                Docket Text

                             59              BNC Certificate of Notice - PDF Document. (RE:
                             (4 pgs)         related document(s)54 Order (Generic) (BNC-PDF))
                                             No. of Notices: 1. Notice Date 06/18/2020. (Admin.)
 06/18/2020                                  (Entered: 06/18/2020)

                             58              BNC Certificate of Notice - PDF Document. (RE:
                             (6 pgs)         related document(s)53 Order (Generic) (BNC-PDF))
                                             No. of Notices: 1. Notice Date 06/18/2020. (Admin.)
 06/18/2020                                  (Entered: 06/18/2020)

                             57              Meeting of Creditors 341(a) meeting to be held on
                             (2 pgs)         7/29/2020 at 10:00 AM at TR 7, TELEPHONIC
                                             MEETING. FOR INSTRUCTIONS CONTACT THE
                                             TRUSTEE. Last day to oppose discharge or
                                             dischargeability is 9/28/2020. (Fortier, Stacey)
 06/18/2020                                  (Entered: 06/18/2020)

                             56              Notice of appointment and acceptance of trustee Filed
                             (1 pg)          by Trustee Sam S Leslie (TR). (Leslie (TR), Sam)
 06/18/2020                                  (Entered: 06/18/2020)




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 06/16/2020                 55                Order for Relief Chapter 7 (BK Case - Involuntary
                            (1 pg)            Case) (BNC) Signed on 6/16/2020. Incomplete Filings
                                              due by 6/30/2020. Government Proof of Claim due by
                                              12/14/2020. (Fortier, Stacey) (Entered: 06/16/2020)

                            54                Order directing clerk of court to immediately entered
                            (3 pgs)           an order for relief under chapter 7, and requiring the
                                              debtor to file all schedules and related documentation
                                              for a chapter 7 case within fourteen days of the entry
                                              of this order (see order for relief) Re: (BNC-PDF)
                                              (Related Doc # 39) Signed on 6/16/2020 (Fortier,
 06/16/2020                                   Stacey) (Entered: 06/16/2020)

                            53                Order Denying "Putative Debtor's Emergency Motion
                            (5 pgs)           For (1) Reconsideration Of the Court's Order, Or (2)
                                              Alternatively, A Stay of the Banruptcy Case" (see
                                              order for details) Re: (BNC-PDF) (Related Doc # 44 )
                                              Signed on 6/16/2020 (Fortier, Stacey) (Entered:
 06/16/2020                                   06/16/2020)

                            52                Declaration re: DECLARATION OF DANIEL A. LEV
                            (6 pgs; 2 docs)   IN SUPPORT OF ORDER (1) DENYING PUTATIVE
                                              DEBTORS MOTION TO DISMISS INVOLUNTARY
                                              PETITION AND REQUEST FOR ATTORNEYS
                                              FEES, COSTS, AND DAMAGES AND (2) ENTERING
                                              ORDER FOR RELIEF AGAINST PUTATIVE
                                              DEBTOR Filed by Petitioning Creditor Victor Franco
                                              Noval (RE: related document(s)39 Order on Generic
                                              Motion (BNC-PDF)). (Attachments: # 1 proof of
 06/16/2020                                   service) (Richards, Ronald) (Entered: 06/16/2020)

                            51                Notice of lodgment For immediate signature per
                            (6 pgs; 2 docs)   court order (Doc#39) Filed by Petitioning Creditor
                                              Victor Franco Noval (RE: related document(s)8
                                              Motion Putative Debtor's Motion to Dismiss
                                              Involuntary Petition and Request for Attorney's Fees,
                                              Costs, and Damages; and Memorandum of Points and
                                              Authorities in Support Filed by Debtor Jadelle Jewelry
                                              And Diamonds LLC a Delaware limited liability
                                              company). (Attachments: # 1 Proposed Order)
 06/16/2020                                   (Richards, Ronald) (Entered: 06/16/2020)

 06/15/2020                 50                Opposition to (related document(s): 44 Emergency
                            (9 pgs)           motion Putative Debtor's Emergency Motion for (1)
                                              Reconsideration of the Court's Order, or (2)
                                              Alternatively, a Stay of the Bankruptcy Case; and
                                              Memorandum of Points and Authorities in Support
                                              filed by Debtor Jadelle Jewelry And Diamonds LLC a




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                                             Delaware limited liability company) (preliminary)
                                             Filed by Petitioning Creditor Victor Franco Noval
                                             (Richards, Ronald) (Entered: 06/15/2020)

                            49               Request for judicial notice Putative Debtor's Request
                            (4 pgs)          for Judicial Notice in Support of Putative Debtor's
                                             Emergency Motion for (1) Reconsideration of the
                                             Court's Order, or (2) Alternatively, a Stay of the
                                             Bankruptcy Case Filed by Debtor Jadelle Jewelry And
                                             Diamonds LLC a Delaware limited liability company
                                             (RE: related document(s)44 Emergency motion
                                             Putative Debtor's Emergency Motion for (1)
                                             Reconsideration of the Court's Order, or (2)
                                             Alternatively, a Stay of the Bankruptcy Case; and
                                             Memorandum of Points and Authorities in Support).
 06/15/2020                                  (Marticello, Robert) (Entered: 06/15/2020)

                            48               Exhibit Putative Debtor's Index of Exhibits in Support
                            (316 pgs)        of Putative Debtor's Emergency Motion for
                                             Reconsideration of the Court's Order, or (2)
                                             Alternatively, a Stay of the Bankruptcy Case Filed by
                                             Debtor Jadelle Jewelry And Diamonds LLC a
                                             Delaware limited liability company (RE: related
                                             document(s)44 Emergency motion Putative Debtor's
                                             Emergency Motion for (1) Reconsideration of the
                                             Court's Order, or (2) Alternatively, a Stay of the
                                             Bankruptcy Case; and Memorandum of Points and
                                             Authorities in Support). (Marticello, Robert) (Entered:
 06/15/2020                                  06/15/2020)

                            47               Errata Notice of Errata re: Declaration of Michael V
                            (19 pgs)         Schafler in Support of the Putative Debtor's
                                             Emergency Motion for (1) Reconsideration of the
                                             Court's Order, or (2) Alternatively, a Stay of the
                                             Bankruptcy Case Filed by Debtor Jadelle Jewelry And
                                             Diamonds LLC a Delaware limited liability company
                                             (RE: related document(s)46 Declaration). (Marticello,
 06/15/2020                                  Robert) (Entered: 06/15/2020)

 06/15/2020                 46               Declaration re: Declaration of Michael V Schafler in
                            (5 pgs)          Support of the Putative Debtor's Emergency Motion
                                             for (1) Reconsideration of the Court's Order, or (2)
                                             Alternatively, a Stay of the Bankruptcy Case Filed by
                                             Debtor Jadelle Jewelry And Diamonds LLC a
                                             Delaware limited liability company (RE: related
                                             document(s)44 Emergency motion Putative Debtor's
                                             Emergency Motion for (1) Reconsideration of the
                                             Court's Order, or (2) Alternatively, a Stay of the




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                                             Bankruptcy Case; and Memorandum of Points and
                                             Authorities in Support). (Marticello, Robert) (Entered:
                                             06/15/2020)

                            45               Declaration re: Declaration of Robert S. Marticello in
                            (3 pgs)          Support of Putative Debtor's Emergency Motion for
                                             (1) Reconsideration of the Court's Order, or (2)
                                             Alternatively, a Stay of the Bankruptcy Case Filed by
                                             Debtor Jadelle Jewelry And Diamonds LLC a
                                             Delaware limited liability company (RE: related
                                             document(s)44 Emergency motion Putative Debtor's
                                             Emergency Motion for (1) Reconsideration of the
                                             Court's Order, or (2) Alternatively, a Stay of the
                                             Bankruptcy Case; and Memorandum of Points and
                                             Authorities in Support). (Marticello, Robert) (Entered:
 06/15/2020                                  06/15/2020)

                            44               Emergency motion Putative Debtor's Emergency
                            (26 pgs)         Motion for (1) Reconsideration of the Court's Order,
                                             or (2) Alternatively, a Stay of the Bankruptcy Case;
                                             and Memorandum of Points and Authorities in
                                             Support Filed by Debtor Jadelle Jewelry And
                                             Diamonds LLC a Delaware limited liability company
 06/15/2020                                  (Marticello, Robert) (Entered: 06/15/2020)

                            43               BNC Certificate of Notice - PDF Document. (RE:
                            (5 pgs)          related document(s)39 Order on Generic Motion
                                             (BNC-PDF)) No. of Notices: 1. Notice Date
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                            42               Transcript regarding Hearing Held 06/09/20 RE: In
                                             Re: Jadelle Jewelry and Diamonds, LLC. Remote
                                             electronic access to the transcript is restricted until
                                             09/10/2020. The transcript may be viewed at the
                                             Bankruptcy Court Clerk's Office on a public terminal
                                             or purchased through the Transcription Service
                                             Provider before the transcript access restriction has
                                             ended. [TRANSCRIPTION SERVICE PROVIDER:
                                             Ben Hyatt Corporation, Telephone number
                                             8882720022.]. Notice of Intent to Request Redaction
                                             Deadline Due By 6/19/2020. Redaction Request Due
                                             By 07/6/2020. Redacted Transcript Submission Due
                                             By 07/13/2020. Transcript access will be restricted
                                             through 09/10/2020. (Hyatt, Mitchell) (Entered:
 06/12/2020                                  06/12/2020)

 06/10/2020                 41               Transcript Order Form, regarding Hearing Date
                            (1 pg)           06/09/20 Filed by Interested Party Israel Sam




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                                             Gorodistian. (Salisian, Neal) Duplicate order- Please
                                             see order #20BR22. Party will contact transcription
                                             co. Modified on 6/11/2020 (Toliver, Wanda).
                                             (Entered: 06/10/2020)

                            40               Transcript Record Transmittal (Court transcript
                                             records have been uploaded to FDS). For Order
                                             Number: 20-BR-22. RE Hearing Date: 6/9/20,
                                             [TRANSCRIPTION SERVICE PROVIDER: Ben
                                             Hyatt, Telephone number 888/272-0022.] (RE: related
                                             document(s)38 Transcript Order Form (Public
                                             Request) filed by Petitioning Creditor Peter Marco
 06/10/2020                                  LLC) (Toliver, Wanda) (Entered: 06/10/2020)

                            39               Order: 1) directing Rachel Rechnitz and Jona
                            (4 pgs)          Rechnitz to file joint declaration under penalty of
                                             perjury; 2) setting date by which petitioning creditors
                                             may contact creditors identified in joint declaration
                                             and conduct certain discovery; 3) setting date for
                                             hearing on status conference; and 4) setting date for
                                             filing of joint status report prior to status conference
                                             (see order for details) (BNC-PDF) (Related Doc # 8
                                             and 12 Signed on 6/10/2020 (Fortier, Stacey)
 06/10/2020                                  (Entered: 06/10/2020)

                            38               Transcript Order Form, regarding Hearing Date
                            (1 pg)           06/09/20 Filed by Petitioning Creditor Peter Marco
 06/09/2020                                  LLC. (Cohen, Baruch) (Entered: 06/09/2020)

                            37               Request for judicial notice Putative Debtor's Request
                            (118 pgs)        for Judicial Notice in Support of Reply to Petitioning
                                             Creditors' Opposition to Putative Debtor's Motion to
                                             Dismiss Involuntary Petition and Request for
                                             Attorney's Fees, Costs, and Damages Filed by Debtor
                                             Jadelle Jewelry And Diamonds LLC a Delaware
                                             limited liability company (RE: related document(s)36
 06/02/2020                                  Reply). (Marticello, Robert) (Entered: 06/02/2020)

                            36               Reply to (related document(s): 19 Opposition filed by
                            (32 pgs)         Petitioning Creditor Victor Franco Noval, Petitioning
                                             Creditor First International Diamond Inc, Petitioning
                                             Creditor Peter Marco LLC) Putative Debtor's Reply to
                                             Petitioning Creditors' Opposition to Putative Debtor's
                                             Motion to Dismiss Involuntary Petition and Request
                                             for Attorney's Fees, Costs, and Damages Filed by
                                             Debtor Jadelle Jewelry And Diamonds LLC a
                                             Delaware limited liability company (Marticello,
 06/02/2020                                  Robert) (Entered: 06/02/2020)




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 06/02/2020                 35               Objection (related document(s): 23 Declaration filed
                            (10 pgs)         by Debtor Jadelle Jewelry And Diamonds LLC a
                                             Delaware limited liability company) Evidentiary
                                             Objections to Declaration of Levin Prado in Support
                                             of Petitioning Creditors' Reply to Putative Debtor's
                                             Opposition to Petitioning Creditors' Motion for
                                             Appointment of Interim Chapter 7 Trustee, with Proof
                                             of Service Filed by Petitioning Creditors First
                                             International Diamond Inc, Victor Franco Noval,
                                             Peter Marco LLC (Lev, Daniel) (Entered: 06/02/2020)

                            34               Objection (related document(s): 22 Declaration filed
                            (6 pgs)          by Debtor Jadelle Jewelry And Diamonds LLC a
                                             Delaware limited liability company) Evidentiary
                                             Objections to Declaration of Marc S. Williams in
                                             Support of Petitioning Creditors' Reply to Putative
                                             Debtor's Opposition to Petitioning Creditors' Motion
                                             for Appointment of Interim Chapter 7 Trustee, with
                                             Proof of Service Filed by Petitioning Creditors First
                                             International Diamond Inc, Victor Franco Noval,
 06/02/2020                                  Peter Marco LLC (Lev, Daniel) (Entered: 06/02/2020)

                            33               Reply to (related document(s): 29 Objection filed by
                            (6 pgs)          Debtor Jadelle Jewelry And Diamonds LLC a
                                             Delaware limited liability company) Petitioning
                                             Creditors' Reply to Putative Debtor's Evidentiary
                                             Objections to Request for Judicial Notice in Support
                                             of Petitioning Creditors' Motion for Appointment of
                                             Interim Chapter 7 Trustee, with Proof of Service Filed
                                             by Petitioning Creditors First International Diamond
                                             Inc, Victor Franco Noval, Peter Marco LLC (Lev,
 06/02/2020                                  Daniel) (Entered: 06/02/2020)

 06/02/2020                 32               Reply to (related document(s): 25 Objection filed by
                            (8 pgs)          Debtor Jadelle Jewelry And Diamonds LLC a
                                             Delaware limited liability company, 26 Objection
                                             filed by Debtor Jadelle Jewelry And Diamonds LLC a
                                             Delaware limited liability company, 27 Objection
                                             filed by Debtor Jadelle Jewelry And Diamonds LLC a
                                             Delaware limited liability company, 28 Objection
                                             filed by Debtor Jadelle Jewelry And Diamonds LLC a
                                             Delaware limited liability company) Petitioning
                                             Creditors' Omnibus Reply to Putative Debtor's
                                             Evidentiary Objections to Declarations of Ronald
                                             Richards, Victor Franco Noval, Peter Marco and
                                             Oved Anter in Support of Petitioning Creditors'
                                             Motion for Appointment of Interim Chapter 7 Trustee,
                                             with Proof of Service Filed by Petitioning Creditors




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                                             First International Diamond Inc, Victor Franco Noval,
                                             Peter Marco LLC (Lev, Daniel) (Entered: 06/02/2020)

                            31               Request for judicial notice Request for Judicial Notice
                            (12 pgs)         in Support of Petitioning Creditors' Reply to Putative
                                             Debtor's Opposition to Petitioning Creditors' Motion
                                             for Appointment of Interim Chapter 7 Trustee, with
                                             Proof of Service Filed by Petitioning Creditors First
                                             International Diamond Inc, Victor Franco Noval,
                                             Peter Marco LLC (RE: related document(s)30 Reply).
 06/02/2020                                  (Lev, Daniel) (Entered: 06/02/2020)

                            30               Reply to (related document(s): 20 Opposition filed by
                            (25 pgs)         Debtor Jadelle Jewelry And Diamonds LLC a
                                             Delaware limited liability company) Petitioning
                                             Creditors' Reply to Putative Debtor's Opposition to
                                             Petitioning Creditors' Motion for Appointment of
                                             Interim Chapter 7 Trustee, with Proof of Service Filed
                                             by Petitioning Creditors First International Diamond
                                             Inc, Victor Franco Noval, Peter Marco LLC (Lev,
 06/02/2020                                  Daniel) (Entered: 06/02/2020)

                            29               Objection (related document(s): 13 Request for
                            (4 pgs)          judicial notice filed by Petitioning Creditor Victor
                                             Franco Noval, Petitioning Creditor First International
                                             Diamond Inc, Petitioning Creditor Peter Marco LLC)
                                             Evidentiary Objections to Request for Judicial Notice
                                             in Support of Petitioning Creditors' Motion for
                                             Appointment of Interim Chapter 7 Trustee Filed by
                                             Debtor Jadelle Jewelry And Diamonds LLC a
                                             Delaware limited liability company (Simon, Michael)
 05/26/2020                                  (Entered: 05/26/2020)

                            28               Objection (related document(s): 14 Declaration filed
                            (7 pgs)          by Petitioning Creditor Victor Franco Noval,
                                             Petitioning Creditor First International Diamond Inc,
                                             Petitioning Creditor Peter Marco LLC) Evidentiary
                                             Objections to Declaration of Ronald Richards in
                                             Support of Petitioning Creditors' Motion for
                                             Appointment of Interim Chapter 7 Trustee Filed by
                                             Debtor Jadelle Jewelry And Diamonds LLC a
                                             Delaware limited liability company (Simon, Michael)
 05/26/2020                                  (Entered: 05/26/2020)

 05/26/2020                 27               Objection (related document(s): 16 Declaration filed
                            (8 pgs)          by Petitioning Creditor Victor Franco Noval,
                                             Petitioning Creditor First International Diamond Inc,
                                             Petitioning Creditor Peter Marco LLC) Evidentiary




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                                             Objections to Declaration of Victor Franco in Support
                                             of Petitioning Creditors' Motion for Appointment of
                                             Interim Chapter 7 Trustee Filed by Debtor Jadelle
                                             Jewelry And Diamonds LLC a Delaware limited
                                             liability company (Simon, Michael) (Entered:
                                             05/26/2020)

                            26               Objection (related document(s): 17 Declaration filed
                            (10 pgs)         by Petitioning Creditor Victor Franco Noval,
                                             Petitioning Creditor First International Diamond Inc,
                                             Petitioning Creditor Peter Marco LLC) Evidentiary
                                             Objections to Declaration of Peter Marco in Support
                                             of Petitioning Creditors' Motion for Appointment of
                                             Interim Chapter 7 Trustee Filed by Debtor Jadelle
                                             Jewelry And Diamonds LLC a Delaware limited
                                             liability company (Simon, Michael) (Entered:
 05/26/2020                                  05/26/2020)

                            25               Objection (related document(s): 15 Declaration filed
                            (19 pgs)         by Petitioning Creditor Victor Franco Noval,
                                             Petitioning Creditor First International Diamond Inc,
                                             Petitioning Creditor Peter Marco LLC) Evidentiary
                                             Objections to Declaration of Oved Anter in Support of
                                             Petitioning Creditors' Motion for Appointment of
                                             Interim Chapter 7 Trustee Filed by Debtor Jadelle
                                             Jewelry And Diamonds LLC a Delaware limited
                                             liability company (Simon, Michael) (Entered:
 05/26/2020                                  05/26/2020)

                            24               Request for judicial notice Putative Debtor's Request
                            (3 pgs)          for Judicial Notice in Support of Opposition to
                                             Petitioning Creditors' Motion for Appointment of
                                             Interim Chapter 7 Trustee Filed by Debtor Jadelle
                                             Jewelry And Diamonds LLC a Delaware limited
                                             liability company (RE: related document(s)20
 05/26/2020                                  Opposition). (Simon, Michael) (Entered: 05/26/2020)

                            23               Declaration re: Declaration of Levin Prado in Support
                            (5 pgs)          of Putative Debtor's Opposition to Petitioning
                                             Creditors' Motion for Appointment of Interim Chapter
                                             7 Trustee Filed by Debtor Jadelle Jewelry And
                                             Diamonds LLC a Delaware limited liability company
                                             (RE: related document(s)20 Opposition). (Marticello,
 05/26/2020                                  Robert) (Entered: 05/26/2020)

 05/26/2020                 22               Declaration re: Declaration of Marc S. Williams in
                            (3 pgs)          Support of Putative Debtor's Opposition to
                                             Petitioning Creditors' Motion for Appointment of




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                                             Interim Chapter 7 Trustee Filed by Debtor Jadelle
                                             Jewelry And Diamonds LLC a Delaware limited
                                             liability company (RE: related document(s)20
                                             Opposition). (Marticello, Robert) (Entered:
                                             05/26/2020)

                            21               Exhibit Putative Debtor's Index of Exhibits in Support
                            (214 pgs)        of Opposition to Petitioning Creditors' Motion for
                                             Appointment of Interim Chapter 7 Trustee Filed by
                                             Debtor Jadelle Jewelry And Diamonds LLC a
                                             Delaware limited liability company (RE: related
                                             document(s)20 Opposition). (Marticello, Robert)
 05/26/2020                                  (Entered: 05/26/2020)

                            20               Opposition to (related document(s): 12 Motion to
                            (36 pgs)         Appoint Trustee Notice of Motion and Petitioning
                                             Creditors' Motion for Appointment of Interim Chapter
                                             7 Trustee; Memorandum of Points and Authorities in
                                             Support Thereof, with Proof of Service filed by
                                             Petitioning Creditor Victor Franco Noval, Petitioning
                                             Creditor First International Diamond Inc, Petitioning
                                             Creditor Peter Marco LLC) Putative Debtor's
                                             Opposition to Petitioning Creditors' Motion for
                                             Appointment of Interim Chapter 7 Trustee Filed by
                                             Debtor Jadelle Jewelry And Diamonds LLC a
                                             Delaware limited liability company (Marticello,
 05/26/2020                                  Robert) (Entered: 05/26/2020)

                            19               Opposition to (related document(s): 8 Motion Putative
                            (34 pgs)         Debtor's Motion to Dismiss Involuntary Petition and
                                             Request for Attorney's Fees, Costs, and Damages; and
                                             Memorandum of Points and Authorities in Support
                                             filed by Debtor Jadelle Jewelry And Diamonds LLC a
                                             Delaware limited liability company) Petitioning
                                             Creditors' Opposition to Putative Debtor's Motion to
                                             Dismiss Involuntary Petition and Request for
                                             Attorney's Fees, Costs, and Damages; Memorandum
                                             of Points and Authorities in Support Thereof, with
                                             Proof of Service Filed by Petitioning Creditors First
                                             International Diamond Inc, Victor Franco Noval,
 05/26/2020                                  Peter Marco LLC (Lev, Daniel) (Entered: 05/26/2020)

 05/20/2020                 18               Hearing Set (RE: related document(s)12 Motion to
                                             Appoint Trustee filed by Petitioning Creditor Victor
                                             Franco Noval, Petitioning Creditor First International
                                             Diamond Inc, Petitioning Creditor Peter Marco LLC)
                                             The Hearing date is set for 6/9/2020 at 10:00 AM at
                                             Crtrm 1668, 255 E Temple St., Los Angeles, CA




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                                             90012. The case judge is Barry Russell (Fortier,
                                             Stacey) (Entered: 05/20/2020)

                            17               Declaration re: Declaration of Peter Marco in Support
                            (33 pgs)         of Petitioning Creditors' Motion for Appointment of
                                             Interim Chapter 7 Trustee, with Proof of Service Filed
                                             by Petitioning Creditors First International Diamond
                                             Inc, Victor Franco Noval, Peter Marco LLC (RE:
                                             related document(s)12 Motion to Appoint Trustee
                                             Notice of Motion and Petitioning Creditors' Motion
                                             for Appointment of Interim Chapter 7 Trustee;
                                             Memorandum of Points and Authorities in Support
                                             Thereof, with Proof of Service). (Lev, Daniel)
 05/19/2020                                  (Entered: 05/19/2020)

                            16               Declaration re: Declaration of Victor Franco Noval in
                            (20 pgs)         Support of Petitioning Creditors' Motion for
                                             Appointment of Interim Chapter 7 Trustee, with Proof
                                             of Service Filed by Petitioning Creditors First
                                             International Diamond Inc, Victor Franco Noval,
                                             Peter Marco LLC (RE: related document(s)12 Motion
                                             to Appoint Trustee Notice of Motion and Petitioning
                                             Creditors' Motion for Appointment of Interim Chapter
                                             7 Trustee; Memorandum of Points and Authorities in
                                             Support Thereof, with Proof of Service). (Lev, Daniel)
 05/19/2020                                  (Entered: 05/19/2020)

                            15               Declaration re: Declaration of Ovel Anter in Support
                            (35 pgs)         of Petitioning Creditors' Motion for Appointment of
                                             Interim Chapter 7 Trustee, with Proof of Service Filed
                                             by Petitioning Creditors First International Diamond
                                             Inc, Victor Franco Noval, Peter Marco LLC (RE:
                                             related document(s)12 Motion to Appoint Trustee
                                             Notice of Motion and Petitioning Creditors' Motion
                                             for Appointment of Interim Chapter 7 Trustee;
                                             Memorandum of Points and Authorities in Support
                                             Thereof, with Proof of Service). (Lev, Daniel)
 05/19/2020                                  (Entered: 05/19/2020)

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                            (23 pgs)         Support of Petitioning Creditors' Motion for
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                                             International Diamond Inc, Victor Franco Noval,
                                             Peter Marco LLC (RE: related document(s)12 Motion
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                            13               Request for judicial notice in Support of Petitioning
                            (84 pgs)         Creditors' Motion for Appointment of Interim Chapter
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                                             Creditors First International Diamond Inc, Victor
                                             Franco Noval, Peter Marco LLC (RE: related
                                             document(s)12 Motion to Appoint Trustee Notice of
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                                             Appointment of Interim Chapter 7 Trustee;
                                             Memorandum of Points and Authorities in Support
                                             Thereof, with Proof of Service). (Lev, Daniel)
 05/19/2020                                  (Entered: 05/19/2020)

                            12               Motion to Appoint Trustee Notice of Motion and
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                                             Interim Chapter 7 Trustee; Memorandum of Points
                                             and Authorities in Support Thereof, with Proof of
                                             Service Filed by Petitioning Creditors First
                                             International Diamond Inc, Victor Franco Noval,
 05/19/2020                                  Peter Marco LLC (Lev, Daniel) (Entered: 05/19/2020)

                            11               Hearing Set (RE: related document(s)8 Generic
                                             Motion filed by Debtor Jadelle Jewelry And
                                             Diamonds LLC a Delaware limited liability company)
                                             The Hearing date is set for 6/9/2020 at 10:00 AM at
                                             Crtrm 1668, 255 E Temple St., Los Angeles, CA
                                             90012. The case judge is Barry Russell (Fortier,
 05/04/2020                                  Stacey) (Entered: 05/04/2020)

                            10               Request for judicial notice Putative Debtor's Request
                            (190 pgs)        for Judicial Notice in Support of Motion to Dismiss
                                             Involuntary Petition and Request for Attorney's Fees,
                                             Costs, and Damages Filed by Debtor Jadelle Jewelry
                                             And Diamonds LLC a Delaware limited liability
                                             company (RE: related document(s)8 Motion Putative
                                             Debtor's Motion to Dismiss Involuntary Petition and
                                             Request for Attorney's Fees, Costs, and Damages; and
                                             Memorandum of Points and Authorities in Support).
 05/01/2020                                  (Marticello, Robert) (Entered: 05/01/2020)

 05/01/2020                 9                Notice of Hearing on Putative Debtor's Motion to
                            (3 pgs)          Dismiss Involuntary Petition and Request for
                                             Attorney's Fees, Costs, and Damages Filed by Debtor
                                             Jadelle Jewelry And Diamonds LLC a Delaware
                                             limited liability company (RE: related document(s)8
                                             Motion Putative Debtor's Motion to Dismiss




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                                             Involuntary Petition and Request for Attorney's Fees,
                                             Costs, and Damages; and Memorandum of Points and
                                             Authorities in Support Filed by Debtor Jadelle Jewelry
                                             And Diamonds LLC a Delaware limited liability
                                             company). (Marticello, Robert) (Entered: 05/01/2020)

                            8                Motion Putative Debtor's Motion to Dismiss
                            (29 pgs)         Involuntary Petition and Request for Attorney's Fees,
                                             Costs, and Damages; and Memorandum of Points and
                                             Authorities in Support Filed by Debtor Jadelle Jewelry
                                             And Diamonds LLC a Delaware limited liability
 05/01/2020                                  company (Marticello, Robert) (Entered: 05/01/2020)

                            7                Request for courtesy Notice of Electronic Filing
                            (1 pg)           (NEF) Filed by Salisian, Neal. (Salisian, Neal)
 04/16/2020                                  (Entered: 04/16/2020)

                            6                Hearing Set (RE: related document(s)1 Involuntary
                                             Petition (Chapter 7) filed by Petitioning Creditor
                                             Victor Franco Noval, Debtor Jadelle Jewelry And
                                             Diamonds LLC a Delaware limited liability company,
                                             Petitioning Creditor First International Diamond Inc,
                                             Petitioning Creditor Peter Marco LLC) Status hearing
                                             to be held on 6/9/2020 at 10:00 AM at Crtrm 1668,
                                             255 E Temple St., Los Angeles, CA 90012. The case
                                             judge is Barry Russell (Fortier, Stacey) (Entered:
 04/07/2020                                  04/07/2020)

                            5                Summons Service Executed in an Involuntary Case on
                            (5 pgs)          Jadelle Jewelry And Diamonds LLC a Delaware
                                             limited liability company 4/7/2020, Answer Due
                                             4/28/2020 Filed by Attorney Daniel A. Lev, Debtor
                                             Jadelle Jewelry And Diamonds LLC a Delaware
                                             limited liability company. (Lev, Daniel) (Entered:
 04/07/2020                                  04/07/2020)

                            4                Involuntary Summons Issued on Jadelle Jewelry And
                            (3 pgs)          Diamonds LLC a Delaware limited liability company
 04/07/2020                                  relates to 1 (Fortier, Stacey) (Entered: 04/07/2020)

                                             Receipt of Overages - $20.00 by 01. Receipt Number
 04/06/2020                                  20240439. (admin) (Entered: 04/06/2020)

                                             Receipt of Involuntary Filing Fee - $335.00 by 01.
                                             Receipt Number 20240439. (admin) (Entered:
 04/06/2020                                  04/06/2020)

 04/06/2020



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                               3                 Request for courtesy Notice of Electronic Filing
                               (1 pg)            (NEF) Filed by Lev, Daniel. (Lev, Daniel) (Entered:
                                                 04/06/2020)

                               1                 Chapter 7 Involuntary Petition Against a Non-
                               (12 pgs)          Individual. Fee Amount $335 Re: Jadelle Jewelry And
                                                 Diamonds LLC a Delaware limited liability company
                                                 Filed by Petitioning Creditor(s): First International
                                                 Diamond Inc (attorney Baruch C Cohen), Peter Marco
                                                 LLC (attorney Baruch C Cohen), Victor Franco Noval
                                                 (attorney Ronald N Richards) . (Collins, Kim S.)
 04/06/2020                                      (Entered: 04/06/2020)




                                        PACER Service Center
                                          Transaction Receipt
                                           06/19/2020 11:27:36
                    PACER                                     Client
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                                                                        Format: html
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                                                                  8
                                                                                             UNITED STATES BANKRUPTCY COURT
                                                                  9
                                                                                              CENTRAL DISTRICT OF CALIFORNIA
                                                                 10
                                                                                                     LOS ANGELES DIVISION
                                                                 11
                                                                      In re                                       Case No. 2:20-bk-13530-BR
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                                                                    JADELLE JEWELRY AND DIAMONDS,                 Chapter 7
                                                                 13 LLC,
                                                                                                                  PUTATIVE DEBTOR'S REPLY TO
                                                                 14                        Putative Debtor.       PETITIONING CREDITORS'
                                                                                                                  OPPOSITION TO PUTATIVE DEBTOR'S
                                                                 15                                               MOTION TO DISMISS INVOLUNTARY
                                                                                                                  PETITION AND REQUEST FOR
                                                                 16                                               ATTORNEY'S FEES, COSTS, AND
                                                                                                                  DAMAGES
                                                                 17
                                                                                                                  [Request for Judicial Notice In Support of
                                                                 18                                               Reply Filed Concurrently Herewith]
                                                                 19                                               HEARING:
                                                                                                                  DATE: June 9, 2020
                                                                 20                                               TIME: 10:00 a.m.
                                                                                                                  CTRM: 1668
                                                                 21                                                      255 E. Temple Street
                                                                                                                         Los Angeles, CA 90012
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                                                                  1 TO THE HONORABLE BARRY RUSSELL, UNITED STATES BANKRUPTCY JUDGE:

                                                                  2               Jadelle Jewelry and Diamonds, LLC, the putative debtor ("Jadelle"), hereby submits this
                                                                  3 reply to the Petitioning Creditors' Opposition to Putative Debtor's Motion to Dismiss Involuntary

                                                                  4 Petition and Request for Attorney's Fees, Costs, and Damages [Docket No. 19] (the "Opposition")
                                                                  5 filed by First International Diamond, Inc. ("First International"), Peter Marco, LLC ("Marco"), and
                                                                  6 Victor Franco Noval ("Noval" and together with First International and Marco, the "Petitioning

                                                                  7 Creditors"), and in support of the Putative Debtor's Motion to Dismiss Involuntary Petition and
                                                                  8 Request for Attorney's Fees, Costs, and Damages [Docket No. 8] (the "Motion"). 1 In support of

                                                                  9 the reply and the Motion, Jadelle submits the concurrently filed Request for Judicial Notice (the

                                                                 10 "Reply RJN").
                                                                 11
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                                                                 12 I.            INTRODUCTION
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                                                                 13               This case should be dismissed for at least two independent reasons. First, the Petitioning
                                                                 14 Creditors' claims—as evidenced by their own judicial admissions and inconsistent positions—are

                                                                 15 subject to multiple bona fides disputes, rendering all three ineligible to commence this case. See
                                                                 16 Dep't of Revenue v. Blixseth, 942 F.3d 1179, 1186 (9th Cir. 2019). Second, the Petitioning

                                                                 17 Creditors commenced this case in bad faith and for an improper purpose.

                                                                 18               Despite the Petitioning Creditors' incredible position, the law is clear: A putative debtor
                                                                 19 may contest an involuntary petition by a Rule 12(b)(6) motion to dismiss (and in lieu of an

                                                                 20 answer). Motions to dismiss involuntary petitions are routinely filed by alleged debtors and
                                                                 21 granted by bankruptcy courts. The Petitioning Creditors would have this Court believe that an

                                                                 22 involuntary case commenced by the form petition can never be dismissed. (See Opp'n at 7, line 27

                                                                 23 to 8, line 2.) However, as even the cases cited by the Petitioning Creditors recognize, this is not
                                                                 24 the law. Whether a Rule 12(b)(6) motion to dismiss an involuntary petition should be granted
                                                                 25 depends on the particular facts and circumstances of the case.

                                                                 26

                                                                 27       1
                                                                                  Capitalized terms not expressly defined herein shall have the meanings ascribed to them in the
                                                                 28 Motion.


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                                                                  1               Here, the unique facts of this case require dismissal of the Involuntary Petition. The

                                                                  2 unique facts are properly before this Court based on two doctrines. First, the Petitioning Creditors'

                                                                  3 statements under penalty of perjury or in legal pleadings constitute conclusively binding judicial

                                                                  4 admissions. The Petitioning Creditors fail to address this critical issue. Second, the Petitioning
                                                                  5 Creditors' allegations in publically available pleadings are treated as judicially noticed and
                                                                  6 established facts for purposes of the Motion. To be clear, Jadelle is not requesting that the Court

                                                                  7 take judicial notice of the truth of the Petitioning Creditors' disputed allegations. Rather, for
                                                                  8 purposes of the Motion, Jadelle asks that the Court take judicial notice that the Petitioning

                                                                  9 Creditors made such allegations.

                                                                 10               The Petitioning Creditors' judicial admissions and judicially noticeable facts establish that
                                                                 11 their claims are subject to multiple bona fide disputes. As detailed below, the Petitioning
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                                                                 12 Creditors seek amounts they cannot recover as a matter of law. The Petitioning Creditors seek
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                                                                 13 unproven amounts based on disputed allegations of fraud. Moreover, all three Petitioning
                                                                 14 Creditors have taken inconsistent positions regarding the amount of their own claims. The fact

                                                                 15 that the Petitioning Creditors attempted to understate their claims to improperly satisfy the Code's
                                                                 16 eligibility requirements demonstrates that they know that bona fide disputes exist.

                                                                 17               Tellingly, the Petitioning Creditors have not provided any substantive response to the bona
                                                                 18 fide disputes identified by Jadelle. Instead, the Petitioning Creditors seek to delay the inevitable,
                                                                 19 arguing that the Court cannot determine that such (plainly evident) disputes exist at this time and

                                                                 20 based on the evidentiary record before it. The Petitioning Creditors are wrong. In deciding a Rule
                                                                 21 12(b)(6) motion, courts are not required to assume as true any allegations contradicted by judicial

                                                                 22 admissions and judicially noticeable facts. Here, the Petitioning Creditors' admissions and the

                                                                 23 facts subject to judicial notice contradict and prove inaccurate the single, bare bones legal
                                                                 24 conclusion in the Involuntary Petition that they are "eligible to file this petition under 11 U.S.C.
                                                                 25 § 303(b)." Thus, the Petitioning Creditors have failed to state a claim for relief and the

                                                                 26 Involuntary Petition must be dismissed.

                                                                 27               The Court is not required to provide creditors with an opportunity to join the Involuntary
                                                                 28 Petition. Realizing they are not eligible, the Petitioning Creditors again seek delay, hoping that


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                                                                  1 some other alleged creditor will save their improper filing. However, the Petitioning Creditors'

                                                                  2 position is squarely contradicted by Ninth Circuit law and the plain language of the Bankruptcy

                                                                  3 Rules. Because the Involuntary Petition was not filed by fewer than three petitioning creditors,

                                                                  4 notice to other creditors and an opportunity to join the petition is not required. See Fed. R. Bank.
                                                                  5 P. 1003(b); see also In re Vortex Fishing Systems, Inc., 277 F.3d 1057, 1072 (9th Cir. 2002).
                                                                  6 Thus, there is no procedural impediment to the Court granting the Motion at this time. Moreover,

                                                                  7 dismissal of the case now is consistent with the requirement that courts resolve contested
                                                                  8 involuntary cases at the "earliest possible time and forthwith" by dispositive order. See In re

                                                                  9 Vortex Fishing Systems, Inc., 277 F.3d 1057, 1061 (9th Cir. 2002) (quoting Bankruptcy Rule

                                                                 10 1013(a)).
                                                                 11               Alternatively, the Court can dismiss the Involuntary Petition because it was filed in bad
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                                                                 12 faith. The Petitioning Creditors do not seem to seriously dispute that they are forum shopping, but
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                                                                 13 argue that this Court lacks the power to do anything about it. The Petitioning Creditors' assertion
                                                                 14 that the Ninth Circuit does not recognize bad faith as a basis for dismissal of an involuntary

                                                                 15 petition is misleading. The Ninth Circuit has not held that involuntary petitions filed in bad faith
                                                                 16 cannot be dismissed. 2 To the contrary, courts in the Ninth Circuit and across the country have

                                                                 17 repeatedly dismissed involuntary petitions filed in bad faith. Dismissal of an involuntary petition

                                                                 18 filed in bad faith is consistent with the Code, the decisions of the United States Supreme Court and
                                                                 19 Ninth Circuit, and years of bankruptcy court jurisprudence.

                                                                 20               The evidence before the Court establishes that the Petitioning Creditors have acted in bad
                                                                 21 faith. Bankruptcy courts (including the cases cited by the Petitioning Creditors) uniformly

                                                                 22 recognize that dismissal of an involuntary petition is proper where petitioning creditors fail to first

                                                                 23 exhaust their state law remedies. Here, the recently-commenced pending lawsuits by Marco and
                                                                 24 Noval demonstrate that state law remedies exist and were far from exhausted prior to the filing of
                                                                 25 the Involuntary Petition. The Petitioning Creditors sought to move the pending litigation to this

                                                                 26 Court only after the Noval Action was stayed in an effort to circumvent that ruling and obtain

                                                                 27       2
                                                                            In fact, as discussed below, in an unpublished opinion, the Ninth Circuit upheld the dismissal of
                                                                 28 involuntary petitions filed in bad faith.


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                                                                  1 relief on their disputed allegations to which they are not entitled. The Petitioning Creditors'

                                                                  2 inconsistent positions and false statements in furtherance of the Involuntary Petition provide

                                                                  3 further grounds for a finding of bad faith warranting dismissal of the case.

                                                                  4               Accordingly, Jadelle respectfully requests that the Court immediately dismiss the

                                                                  5 Involuntary Petition and award Jadelle attorney's fees and costs and compensatory and punitive
                                                                  6 damages, subject to proof.

                                                                  7
                                                                  8 II.           A FORM INVOLUNTARY PETITION CAN BE DISMISSED UNDER RULE
                                                                  9               12(B)(6)
                                                                 10               A.     A Putative Debtor May Contest an Involuntary Petition by a Rule 12(b)(6)
                                                                 11                      Motion
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                                                                 12               A putative debtor may seek dismissal of an involuntary petition pursuant to Rule 12(b)(6).
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                                                                 13 Bankruptcy Rule 1011(b) expressly authorizes an alleged debtor to contest an involuntary petition
                                                                 14 in the manner prescribed by Rule 12. Rule 12, in turn, provides for the filing of several dispositive

                                                                 15 motions, including a motion to dismiss pursuant to Rule 12(b). Numerous courts have recognized
                                                                 16 that an involuntary petition may be contested pursuant to Rule 12(b)(6) (including decisions cited

                                                                 17 by the Petitioning Creditors). See, e.g., In re Taub, 439 B.R. 261, 270 (Bankr. E.D.N.Y. 2010);

                                                                 18 see also In re QDOS, Inc., 607 B.R. 338, 345 (B.A.P. 9th Cir. 2019) ("An involuntary debtor may
                                                                 19 initially contest the involuntary petition through a Civil Rule 12(b)(6) motion. . . ."). Thus,

                                                                 20 contrary to the Petitioning Creditors' arguments, there is nothing improper with contesting an
                                                                 21 involuntary petition by a Rule 12(b)(6) motion. In fact, the Motion is the proper, efficient, and

                                                                 22 sensible way to resolve Petitioning Creditors' ill-conceived and impermissible involuntary petition.

                                                                 23               B.     The Form Involuntary Petition Is Not, as a Matter of Law, Immune From a
                                                                 24                      Rule 12(b)(6) Motion to Dismiss
                                                                 25               The Petitioning Creditors' assertion that a properly completed form petition defeats a Rule

                                                                 26 12(b)(6) motion to dismiss as a matter of law is wrong. (See Opp'n at 7, line 27 to 8, line 2.) The

                                                                 27 Petitioning Creditors have not provided any binding or persuasive authority for this position. The

                                                                 28 Ninth Circuit BAP certainly did not make any such proclamation in QDOS. In QDOS, the BAP


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                                                                  1 recognized that a Rule 12(b)(6) motion may be filed and that granting a motion to dismiss may be

                                                                  2 proper if the petitioners fail to plausibly allege that they meet the standards of § 303. See In re

                                                                  3 QDOS, Inc., 607 B.R. 338, 345 (B.A.P. 9th Cir. 2019).

                                                                  4               The unpublished decision in Rambo Imaging is distinguishable. In fact, that decision

                                                                  5 supports Jadelle's position that, in evaluating a Rule 12(b)(6) motion to dismiss a form petition, the
                                                                  6 court "considers facts of which it takes judicial notice." See In re Rambo Imaging, L.L.P., 2007

                                                                  7 WL 3376163, at *12 (Bankr. W.D. Texas 2007). In Rambo Imaging, the petitioner seemed to
                                                                  8 concede that the amount of its claim was disputed, but argued "that a portion of the claim has not

                                                                  9 been disputed at all, and that such amount exceeds the amount necessary under § 303(b)(1)" to

                                                                 10 render it eligible. See id. at *13. Thus, had the Rambo Imaging decision been decided in the
                                                                 11 Ninth Circuit (where courts must follow Blixseth), the outcome may have been different. In the
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                                                                 12 end, Rambo Imaging stands for the unremarkable position that, in that case, the form petition was
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                                                                 13 sufficient to defeat the putative debtor's motion to dismiss. See id. at *11 (stating its conclusion
                                                                 14 "that the use of the Official Form in this case should be found sufficient to overcome the Rule

                                                                 15 12(b)(6) challenge." (emphasis added)).
                                                                 16               There is no blanket rule that a properly completed form petition always survives a Rule
                                                                 17 12(b)(6) motion to dismiss. Again, whether a Rule 12(b)(6) motion should be granted depends on

                                                                 18 the particular facts of the case. Moreover, the Petitioning Creditors are wrong that case law
                                                                 19 applying Rule 12(b)(6) outside of the bankruptcy context is irrelevant. (See Opp'n at 6, note 2.)

                                                                 20 As recognized by the Ninth Circuit BAP in QDOS, "Rule 12(b)(6) applies in a contested
                                                                 21 involuntary situation just as it does generally. . . ." See In re QDOS, Inc., 607 B.R. at 345

                                                                 22 (emphasis added). Thus, a form petition may be dismissed based on the rules that typically govern

                                                                 23 a Rule 12(b)(6) motion to dismiss whether inside or outside of the bankruptcy context.
                                                                 24
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                                                                  1 III.          COURTS DISMISS COMPLAINTS BASED ON JUDICIAL ADMISSIONS AND
                                                                  2               FACTS SUBJECT TO JUDICIAL NOTICE
                                                                  3               A.     The Petitioning Creditors' Assertions Constitute Binding Judicial Admissions
                                                                  4               Factual assertions in pleadings constitute judicial admissions and conclusively prove the
                                                                  5 facts admitted. See Am. Title Ins. Co. v. Lacelaw Corp., 861 F.2d 224, 226 (9th Cir. 1988).
                                                                  6 Judicial admissions are "binding on the parties and the Court." See id. Judicial admissions "have

                                                                  7 the effect of withdrawing a fact from issue and dispensing wholly with the need for proof of the
                                                                  8 fact." Id. Also, unlike ordinary evidentiary admissions, judicial admissions cannot be refuted

                                                                  9 with evidence or otherwise. In sum, a judicial admission is conclusive, binding, and may not be

                                                                 10 controverted or explained by the party who made it. See Lacelaw Corp., 861 F.2d at 226; see also
                                                                 11 Martinez v. Bally's Louisiana, Inc., 244 F.3d 474, 476-77 (5th Cir. 2001); Hon. Barry Russell,
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                                                                 12 Bankruptcy Evidence Manual § 801.22 (2018-2019 ed., vol. 2). Statements in complaints,
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                                                                 13 declarations and other pleadings constitute binding judicial admissions. See Lacelaw Corp., 861
                                                                 14 F.2d at 226; see also Hornberger v. Merrill Lynch, Pierce, Fenner & Smith, Inc., 2015 WL

                                                                 15 13310465, at *3 (C.D. Cal. 2015), aff'd, 677 F. Appx. 336 (9th Cir. 2017) (treating statements in a
                                                                 16 declaration as judicial admissions conclusively binding on the party who filed it). Thus, the

                                                                 17 statements and assertions by the Petitioning Creditors in their complaints and declarations are

                                                                 18 conclusively binding on them.
                                                                 19               B.     Jadelle's Request for Judicial Notice Is Proper and Should Be Granted
                                                                 20               Attached to the Request for Judicial Notice (the "RJN") that Jadelle filed with the Motion
                                                                 21 are eight items. Each item is a matter of public record obtained from a court docket, i.e., the

                                                                 22 Petitioning Creditors' complaints, the court dockets for the non-bankruptcy actions, and a court

                                                                 23 minute order. These items are all "capable of accurate and ready determination by resort to
                                                                 24 sources whose accuracy cannot reasonably be questioned." See Fed. R. Evid. 201(b).
                                                                 25               The Court can "take judicial notice of pleadings and court orders filed in related actions."

                                                                 26 See N. Face Apparel Corp. v. Dahan, 2014 WL 12596716, at *1 (C.D. Cal. 2014); see also Khoja

                                                                 27 v. Orexigen Therapeutics, Inc., 899 F.3d 988, 999 (9th Cir. 2018) (stating that a court may take

                                                                 28 judicial notice of public records). Moreover, the Court can properly take judicial notice of the fact


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                                                                  1 that (1) litigation is pending in other forums, (2) the pleadings attached to the RJN were filed, and

                                                                  2 (3) the assertions contained in pleadings attached to the RJN were made. See, e.g., In re NC and

                                                                  3 VA Warranty Company, Inc., 554 B.R. 110, 121 (Bankr. M.D. N.C. 2016) (taking judicial notice

                                                                  4 of the fact that the debtor made certain allegations contained in a complaint, as opposed to
                                                                  5 assuming the truth of the allegations); Yeager v. Bowlin, 2008 WL 3289481, at *3 (E.D. Cal.
                                                                  6 2008) (recognizing the distinction between judicial notice of the "'truth of the substantive content"

                                                                  7 in pleadings and the "fact and content" of the pleadings).
                                                                  8               Jadelle is not requesting that the Court take judicial notice of the truth of the assertions
                                                                  9 contained in the pleadings attached to the RJN. Instead, Jadelle requests that the Court take

                                                                 10 judicial notice that the Petitioning Creditors made and are bound by the assertions in those
                                                                 11 pleadings, which were prepared and submitted by Petitioning Creditors. This is an important
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                                                                 12 distinction that the Petitioning Creditors fail to appreciate. 3 For example, Jadelle is not requesting
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                                                                 13 that this Court take judicial notice that Noval is actually entitled to $7 million in damages, but,
                                                                 14 instead, that Noval asserts that he is entitled to at least that amount subject to proof (i.e., an

                                                                 15 amount he is not entitled to as a matter of law). Moreover, while the truth of the Petitioning
                                                                 16 Creditors' assertions may be in dispute, the fact that the Petitioning Creditors made them is not.

                                                                 17 Jadelle will not belabor the point because it is aware that this Court literally wrote the book on

                                                                 18 evidence in bankruptcy cases.
                                                                 19               The Petitioning Creditors' alleged due process concerns are curious. Incredibly, the
                                                                 20 Petitioning Creditors argue that judicial notice is not proper because it will deprive them of the
                                                                 21 opportunity to cross examine witnesses. In this case, those witnesses are themselves. Jadelle

                                                                 22 requests that the Court take judicial notice of the Petitioning Creditors' own assertions, which

                                                                 23 reveal numerous inconsistencies, including several that were made under oath. Moreover, as
                                                                 24 discussed above, the Petitioning Creditors are not entitled to controvert their judicial admissions in
                                                                 25 a futile attempt to save the Involuntary Petition from dismissal. The Petitioning Creditors'

                                                                 26 desperate assertion that their own statements in their pleadings constitute inadmissible hearsay is

                                                                 27       3
                                                                            For this reason, the cases cited by the Petitioning Creditors for the proposition that the Court cannot
                                                                 28 take judicial notice of the truth of their allegations in their pleadings is of little value to the Court's analysis.


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                                                                  1 inaccurate as they would be excepted as admissions by party opponents. See Fed. R. Evid. 801(d).

                                                                  2 Thus, Jadelle's request for judicial notice is proper and should be granted, and the judicial

                                                                  3 admissions and judicially noticeable facts should be considered by the Court.

                                                                  4               C.     Courts Are Not Required to Accept as True Allegations that Are Contradicted
                                                                  5                      by Judicial Admissions and Judicially Noticeable Facts
                                                                  6               In deciding a Rule 12(b)(6) motion to dismiss, courts are not required to accept as true

                                                                  7 allegations in an involuntary petition that are contradicted by the petitioners' judicial admissions or
                                                                  8 by facts subject to judicial notice.

                                                                  9                      The court need not, however, accept as true allegations that contradict
                                                                                         matters properly subject to judicial notice or by exhibit. Nor is the
                                                                 10                      court required to accept as true allegations that are merely conclusory,
                                                                                         unwarranted deductions of fact, or unreasonable inferences.
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                                                                 12 Sprewell v. Golden State Warriors, 266 F.3d 979, 988 (9th Cir.), opinion amended on denial of
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                                                                 13 reh'g, 275 F.3d 1187 (9th Cir. 2001) (internal citation omitted); see also Daniels-Hall v. Nat'l
                                                                 14 Educ. Ass'n, 629 F.3d 992, 998 (9th Cir. 2010) ("We are not, however, required to accept as true

                                                                 15 allegations that contradict exhibits attached to the Complaint or matters properly subject to judicial
                                                                 16 notice, or allegations that are merely conclusory, unwarranted deductions of fact, or unreasonable

                                                                 17 inferences."). Judicial admissions are also properly considered on a motion to dismiss. See

                                                                 18 Hornberger v. Merrill Lynch, Pierce, Fenner & Smith, Inc., 2015 WL 13310465, at *3 (C.D. Cal.
                                                                 19 2015), aff'd, 677 F. Appx. 336 (9th Cir. 2017).

                                                                 20               Courts grant Rule 12(b)(6) motions and dismiss complaints based on the plaintiff's judicial
                                                                 21 admissions. See Maloney v. Scottsdale Ins. Co., 256 F. Appx. 29, 31–32 & 32, n. 3 (9th Cir.

                                                                 22 2007) (affirming the district court's dismissal of a complaint under Rule 12(b)(6) based on

                                                                 23 plaintiff's judicial admissions); see also Armstrong v. JP Morgan Chase Bank Nat. Ass'n, 633
                                                                 24 Fed.Appx. 909, 911-92 (10th Cir. 2015) (affirming the district court's grant of a 12(b)(6) motion
                                                                 25 based on the plaintiff's judicial admissions in the bankruptcy case). Courts can also dismiss

                                                                 26 complaints under Rule 12(b)(6) based on judicially noticeable facts. See Intri-Plex Technologies,

                                                                 27 Inc. v. Crest Group, Inc., 499 F.3d 1048, 1052 (9th Cir. 2007) (affirming the district court's grant

                                                                 28 of motion to dismiss where district court considered pleadings on file in another action).


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                                                                  1               Thus, the Petitioning Creditors' judicial admissions and the facts subject to judicial notice

                                                                  2 can be considered by the Court in deciding the Motion and evaluating the sufficiency of the

                                                                  3 Involuntary Petition's allegations. The Court is not required to assume as true any allegations that

                                                                  4 are contradicted by the Petitioning Creditors' judicial admissions and the facts subject to judicial
                                                                  5 notice.
                                                                  6

                                                                  7 IV.           THE PETITIONING CREDITORS ARE NOT ELIGIBLE BECAUSE THEIR
                                                                  8               CLAIMS ARE SUBJECT TO BONA FIDE DISPUTES
                                                                  9               The Petitioning Creditors' allegations regarding the purported merits of their claims hinge

                                                                 10 on the following single general and conclusory statement in the Involuntary Petition:
                                                                 11                      Each petitioner is eligible to file this petition under 11 U.S.C.
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                                                                 12                      § 303(b).
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                                                                 13 (See RJN, Ex. 1 at Bates Stamp 6.) This statement is not afforded a presumption of truth because
                                                                 14 it is a legal conclusion. Moreover, it is contradicted by the existence and nature of the pending

                                                                 15 litigation and the Petitioning Creditors' judicial admissions and the facts subject to judicial notice.
                                                                 16 As such, the Petitioning Creditors have failed to establish that they hold non-contingent claims

                                                                 17 that are not subject to a bona fide dispute as to liability or amount.

                                                                 18               A.     Pending Litigation Is Evidence of a Bona Fide Dispute
                                                                 19               Pending litigation is evidence that bona fide disputes exist. "Bankruptcy courts routinely

                                                                 20 consider the existence and character of pending but unresolved litigation as evidence of a bona
                                                                 21 fide dispute." In re Green Hills Dev. Co., L.L.C., 741 F.3d 651, 659 (5th Cir. 2014) (emphasis

                                                                 22 added); see also In re TPG Troy, LLC, 492 B.R. 150, 159-60 (Bankr. S.D.N.Y. 2013),

                                                                 23 subsequently aff'd, 793 F.3d 228 (2d Cir. 2015) (stating that courts have held that the existence of
                                                                 24 pending litigation strongly suggests the existence of a bona fide dispute).
                                                                 25               The Ninth Circuit did not, in Vortex Fishing Systems, take a contrary position. Rather, the
                                                                 26 Ninth Circuit recognized that the mere existence of litigation, standing alone, is not enough to

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                                                                  1 establish a bona fide dispute. 4 See In re Vortex Fishing Systems, Inc., 277 F.3d 1057, 1066 (9th

                                                                  2 Cir. 2002). The Ninth Circuit recognized that "the existence of affirmative defenses may suggest

                                                                  3 that a bona fide dispute exists." See id. at 1067. Thus, the Ninth Circuit's discussion in Vortex

                                                                  4 Fishing is not inconsistent with the position and authorities asserted in the Motion. While the
                                                                  5 existence of pending litigation may not per se establish that a bona fide dispute exists, it is
                                                                  6 evidence that bona fide disputes exist.

                                                                  7               Here, there is no dispute that each Petitioning Creditor's claim is to some extent subject to
                                                                  8 litigation. Noval commenced suit against Jadelle. While Marco excluded Jadelle from the Marco

                                                                  9 Action due to this case, it is clear by his inconsistent statements that he is concurrently pursuing

                                                                 10 the same claim against Mr. Rechnitz and Jadelle in different forums. The majority of First
                                                                 11 International's claim is being pursued by Marco in the Marco Action. Moreover, as demonstrated
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                                                                 12 by their declarations, the Petitioning Creditors base their claims on inherently fact intensive (and
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                                                                 13 unproven and disputed) allegations of fraud. The Petitioning Creditors also seek damages that
                                                                 14 they have yet to quantify or prove. This is all evidence that bona fide disputes exist.

                                                                 15               B.      The Petitioning Creditors' Claims Are Subject to Bona Fide Dispute Based on
                                                                 16                       the Application of the Judicial Admissions Doctrine and Judicial Notice
                                                                 17               A dispute as to any portion of a petitioning creditor's claim renders it ineligible. See Dep't

                                                                 18 of Revenue v. Blixseth, 942 F.3d 1179, 1186 (9th Cir. 2019). The Ninth Circuit has adopted an
                                                                 19 objective test for determining whether a bona fide dispute exists. See In re Vortex Fishing

                                                                 20 Systems, Inc., 277 F.3d 1057, 1065 (9th Cir. 2002). A bona fide dispute exists if there is either a
                                                                 21 dispute as to a material fact or a meritorious contention of law as to the amount or liability of a

                                                                 22 petitioning creditor's claim. See id. (quoting In re Lough, 57 B.R. 993, 996-97 (Bankr. E.D. Mich.

                                                                 23
                                                                 24
                                                                          4
                                                                                  The first case cited by the Ninth Circuit for this proposition, In re Ross, declined to adopt a per se
                                                                 25 rule that the mere pendency of litigation creates a bona fide dispute based on the facts of the case, which

                                                                 26 appeared to involve a particularly litigious putative debtor. See In re Ross, 63 B.R. 951, 960 (Bankr.
                                                                    S.D.N.Y. 1986) ("The facts of this case have caused this court to conclude that it must reject any idea that
                                                                 27 the mere pendency of a lawsuit relative to a petitioner's claim creates a bona fide dispute. Ross' capacity for
                                                                    litigation makes it apparent that adoption of such a per se rule would allow any debtor to avoid or defeat an
                                                                 28 involuntary petition simply through engaging in litigation.").


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                                                                  1 1986)). Courts are not to adjudicate the disputes, but merely ascertain whether they exist. See In

                                                                  2 re Mountain Dairies, Inc., 372 B.R. 623, 633 (Bankr. S.D.N.Y. 2007).

                                                                  3                      1.      Noval's Alleged Claim Is Subject to Bona Fide Disputes Based on
                                                                  4                              Judicial Admissions and Judicially Noticeable Facts
                                                                  5               Noval's judicial admissions and the judicially noticeable facts demonstrate that Noval's
                                                                  6 claim is subject to at least the following bona fide disputes:

                                                                  7               Noval's judicial admissions establish that he seeks amounts that he cannot recover as a
                                                                  8 matter of law. Noval asserts he made loans to Jadelle. (See RJN, Ex. 2 at Bates Stamp 22, ¶¶ 14-

                                                                  9 16.) The fact that Noval seeks damages of at least $7 million based on the alleged value of the

                                                                 10 diamonds he asserts served as the collateral for his loans constitutes a judicial admission and is
                                                                 11 subject to judicial notice. (See RJN, Ex. 2 at Bates Stamps 22, 24, and 30 ¶¶ 16, 29, and 60.)
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                                                                 12 However, as a purported lender, at most, Noval would be entitled to repayment of his loan, and not
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                                                                 13 the value of the collateral in excess of the loan. Thus, the amount of Noval's claim, as articulated
                                                                 14 by Noval, is subject to bona fide dispute as a matter of law.

                                                                 15               Noval's judicial admissions establish that his claim is overstated because he did not reduce
                                                                 16 his claim to account for payments he admittedly received. In the Noval Complaint, Noval asserts

                                                                 17 that, due to advances, the loan increased to $5,800,000. (See RJN, Ex. 2 at Bates Stamp 23, ¶ 17.)

                                                                 18 Noval testifies that in calculating his claim for the Involuntary Petition ($5,800,000) he included
                                                                 19 the principal amount of the alleged loans. (See Reply RJN, Ex. 1, Noval Decl., at Bates Stamp 9,

                                                                 20 ¶ 12, lines 22-24; see also id., Ex. 2, Richards Decl., at Bates Stamp 28, ¶ 11, lines 3-5.) Noval
                                                                 21 admits that he was paid $400,000 and that such sum was "credited against principal[.]" (See RJN,

                                                                 22 Ex. 2 at Bates Stamp 23, ¶ 18.) These conflicting judicial admissions by Noval in the Noval

                                                                 23 Complaint and the Noval Declaration demonstrate a dispute as to the amount of Noval's claim. He
                                                                 24 did not reduce the principal amount asserted by the payment he admittedly received. As a matter
                                                                 25 of law, Noval cannot recover more than he allegedly loaned, less payments received, as he is

                                                                 26 admittedly attempting to do.

                                                                 27               Noval's inconsistent positions under penalty of perjury and admitted attempt to understate

                                                                 28 his claim to become eligible demonstrates that bona fides dispute exists. Noval seeks damages "in


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                                                                  1 an amount to be proven at trial, but at least $7,000,000[,]" plus treble damages, attorney's fees,

                                                                  2 costs of suit, and punitive damages. (See RJN, Ex. 2 at Bates Stamps 30, ¶ 60, and at Bates

                                                                  3 Stamp 33.) However, Noval testifies that, in calculating his claim for the Involuntary Petition, he

                                                                  4 did not include the full amount he is concurrently seeking to collect, but only "the principal
                                                                  5 amount that had absolutely no chance of being disputed." (See Reply RJN, Ex. 1, Noval Decl.,
                                                                  6 at Bates Stamp 9, ¶ 12, lines 22-24; see also id., Ex. 2, Richards Decl., at Bates Stamp 28, ¶ 11,

                                                                  7 lines 3-5.) First, Noval's inconsistent positions and gamesmanship should not be rewarded.
                                                                  8 Second, Noval's reduction of his claim in an attempt to become eligible reflects he is aware that

                                                                  9 bona fide disputes exist and "raises serious concerns over the legitimacy over" Noval's entire

                                                                 10 claim. See In re Mountain Dairies, Inc., 372 B.R. 623, 634 (Bankr. S.D.N.Y. 2007).
                                                                 11               A bona fide dispute exists regarding whether the full amount allegedly loaned is currently
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                                                                 12 due. Noval asserts that the maturity dates for the amounts advanced in excess of the loans
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                                                                 13 identified in the Noval Agreement are set forth in the Noval Agreement. (See RJN, Ex. 2 at Bates
                                                                 14 Stamp 22, ¶ 15; see also Reply RJN, Ex. 1 at Bates Stamp 6, ¶ 5.) However, the Noval

                                                                 15 Agreement, which is attached to both the Noval Complaint and the Noval Declaration, contradicts
                                                                 16 Noval's assertion. The fact that the Noval Agreement expressly identifies loans totaling only

                                                                 17 $2.85 million is subject to judicial notice. The inconsistency between Noval's position and the

                                                                 18 agreement upon which he relies evidences the bona fide dispute that exists as to whether any
                                                                 19 amounts in excess of the Noval Agreement are currently due.

                                                                 20               Noval's judicial admissions establish that he is charging usurious interest. Noval's
                                                                 21 assertion in the Noval Complaint that interest is to be calculated at "9% per month" is a judicial

                                                                 22 admission and is subject to judicial notice. (See RJN, Ex. 2 at Bates Stamp 22, ¶ 15.) Noval has

                                                                 23 not disputed that he is calculating his claim with 9% interest per month. However, the fact that the
                                                                 24 Noval Agreement, on its face, provides for interest of only 9% per annum, and not per month, is
                                                                 25 subject to judicial notice. (See RJN, Ex. 2 at Bates Stamp 37.) Thus, Noval's judicial admissions

                                                                 26 and the facts subject to judicial notice demonstrate that Noval is charging usurious interest and

                                                                 27 interest that is contrary to the plain language of the Noval Agreement.

                                                                 28


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                                                                  1               By his own admission, Noval seeks damages that he has yet to quantify or prove. Noval

                                                                  2 asserts a claim in an "amount to be proven at trial, but at least $7,000,000[,]" plus alleged treble

                                                                  3 damages, attorney's fees, costs of suit, and punitive damages. (See RJN, Ex. 2 at Bates Stamps

                                                                  4 33.) The fact that Noval seeks unspecified damages that he hopes to prove is a judicial admission
                                                                  5 and is subject to judicial notice. Thus, according to Noval, his claim includes unknown,
                                                                  6 unliquidated, and unproven amounts.

                                                                  7                      2.      Marco's Alleged Claim Is Subject to Bona Fide Disputes Based on
                                                                  8                              Judicial Admissions and Judicially Noticeable Facts
                                                                  9               Marco's judicial admissions and the judicially noticeable facts demonstrate that Marco's

                                                                 10 claim is subject to at least the following bona fide disputes:
                                                                 11               Marco admits that the amount of his claim in the Involuntary Petition is overstated and is
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                                                                 12 not recoverable as a matter of law. In the Marco Complaint, Marco states that the amount listed in
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                                                                 13 the Involuntary Petition under penalty of perjury ($7,676,744.00) is inaccurate, and that the
                                                                 14 correct amount is approximately $700,000 less. (See RJN, Ex. 7 at Bates Stamp 91, ¶ 9, "The

                                                                 15 correct amount is $6,950,444.40." (emphasis added).) Marco's concession in the Marco
                                                                 16 Complaint is a judicial admission that the amount of his claim is inaccurate. For this reason alone,

                                                                 17 Marco's claim is subject to a bona fide dispute.

                                                                 18               Marco's judicial admissions prove that he has no claim against Jadelle. Marco is taking
                                                                 19 inconsistent positions in different forums to recover the same claim. According to Marco, he

                                                                 20 consigned jewelry to Mr. Rechnitz, as opposed to Jadelle. (RJN, Ex. 7 at Bates Stamp 99, ¶ 33.)
                                                                 21 Marco's position that he consigned the jewelry to Mr. Rechnitz, as opposed to Jadelle, constitutes

                                                                 22 a judicial admission and is subject to judicial notice. Thus, due to Marco's inconsistent statements,

                                                                 23 Marco has no claim against Jadelle as a matter of law and Marco's alleged claim against Jadelle is
                                                                 24 subject to a bona fide dispute.
                                                                 25               Marco and First International are both seeking to recover, in part, the same claim. Marco's

                                                                 26 claim includes a particular item allegedly owned by First International. (See RJN, Ex. 7 at Bates

                                                                 27 Stamp 100, lines 9-10.) However, Mr. Oved Anter has submitted a declaration asserting that this

                                                                 28 same item is included in the jewelry he consigned to Jadelle. (See Reply RJN, Ex. 4 at Bates


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                                                                  1 Stamps 82, ¶ 5.) The Petitioning Creditors have not disputed that both Marco and First

                                                                  2 International include the same item in their respective claims. This undisputed fact evidenced by

                                                                  3 the judicial admissions of Marco and First International and the judicially noticeable facts

                                                                  4 demonstrate that both their claims are subject to bona fide disputes.
                                                                  5               Like Noval, Marco seeks damages that he has yet to quantify or prove. In the Marco
                                                                  6 Action, Marco is seeking damages to be proven at trial, but at least $6,950,444.40, plus treble

                                                                  7 damages, punitive damages, interest, and attorney's fees. (See RJN, Ex. 7 at Bates Stamps 117-
                                                                  8 120, ¶¶ 90, 98, 104, and 105.) Therefore, by Marco's own admission, his total claim has yet to be

                                                                  9 liquidated, quantified, or proven.

                                                                 10                      3.      First International's Alleged Claim Is Subject to Bona Fide Disputes
                                                                 11                              Based on Judicial Admissions and Judicially Noticeable Facts
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                                                                 12               The Petitioning Creditors' judicial admissions and the judicially noticeable facts
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                                                                 13 demonstrate that First International's claim is subject to at least the following bona fide disputes:
                                                                 14               As discussed above, First International and Marco are attempting to collect, in part, on the

                                                                 15 same claim. According to the Mr. Anter's declaration, First International's claim includes a piece
                                                                 16 of jewelry identified as "13.62 PS D-VVSI GIA, Harry Winston Mt/tr" in the amount of

                                                                 17 $1,200,000. (See Reply RJN, Ex. 4, Anter Decl., at ¶ 5 (emphasis added); see also id., at Bates

                                                                 18 Stamp 026.) Marco's alleged claim includes the same piece of jewelry in the amount of
                                                                 19 $1,333,695. (See RJN, Ex. 7 at Bates Stamp 100, lines 9-10; see also Reply RJN, Ex. 3, Marco

                                                                 20 Decl., at Bates Stamp 71, referencing "EID MT 5072 13.62 D/VVS1".) Thus, the judicial
                                                                 21 admissions and judicially noticeable facts set forth in the Marco Complaint, the Marco

                                                                 22 Declaration, and the Anter Declaration establish that Marco and First International include the

                                                                 23 same piece of jewelry in their respective claims. This is not disputed by the Petitioning Creditors.
                                                                 24 As a matter of law, Jadelle cannot be required to pay the same claim twice. The fact that both
                                                                 25 First International and Marco are seeking to recover on account of the same item creates bona fide

                                                                 26 disputes as to both claims.

                                                                 27               Like Noval and Marco, First International has taken inconsistent positions regarding the

                                                                 28 amount of its claim under penalty of perjury. Mr. Anter testifies that First International is


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                                                                  1 allegedly owed $2,826,890. (See, e.g., Reply RJN, Ex. 4, Anter Decl., at 3, ¶ 4.) However,

                                                                  2 according to the Involuntary Petition, First International represents under penalty of perjury that

                                                                  3 the amount of its claim is $1,976,255. (See RJN, Ex. 1 at Bates Stamp 7.) First International has

                                                                  4 submitted conflicting statements under penalty of perjury regarding the amount of its claim. First
                                                                  5 Internationals' conflicting judicial admissions are proof that the amount it actually asserts is in
                                                                  6 bona fide dispute.

                                                                  7               In sum, each Petitioning Creditor's claim is subject to multiple specific bona fide disputes
                                                                  8 as to liability or amount based on the Petitioning Creditors' judicial admissions and the facts that

                                                                  9 are subject to judicial notice. The Petitioning Creditors have not provided any substantive

                                                                 10 argument to refute that these disputes exist. The Petitioning Creditors' assertions that there is no
                                                                 11 admissible evidence of the disputes asserted by Jadelle is wrong. The Petitioning Creditors ask
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                                                                 12 this Court to ignore the consequences of their own actions and assertions. Due to the judicial
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                                                                 13 admissions and judicially noticeable facts identified above, the legal conclusion in the Involuntary
                                                                 14 Petition that the Petitioning Creditors are eligible to commence this case is not only not entitled to

                                                                 15 an assumption of truth, but it is clearly inaccurate. Thus, the Petitioning Creditors have failed to
                                                                 16 meet the minimal threshold to state a claim that they are eligible under § 303.

                                                                 17               In addition, the Petitioning Creditors' assertion that Jadelle did not dispute their respective
                                                                 18 claims prior to filing the Motion is demonstrably false and raises serious questions, unfortunately,
                                                                 19 regarding their credibility and candor with the Court. The falsity of this assertion was squarely

                                                                 20 demonstrated in Jadelle's opposition to the Petitioning Creditors' motion for a trustee. (See Opp'n
                                                                 21 to Mot. for Trustee at 9, lines 2-19.)

                                                                 22

                                                                 23 V.            THE BANKRUPTCY RULES AND THE NINTH CIRCUIT DO NOT REQUIRE
                                                                 24               AN ANSWER OR NOTICE TO CREDITORS
                                                                 25               Jadelle is not required to answer and the Court is not required to provide an opportunity for

                                                                 26 creditors to join the Involuntary Petition. The Petitioning Creditors' pleas to the contrary ignore

                                                                 27 the plain language of the Bankruptcy Rules and Ninth Circuit law. Bankruptcy Rule 1011

                                                                 28 "expressly allows the alleged involuntary debtor to file a Civil Rule 12 motion before answering."


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                                                                  1 See In re QDOS, Inc., 607 B.R. 338, 345 (B.A.P. 9th Cir. 2019) (emphasis added). By its express

                                                                  2 terms, Bankruptcy Rule 1003 requires a list of creditors and that creditors be afforded an

                                                                  3 opportunity to join in the petition only if and unless three elements are satisfied: (1) the petition is

                                                                  4 filed by fewer than three creditors; (2) the putative debtor answers; and (3) the putative debtor
                                                                  5 alleges the existence of 12 or more creditors. The applicable portion of Bankruptcy Rule 1003
                                                                  6 states as follows:

                                                                  7                      If the answer to an involuntary petition filed by fewer than three
                                                                                         creditors avers the existence of 12 or more creditors, the debtor shall
                                                                  8                      file with the answer a list of all creditors with their addresses, a brief
                                                                                         statement of the nature of their claims, and the amounts thereof. If it
                                                                  9                      appears that there are 12 or more creditors as provided in § 303(b) of
                                                                                         the Code, the court shall afford a reasonable opportunity for other
                                                                 10                      creditors to join in the petition before a hearing is held thereon.
                                                                 11 Fed. R. Bankr. P. 1003.
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                                                                 12               The Ninth Circuit has applied Bankruptcy Rule 1003 as it is expressly written. In Vortex
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                                                                 13 Fishing Systems, Inc., the petition was filed by four creditors. See In re Vortex Fishing Systems,
                                                                 14 Inc., 277 F.3d 1057, 1063 (9th Cir. 2002). One creditor withdrew and another joined. See id.

                                                                 15 With motions by two additional creditors to join the involuntary petition pending, the bankruptcy
                                                                 16 courts dismissed the petition. The bankruptcy court found that the claims of all four petitioning

                                                                 17 creditors were subject to legal or factual disputes and that the debtor was generally paying its debts

                                                                 18 as they came due. See id. The creditors appealed, asserting, among other arguments, that the
                                                                 19 bankruptcy court was required to notify the debtor's creditors pursuant to Bankruptcy Rule

                                                                 20 1003(b). See id. at 1061.
                                                                 21               The Ninth Circuit affirmed the bankruptcy court's decision. The Ninth Circuit noted that

                                                                 22 the Bankruptcy Rules require that "'[t]he court determine the issues of a contested [involuntary]

                                                                 23 petition at the earliest practicable time and forthwith'. . . ." See id. at 1061 (alterations in original).
                                                                 24 According to the Ninth Circuit, the bankruptcy court is required to pause "in only one
                                                                 25 circumstance" — the court must assure that creditors have a reasonable opportunity to join the

                                                                 26 petition "when the alleged debtor's answer to the petition filed by fewer than three petitioners

                                                                 27 asserts that the petition fails" because three petitioning creditors are required. See id. The Ninth

                                                                 28 Circuit concluded: "[b]ecause more than three petitioners filed the initial involuntary


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                                                                  1 petition, notification of other creditors was not required under the joinder provisions of

                                                                  2 Bankruptcy Rule § 1003(b)." See id. at 1072 (emphasis added.)

                                                                  3               The BAP's decision in QDOS cannot contravene the Ninth Circuit's decision in Vortex and

                                                                  4 does not support a conclusion to the contrary. In fact, the QDOS decision confirms that the
                                                                  5 bankruptcy court can dismiss an involuntary petition without requiring an answer. In that case, the
                                                                  6 putative debtor responded to the petition with a Rule 12(b)(6) motion to dismiss on the basis that

                                                                  7 one of the three petitioners was not eligible and three petitioners were required. See In re QDOS,
                                                                  8 Inc., 607 B.R. 338, 341 (B.A.P. 9th Cir. 2019). The court was inclined to grant the motion, but

                                                                  9 did not do so because another alleged creditor belatedly joined the petition. See id. Instead, the

                                                                 10 bankruptcy court set the matter for trial. See id. However, the putative debtor did not file an
                                                                 11 answer to the petition. In the BAP's view, the bankruptcy court implicitly denied the motion to
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                                                                 12 dismiss by setting the matter for trial and, thereby, triggered the putative debtor's requirement to
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                                                                 13 file an answer. See id. at 347. Because the bankruptcy court denied the motion to dismiss, the
                                                                 14 dismissal of the petition without requiring an answer and compliance with Bankruptcy Rule 1003

                                                                 15 was procedurally improper. See id. at 345, 347. However, the BAP's decision reflects that an
                                                                 16 answer is required only if the motion to dismiss is denied (not before) and a trial is required. See

                                                                 17 id at 345.

                                                                 18               Here, the requirements of Bankruptcy Rule 1003(b) are inapplicable. First, Jadelle
                                                                 19 contested the Involuntary Petition by the Motion, as opposed by an answer. Second, like the

                                                                 20 petition in Vortex Fishing System, the petition was not filed by fewer than three petitioning
                                                                 21 creditors. As such, notification of other creditors is not required under Bankruptcy Rule 1003(b).

                                                                 22 Third, unlike the putative debtor in QDOS, Jadelle does not merely dispute that the case was

                                                                 23 commenced with too few creditors. Rather, Jadelle has demonstrated that none of the Petitioning
                                                                 24 Creditors are eligible. This is not a matter of an involuntary case filed by an insufficient number
                                                                 25 of petitioning creditors, but by no eligible petitioning creditors. Fourth, as demonstrated herein,

                                                                 26 this case can and should be dismissed by granting the Motion. A trial is not required to confirm

                                                                 27 that bona fide disputes exist, but will only result in unnecessary costs and delay the inevitable.

                                                                 28


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                                                                  1               In sum, none of the alleged procedural hurdles advanced by the Petitioning Creditors

                                                                  2 prevent the Court from granting the Motion now. Jadelle properly contested the Involuntary

                                                                  3 Petition by a Rule 12(b)(6) motion as is its right to do. Jadelle is not required to answer and

                                                                  4 creditors are not entitled to any opportunity to join prior to the Court's adjudication of the Motion.
                                                                  5 There is simply no impediment to granting the Motion at this time.
                                                                  6

                                                                  7 VI.           THE INVOLUNTARY PETITION MUST BE DISMISSED BECAUSE THE
                                                                  8               PETITIONING CREDITORS COMMENCED THIS CASE IN BAD FAITH
                                                                  9               A.     The Court May Dismiss the Involuntary Petition Because it was Commenced
                                                                 10                      in Bad Faith
                                                                 11               An involuntary petition may be dismissed for bad faith. Bankruptcy courts, including
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                                                                 12 those in the Ninth Circuit and within this District, have dismissed involuntary bankruptcy cases
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                                                                 13 commenced in bad faith. See, e.g., In re WSB-RSK Venture, 296 B.R. 509, 514 (Bankr. C.D. Cal.
                                                                 14 2003); In re Mi La Sul, 380 B.R. 546, 557 (Bankr. C.D. Cal. 2007); In re U.S. Corp., 2011 WL

                                                                 15 1900416, at *3 (Bankr. D. Ariz. 2011); In re Macke Int'l Trade, Inc., 370 B.R. 236, 247–48
                                                                 16 (B.A.P. 9th Cir. 2007) (upholding the bankruptcy court's dismissal of an involuntary petition

                                                                 17 pursuant to § 305 based on the totality of the circumstances, including findings that there was

                                                                 18 pending litigation in another forum that would be more appropriate to resolve the parties' disputes
                                                                 19 and that, in commencing the involuntary case, the petitioning creditors were forum shopping).

                                                                 20 Courts have also granted or upheld pre-answer dismissal motions based on bad faith. See In re
                                                                 21 WSB-RSK Venture, 296 B.R. at 512, 514; see also In re Valdez, 250 B.R. 386, 395 (Bankr. D. Or.

                                                                 22 1999) (affirming bankruptcy court's dismissal for bad faith under § 707(a)).

                                                                 23               The Petitioning Creditors' assertion that the Ninth Circuit does not recognize bad faith as a
                                                                 24 basis for dismissal of an involuntary petition is not an accurate articulation of the law. (See Opp'n
                                                                 25 at 3, lines 7-9.) In an unpublished decision, the Ninth Circuit has upheld the dismissal of

                                                                 26 involuntary petitions filed in bad faith where the bankruptcy court found that the petitioners failed

                                                                 27 to "conduct a reasonable inquiry into the relevant facts and pertinent law before commencing the

                                                                 28 involuntary actions." See In re Miles, 156 Fed. Appx. 981, 984 (9th Cir. 2005) (J. Bezos


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                                                                  1 concurring). Moreover, while the Ninth Circuit has not addressed this particular issue one way or

                                                                  2 the other in a published decision, it has recognized that bad faith constitutes cause for purposes of

                                                                  3 dismissing a chapter 11 case. See In re Marsch, 36 F.3d 825, 828 (9th Cir. 1994) (recognizing that

                                                                  4 "courts have overwhelmingly held that a lack of good faith in filing a Chapter 11 petition
                                                                  5 establishes cause for dismissal.").
                                                                  6               Dismissing an involuntary case commenced in bad faith is not contrary to the Code or the

                                                                  7 Supreme Court's holding in Law v. Siegel. In that case, the Supreme Court held that § 105 of the
                                                                  8 Code could not be used to surcharge the debtor's exemption in contravention of a "specific

                                                                  9 provision of the Code." See Law v. Siegel, 571 U.S. 415, 422 (2014). Dismissal of an involuntary

                                                                 10 petition is not contrary to any specific provision of the Code.
                                                                 11               The Supreme Court's holding in Law must also be read with its earlier decision in
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                                                                 12 Marrama v. Citizens Bank of Massachusetts. In Marrama, the Supreme Court held that a
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                                                                 13 bankruptcy court may deny a chapter 7 debtor's request to convert his or her case to chapter 13
                                                                 14 based on pre-petition bad faith. To the Supreme Court, the "practical effect" of finding that a

                                                                 15 chapter 13 case could be dismissed based on pre-petition bad faith conduct was "tantamount to a
                                                                 16 ruling that the individual does not qualify as a debtor under Chapter 13." See Marrama, 549 U.S.

                                                                 17 365, 373-74 (2007). Moreover, the Supreme Court found that nothing in the text of the applicable

                                                                 18 Code provisions (§§ 706 or 1307(c)) "limits the authority of the court to take appropriate action in
                                                                 19 response to fraudulent conduct by the atypical litigant who has demonstrated that he is not entitled

                                                                 20 to the relief available to the typical debtor." See id. at 374-75. The Supreme Court held that the
                                                                 21 broad authority granted to bankruptcy judges under § 105 to prevent abuse of process was "surely

                                                                 22 adequate to authorize an immediate denial of a motion to convert. . . . ." See id. at 375.

                                                                 23               Read together, the Supreme Court's decisions in Law and Marrama support the ability of a
                                                                 24 bankruptcy court to dismiss an involuntary petition filed in bad faith. Dismissing an involuntary
                                                                 25 petition filed in bad faith does not violate the holding in Law because it does not contravene any

                                                                 26 specific provision of the Code. Rather, consistent with the rationale in Marrama, nothing in the

                                                                 27 text of § 303 limits the authority of the bankruptcy courts to take appropriate action in response to

                                                                 28 bad faith conduct by petitioning creditors. Moreover, the Supreme Court recognized that, at least


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                                                                  1 in the context of a voluntary chapter 13 petition, dismissal of a petition filed in bad faith is proper.

                                                                  2 Thus, dismissing an involuntary petition filed in bad faith is consistent with the Supreme Court's

                                                                  3 jurisprudence.

                                                                  4               The express language of § 303 supports the position that an involuntary case commenced

                                                                  5 in bad faith can be dismissed. Section 303(i)(2) authorizes a court to award a debtor proximately-
                                                                  6 caused and punitive damages against petitioners that file an involuntary case in bad faith. See 11

                                                                  7 U.S.C. § 303(i)(2). This provision implies that an involuntary petition must be filed in good faith,
                                                                  8 and, further, that the case can be dismissed if it is not. See In re WSB-RSK Venture, 296 B.R. 509,

                                                                  9 513 (Bankr. C.D. Cal. 2003). The fact that the filing of an involuntary petition in bad faith is so

                                                                 10 egregious to warrant punitive damages upon dismissal, reinforces the position that it is a basis for
                                                                 11 dismissal in the first instance. Under the Petitioning Creditors' rationale, a court would be
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                                                                 12 required to allow an admitted bad faith filing to proceed provided the petitioners met the eligibility
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                                                                 13 requirements in § 303. There is no principled reason to exclude involuntary petitions from the
                                                                 14 years of jurisprudence recognizing that petitions must be filed in good faith and that bankruptcy

                                                                 15 courts have the inherent authority to address abusive filings.
                                                                 16               As is becoming an unfortunate pattern, the Petitioning Creditors' authority to the contrary
                                                                 17 is questionable as follows:

                                                                 18                     The bankruptcy court in In re Colon did not hold that the Supreme Court's decision
                                                                 19                      in Law v. Siegel prevented it from dismissing an involuntary case for bad faith.
                                                                 20                      Rather, the court dismissed the involuntary petition. See In re Colon, 558 B.R. 563,
                                                                 21                      568 (Bankr. D.P.R. 2016). The court concluded that, after Law v. Siegel, it could
                                                                 22                      not save an involuntary petition filed by less than the required number of
                                                                 23                      petitioning creditors based on a judicially created "special circumstances exception.
                                                                 24                      . . ." See id. at 564, 568.
                                                                 25                     The quoted statement in In re Kidwell that "the statute makes plain that bad faith is
                                                                 26                      not relevant unless consequential and punitive damages are under consideration"
                                                                 27                      was to highlight the fact that a finding of bad faith is not necessary to award
                                                                 28                      attorney's fees upon dismissal (and, therefore, petitioning creditors should expect to


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                                                                  1                      pay the alleged debtor's fees), and was not a statement that a petition filed in bad

                                                                  2                      faith cannot be dismissed. See In re Kidwell, 158 B.R. 203, 217 (Bankr. E.D. Cal.

                                                                  3                      1993).

                                                                  4                     In Kennedy, the court stated that a finding of bad faith is inappropriate where the

                                                                  5                      petitioner meets the requirements under § 303. However, the court also stated that
                                                                  6                      "many courts have read a good faith requirement into the bankruptcy code." See In
                                                                  7                      re Kennedy, 504 B.R. 815, 824 (Bankr. S.D. Miss. 2014). The court concluded,
                                                                  8                      after extensive analysis, that the petitioners in that case did not commence the
                                                                  9                      involuntary case in bad faith. See id. at 824-28.
                                                                 10                     The quotes attributed to the Eighth Circuit's decision in Watt are not found in that
                                                                 11                      case. The Watt decision involved the analysis of the Real Estate Settlement
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                                                                 12                      Procedures Act, and not § 303 (or any other provision) of the Bankruptcy Code.
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                                                                 13                      See Watt v. GMAC Mortg. Corp., 457 F.3d 781, 782 (8th Cir. 2006). A similar
                                                                 14                      problem occurred with a Ninth Circuit cite in the Petitioning Creditors' motion for a
                                                                 15                      trustee. (See Opp'n to Mot. for Trustee at 22-23, lines 18-3.)
                                                                 16               B.     The Evidence Before the Court Demonstrates that the Petitioning Creditors
                                                                 17                      Filed the Case in Bad Faith
                                                                 18               The existence of bad faith is governed by an objective test. Under the objective test, bad
                                                                 19 faith exists if a reasonable person would believe that the subject conduct constitutes bad faith. See

                                                                 20 In re Wavelength, Inc., 61 B.R. 614, 620 (B.A.P. 9th Cir. 1986).
                                                                 21               Courts seem to uniformly recognize that commencing an involuntary petition without first
                                                                 22 exhausting state law remedies constitutes bad faith. See In re Smith, 243 B.R. 169, 198 (Bankr.

                                                                 23 N.D. Ga. 1999) (finding that bad faith existed where the petitioning creditor "made no effort to
                                                                 24 exhaust its state court collection remedies" and filed the case "as a means to avoid collecting its
                                                                 25 debt under" applicable state law); see also Doane v. Friendship Airways Leasing, Inc., 2012 WL

                                                                 26 94487, at *2 (S.D. Fla. 2012) (dismissing a petition where the court found the petitioning creditor

                                                                 27 filed the petition as his "first choice, not his last"); In re Spade, 269 B.R. 225, 229 (D. Colo. 2001)

                                                                 28 (dismissing an involuntary petition filed as "a self-serving litigation tactic to control the forum and


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                                                                  1 enlist a trustee to conduct and pay for discovery into the Debtor's affairs."). Dismissing an

                                                                  2 involuntary bankruptcy case commenced without first exhausting state law remedies is consistent

                                                                  3 with the Ninth Circuit's position that an involuntary case "should be a measure of last resort . . . ."

                                                                  4 See Higgins v. Vortex Fishing Systems, Inc., 379 F.3d 701, 707 (9th Cir. 2004).
                                                                  5               The Petitioning Creditors' blasé attitude toward forum shopping is contrary to the cases
                                                                  6 they cite. In Kennedy, the court found that, unlike decisions involving petitioning creditors who

                                                                  7 "failed to make any effort to exhaust their state court remedies[,]" the petitioner in that case
                                                                  8 attempted to pursue state court collection remedies by obtaining a judgment at trial and then

                                                                  9 seeking to collect. See In re Kennedy, 504 B.R. 815, 826 (Bankr. S.D. Miss. 2014). While the

                                                                 10 court in Synergistic Technologies recognized that some permissible forum shopping exists (such
                                                                 11 as, filing bankruptcy to stop a foreclosure), the court found that the petitioner in that case engaged
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                                                                 12 in bad faith forum shopping by attempting to divert pending litigation "to another forum, hopefully
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                                                                 13 with the free help of a bankruptcy trustee." See In re Synergistic Technologies, Inc., 2007 WL
                                                                 14 2264700, at *7 (Bankr. N.D. Tex. 2007); see also In re Cook, 384 B.R. 282, 294 (Bankr. N.D. Ala.

                                                                 15 2008) (noting a distinction between improper and proper forum shopping.) Thus, contrary to the
                                                                 16 Petitioning Creditors' assertion, not all forum shopping is permissible.

                                                                 17               Here, the Petitioning Creditors engaged in the type of forum shopping that all courts
                                                                 18 recognize as bad faith. Similar to the petitioning creditor in Synergistic Technologies, the
                                                                 19 Petitioning Creditors are diverting pending litigation to the bankruptcy court without first

                                                                 20 attempting to exhaust their state law collection remedies, hoping to obtain the "free help of a
                                                                 21 bankruptcy trustee." See In re Synergistic Technologies, Inc., 2007 WL 2264700, at *7 (Bankr.

                                                                 22 N.D. Tex. 2007). Two of the Petitioning Creditors recently commenced lawsuits, which are in

                                                                 23 their very early stages, and First International has not made any attempt to collect its disputed
                                                                 24 claim under state law. The fact that lawsuits are pending and their current status is subject to
                                                                 25 judicial notice. It cannot be seriously disputed that, in this case, state law remedies exist and were

                                                                 26 not exhausted (under any definition of the word) prior to the filing of the Involuntary Petition.

                                                                 27               The Petitioning Creditors knew (or reasonably should have known) that they were
                                                                 28 ineligible. The Petitioning Creditors' assertion that Jadelle did not dispute their claims prior to


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                                                                  1 filing the Motion is patently false. (See Opp'n to Trustee Mot. at 9, lines 2-19.) Moreover, the

                                                                  2 Ninth Circuit has made clear that a dispute as to any portion of a claim disqualifies the petitioning

                                                                  3 creditor. See Blixseth, 942 F.3d at 1186. The Petitioning Creditors could not have credibly filed

                                                                  4 this case with the belief that they were eligible to commence it. See In re Mountain Dairies, Inc.,
                                                                  5 372 B.R. 623, 634 (Bankr. S.D.N.Y. 2007) ("That a claim could have been filed in good faith
                                                                  6 when a substantial portion of that claim was the subject of a dispute on its face is untenable.") In

                                                                  7 fact, the Petitioning Creditors' attempts to understate their claims to avoid dispute is evidence that
                                                                  8 they knew that disputes existed. Filing a petition in the face of known bona fide disputes

                                                                  9 constitutes bad faith. See, e.g., In re John Richards Homes Bldg. Co., 439 F.3d 248 (6th Cir.

                                                                 10 2006) (holding that a petition was filed in bad faith given the overwhelming evidence of a bona
                                                                 11 fide dispute).
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                                                                 12               The Petitioning Creditors did not file this case for a proper purpose. The Petitioning
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                                                                 13 Creditors' assertion that there is no evidence of their motives ignores the timing of the case and
                                                                 14 their statements before this Court. First, the Petitioning Creditors filed this case only after the

                                                                 15 Noval Action was temporarily stayed. Second, the Petitioning Creditors' assertion in the
                                                                 16 Opposition that they are not seeking to abridge any constitutional rights of Jadelle is contradicted

                                                                 17 by their statement in their motion for the appointment of an interim trustee that sidestepping the

                                                                 18 court-ordered stay is exactly what they are trying to do. (See Trustee Mot. at 7, line 24 to 8, line 4,
                                                                 19 stating that "an interim trustee can ignore and not be shackled by the multiple motions for stay. . .

                                                                 20 .") Commencing this case to avoid a stay of the underlying lawsuits of Marco and Noval
                                                                 21 constitutes bad faith. See In re Anmuth Holdings, 600 B.R. 168, 192 (Bankr. E.D. N.Y. 2019)

                                                                 22 (stating that commencing an involuntary case to circumvent, preempt, or stay an adverse state

                                                                 23 court decision is evidence of bad faith).
                                                                 24               The Petitioning Creditors' assertion that there is no evidence that they have adopted
                                                                 25 inconsistent positions is not credible and is squarely contradicted by their own statements under

                                                                 26 penalty of perjury. All three Petitioning Creditors have taken inconsistent positions regarding the

                                                                 27 amount of their respective claims. All three Petitioning Creditors also submitted inaccurate

                                                                 28 testimony that neither Jadelle nor Mr. Rechnitz disputed their respective claims prior to filing the


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                                                                  1 Motion in an effort to convince this Court that their claims are not subject to bona fide dispute.

                                                                  2 (See Opp'n. to Trustee Mot. at 9, line 2-19.) This is bad faith. See In re Kidwell, 158 B.R. 203,

                                                                  3 217 (Bankr. E.D. Cal. 1993) (stating that a materially false statement in support of involuntary

                                                                  4 petition constitutes bad faith).
                                                                  5
                                                                  6 VII.          THE INVOLUNTARY PETITION SHOULD BE DISMISSED WITHOUT LEAVE
                                                                  7               TO AMEND
                                                                  8               The Involuntary Petition should be dismissed without leave to amend. Any amendment

                                                                  9 would be futile for two reasons. First, the Petitioning Creditors' claims are subject to bona fide

                                                                 10 disputes and no amendment will change that fact. The Ninth Circuit's decision in Blixseth would
                                                                 11 have no meaning if creditors could avoid its holding by listing, in the involuntary petition, a claim
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                                                                 12 in a lower amount than they actually assert. Moreover, any further attempt by the Petitioning
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                                                                 13 Creditors to reduce their claims to become eligible does not eliminate any bona fide disputes, but,
                                                                 14 rather, only confirms that disputes exist and "raises serious concerns over the legitimacy of" their

                                                                 15 claims. See In re Mountain Dairies, Inc., 372 B.R. 623, 633-34 (Bankr. S.D.N.Y. 2007).
                                                                 16               Second, no amendment will cure the Petitioning Creditors' bad faith. Dismissing the
                                                                 17 Involuntary Petition without leave to amend is consistent with the Ninth Circuit's policy that

                                                                 18 involuntary petitions "should not be lightly undertaken" and "should be measures of last-resort."
                                                                 19 See Higgins v. Vortex Fishing Systems, Inc., 379 F.3d 701, 707 (9th Cir. 2004). The Petitioning

                                                                 20 Creditors should not be allowed to improperly commence this case, then try to fix it after the fact.
                                                                 21 There is a strong policy in favor of creditors making a reasonable inquiry into the relevant facts

                                                                 22 and pertinent law before commencing an involuntary petition. See Landmark, 189 B.R. 290, 306

                                                                 23 (Bankr. D.N.J. 1995) (noting that it has been generally recognized that "petitioning creditors
                                                                 24 should carefully examine the risks undertaken in the filing of an involuntary petition."). Because
                                                                 25 this petition was so clearly improper, the Court should dismiss the case without leave to amend.

                                                                 26

                                                                 27

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                                                                  1 VIII. JADELLE IS WILLING TO FILE A SEPARATE MOTION FOR FEES AND

                                                                  2               DAMAGES
                                                                  3               Jadelle disputes that its request for fees and damages is premature or requires a separate

                                                                  4 subsequent motion. However, should the Court grant the Motion and dismiss this case, Jadelle has
                                                                  5 no objection to filing a separate motion for attorney's fees and proximately-caused and punitive
                                                                  6 damages. The basis for Jadelle's request for fees and damages (such as, the Petitioning Creditors'

                                                                  7 bad faith) was properly at issue in connection with the Motion and has been fully briefed. As
                                                                  8 such, the issue on Jadelle's subsequent motion should simply be the amount to be awarded to

                                                                  9 Jadelle. Jadelle requests that the Court dismiss the case and reserve jurisdiction to determine the

                                                                 10 amount of Jadelle's fee and damage request.
                                                                 11
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                                                                 12 IX.           CONCLUSION
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                                                                 13               Based on the foregoing, Jadelle respectfully requests that the Court grant the Motion,
                                                                 14 dismiss the involuntary petition, and award Jadelle attorney's fees, costs, and damages, including

                                                                 15 punitive damages, subject to proof.
                                                                 16

                                                                 17                                                 Respectfully submitted,

                                                                 18 DATED: June 2, 2020                             SMILEY WANG-EKVALL, LLP
                                                                 19

                                                                 20                                                 By:          /s/ Robert S. Marticello
                                                                                                                          ROBERT S. MARTICELLO
                                                                 21                                                       MICHAEL L. SIMON
                                                                                                                          Attorneys for Jadelle Jewelry and Diamonds,
                                                                 22                                                       LLC.
                                                                 23
                                                                 24
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                                         PROOF OF SERVICE OF DOCUMENT
I am over the age of 18 and not a party to this bankruptcy case or adversary proceeding. My business address is:
                         3200 Park Center Drive, Suite 250, Costa Mesa, CA 92626


A true and correct copy of the foregoing document entitled (specify): Putative Debtor's Reply to Petitioning Creditors'
Opposition to Putative Debtor's Motion to Dismiss Involuntary Petition and Request for Attorney's Fees, Costs,
and Damages will be served or was served (a) on the judge in chambers in the form and manner required by LBR 5005-
2(d); and (b) in the manner stated below:

1. TO BE SERVED BY THE COURT VIA NOTICE OF ELECTRONIC FILING (NEF): Pursuant to controlling General
Orders and LBR, the foregoing document will be served by the court via NEF and hyperlink to the document. On (date)
06/02/2020, I checked the CM/ECF docket for this bankruptcy case or adversary proceeding and determined that the
following persons are on the Electronic Mail Notice List to receive NEF transmission at the email addresses stated below:

    • Baruch C Cohen bcc@BaruchCohenEsq.com, paralegal@baruchcohenesq.com
    • Daniel A Lev dlev@sulmeyerlaw.com, ccaldwell@sulmeyerlaw.com;dlev@ecf.inforuptcy.com
    • Robert S Marticello Rmarticello@swelawfirm.com,
       gcruz@swelawfirm.com;lgarrett@swelawfirm.com;jchung@swelawfirm.com
    • Ronald N Richards ron@ronaldrichards.com, morani@ronaldrichards.com,justin@ronaldrichards.com
    • Neal Salisian ECF@salisianlee.com
    • Michael Simon msimon@swelawfirm.com,
       lgarrett@swelawfirm.com;gcruz@swelawfirm.com;jchung@swelawfirm.com
    • United States Trustee (LA) ustpregion16.la.ecf@usdoj.gov

                                                                                            Service information continued on attached page

2. SERVED BY UNITED STATES MAIL:
On (date) __________, I served the following persons and/or entities at the last known addresses in this bankruptcy case
or adversary proceeding by placing a true and correct copy thereof in a sealed envelope in the United States mail, first
class, postage prepaid, and addressed as follows. Listing the judge here constitutes a declaration that mailing to the judge
will be completed no later than 24 hours after the document is filed.


                                                                                            Service information continued on attached page

3. SERVED BY PERSONAL DELIVERY, OVERNIGHT MAIL, FACSIMILE TRANSMISSION OR EMAIL (state method
for each person or entity served): Pursuant to F.R.Civ.P. 5 and/or controlling LBR, on (date) 06/02/2020, I served the
following persons and/or entities by personal delivery, overnight mail service, or (for those who consented in writing to
such service method), by facsimile transmission and/or email as follows. Listing the judge here constitutes a declaration
that personal delivery on, or overnight mail to, the judge will be completed no later than 24 hours after the document is
filed.
Via First Legal:
Hon. Barry Russell
United States Bankruptcy Court
255 E. Temple Street, Suite 1660 / Courtroom 1668
Los Angeles, CA 90012
                                                                            Service information continued on attached page

I declare under penalty of perjury under the laws of the United States that the foregoing is true and correct.


 06/02/2020                     Lynnette Garrett                                                /s/ Lynnette Garrett
 Date                           Printed Name                                                    Signature

            This form is mandatory. It has been approved for use by the United States Bankruptcy Court for the Central District of California.


June 2012                                                                                           F 9013-3.1.PROOF.SERVICE
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                                                                      1 opportunity’ to exercise their § 303(c) statutory power to join as petitioners . . . .” Id., at
                                                                      2 1071.

                                                                      3                   Vortex Fishing, thus, underscores that all creditors must have a reasonable
                                                                      4 opportunity to join in an involuntary petition where the number of petitioning creditors is

                                                                      5 being challenged by the debtor. It was only unnecessary in Vortex Fishing because, in a
                                                                      6 consolidated hearing, the bankruptcy court correctly found that the involuntary debtor was
                                                                      7 not in financial distress; joinder, thus, would have been a meaningless endeavor. In sum,
                                                                      8 once a trial is required to resolve issues in a contested involuntary proceeding, the

                                                                      9 involuntary debtor must answer within 14 days. See QDOS, 607 B.R. at 345 (a Rule

                                                                     10 12(b)(6) motion is no substitute for a trial on dispositive issues, and a putative debtor

                                                                     11 must answer an involuntary petition and file the requisite creditor list).
  Professional Corporation
                             333 SOUTH GRAND AVENUE, SUITE 3400
                             LOS ANGELES, CALIFORNIA 90071-1406
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                                                                     12                   Nothing warrants a departure from this line of cases, especially since the
                                                                     13 Petitioning Creditors are aware of scores of other creditors and victims of Jadelle’s fraud.

                                                                     14 The Debtor has no choice but to follow controlling law and not only answer the petition,
                                                                     15 but submit its Rule 1003(b) creditor list.3
SulmeyerKupetz, A




                                                                     16                                                        IV.
                                                                     17        THE MOTION IS DEVOID OF A SINGLE SHRED OF ADMISSIBLE EVIDENCE

                                                                     18                   Even presuming that relief could be granted under Rule 12(b)(6), there is no

                                                                     19 evidentiary basis for any of the Debtor’s fanciful contentions. Since the sworn testimony
                                                                     20 of a convicted felon and swindler certainly would not be worth the paper it is written on,

                                                                     21 and possibly would subject him to perjury charges, the Debtor instead relies on a host of

                                                                     22 hand-selected pleadings from other courts in a fruitless attempt to create an evidentiary
                                                                     23
                                                                     24

                                                                     25
                                                                     26
                                                                          3
                                                                     27     Petitioning Creditors are aware of other creditors who may be interested in joining the involuntary petition
                                                                          to prevent the Debtor and the Rechnitz’s from further abusing the legal system and other innocent parties.
                                                                     28


                                                                          DAL 2700550v1                                         12

                                                                                                                                                          EXHIBIT "15", PAGE 293
          Case 2:20-bk-13530-BR                   Doc 65 Filed 06/19/20 Entered 06/19/20 17:25:01                                      Desc
                                                 Main Document    Page 309 of 309



                                         PROOF OF SERVICE OF DOCUMENT
I am over the age of 18 and not a party to this bankruptcy case or adversary proceeding. My business address is:
                         3200 Park Center Drive, Suite 250, Costa Mesa, CA 92626


A true and correct copy of the foregoing document entitled (specify): Index of Exhibits in Support of Debtor's
Emergency Motion Pursuant to Federal Rule of Bankruptcy Procedure 8007 for Stay Pending Appeal will be served
or was served (a) on the judge in chambers in the form and manner required by LBR 5005-2(d); and (b) in the manner
stated below:

1. TO BE SERVED BY THE COURT VIA NOTICE OF ELECTRONIC FILING (NEF): Pursuant to controlling General
Orders and LBR, the foregoing document will be served by the court via NEF and hyperlink to the document. On (date)
06/19/2020, I checked the CM/ECF docket for this bankruptcy case or adversary proceeding and determined that the
following persons are on the Electronic Mail Notice List to receive NEF transmission at the email addresses stated below:

    •   Baruch C Cohen bcc@BaruchCohenEsq.com, paralegal@baruchcohenesq.com
    •   Sam S Leslie (TR) sleslie@trusteeleslie.com, sleslie@iq7technology.com;trustee@trusteeleslie.com
    •   Daniel A Lev dlev@sulmeyerlaw.com, ccaldwell@sulmeyerlaw.com;dlev@ecf.inforuptcy.com
    •   Robert S Marticello Rmarticello@swelawfirm.com,
         gcruz@swelawfirm.com;lgarrett@swelawfirm.com;jchung@swelawfirm.com
    •   Ronald N Richards ron@ronaldrichards.com, morani@ronaldrichards.com,justin@ronaldrichards.com
    •   Neal Salisian ECF@salisianlee.com
    •   Michael Simon msimon@swelawfirm.com,
         lgarrett@swelawfirm.com;gcruz@swelawfirm.com;jchung@swelawfirm.com
    •   United States Trustee (LA) ustpregion16.la.ecf@usdoj.gov
                                                                       Service information continued on attached page

2. SERVED BY UNITED STATES MAIL:
On (date) __________, I served the following persons and/or entities at the last known addresses in this bankruptcy case
or adversary proceeding by placing a true and correct copy thereof in a sealed envelope in the United States mail, first
class, postage prepaid, and addressed as follows. Listing the judge here constitutes a declaration that mailing to the judge
will be completed no later than 24 hours after the document is filed.




                                                                                            Service information continued on attached page

3. SERVED BY PERSONAL DELIVERY, OVERNIGHT MAIL, FACSIMILE TRANSMISSION OR EMAIL (state method
for each person or entity served): Pursuant to F.R.Civ.P. 5 and/or controlling LBR, on (date) 06/19/2020, I served the
following persons and/or entities by personal delivery, overnight mail service, or (for those who consented in writing to
such service method), by facsimile transmission and/or email as follows. Listing the judge here constitutes a declaration
that personal delivery on, or overnight mail to, the judge will be completed no later than 24 hours after the document is
filed.
Via First Legal:
Hon. Barry Russell
United States Bankruptcy Court
255 E. Temple Street, Suite 1660 / Courtroom 1668
Los Angeles, CA 90012
                                                                            Service information continued on attached page

I declare under penalty of perjury under the laws of the United States that the foregoing is true and correct.

 06/19/2020                     Lynnette Garrett                                                /s/ Lynnette Garrett
 Date                           Printed Name                                                    Signature
            This form is mandatory. It has been approved for use by the United States Bankruptcy Court for the Central District of California.


June 2012                                                                                           F 9013-3.1.PROOF.SERVICE
